Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 1 of 598




                 EXHIBIT 2
PUBLIC REDACTED VERSION
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 2 of 598




                            UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION




STATE OF UTAH
160 E 300 S, 5th Floor
P.O. Box 140872
Salt Lake City, UT 84114

STATE OF NEW YORK                             Case No. 3:21-cv-05227
28 Liberty Street
New York, NY 10005

STATE OF NORTH CAROLINA
P.O. Box 628
Raleigh, NC 27602

STATE OF TENNESSEE
P.O. Box 20207
Nashville, TN 37202

STATE OF ARIZONA
2005 North Central Avenue
Phoenix, AZ 85004

STATE OF COLORADO
1300 Broadway, 7th Floor
Denver, CO 80203

STATE OF IOWA
1305 E. Walnut St., 2nd Floor
Des Moines, IA 50319

STATE OF NEBRASKA
2115 Nebraska State Capitol


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      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 3 of 598




Lincoln, NE 68509-8920

STATE OF ALASKA
1031 W. Fourth Avenue, Suite 200
Anchorage, AK 99501

STATE OF ARKANSAS
323 Center Street, Suite 200
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STATE OF CALIFORNIA
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San Francisco, CA 94102

STATE OF CONNECTICUT
165 Capitol Avenue
Hartford, CT 06106

STATE OF DELAWARE
820 N. French St., 5th Floor
Wilmington, DE 19801

DISTRICT OF COLUMBIA
400 6th Street, N.W, 10th Floor
Washington, D.C. 20001

STATE OF FLORIDA
PL-01, The Capitol
Tallahassee, FL 32399

STATE OF IDAHO
954 W. Jefferson Street, 2nd Floor
P.O. Box 83720
Boise, ID 83720

STATE OF INDIANA
302 West Washington Street
IGCS – 5th Floor
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COMMONWEALTH OF KENTUCKY
1024 Capital Center Drive, Suite 200
Frankfort, KY 40601

STATE OF LOUISIANA

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      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 4 of 598




P.O. Box 94005
1885 North 3rd Street
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STATE OF MARYLAND
200 St. Paul Place, 19th Floor
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STATE OF MISSOURI
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STATE OF MONTANA
P.O. Box 200151
Helena, MT 59620

STATE OF NEVADA
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Carson City, NV 89701

STATE OF NEW HAMPSHIRE
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Concord, NH 03301

STATE OF NEW JERSEY
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Newark, NJ 07102

STATE OF NEW MEXICO
408 Galisteo St.
Santa Fe, NM 87504


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                                       3
     Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 5 of 598




STATE OF NORTH DAKOTA
1050 E Interstate Ave, Ste 200
Bismarck, ND 58503-5574

STATE OF OKLAHOMA
313 NE 21st St
Oklahoma City, OK 73105

STATE OF OREGON
1162 Court St NE
Salem, OR 97301

STATE OF RHODE ISLAND
150 South Main Street
Providence, RI 02903

STATE OF SOUTH DAKOTA
1302 E. Hwy. 14, Suite 1
Pierre, SD 57501

STATE OF TEXAS
300 W. 15th Street
Austin, Texas 78701

STATE OF VERMONT
109 State Street
Montpelier, VT 05609

COMMONWEALTH OF VIRGINIA
202 North 9th Street
Richmond, VA 23219

STATE OF WASHINGTON
800 Fifth Ave., Suite 2000
Seattle, WA 98104

STATE OF WEST VIRGINIA
812 Quarrier St., First Floor
P.O. Box 1789
Charleston, WV 25326

                      Plaintiffs,

v.


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                                      4
    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 6 of 598




GOOGLE LLC, GOOGLE IRELAND LIMITED,
GOOGLE COMMERCE LIMITED, GOOGLE
ASIA PACIFIC PTE. LIMITED, GOOGLE
PAYMENT CORP., and ALPHABET INC.,

                Defendants.




                      Expert Report of Dr. Marc Rysman

                               October 3, 2022




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                                      5
               Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 7 of 598




                                                                 Table of Contents
I.     Introduction ................................................................................................................................ 12

       A. Qualifications ....................................................................................................................... 12

       B. Assignment .......................................................................................................................... 13

       C. Materials Considered ........................................................................................................... 14

II.    Summary of Opinions ................................................................................................................ 15

III.   Mobile Ecosystems and the Digital Economy ........................................................................... 22

       A. Mobile Technology .............................................................................................................. 22

            1. Mobile Devices, OEMs, and MNOs .............................................................................. 22

            2. Mobile Operating Systems............................................................................................. 28

            3. Mobile Applications....................................................................................................... 33

       B. Development of Mobile Applications .................................................................................. 35

       C. Distribution of Mobile Applications .................................................................................... 38

            1. App Stores...................................................................................................................... 39

            2. Sideloading .................................................................................................................... 41

       D. In-App Billing Services ....................................................................................................... 43

IV. Google Agreements and the Challenged Conduct ..................................................................... 49

       A. Google Background ............................................................................................................. 49

            1. Development of the Android Mobile OS ....................................................................... 49

            2. Android Mobile OS at Release ...................................................................................... 51

            3. Google Mobile Services................................................................................................. 53

            4. The Google Play Store ................................................................................................... 55

            5. Google Play Billing........................................................................................................ 59

            6. Google Play Points......................................................................................................... 63

                    NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                                               6
             Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 8 of 598




     B. Google’s Agreements with Carriers, OEMs, and Developers ............................................. 68

          1. Apache License .............................................................................................................. 69

          2. Mobile Application Distribution Agreement (“MADA”).............................................. 71

          3. Anti-Fragmentation Agreement (“AFA”) and Android Compatibility
               Commitment (“ACC”) ................................................................................................... 72

          4. Android Compatibility Test Suite (“CTS”) and Compatibility Definition
               Document (“CDD”) ....................................................................................................... 74

          5. Revenue Sharing Agreement (“RSA”) .......................................................................... 77

          6. Google Play Developer Distribution Agreement (“DDA”) ........................................... 82

          7. Google Reduced Commission Developer Programs and Agreements .......................... 85

     C. Overview of the Challenged Conduct .................................................................................. 92

V.   Market Definition....................................................................................................................... 93

     A. Antitrust Principles of Market Definition ............................................................................ 93

          1. Basics of Market Definition ........................................................................................... 93

          2. Market Definition and Two-Sided Markets ................................................................... 97

     B. Application of the Market Definition Framework to this Case ......................................... 102

     C. App Distribution on Android Smart Mobile Devices is a Relevant Market ...................... 104

          1. Introduction .................................................................................................................. 104

          2. Consumer Choice of App Distribution Method ........................................................... 106

          3. Developer Choice of App Distribution Method........................................................... 112

          4. App Distribution on Alternative Devices does not Constrain App Distribution on
               Android Smart Mobile Devices ................................................................................... 116

          5. Implementing the Hypothetical Monopolist Test ........................................................ 149

          6. Geographic Market ...................................................................................................... 154


                 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                                          7
            Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 9 of 598




      D. Android In-App Billing Services Market is a Relevant Market ........................................ 156

          1. The Function of Android In-App Billing Services and Google Play Billing .............. 157

          2. Google Play Billing and Android In-App Billing Services Are Products Separate
               and Distinct from Android App Distribution ............................................................... 166

          3. Android In-App Billing Services is a One-Sided Market Between Developers and
               Service Providers ......................................................................................................... 176

          4. Alternative Relevant Markets for In-App Billing Services ......................................... 178

          5. Geographic Market ...................................................................................................... 180

VI. Google has Monopoly Power in the Relevant Antitrust Markets ............................................ 182

      A. Google has Monopoly Power in Android App Distribution .............................................. 183

          1. Google Imposes a Supracompetitive Commission on Google Play Store Purchases
               And Earns Extraordinarily High Profits ...................................................................... 183

          2. High Margins are Indicative of Market Power ............................................................ 189

          3. Structural Evidence Demonstrates Google has Monopoly Power ............................... 193

          4. Google’s Market Power in Android App Distribution Faces Limited Competitive
               Constraints from Alternative App Distribution Systems ............................................. 211

          5. Summary on Google’s Market Power in the Android App Distribution Market ........ 219

      B. Google’s Market Share is Consistent with a Very High Degree of Market Power Even
          if the Relevant Market Includes the Apple App Store ....................................................... 220

      C. Google has Monopoly Power in the Android In-App Billing Services Market ................ 220

          1. Google Profitably Imposes a Supracompetitive Commission ..................................... 221

          2. Structural Evidence Demonstrates Google’s Monopoly Power .................................. 225

          3. Summary on Google’s Market Power in the Android In-App Billing Services
               Market 230

VII. Google’s Anticompetitive Conduct Harmed Competition in Android App Distribution ........ 231

                NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                                         8
           Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 10 of 598




     A. Google’s Anticompetitive Conduct Reduced Competition in the Android App
          Distribution Market ............................................................................................................ 233

          1. Google Has Prevented Competing App Stores from Being Preloaded on Android
               Smart Mobile Devices.................................................................................................. 233

          2. Google Restricted Competition from Third-Party App Stores Through
               Technological Barriers Aimed at Deterring Sideloading............................................. 268

          3. Google Restricted Competition by Paying Developers for Parity Terms .................... 278

          4. Google Has Always Intended to Monopolize the Android App Distribution
               Market 287

          5. Google Used its Valuable Advertising Programs to Restrict Competition from
               Rival App Stores .......................................................................................................... 291

     B. Google’s Anticompetitive Conduct in the Android App Distribution Market Has
          Allowed it to Impose Supracompetitive Commissions...................................................... 293

          1. Google Has Charged Commissions Substantially Above Its Marginal Costs and
               Has Offered Lower Rates on Several Occasions ......................................................... 294

          2. Competitive But-For World Commission.................................................................... 297

          3. Competitive But-For World Commissions Are In-Line with Commissions on
               Other App Stores.......................................................................................................... 299

          4. Direct Discounts to Consumers ................................................................................... 302

     C. Google’s Anticompetitive Conduct in the Android App Distribution Market Has
          Lowered Output and Harmed Innovation .......................................................................... 305

VIII. Google’s Anticompetitive Conduct Caused Harm to Competition in the Android In-App
     Billing Services Market ........................................................................................................... 309

     A. Google’s Anticompetitive Conduct in Android In-App Billing Services Market
          Reduced Competition......................................................................................................... 310

          1. Economics of Tying ..................................................................................................... 310


                 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                                         9
           Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 11 of 598




          2. Google Has Tied Android App Distribution Through Google Play to Google Play
               Billing In-App Billing Services ................................................................................... 311

          3. Google Actively Enforces its Tie by Coercing App Developers into the Tying
               Arrangement ................................................................................................................ 315

          4. Developers May Prefer Alternatives to Google Play Billing for Various Reasons ..... 318

          5. Google’s Anticompetitive Tying Arrangement Affects Nearly All Developers and
               Foreclosed Rival In-App Billing Services Providers ................................................... 325

          6. Conclusion: Google Successfully Imposed an Anticompetitive Tie ........................... 326

     B. Google’s Anticompetitive Conduct in the In-App Billing Services Market Has
          Allowed it to Impose Supracompetitive Commissions...................................................... 326

          1. Google Has Charged Commissions Substantially Above Its Marginal Costs and
               Has Offered Lower Commissions on Several Occasions ............................................ 327

          2. Competitive But-For World Commission.................................................................... 330

          3. Competitive But-For World Commissions Are In-Line with Commissions on
               Other App Stores.......................................................................................................... 331

          4. Direct Discounts to Consumers ................................................................................... 332

     C. Google’s Anticompetitive Conduct in the Android In-App Billing Services Market
          Has Lowered Output and Harmed Innovation ................................................................... 332

IX. Google’s Anticompetitive Conduct Has Harmed Consumers in the U.S. ............................... 336

     A. Model of Competition ........................................................................................................ 336

          1. Direct Effect of Lower Commissions and Earlier Introduction of Play Points on
               Prices 337

          2. Welfare Effect through Increased Varieties (Apps)..................................................... 339

          3. Total Welfare Effect of Lower Commissions or Earlier Launch of Play Points ........ 341

     B. Developer Marginal Costs ................................................................................................. 342


                 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                                         10
            Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 12 of 598




     C. Estimating Apps’ Own Price Elasticity of Demand .......................................................... 347

     D. Methodology for Calculating Damages ............................................................................. 352

          1. Direct Effect of Lower Commissions and Greater Play Points on Prices.................... 354

          2. Welfare Effect through Increased Varieties (Apps)..................................................... 356

          3. Total Welfare Effect of Lower Commissions or Greater Play Points ......................... 356

     E. Quantification of Damages to Consumers in the Plaintiff States ...................................... 357

X.   Conclusion ............................................................................................................................... 363




                 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                                           11
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 13 of 598




I.     Introduction

       A.      Qualifications

       1.      My name is Marc Rysman. I am a Professor of Economics, and Chair of the
Department of Economics, at Boston University, where I teach undergraduate and graduate courses
in industrial organization, econometrics, antitrust, and regulation. I specialize in industrial
organization and applied econometrics, and my research focuses on industrial organization and
competition, and the related issues of antitrust and regulation. In particular, I focus on the issues of
network effects, platform markets, two-sided markets, standardization, and compatibility. I have
studied a variety of industries, such as financial markets, telecommunications, payment cards,
consumer electronics, and Yellow Pages directories. My research is primarily empirical but includes
theoretical work as well.

       2.      I have been a visiting scholar at the Federal Reserve Banks of Boston and of
Minneapolis, as well as at Harvard University, the Massachusetts Institute of Technology, and the
Center for Studies in Industrial Organization at Northwestern University. Since 2020, I have been
on the Scientific Committee for an Online Seminar on the Economics of Platforms at Toulouse
School of Economics in Toulouse, France. On invitation, I have taught several short courses in
economics related to two-sided markets, network effects, demand estimation, and econometrics,
including at Shanghai University of Finance and Economics, Fordham Competition Law Institute
Training for Agency Economists, and Hitotsubashi University. I have been an invited lecturer on
network effects, platforms, and digital industries at Toulouse School of Economics, the Federal
Reserve Bank, and the European Association for Research in Industrial Economics among others,
and at various conferences on platforms and payment networks.

       3.      I am the author or co-author of more than 35 published articles, many of which have
been published in leading peer-reviewed journals, including the American Economic Review, RAND
Journal of Economics, Review of Network Economics, the Journal of Applied Econometrics, and the
Journal of Political Economy, among others. I have also held editorial positions at leading
economic journals, including RAND Journal of Economics, Journal of Industrial Economics,
Review of Network Economics, and International Journal of Industrial Organization, and I am a
former President and current member of the Board of Directors of the Industrial Organization


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                                                    12
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 14 of 598




Society. I have received several grants from the National Science Foundation, including grants to
study network effects, and from the Networks, Electronic Commerce and Telecommunications
(NET) Institute. I have received several awards, including the Christensen Award in Empirical
Economics, the Neu Family Award for Teaching Excellence (2006 and 2012), the Gerald M. Gitner
Award for Excellence in Undergraduate Teaching in Economics (2000), Graduate Advisor of the
Year in Economics (2022), and Professor of the Year for Boston University in 2007 (as chosen by
BU’s Greek societies). I received my Ph.D. in Economics from the University of Wisconsin-
Madison in 1999 and my B.A. in Economics from Columbia University in 1992.

        4.       I have served as an expert witness in various legal proceedings, including antitrust
matters involving payment cards and the high-tech sector. I have also served as a consultant to
businesses and regulatory agencies, including the Federal Communications Commission and the
Federal Reserve Bank. In 2012, I was commissioned to write a paper on interchange fee policy and
its effect on competition in the payments card market, entitled “Payment Networks,” which I
presented to then-Chairman Ben Bernanke, then-Vice Chairman Janet Yellen, and the other
members of the Board of Governors of the Federal Reserve Bank at an “Academic Consultant’s
Conference for the members of the Board of Governors.”

        5.       A copy of my curriculum vitae, which describes my education, teaching experience,
publications, and testifying experience, is attached as Appendix A.

        B.       Assignment

        6.       I have been retained as an independent expert in antitrust economics by the
Attorneys General for 39 states, commonwealths, and districts of the United States (hereafter
referred to simply as the “States”)1 (a) to evaluate the competitive effects of certain alleged conduct




1
 The states, commonwealths, and districts include Utah, New York, North Carolina, Tennessee, Arizona, Colorado,
Iowa, Nebraska, Alaska, Arkansas, California, Connecticut, Delaware, District of Columbia, Florida, Idaho, Indiana,
Kentucky, Louisiana, Maryland, Massachusetts, Minnesota, Mississippi, Missouri, Montana, Nevada, New Hampshire,
New Jersey, New Mexico, North Dakota, Oklahoma, Oregon, Rhode Island, South Dakota, Texas, Vermont, Virginia,
Washington, and West Virginia.


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                                                        13
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 15 of 598




by Google in relation to the Google Play Store and Google Play Billing and (b) to quantify
damages, if any, to consumers in the States and nationwide resulting from this challenged conduct.

        C.       Materials Considered

        7.       To evaluate the competitive effects of Google’s challenged conduct and form my
opinions, I have reviewed a series of materials, both publicly available and those produced in this
litigation. These include Google documents, deposition testimony and associated exhibits collected
in this matter2, academic literature, regulatory reports and decisions in the U.S. and other




2
 Deposition of Christian Cramer, Finance Director for Play at Google, January 13-14, 2022 (hereafter “Cramer
(Google) Deposition”); Deposition of David Kleidermacher, Vice President, Engineering, at Google, February 3-4,
2022 (hereafter “Kleidermacher (Google) Deposition”); Deposition of James Kolotouros, Vice President, Android
Platform Partnerships at Google, February 2-3, 2022 (hereafter “Kolotouros (Google) Deposition”); Deposition of Jamie
Rosenberg, Vice President of Strategy and Operations, Platforms and Ecosystems Division, at Google, February 10,
2022 (hereafter “Rosenberg (Google) Deposition”); Deposition of Michael Marchak, Director of Play Partnerships,
Strategy and Operations, at Google, January 12-13, 2022 (hereafter “Marchak (Google) Deposition”); Deposition of
Paul Feng, Product Management Director at Google, January 14 and 18, 2022 (hereafter “Feng (Google) Deposition”);
Deposition of Sameer Samat, Vice President of Product Management at Google, February 2-3, 2022 (hereafter “Samat
(Google) Deposition”); Deposition of Tian Lim, Vice President, Engineering, Product and UX, at Google, December 2,
2021 (hereafter “Lim (Google) Deposition”); Deposition of Ruth Porat, Chief Financial Officer at Google, September
15, 2022 (hereafter “Porat (Google) Deposition”); Deposition of Paul Perryman, Vice President of Business
Development and Partnerships at Netflix, September 28, 2022 (hereafter “Perryman (Netflix) Deposition”); Deposition
of Eric Chu, Engineering Director at Meta Platforms and formerly Director of the Android Developer Ecosystem at
Google, December 20, 2021, and January 14, 2022 (hereafter “Chu (Meta Platforms (formerly Google)) Deposition”);
Deposition of Lawrence Koh, General Manager of FIFA Mobile at EA and formerly Director and Global Head of
Games Business Development at Google, December 9, 2021 (hereafter “Koh (EA (formerly Google)) Deposition”);
Deposition of Haseeb Malik, Director of Mobile Publishing at Epic Games, March 4, 2022 (hereafter “Malik (Epic
Games) Deposition”); Deposition of Patrick Brady, Vice President of Engineering for Android’s Automotive Efforts at
Google, April 21, 2022 (hereafter “Brady (Google) Deposition”); Deposition of Richard Czeslawski, Developer Class
Representative and Chief Operating Officer and President of Pure Sweat Basketball, March 21, 2022 (hereafter
“Czeslawski (Pure Sweat Basketball) Deposition”); Deposition of Lacey Ellis, Developer Class Representative and
Founder and CEO of LittleHoots LLC, March 22, 2022 (hereafter “Ellis (LittleHoots) Deposition”); Deposition of
Hiroshi Lockheimer, Senior Vice President of Platforms & Ecosystems at Google, August 15-16, 2022 (hereafter
“Lockheimer (Google) Deposition”); Deposition of Andrew Rubin, Co-founder of Android and formerly Senior Vice
President, Mobile and Digital Content, at Google, May 17-18, 2022 (hereafter “Rubin (formerly Google) Deposition”);
Deposition of Daniel Vogel, Chief Operating Officer at Epic Games, May 23, 2022, (hereafter “Vogel (Epic Games)
Deposition”); Deposition of Jonathan Gold, Finance Manager for Android at Google, June 23-24, 2022 (hereafter “Gold
(Google) Deposition”); Deposition of Kirsten Rasanen, formerly Business Development Director at Google, August 17,
2022 (hereafter “Rasanen (formerly Google) Deposition”); Deposition of Christopher Li, Director and Head of Product
Growth at Google, May 24-25, 2022 (hereafter “Li (Google) Deposition”); Deposition of Mrinalini Loew, Product Lead
for Google Play Commerce at Google, September 15, 2022 (hereafter “Loew (Google) Deposition”); Deposition of




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                                                         14
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 16 of 598




jurisdictions, trade press, and structured data, including Google’s proprietary data and third-party
data from IDC, data.ai (formerly App Annie), Statcounter, and Statista, among others. Finally, I
understand that my support team has had access to all materials produced in this matter via the
Consumers’ and States’ document management database. A list of materials that I relied upon in
forming my expert opinions described herein is attached as Appendix B.

        8.       The work presented in this report has been conducted by me and staff working under
my direction at AlixPartners, a global consulting firm. I am compensated at a rate of $700 per hour
for my work in this matter, and I receive additional compensation related to billings by staff at
AlixPartners who assisted on this report at my direction and who continue to support my work in
this matter. My compensation is not dependent on the outcome of this matter. My work is ongoing,
and I will continue to review the discovery record to understand the evidence in this case. I reserve
the right to supplement and to amend my opinions.3


II.     Summary of Opinions

        9.       Based on my analyses summarized in this report, my review of the record evidence,
and my experience as an industrial organization economist, I find that Google holds market power
in two relevant antitrust markets, each of which is pertinent to evaluating the effects of Google’s
challenged conduct. The first is the market for the distribution of Android apps on Android smart
mobile devices worldwide (excluding China) (“Android App Distribution Market”). The Android
App Distribution Market includes the Google Play Store, the online app store through which Google




Edward Cunningham, Product Manager for Android at Google, July 21-22, 2022 (hereafter Cunningham (Google)
Deposition”); Deposition of Nick Sears, Android Co-founder at Google, July 1, 2022 (hereafter “Sears (Google)
Deposition”); Deposition of Jamie Rosenberg, Vice President of Strategy and Operations, Platforms and Ecosystems
Division, at Google, July 14, 2020 (hereafter “Rosenberg (Google) Deposition 2020”); Deposition of Christopher Dury,
CEO at GetJar, September 16, 2022 (hereafter “Dury (GetJar) Deposition”); Deposition of Sandra Alzetta, Vice
President of Payments at Spotify, September 29, 2022 (hereafter “Alzetta (Spotify) Deposition”); Deposition of George
Christopoulos, Founder at SlideMe, September 9, 2022 (hereafter “Christopoulos (SlideMe) Deposition”); Deposition
of Donn Morrill, Director of Developer Relations for Entertainment Devices and Services at Amazon, August 11, 2022
(hereafter “Morrill (Amazon) Deposition”); and Deposition of Sebastian Porst, Security Engineering Manager at
Google, July 13-14, 2022 (hereafter “Porst (Google) Deposition”).
3
  For example, I understand that Google recently produced transaction data through May 2022. Due to the size of the
production and due to the technical issues that have arisen in processing the data, I reserve my rights to update my
analyses (including charts and appendices) to reflect the newly produced data.


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                                                         15
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 17 of 598




distributes mobile apps for the Android operating system;, original equipment manufacturers
(“OEMs”) Android app stores (e.g., the Samsung Galaxy Store); other third-party Android app
stores (e.g., the Amazon Appstore and F-Droid),; and sideloading (i.e., downloading an app onto a
smart mobile device directly from a developer’s website). Those distribution channels could be
competitively viable alternatives to the Google Play Store in the absence of Google’s challenged
conduct. I focus my report on smart mobile devices, which includes smartphones and tablets
(devices that allow users to download, install, and run applications), but excludes e-readers, feature
phones, and basic phones (which have more basic functionality).

       10.     The second relevant market for evaluating the competitive effects of Google’s
challenged conduct is the market for in-app billing services for purchases of digital in-app content
through apps on Android smart mobile devices worldwide (excluding China) (“the Android In-App
Billing Services Market”). There is a bundle of services associated with in-app digital content
purchases, including payment processing, for which developers could reasonably use a variety of
alternative independent service providers or self-serve. Developers who monetize in-app content
require a billing service provider to receive payment and unlock the purchased in-app content,
among other services. The billing service provider is a vendor to the developer, who requires In-
App Billing Services to sell digital in-app content to Android smart mobile device users as part of
the user experience the app provides. Thus, I find that the Android In-App Billing Services Market
includes (i) Google Play Billing, (ii) ) billing service systems provided by other Android app stores;
(iii) developers’ own billing service systems; and (iv) independent billing service providers.

       11.     Further, to identify the boundaries of the relevant markets, I perform a SSNIP
analysis, which confirms that a small increase from a competitive commission and a small decrease
from competitive direct discounts to consumers would be profitable for a hypothetical monopolist
of Android App Distribution and In-App Billing Services. For my SSNIP analysis, I first ask
whether Android App Distribution and Android In-App Billing Services Markets are defined too
narrowly. I consider whether other possible alternatives, such as the Apple App Store, act as
sufficient constraints on a hypothetical monopolist that they should be considered part of the
relevant market. Therefore, I ask whether a hypothetical monopolist of both markets would find it
profitable to impose a combined 10% SSNIP across Android App Distribution and Android In-App



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                                                  16
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 18 of 598




Billing Services. To be clear, this does not mean that Android App Distribution and Android In-App
Billing Services necessarily are in one broad single market. As stated in the U.S. Merger Guidelines
jointly published by the U.S. Department of Justice and the Federal Trade Commission: “The
hypothetical monopolist test ensures that markets are not defined too narrowly, but it does not lead
to a single relevant market.”4 I find the 10% combined SSNIP on the Android App Distribution and
In-App Billing Services Markets would be profitable and thus the combined market is not subject to
any significant competitive constraints (such as the Apple App Store and associated billing
services). I further demonstrate that Android App Distribution and In-App Billing Services are
separate and distinct product markets. The products in these two relevant markets are complements
(consumers and developers cannot have in-app content without distribution of the app), and they are
two separate products with separate demand.

        12.      Based on a number of factors, I conclude the geographic market for both product
markets is worldwide, excluding China. OEMs of Android smart mobile devices sign Mobile
Application Distribution Agreements (“MADAs”), under which Google allows them to sell Android
smart mobile devices with the Google Play Store pre-installed (and to license Google Mobile
Services (“GMS”)) in most parts of the world. Android developers can therefore reach a global
audience regardless of their location. As developers want to reach as many users as possible, their
incentive is to make their apps available globally. Many In-App Billing Service providers offer their
services worldwide, or could do so absent Google’s restraints. Android developers require In-App
Billing Services to sell digital in-app content to customers worldwide (ex. China). Finally, the
Google Play Store and Google Play Billing are unavailable in China.

        13.      I find that Google has market power in each of these markets. In each market,
Google’s market share exceeds 85% and is protected by significant barriers to entry, such as the
installed base of the Android operating system (and its attendant indirect network effects) and
contractual restrictions that thwart successful entry/expansion by would-be potential rivals. Google




4
 U.S. Department of Justice and the Federal Trade Commission, “Horizontal Merger Guidelines,” August 19, 2010,
available at https://www.justice.gov/atr/horizontal-merger-guidelines-08192010, (hereafter, “U.S. Merger Guidelines”),
p. 9.


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                                                          17
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 19 of 598




also successfully imposes a supracompetitive commission and earns supracompetitive margins,
which also show its market power.

       14.     I find that Google has monopolized each of these markets and impeded viable
competition through various anticompetitive means. In the market for Android App Distribution,
Google’s conduct restricts rival Android app stores from entry and expansion in the three key
distribution channels by which app stores can reach Android users: the Google Play Store,
preloading, and sideloading. Google has signed restrictive contracts to share monopoly rents with
mobile network operators (“MNOs”) and OEMs, sharing their monopoly rents with them, to prevent
the pre-installation of MNO, OEM, and third-party app stores and to promote the Google Play Store
over these alternatives. Google requires in the challenged agreements with OEMs that the Google
Play Store receive better or equal treatment to any other Android app store on applicable Android
smart mobile devices, which creates barriers to rivals to obtain such placement or discovery from
users. To further restrict competition from rival Android app stores and inhibit their installation on
Android smart mobile devices, Google increased user friction by erecting a series of technological
barriers to make sideloading appear less attractive, such as a cumbersome series of prompts and
warning screens when users attempt to install an alternative app store on their Android smart mobile
devices. By erecting roadblocks to each alternative method of Android App Distribution, Google
prevents meaningful competition over the distribution of other Android app stores through the
Google Play Store by foreclosing channels through which competitors could reach end-consumers,
the Android users.

       15.     Google also paid developers in exchange for not launching their titles or features
exclusively on other app stores. Google sought to cut off rival app stores’ exclusive access to apps
from high-value developers by offering incentive payments to developers. In turn, this reduced
rivals’ access to high-value consumers. Importantly, due to indirect network effects, if a rival is
unable to compete for a share of developers, the rival will attract fewer consumers, and vice-versa.
Indirect network effects thus magnify the impact of reduced competition on one side of a two-sided
market with a corresponding effect on the other.




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                                                   18
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 20 of 598




            16.   Through this combined course of conduct, Google has restricted competition by
imposing barriers in each Android app distribution channel and maintained market power in in the
market for Android App Distribution.

            17.   In the market for Android In-App Billing Services, Google has tied its Google Play
Billing to app distribution through the Google Play Store, thus leveraging its market power in
Android App Distribution into an adjacent market. Google’s behavior satisfies the standard
conditions for tying. Android In-App Billing Services, and particularly payment services, is a
separate product for which there is both separate supply (rival firms willing to supply payment
services for the purchases of in-app digital content) and separate demand (app developers that
would like to use alternative Android In-App Billing Service providers (or their own services) but
cannot because of the contract imposed by Google). There is no technological benefit to making the
combination of these separate products mandatory – indeed, some developers report worse
consumer experience using Google Play Billing and worse fraud detection. Google’s own divisions,
such as YouTube subscription services, refused to use Google Play Billing because it was inferior to
its own service. Google has market power in the tying good (Android App Distribution) and a
substantial share of the market for the tied good (Android In-App Billing Services) is foreclosed by
this tie.

            18.   Furthermore, the tie has anticompetitive consequences. Competing Android In-App
Billing Service providers may offer forms of payment that Google Play Billing does not, exposing
developers to new monetization opportunities with new consumers using different forms of
payment. By restricting developers’ ability to monetize, Google shrinks its own Android ecosystem,
and fewer developers enter to launch apps.


                                                    .5




5
    GOOG-PLAY-006829073.R-172.R, at 157.R and 170.R-171.R




              NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                    19
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 21 of 598




       19.     I find that Google’s monopolization of these markets through various
anticompetitive means allowed Google to impose a substantial overcharge and caused harm to
consumers —through higher net prices and lower variety and app availability. Whereas Google
charges a 30% commission on most app distribution and in-app content purchases, it readily offered
lower commissions when faced with even modest competitive pressure, often 15% or even lower.
Based on an analysis of these benchmark commissions, I find that competition in the Android App
Distribution and Android In-App Billing Services Markets would have led to total commission rates
of 15% or lower.

       20.     To estimate damages to consumers derived from Google’s anticompetitive conduct, I
develop an economic model of Android app distribution and in-app billing services from existing
economic literature. My model captures the fact that consumers care not just about the prices of
apps and in-app content but also the variety of apps and in-app content available through the app
store. In my model, app developers make profit-maximizing choices about prices and entry. The
higher developers’ potential margins, the more developers will enter, and the more choices and
varieties of apps consumers will have. Higher Android app store commission rates and lower
consumer discounts increase net prices to consumers, reduce profits to app developers, increase app
exit, and block new app entry, which reduces the app variety available to consumers.

       21.     I calibrate the model based on Google Play Store transaction data provided by
Google to recover suitable parameters and formulae for SSNIP and damages quantifications. For
consumer demand elasticity, my regression results are generally consistent with the consumer




                              See also Marchak (Google) Deposition, pp. 4731-4759




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                                                   20
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 22 of 598




demand elasticity calculated for the Google Play Store from the academic literature. For this
parameter, I rely on the elasticity from the economic literature because it leads to a more
conservative calculation of damages.

           22.      I use the model to estimate damages to consumers due to the high commission and
low direct discounts to consumers that Google imposed through the Google Play Store as a result of
its anticompetitive arrangements. My damages calculations accounts for the effects of Google’s
high commissions and low discounts on the prices that consumers pay and the variety of apps and
in-app content from which they may select. I provide several measures of damages that variously
hold entry constant, hold prices constant, or allow for a total effect on consumer welfare in response
to Google’s high commissions and low discounts. While the total welfare effect accounts for all the
economic effects of the high commissions and low discounts, to be conservative I take the
minimum of the total welfare damages and variety damages, where, in the latter, I hold the price
constant. In other words, in my variety damages, I assume that app and in-app prices do not change
at all in response to a reduction in Google’s commission and that developers keep 100% of the
commission reduction that would obtain in the but-for world. With that assumption, I find variety
damages in the Android App Distribution and Android In-App Billing Services Markets of roughly
                           for the period August 16, 2016, to June 5, 2023 (“the damages period”). 6 I can
also use the model to calculate the variety effect damages associated with Google Play Billing only,
which I find to be approximately                                   .

           23.      Overall, I find compelling evidence that Google has monopolized the markets for
Android App Distribution and Android In-App Billing Services through a variety of anticompetitive
acts. Despite employing a number of conservative assumptions, I find that Google has market
power in two relevant markets, generated significant harm to competition, and substantially harmed
consumers.

           24.      The remainder of this report details the analyses underlying my opinions. In Section
III, I provide background information relevant to evaluating the challenged conduct in this matter,




6
    I have been instructed by counsel to use these date ranges for my calculations.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                              21
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 23 of 598




which guided my analysis. Section IV describes the Google business entities operating in the
markets at issue, the relevant Google contractual agreements, as well as details of its challenged
conduct. In Sections V and VI, I present my analysis of market definition for the two relevant
markets and summarize evidence of Google’s market power in these markets. In Sections VII and
VIII, I present evidence that Google’s challenged conduct has harmed competition in the Android
App Distribution and Android In-App Billing Markets through increased prices, lowered output,
and reduced innovation. In Section IX, I summarize my damages model and present my estimate of
damages to consumers. Section X concludes.


III.    Mobile Ecosystems and the Digital Economy

        25.      To assess whether and to what extent Google has monopolized Android App
Distribution and Android In-App Billing Services, I start by describing the economic elements of
mobile ecosystems: the relevant technologies, including mobile devices, mobile operating systems,
and mobile applications (“apps”); the development of mobile applications and the role of app
developers; the means by which developers can distribute apps to consumers; and the function of
billing services for in-app purchases of digital content.

        A.       Mobile Technology

                 1.       Mobile Devices, OEMs, and MNOs

        26.      Mobile devices are handheld, portable computing devices that provide mobile
(cellular or wireless) network access.7 Mobile devices support various functions, such as
communicating through voice calls and text messages, taking photographs or videos, browsing the
internet with cellular or wireless networks, sharing mobile applications, and streaming music and




7
 National Institute of Standards and Technology, “Mobile Device,” available at
csrc.nist.gov/glossary/term/mobile_device.


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                                                         22
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 24 of 598




videos.8 Mobile devices include, for example, smartphones, tablets, and e-readers, as well as basic
phones and “feature phones” which generally offer a few services such as voice calling, text
messaging, and limited web browsing. 9

         27.      Smartphones are cell phones that run on a mobile operating system (“OS”) with
advanced features, such as a high-resolution touch screen that displays an interactive user interface,
a built-in camera for taking photos and videos, global positioning system (“GPS”) functionality, and
the ability to download and run sophisticated applications. 10 Smartphones generally have more
processing power and storage space, as well as greater connectivity options, than basic or feature




8
  National Institute of Standards and Technology, “Mobile Device,” available at
csrc.nist.gov/glossary/term/mobile_device; IBM, “What is mobile technology?” available at
https://www.ibm.com/topics/mobile-technology; and Verizon, “Top 10 Things to Do with Your New Smartphone,”
available at https://www.verizon.com/support/top-ten-things-to-do-with-your-smartphone/ and Google, “Send and
receive text messages (SMS & MMS),” available at
https://support.google.com/fi/answer/6205096?hl=en&co=GENIE.Platform%3DAndroid.
9
  National Institute of Standards and Technology, “Mobile Device,” available at
csrc.nist.gov/glossary/term/mobile_device. E-readers (e.g., the Amazon Kindle or Kobo Libra) are designed for reading
digital books and magazines. Basic phones (e.g., the Alcatel One Touch or Samsung Gusto 3) are standard cell phones
with two basic functions: voice calls and text messages. Feature phones (e.g., the Nokia 8000 or TTfone Titan) have
some multimedia and internet capabilities in addition to voice calling and text message functions. They typically have a
simple graphical user interface with non-touch displays and do not support additional applications. See, e.g., Giordano,
Medea, “The Best Ebook Readers,” WIRED, August 7, 2022, https://www.wired.com/gallery/best-ereaders/,
DeviceAtlas, “Feature Phones in the USA,” available at https://deviceatlas.com/blog/feature-phones-statistics-usa,
LaMarco, Nicole, “The 5 Best Basic Cell Phones of 2022,” Lifewire, February 9, 2022, available at
https://www.lifewire.com/basic-cell-phones-577534; McCrocklin, Shannon, “Basic Phones, Feature Phones, and
Smartphones for Research in Emerging Markets,” GeoPoll, July 30, 2019, available at
https://www.geopoll.com/blog/basic-phones-feature-phones-and-smartphones-for-research-in-emerging-
markets/#Feature_Phones_for_Market_Research_in_Emerging_Markets; Techopedia, “E-book Reader,” 2021,
available at techopedia.com/definition/25200/e-book-reader; Techopedia, “Feature Phone,” February 5, 2016, available
at techopedia.com/definition/26221/feature-phone; and PCMag, “Definition of feature phone,” available at
https://www.pcmag.com/encyclopedia/term/feature-
phone#:~:text=A%20cellphone%20that%20contains%20a,as%20extensive%20as%20a%20smartphone (“feature
phone[:] A cellphone that contains a fixed set of functions beyond voice calling and text messaging but is not as
extensive as a smartphone. For example, feature phones may offer Web browsing and email, but they generally cannot
download apps from an online marketplace”).
10
   Encyclopedia Britannica, “smartphone,” August 12, 2022, available at
https://www.britannica.com/technology/smartphone; and Gutierrez, Anthony, Ronald G. Dreslinski, Thomas F.
Wenisch, Trevor Mudge, Ali Saidi, Chris Emmons, and Nigel Paver, “Full-System Analysis and Characterization of
Interactive Smartphone Applications,” IEEE Int. Symp. on workload Characterization, November 6-8, 2011, pp. 81-90,
available at http://tnm.engin.umich.edu/wp-content/uploads/sites/353/2017/12/2011.10.Full-System-Analysis-and-
Characterization-of-Interactive-Smartphone-Applications.pdf, at p. 1.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           23
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 25 of 598




phones. Smartphones are also “equipped with innovative sensors” to display screens in portrait and
landscape mode, and support motion-based navigation. 11

           28.      Similar to smartphones, tablets (e.g., the Apple iPad, Samsung Galaxy Tab, or
Lenovo Tab) are touchscreen mobile devices that have Wi-Fi and cellular connectivity and the
ability to accept sophisticated applications, and are primarily used for web browsing, games, or
streaming music or videos, but are larger in size than smartphones. 12 Tablets differ from laptops; for
example, tablets tend to be “[s]maller and lighter” (and thus more portable) and “[d]esigned for
media consumption,” whereas laptops tend to be “[m]ore powerful,” “typically have more features,”
and are “[d]esigned for productivity.”13

           29.      For the remainder of this report, I use the term “smart mobile devices” to mean
smartphones and tablets, because a defining feature of smartphones and tablets is that they are
general computing devices that let users to download, install, and run applications, while non-smart




11
     Techopedia, “Smartphone,” February 25, 2019, available at techopedia.com/definition/2977/smartphone.
12
     Google, “Understanding Tablet Users,” November 2016, GOOG-PLAY-000092281.R-330.R at 299.R (


                                                                             ); Lifewire, December 6, 2021, available at
https://lifewire.com/tablets-vs-laptops-832333; PCMag, “Tablet,” available at
https://www.pcmag.com/encyclopedia/term/tablet; Verizon, “What’s the Difference Between Wi-Fi Data and Cellular
Data,” May 6, 2021, available at https://www.verizon.com/articles/verizon-unlimited-plans/whats-the-difference-
between-wifi-data-and-cellular-data/; Walker-Todd, Alex, “Best tablet 2022: the top tablets you can buy right now,”
TechRadar, September 14, 2022, available at https://www.techradar.com/news/best-tablet; and Geralt, Andrei, “Tablets
vs smartphones: Which one is more enterprise worthy?” Hexnode, July 8, 2021, available at
https://www.hexnode.com/blogs/tablets-vs-smartphones-which-one-is-more-enterprise-worthy/.
13
   Kyrnin, Mark, “Should You Buy a Tablet or a Laptop? A comparison of smart tablets and laptop computers,”
Lifewire, April 12, 2021, available at https://lifewire.com/tablets-vs-laptops-832333. So-called “2-in-1” computers (e.g.,
the Microsoft Surface) offer features of both tablets and laptops, such as detachable keyboards and higher processing
power. See, e.g., Microsoft, “Surface Pro 8,” available at https://www microsoft.com/en-gb/d/surface-pro-
8/8qwcrtq8v8xg?activetab=pivot%3aoverviewtab; Wired, “Here Come the Hybrid ‘Laplets.’ Should You Care?”
October 17, 2012, available at https://www.wired.com/2012/10/windows8-laplet-hybrid/; and Motorola Mobility,
“
                                                            ,” March 10, 2021,                                         .


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                                                           24
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 26 of 598




mobile devices are not general purpose and do not support user-installed applications through an
online app distribution platform. 14

         30.      Since the introduction of Blackberry phones in the early 2000s and the Apple iPhone
in 2007, smartphones have become ubiquitous in the United States and worldwide. 15 In 2021, U.S.
smartphone sales were expected to surpass $70 billion, compared to under $9 billion in 2007 16, and,
by 2021, 85% of Americans owned a smartphone, up from just 35% in 2011. 17 The number of
smartphone users worldwide surpassed 6.2 billion in 2021 (approximately 78% of the worldwide
population) and is projected to reach 7 billion in 2024. 18 Tablet ownership among U.S. consumers
has also increased significantly from 8% in 2011 to 53% in 2021. 19

         31.      Companies that design or manufacture smartphones and tablets are referred to as
original equipment manufacturers or OEMs. Apple, Samsung, LG, and Lenovo/Motorola are among




14
   See Techopedia, “Feature Phone,” February 5, 2016, available at techopedia.com/definition/26221/feature-phone.
Although some feature phones have pre-installed essential apps, such as WhatsApp, Facebook, and Google Maps for
basic functionalities, users cannot download or install other sophisticated apps with interactive features on these
devices. See, e.g., Nokia “Feature Phone – Nokia 8000 4G,” available at https://www nokia.com/phones/en_gb/nokia-
8000-4g?sku=16LIOW01A05. See Section V.C.4 for additional information on the differences between feature phones
and smartphones. In addition, Google’s aggregated data on app revenues shows that for apps and in-app purchases, the
share of consumer spend on tablets over the total consumer spend on all smart mobile devices was between 9.3% and
13.9% in the U.S. during 2017-2021. This indicates consumers consider tablets as complements to smartphones for
downloading apps and using apps. See Rysman Workpapers.
15
   See, e.g., Davies, Hannah, “RIP BlackBerry: A timeline of every great BlackBerry phone we reviewed,” Trusted
Reviews, January 7, 2022, available at https://www.trustedreviews.com/opinion/rip-blackberry-a-timeline-of-every-
great-blackberry-phone-we-reviewed-4194746; and Montgomery, April, and Ken Mingis, “The evolution of Apple’s
iPhone,” Computerworld, September 23, 2021, available at https://www.computerworld.com/article/2604020/the-
evolution-of-apples-iphone html.
16
   See, e.g., Statista, “Smartphone sales forecasts in the United States from 2005 to 2022,” August 11, 2022, available at
https://www.statista.com/statistics/191985/sales-of-smartphones-in-the-us-since-2005.
17
   See, e.g., Pew Research Center, “Mobile Fact Sheet,” April 7, 2021, available at pewresearch.org/internet/fact-
sheet/mobile/.
18
   Note the worldwide smartphone users include China. See Statista, “Number of smartphone subscriptions worldwide
from 2016 to 2027,” July 27, 2022, available at https://www.statista.com/statistics/330695/number-of-smartphone-
users-worldwide/; The world population in 2021 was almost 7.9 billion. United Nations, “World Population Day,”
available at https://www.un.org/en/observances/world-population-day.
19
   See, e.g., Pew Research Center, “Mobile Fact Sheet,” available at pewresearch.org/internet/fact-sheet/mobile/.


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                                                            25
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 27 of 598




the largest OEMs in terms of U.S. smartphone market share. 20 Google sells its own smart mobile
devices, primarily the Pixel smartphones and tablets. 21 OEM market shares for smartphones are
depicted in Exhibit 1 below. This shows that OEM market shares have been dynamic during that
timeframe. Larger players in 2012 (including Nokia, LG and Blackberry) had shares below 2% by
2021.
                                      Exhibit 1
          Smartphone OEM Market Shares Worldwide (excluding China), 2012 – 2021




Source: IDC, “IDC Quarterly Mobile Phone Tracker,” 2021Q4 Historical Release, February 11, 2022.
        32.      Smart mobile devices rely on cellular and wireless fidelity (“Wi-Fi”) technology to
communicate. The cellular network is a high-capacity communication network distributed over cell




20
   See O’Dea, S., “United States (U.S.) market share of smartphone original equipment manufacturers (OEMs) in the 1 st
quarter 2021,” Statista, July 12, 2021, available at https://statista.com/statistics/1187356/smartphone-original-
equipment-manufacturers.
21
   See Jobanputra, Soniya, “Pixel 6a: More of what you want for less than you expect,” Google, May 11, 2022, available
at https://blog.google/products/pixel/pixel-6a-io-2022/.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         26
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 28 of 598




sites that enables wireless transmission of voice calls and data. 22 A wireless standard defines the
protocols for communication between the different components of a cellular network such as the
base stations and mobile devices themselves. 23 Standard-setting organizations around the world
have developed common wireless cellular systems, which have advanced in subsequent releases
known as generations.24 Since the introduction of the second generation (“2G”) digital cellular
system in the early 1990s,25 “[s]ignificant advances were made with the introduction of third
generation (‘3G’) mobile broadband in the early 2000s, and innovation continue[d] … with much
faster and efficient wireless fourth (‘4G’) and … fifth generation (‘5G’) systems.” 26 “Utilization of
the mobile wireless networks for internet browsing, emailing, gaming, and mobile applications
would not be possible without the high data rates enabled by core communications technology
incorporated in the cellular standards.” 27

        33.      As smartphone adoption grew, so did the adoption of mobile internet services. The
number of mobile subscribers reached 327 million (83% of the region’s population) by 2020 in




22
   See, e.g., Samsung, “What is a Cellular network or Mobile network?” October 27, 2020, available at
https://www.samsung.com/in/support/mobile-devices/what-is-a-cellular-network-or-mobile-network/; Long, Moe,
“What is Mobile Data? Everything You Need to Know,” WhistleOut, April 15, 2022, available at
https://www.whistleout.com/CellPhones/Guides/mobile-data; and Hardesty, George, “Cellular Wireless Technologies:
5G, LTE / 4G, GSM / 3G, 2G and 6G,” Data Alliance, September 11, 2020, available at https://www.data-
alliance.net/blog/cellular-wireless-technologies-5g-lte-4g-gsm-3g-2g-and-6g/.
23
   IEEE Standard Association, “What are Standards? Why are They Important?” January 11, 2021, available at
https://beyondstandards.ieee.org/what-are-standards-why-are-they-important/ (“Standards form the fundamental
building blocks for product development by establishing consistent protocols that can be universally understood and
adopted. This helps fuel compatibility and interoperability and simplifies product development, and speeds time-to-
market.”) and Kernighan, Brian W., Understanding the Digital World: What You Need to Know About the Internet,
Privacy, and Security, First Edition, Princeton, NJ: Princeton University Press, 2017, at p. 132 (“Phones talk to the
closest base station, and when they move from one cell to another, a call in progress is handed off from the old base
station to the new one […]. Cell sizes vary, from a few hundred meters to a few tens of kilometers.”).
24
   3GPP, “About 3GPP,” available at https://www.3gpp.org/about-3gpp (“The 3GPP technologies from these groups are
constantly evolving through Generations of commercial cellular / mobile systems. With LTE and 5G work, 3GPP has
become the focal point for the vast majority of mobile systems beyond 3G. Although these Generations have become an
adequate descriptor for the type of network under discussion, real progress on 3GPP standards is measured by the
milestones achieved in particular Releases.”). See also Gupta, Kirti, “Technology Standards and Competition in the
Mobile Wireless Industry,” George Mason Law Review, Vol. 22, 2014-2015, pp. 865-874 (hereafter “Gupta (2014-
2015)”), at p. 865 and p. 874.
25
   Gupta (2014-2015), p. 865.
26
   Gupta (2014-2015), p. 865.
27
   Gupta (2014-2015), p. 874.


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                                                         27
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 29 of 598




North America with the 4G network accounting for 87% of mobile internet connections. 28 Globally,
the total number of mobile subscribers reached 5.1 billion (66% of population) in 2018 and is
expected to grow to 5.7 billion (71% of population) by 2023. 29

         34.      Providers of cellular networks are called MNOs or “carriers.” The leading MNOs in
the U.S. are AT&T, Verizon, and T-Mobile, which had a combined market share of 98.9% in the
last quarter of 2021.30 MNOs often collaborate with OEMs and OS developers to ensure mobile
device users can access mobile services such as voice calls and internet data on their devices. 31
Meanwhile, the adoption of mobile internet has been increasing quickly. 32 In addition, and as
discussed further in Section IV.B.5 below, carriers may also be involved in app distribution and in-
app payments in the form of billing services.

                  2.       Mobile Operating Systems

         35.      OEMs install mobile OSs on mobile devices to support general purpose functions
such as access to cameras, internet connections, voice and text communications, as well as the
installation, operation, and update of native mobile applications. 33




28
   See, e.g., GSMA, “The Mobile Economy North America 2021,” available at
https://www.gsma.com/mobileeconomy/wpcontent/uploads/2021/10/GSMA_ME_NorthAmerica_2021_Infographics_S
preads.pdf.
29
   See, e.g., Cisco, “Cisco Annual Internet Report (2018–2023) White Paper,” March 9, 2020, available at
https://www.cisco.com/c/en/us/solutions/collateral/executive-perspectives/annual-internet-report/white-paper-c11-
741490.html.
30
   See, e.g., Statista, “Wireless subscriptions market share by carrier in the U.S. from 1st quarter 2011 to 2nd quarter
2022,” September 9, 2022, available at https://www.statista.com/statistics/199359/market-share-of-wireless-carriers-in-
the-us-by-subscriptions/.
31
   See, e.g., Verizon, “Smartphones. Do More of the Things You Love,” available at
https://web.archive.org/web/20120301094107/http:/www.verizonwireless.com/b2c/explore/?page=smartphones; and
Brady (Google) Deposition, pp. 160-161 (describing                               with
                             .
32
   See Pew Research Center, “Mobile Fact Sheet,” April 7, 2021, available at pewresearch.org/internet/fact-
sheet/mobile/.
33
   See, e.g., Steele, Colin, “Mobile operating system,” TechTarget, March 2020, available at
https://www.techtarget.com/searchmobilecomputing/definition/mobile-operating-system. See also Tanenbaum, Andrew
and Herbert Bos, Modern Operating Systems, Fourth Edition (Global Edition), London, UK: Pearson Education
Limited, 2015, pp. 19-20, at pp. 19-20.


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                                                           28
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 30 of 598




                                                                                       . 34 For the remainder of
this report, I use the term “smart mobile OSs” as OSs designed specifically for smartphones and
tablets (i.e., smart mobile devices) that have advanced functionality such as a touchscreen user
interface.

          36.     Broadly speaking, smart mobile OSs on smartphones and tablets can be proprietary
or licensable. Proprietary (i.e., non-licensable) smart mobile OSs are developed and used
exclusively by a particular OEM. Notably, Apple has developed its own proprietary smart mobile
OS called iOS, which is available for use exclusively on iPhones and iPads. 35 Companies such as
Google and Microsoft developed mobile OSs and license them (or make them available) to third-
party OEMs for installation on their smart mobile devices. 36As shown in Exhibit 3 below, most
smart mobile devices today run a licensable OS, which is mainly Android. 37

          37.     As described in Section IV.A.1, the first mobile device with the Android OS shipped
in the fall of 2008. As presented in Exhibit 2 below, since 2013, over 70% of smartphones




34
     Email from Monma Junichi, Google, to Toru Kawamura, Google, “
                 ,” December 16, 2014, GOOG-PLAY-000450926-931, at 927 (
                                                                                  ).

                                                                                      . See Email from to Unsuk Jung,
Google, to Pranab Mookken, Google, “Subject: Re: Device approval?” April 18, 2018, GOOG-PLAY-000433886.R-
891.R, at 887.R (
                                                                                          ). See also Sirois, Sophie,
“How Do Touch Screens Work on Laptops and Tablets?” HP, December 12, 2018, available at https://www.hp.com/us-
en/shop/tech-takes/how-do-touch-screens-work; and Computer World, “Nokia unveils trio of touchscreen feature
phones,” June 6, 2012, available at https://www.computerworld.com/article/2504064/nokia-unveils-trio-of-touchscreen-
feature-phones html.
35
   Investopedia, “Apple iOS,” October 25, 2021, available at https://www.investopedia.com/terms/a/apple-ios.asp.
Although iPads for many years ran a variant the iOS used in smart phones, Apple renamed the mobile OS designed for
iPads as “iPadOS” in 2019. For purposes of this report, I use “iOS” to refer to both iOS and iPadOS. See Wuerthele,
Mike, “Apple unveils iPadOS, adding features specifically to iPad,” Apple Insider, June 3, 2019, available at
https://appleinsider.com/articles/19/06/03/apple-supplements-ios-13-with-new-tablet-specific-ipad-os-branch.
36
   Google, “Androids: The Team that Built the Most popular Operating System Ever,” GOOG-PLAY-004456799-269,
at 044 (“                                                       ”); and Vaughan-Nichols, Steven, “Debunking four
myths about Android, Google, and open-source,” ZDNet, February 18, 2014, available at
https://www.zdnet.com/article/debunking-four-myths-about-android-google-and-open-source/.
37
   See also “Google Android,” European Commission Directorate-General of Competition, Case No. AT.40099,
European Commission Decision, July 18, 2018 (hereafter “EC Google Android Decision”), at ¶ 446.


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                                                         29
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 31 of 598




worldwide (excluding China) use Google’s Android OS, with the figure reaching 82% in 2021. 38
Exhibit 2 below also shows the expansion of Android’s market share worldwide from 2012 to 2021;
Android’s share of smartphones sold worldwide grew from around 63% to 82%, while iOS’s share
remained between 16% to 22%.
                                         Exhibit 2
           Smart Mobile OS Market Shares Worldwide (excluding China), 2012 – 2021




Source: IDC, “IDC Quarterly Mobile Phone Tracker,” 2021Q4 Historical Release, February 11, 2022.
        38.      Exhibit 3 below, which depicts Android’s market share in the U.S. from 2012 to
2021, shows that, unlike the worldwide market, Android’s share of smartphones sold in the U.S. has
fluctuated between 51% and 62% during this period, and iOS’s share has grown from 40% in 2012
to 48% by 2021.




38
  Reynolds, Matt, “If you can’t build it, buy it: Google’s biggest acquisitions mapped,” Wired, November 25, 2017,
available at https://www.wired.co.uk/article/google-acquisitions-data-visualisation-infoporn-waze-youtube-android.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
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      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 32 of 598




                                        Exhibit 3
                    Smart Mobile OS Market Shares in the U.S., 2012 – 2021




Source: IDC, “IDC Quarterly Mobile Phone Tracker,” 2021Q4 Historical Release, February 11, 2022.
       39.     Exhibit 4 below shows that, within licensable smart mobile OSs (i.e., removing iOS
and BlackBerry OS from Exhibit 2 above), Android’s share of smart mobile devices sold worldwide
(excluding China) increased from around 89% in 2012 to 99% by 2017 and beyond.




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      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 33 of 598




                                      Exhibit 4
   Licensable Smart Mobile OS Market Shares Worldwide (excluding China), 2012 – 2021




Source: IDC, “IDC Quarterly Mobile Phone Tracker,” 2021Q4 Historical Release, February 11, 2022.
       40.      Similarly, Exhibit 5 below shows that within licensable smart mobile devices sold in
the U.S., Android’s share increased from 96% in 2012 to 100% by 2018, a share it has maintained
through 2021.




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       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 34 of 598




                                           Exhibit 5
                Licensable Smart Mobile OS Market Shares in the U.S., 2012 – 2021




Source: IDC, “IDC Quarterly Mobile Phone Tracker,” 2021Q4 Historical Release, February 11, 2022.

                 3.       Mobile Applications

        41.       A mobile application or “app” is software separate from the mobile OS that runs on
a smart mobile device and adds specific functionalities to the device. Once an app is installed on a
smart mobile device, the device displays the app’s icon in the user interface and the user taps the
icon to run the app.39 Even basic mobile device functionality like the dialer (i.e., phone app) 40 and
contacts list are, in fact, applications separate from the OS. 41 Around 3.5 million different




39
   Mroczkowska, Agnieszka, “What is a Mobile App? | App Development Basics for Businesses,” Droids on Roids,
February 1, 2021, available at https://www.thedroidsonroids.com/blog/what-is-a-mobile-app-app-development-basics-
for-businesses.
40
   Android, “Overview,” August 2, 2022, available at https://source.android.com/docs/devices/automotive/hmi/dialer.
41
   Google, “Android-Platform-Packages-Apps,” available at https://android.googlesource.com/platform/packages/apps/
(explaining that the Contacts app contains the “UI for the Contacts, Call log, and Dialer applications”).


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                                                         33
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 35 of 598




applications were available for download on Android smart mobile devices in 2021. 42 In 2020,
according to data from data.ai (formerly App Annie), there were over 90.4 billion application
downloads on from the Google Play Store, and Android users spent $27.1 billion on mobile
applications (both initial downloads and in-app content) on the Google Play Store, an increase of
23.7% percent in terms of revenue compared to 2019.43 According to data from data.ai, the vast
majority (99.9% in 2020) of Android applications downloaded from the Google Play Store were
free.44

          42.     There are many categories of apps, and, according to Google, 83% of apps on the
Google Play Store in the first quarter of 2022 were not gaming apps. 45 Common types of apps
include social media (e.g., TikTok and Instagram), video streaming apps (e.g., YouTube and Disney
Plus), food and drinks (e.g., DoorDash), and travel (e.g., Airbnb and Uber), among others. 46 The
most downloaded Android apps from the Google Play Store worldwide in 2020 were WhatsApp,
TikTok, Instagram, Zoom, Facebook, Google Meet, and Snapchat. 47 The largest Android apps
worldwide in terms of revenue are Google One (forecast to capture over $1 billion consumer
spending in 2021), Piccoma, Disney Plus, TikTok, and HBO Max. 48 As shown in Exhibit 6, in the




42
   See, e.g., Ceci, L., “Number of apps available in leading app stores as of 2nd quarter 2022,” Statista, August 11, 2022,
https://www.statista.com/statistics/276623/number-of-apps-available-in-leading-app-stores/.
43
   See Rysman Workpapers. For 2021 figures, see also, e.g., Chan, Stephanie, “Global Consumer Spending in Mobile
Apps Reached $133 Billion in 2021, Up Nearly 20% from 2020,” SensorTower, December 7, 2021, available at
https://sensortower.com/blog/app-revenue-and-downloads-2021.
44
   See Rysman Workpapers.
45
   For example, according to Play Console Help, Google has 32 app categories. See Google, “Choose a category and
tags for your app or game,” available at https://support.google.com/googleplay/android-
developer/answer/9859673?hl=en#zippy=%2Capps%2Cgames. In addition, Google’s monthly app revenue data
includes 35 app categories and 18 game categories. See Rysman Workpapers. Also, in the first quarter of 2022, the
number of gaming apps on the Google Play Store is about 449,000 out of 2.592 million apps in total. See Clement, J.,
“Number of available gaming apps in the Google Play Store from 1st quarter 2015 to 2nd quarter 2022,” Statista,
August 30, 2022, available at https://www.statista.com/statistics/780229/number-of-available-gaming-apps-in-the-
google-play-store-quarter/ and Ceci, L., “ Number of available applications in the Google Play Store from December
2009 to March 2022,” Statista, July 27, 2022, available at https://www.statista.com/statistics/266210/number-of-
available-applications-in-the-google-play-store/.
46
   See, e.g., Data.ai, “State of Mobile 2022,” available at https://www.data.ai/en/go/state-of-mobile-2022.
47
   See Rysman Workpapers.
48
   See, e.g., Chan, Stephanie, “Global Consumer Spending in Mobile Apps Reached $133 Billion in 2021, Up Nearly
20% from 2020,” Sensor Tower, December 7, 2021, available at https://sensortower.com/blog/app-revenue-and-
downloads-2021.


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        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 36 of 598




U.S., the three most popular apps in terms of installations are TikTok, YouTube, and Facebook, and
YouTube, Tinder, and HBO Max are ranked the top three in terms of consumer spend.
                                         Exhibit 6
       Rank of Apps in the U.S. by Downloads, Consumer Spend, and Active Users, 2021




Note: The data are combined iOS and Google Play.
Source: Data.ai, “State of Mobile 2022,” available at https://www.data.ai/en/go/state-of-mobile-2022.

         B.       Development of Mobile Applications

         43.      App developers are the designers, builders, testers, and distributors of apps, ranging
from large enterprises to single individuals.49 Developers design apps “with the limitations and
features of mobile devices in mind. For example, a game could make use of a smartphone’s
accelerometer, or a drawing pad app could make use of a tablet’s stylus.” 50 To function, mobile
applications must be written in a programming language compatible with the mobile device OS.
Different mobile operating systems require different programming languages. For example,




49
   See, e.g., Subramaniam, Pia, “Top App Development Companies (2022)” Business of Apps, September 19, 2022,
available at https://www.businessofapps.com/app-developers/.
50
   See, e.g., Ceci, L., Statista, “Mobile app usage - Statistics & Facts,” Statista, October 14, 2021, available at
statista.com/topics/1002/mobile-app-usage. An accelerometer on a smart mobile device is “a sensor that enables users
with an upgraded experience by adjusting an orientation of the app screen in the smartphone and tablet. The core
objective of the mobile phone accelerometer is, the device adapts the orientation as per the device position from
horizontal to vertical and vice-versa. To provide a comfortable viewing experience to the users, it measures the position
and orientation change of the screens.” See Sharma, Sagar, “What is Accelerometer? How to Use Accelerometer in
Mobile Devices,” Credencys, July 2, 2020, available at https://www.credencys.com/blog/accelerometer/.


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                                                           35
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 37 of 598




converting an Android app (which is based on Kotlin or Java) to iOS requires developers to rewrite
the codes in Swift or Objective-C so it can interact with iOS application programming interfaces
(“APIs”).51 Taking the code for an iOS app and downloading it to an Android mobile device would
result in a non-functional app that cannot run on Android. 52 While there are some development tools
that allows developers to build apps on one codebase across operating systems and platforms (e.g.,
mobile, web, desktop),53 these tools do not appear to be widely adopted by the developer
community, as developers prefer to build native apps for Android and iOS to optimize the unique
functionalities of each mobile OS.54 As a result, developers must spend time and resources to
develop a different app for a different OS. 55

         44.      App developers must decide for which mobile OS ecosystem(s) they want to develop
mobile apps, how to distribute them, and whether and how to receive payment for apps or purchases




51
   See, e.g., Ilyukha, Vitaliy, “How to Port Android Apps to iOS?,” Jelvix, available at https://jelvix.com/blog/porting-
android-apps-to-ios.
52
   For example, apps written for iOS require specific technical elements to support hardware and software features, such
as the Apple Touch ID fingerprint scanner and iOS notification widgets that will not function on Android devices. See
Email from Marcy, to Eric Schmidt, Google, “Subject: Your session will be great!” January 9, 2012, GOOG-PLAY-
008156711-712, at 712 (                                                                                          ). See also
Dury (GetJar) Deposition, p. 69 (

                                                         ); and Costello, Sam, “Can you Run iPhone Apps on Android
and Windows?,” Lifewire, March 20, 2021, available at https://www.lifewire.com/running-iphone-apps-android-and-
windows-1999072.
53
   One example of the cross-platform development tool is the Google-owned Flutter. See Flutter, “Build Apps for Any
Screen,” available at https://flutter.dev.
54
   See Competition and Markets Authority, “Mobile ecosystems – Market study Final report,” June 10, 2022, available
at
https://assets.publishing.service.gov.uk/government/uploads/system/uploads/attachment_data/file/1096277/Mobile_ecos
ystems_final_report_-_full_draft_-_FINAL__.pdf (hereafter “CMA Final Report on Mobile Ecosystems”), ¶¶ 4.160-
4.161.
55
   Brady (Google) Deposition, p. 72 (



                                                                                                 ); and Dury (GetJar)
Deposition, pp. 163-164; Morrill (Amazon) Deposition, p. 259 (


                                     ). .


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                            36
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 38 of 598




made through apps. As detailed below, due to network effects 56, an ecosystem and OS will become
more valuable to developers as the number of users increases.

        45.      Since Android and iOS are the two leading mobile OSs with the largest user base in
the U.S. (and globally), app developers have an incentive to develop apps for both platforms. 57
First, as explained in greater detail below in Section V.C.4,


                                                                              . 58 This is a practice known as
“single-homing.” Developers therefore likely do not view Android users and iOS users as
substitutes; rather, developers recognize these two user bases as separate but complementary
populations that together form nearly all of the customer base available to consume apps. 59 Second,
some apps—such as social networking, dating, ridesharing, and gaming apps—run “cross-
platform,” that is, on a system shared by users of both Android and iOS devices. 60 These apps often




56
   I discuss network effects in Section V.A.2 below.
57
   See, e.g., Bresnahan, Timothy, Joe Orsini, and Pai-Ling Yin, “Demand heterogeneity, inframarginal multihoming,
and platform market stability: Mobile apps,” Working Paper, September 2015, available at https://digital.hbs.edu/wp-
content/uploads/2017/12/Demand-Heterogeneity-Inframarginal-Multihoming-and-Platform-Market-Stability-Mobile-
Apps.pdf, pp. 24, and 28. Android and iOS are the two leading OSs among all types of smart mobile devices. See
Statcounter, “Mobile Operating System Market Share United States Of America,” available at
https://gs.statcounter.com/os-market-share/mobile/united-states-of-america and Statcounter, “Mobile Operating System
Market Share Worldwide,” available at https://gs.statcounter.com/os-market-share/mobile/worldwide.
58
   Compass Lexecon, “An economic assessment of the effects of Apple’s Licence Agreement with Spotify,” April 9,
2019, STATEAGS_0023196-250, at 202
                                    . See also CMA Final Report on Mobile Ecosystems, ¶ 3.39 (“Most users appear to
only have smartphones that use one operating system – 80% of users appear to only use one smartphone and evidence
suggests that even when users are purchasing an additional smartphone, it is normally one using the same operating
system”).
59
   As I discussed in my chapter, competing platforms are seen as complementary products by agents on one side with
the presence of single-homing agents on the other side. See Jullien, Bruno, Alessandro Pavan, and Marc Rysman, “Two-
sided Markets, Pricing, and Network Effects,” Handbook of Industrial Organization, Vol. 4, No. 1, 2021, pp. 485-592
(hereafter “Jullien (2021)”), at p. 43.
60
   Email from Google Alerts, Google, to Eric Chu, former Engineering Director for Google, “Subject: Google Alert -
android,” October 31, 2016, GOOG-PLAY-001085889-890, at 889
                                                                  . See also Lyft, “Phone software recommendations and
settings,” available at https://help.lyft.com/hc/en-us/all/articles/115013080508-Phone-software-recommendations-and-
settings; Matthews, Dylan, “9 questions about the dating app Hinge you were too embarrassed to ask,” Vox, March 19,
2015, available at https://www.vox.com/2015/3/19/8257357/hinge-explained; and Cash, Adam, “Top 16 iOS Android
Cross-Platform Games,” iSkysoft, May 5, 2022, available at https://www.iskysoft.com/phone-transfer/ios-android-cross-
platform-games.html.


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                                                         37
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 39 of 598




become more valuable as more consumers use the app, which further incentivizes developers to
develop an app for both platforms. .

        46.      Moreover, because users of mobile OSs largely single-home (meaning they have a
single smart mobile device or prefer to maintain their smart mobile devices on one OS, typically
iOS or Android), for developers, choosing one OS over the other would risk losing scale and
leaving market share open to competitors willing to design cross-platform apps. 61 Many developers
therefore develop apps for both Android and iOS (i.e., the developers “multi-home” by targeting
both user groups). According to App Annie, all of the top 100 apps on the Google Play store are
also available on the Apple App Store. 62 Further, Google notes that
                               63
                                    and that “app developers typically multi-home across different
operating systems.”64.

        C.       Distribution of Mobile Applications

        47.      App developers can distribute apps to Android smart mobile device users in three
main ways: (i) through Android app stores like the Google Play Store; (ii) by reaching an agreement
with an OEM or carrier to pre-load the app on an Android smart mobile device before sale to the
end-user; or (iii) directly to Android smart mobile device users via a download from the developer’s




61
   Economic theory suggests that the incentives for agents on one side to multi-home are inversely related to the
measure of agents who multi-home on the other side of a platform. For instance, in a market of morning and evening
newspapers, readers may read only a single newspaper, whereas advertisers who want to reach all newspaper readers
would choose to place ads in all of them. Since the majority of smart mobile device users single-home on one mobile
OS, developers tend to multi-home across mobile OSs to benefit from greater interactions and the differentiation of both
Android and iOS. See Jullien (2022) at p. 43 and Rysman, Marc, “The Economics of Two-Sided Markets,” Journal of
Economic Perspectives, Vol. 23, No. 3, 2009, pp. 125-143 (hereafter “Rysman (2009)”), at p. 130. See also CMA Final
Report on Mobile Ecosystems, ¶¶ 4.162-4.180.
62
   See Appendix C.
63
   See, e.g., Google, “App Distribution and the GMS Suite,” GOOG-PLAY-001497762-785, at 784.
64
   See CMA Final Report on Mobile Ecosystems, ¶ 4.148.


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          38
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 40 of 598




own website or a third-party website, colloquially known as “sideloading.” 65,66 In addition,



                                                                                                                          67



                    1.      App Stores

           48.      App stores are online marketplaces that allow users to search for, download, and
install a range of apps onto their smart mobile devices. 68 While apps are available to users either for
free or for a charge in app stores, developers are usually required to pay a registration fee to publish
any apps, free or paid.69 App stores themselves are apps; specifically, a type of software compatible
with the OS on which they are built. The Apple App Store is the proprietary app store on iOS and




65
  See, e.g., Android Developers, “Publish your app,” August 10, 2022, available at
https://developer.android.com/studio/publish; Lim (Google) Deposition, pp. 273-274 (“Q.


                                   ); and Kleidermacher (Google) Deposition, p. 139 (“Q.
                                                                                                            ).
66
  To a much lesser extent, developers can also in theory reach users through peer-to-peer (p2p) sharing by end-users to
each other over email, local WiFi, Bluetooth, or hard media storage such as SD Cards and hard drives; such practices
are more common in remote areas with limited cellular access. In particular, p2p file transfer apps such as ShareIt are
gaining popularity in low bandwidth regions including


        ) and Google, Untitled, GOOG-PLAY-000801782-784, at 782 (“
                                                                                ). See also Staltz, André, “Nov 2019
update,” Manyverse Blog, November 5, 2019, available at https://www manyver.se/blog/2019-11-update (describing
sharing of the app to “off grid” users in Mexico and Brazil).
67
   Email from Mike Cleron, Google, to Hiroshi Lockheimer, Senior Vice President of Platforms & Ecosystems for
Google, “Subject: Re:                                               ” December 10, 2014, GOOG-PLAY-
004449004-006, at 004 (

                                            ).
68
     See Lim (Google) Deposition, p. 80 (
                                                                                    ). See also EC Google Android
Decision, ¶ 86.
69
   For example, there is a $25 one-time registration fee for a developer to register to use the Google Play Console and
thereby publish any number of apps to Google Play. See Google, “How to use Play Console,” available at
https://support.google.com/googleplay/android-developer/answer/6112435. Apple charges a $99 registration fee. See
Apple, “Apple Developer Program,” available at https://developer.apple.com/support/compare-memberships/.


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                                                           39
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 41 of 598




cannot be downloaded to Android smart mobile devices, while the Google Play Store is the
dominant app store for Android OS and cannot be downloaded or installed to, or even operate on,
iOS smart mobile devices.70

           49.        Besides the Google Play Store, there are several alternative app stores that can serve
as app distribution channels on Android smart mobile devices, including the Amazon Appstore, and
F-Droid, as well as the Samsung Galaxy Store, which is available only on Samsung devices. 71
However, competing Android app stores have much smaller user bases than the Google Play Store,
even when they have relatively high installed bases. For instance,
                                                        72
                                                             and, according to Google documents,


                                                                                               73
                                                                                                    As discussed in
Section VII, these alternative Android app stores may not be distributed to Android users through
the Google Play Store, but instead can be pre-loaded on Android smart mobile devices by an OEM
(in the case of the Samsung Galaxy Store on Samsung smart mobile devices) or sideloaded by
Android users (in the case of Amazon Appstore, F-Droid, and others).




70
     Balancing Act,                         July 2011, GOOG-PLAY-005571079-209, at 191 (


                                        ).
71
   Poetker, Bridget, “The Must-Know Mobile App Stores (Native and Third-Party Options),” G2, June 13, 2019,
available at https://www.g2.com/articles/app-stores. See Samsung, “Frequently asked questions about Galaxy Store,”
available at
https://www.samsung.com/us/support/answer/ANS00076970/#:~:text=Galaxy%20Store%20for%20phone%20or%20ta
blet&text=Galaxy%20Store%20is%20only%20available%20on%20Samsung%20devices (“Galaxy Store is only
available on Samsung devices”).
72
   Email from Vikram Natarajan, Google, to Guru Nagarajan, Google,
April 30, 2017, GOOG-PLAY-008681354-355, at 354 (                                                                 )
and Takahashi, Dean, “Samsung Galaxy App Store gains ground in the U.S. with each smartphone launch,” Venture
Beat, April 22, 2017, available at https://venturebeat.com/mobile/samsung-galaxy-app-store-gains-ground-in-the-u-s-
with-each-smartphone-launch/.
73
   Google,                                  March 2019, GOOG-PLAY-001265881.R-922.R, at 883.R.


              NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
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        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 42 of 598




                 2.       Sideloading

        50.      In addition to downloading apps from the Google Play Store or alternative Android
app stores, users can also sideload apps onto their Android smart mobile devices. 74 “Sideloading”
refers to the direct downloading and installation of Android installation packages (“APKs”) directly
from websites, which allows users to bypass app store apps. 75 For instance, some popular gaming
apps (e.g., Fortnite) are available to Android users only through sideloading or an app store besides
the Google Play Store.76

        51.      According to Google documents, sideloading is only possible on Android smart
mobile devices if users change device settings to permit installations from “Unknown Sources” and
click through system-generated warning messages that pop up throughout the sideloading process. 77
For example, in 2015, consumers who attempted to install the                                               —a
competing app store—received a series of warning messages as shown in Exhibit 7 below.




74
  An equivalent form of app distribution off the App Store on iOS is called “jailbreak.” See, e.g., Nield, David, “How
to Install Apps From Outside Your Phone's App Store,” WIRED, August 9, 2020, available at
https://www.wired.com/story/install-apps-outside-app-store-sideload/.
75

               See Google,                                         October 7, 2016, GOOG-PLAY-000042623.R-
639.R, at 625.R.
76
   Epic Games, “Play Fortnite on Android,” available at https://www.epicgames.com/fortnite/en-US/mobile/android/.
See also F-Droid, “Packages,” available at https://www.f-droid.org/en/packages/.
77
   Google,                                             November 2015, GOOG-PLAY-000575018.R-038.R, at 021.R
(                                                  ); Google,                              March 17, 2016, GOOG-
PLAY-004494298.R-325.R, at 318.R-321.R; Samat (Google) Deposition, pp. 178-185; and Hoff, John, “How To:
Sideloading Apps on Your Android Device,” Android Community, April 17, 2018, available at
https://androidcommunity.com/how-to-sideloading-apps-on-your-android-device-20180417/.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           41
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 43 of 598




                               Exhibit 7




  NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                 42
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 44 of 598




        52.      Google documents indicate that sideloading is limited. For example, Google data
indicates that


                                       78



        D.       In-App Billing Services

        53.      After downloading applications, many apps provide consumers the option of
purchasing extra digital content within the app, e.g., to upgrade the user experience or unlock
additional features.79 For the remainder of this report, I use “in-app purchase” to mean purchasing
digital content from within the app where the content is used and without the user exiting the
“mobile app environment.”80 The revenue generated from in-app purchases far surpasses the
revenue from purchases of paid app downloads. For example,




78
  Google,                   April 26, 2021, GOOG-PLAY-001508603 (data as of December 1, 2020). These data
reflect


                                        See Cunningham (Google) Deposition, pp. 442-443 (“




                      ). See also Cunningham (Google) Deposition, p. 438 (“




                                                                                         ” See also Letter from
Benjamin G. Bradshaw, O’Melveny, to John D. Byars, Bartlit Beck, April 29, 2022.
79
   See Google, “Make in-app purchases in Android apps,” available at
https://support.google.com/googleplay/answer/1061913?hl=en. In-app payments occur in both free and paid apps (on
top of the initial payment to download the app). See Adjust, “What is an in-app purchase?” available at
https://www.adjust.com/glossary/in-app-purchase/.
80
   Cramer (Google) Deposition, p. 426 (“                                                                 ”).


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        43
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 45 of 598



                                                           81
                                                                In 2020, worldwide consumer spending on in-
                                                                                                              82
app purchases, subscriptions, and paid apps in the Google Play Store reached                                       Gross
consumer spending in app stores across all platforms reached $170 billion in 2021, with more than
230 apps and games surpassing $100M in annual consumer spending and 13 of them surpassing
$1 billion.83

         54.      To complete in-app purchases, mobile apps use in-app billing services to verify a
consumer’s payment card information and release the digital content to the end-user upon payment
confirmation.84 Providers of in-app billing services may (or may not) also offer additional functions,
such as invoicing, payment history, and refund processing. 85 In-app billing services are software
solutions (coded in software development kits (“SDKs”) or APIs) that enable users to purchase




81
   See Rysman Workpapers.
82
   Chan, Stephanie, “Global Consumer Spending in Mobile Apps Reached a Record $111 Billion in 2020, Up 30% from
2019,” Sensor Tower, January 2021, available at https://sensortower.com/blog/app-revenue-and-downloads-2020.
Assuming the amount of spending by purchase type for worldwide consumer spending is the same as app revenue
breakdown for the U.S., worldwide consumer spending for in-app purchases, subscriptions, and paid apps were
                                               See Rysman Workpapers.
83
   Data.ai, “State of Mobile 2022,” available at https://www.data.ai/en/go/state-of-mobile-2022 (Note that global
consumer spending includes those on iOS, Google Play, and third-party Android stores in China).
84
   Dubrova, Daria, “How to integrate payment systems into the existing app,” The App Solutions, available at
https://theappsolutions.com/blog/development/payment-systems-for-the-app/.
85
   For example, Amazon’s In-App Purchasing API performs the following workflow: “logic to display the purchasable
item,”; “perform the purchase,”; “handle any preconditions or error scenarios.” It does not offer refunds on purchases of
in-app items or track consumers’ purchases. See Amazon Appstore, “In-App Purchasing Overview,” February 25, 2022,
available at https://developer.amazon.com/docs/in-app-purchasing/iap-overview html. See also First Amended
Complaint, ¶ 169.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           44
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 46 of 598




digital content within an app.86,87 In-app billing services generally include receiving payment and
authorizing the unlocking of the purchased in-app content. 88 A payment gateway works as a virtual
terminal at checkout to encrypt credit card information / payment credentials from the customer and
pass them to payment processors, which then pass a consumer’s payment data to an issuing bank,
collect funds from the card-issuing bank, and transfer the funds to the merchant’s account after
deducting a fee.89


                                                                     90


         55.      Depending on the type of in-app purchase, developers can use third-party
independent billing service providers, develop their own billing service within their apps, or use
Google Play Billing or other app store billing services to complete in-app purchases on Android




86
   For example, “Samsung In-App Purchase (IAP) is a payment service that makes it possible to sell a variety of items
in applications for Samsung Galaxy Store and internally manages communication with supporting IAP services in the
Samsung ecosystem, such as Samsung Account, Samsung Checkout, and Samsung Rewards. In-App Purchase can be
used either to make a one-off payment or to pay for a regular subscription. Items that can be sold through In-App
Purchase include premium content, virtual goods such as in-game items, and specific services with different length
license terms.” Samsung IAP also offers SDK and server APIs that allow the developer to “easily integrate IAP
functionality into your app, such as configuring IAP, getting item details, offering and selling items, and managing
purchased items” and “communicate with IAP server to verify item purchases, create a service token, and check
subscription status.” See Samsung, “What is Samsung In-App Purchase?” available at
https://developer.samsung.com/iap/overview.html.
87
   For example, Amazon explains their In-App API functionality as follows: “The In-App Purchasing (IAP) API allows
your app to present, process, and fulfill purchases of digital content and subscriptions within your app … With In-App
Purchasing (IAP), your app's users can purchase various types of digital items within your app, such as extra lives for a
game or a subscription to premium content.” See Amazon Appstore, “In-App Purchasing Overview,” May 18, 2022,
available at https://developer.amazon.com/docs/in-app-purchasing/iap-overview html.
88
   Xsolla, for example, is an online payment gateway that connects to credit cards networks (e.g., Visa), integrated
billing service providers (e.g., PayPal), and payment systems (e.g., Apple Pay and Google Pay). See Xsolla, “Pay
Station,” available at https://xsolla.com/products/paystation and Xsolla, “Grant Purchases to User,” August 22, 2022,
available at https://developers.xsolla.com/solutions/web-shop/catalog-and-items/grant-purchases/. As another example,
Zuora is a payment processor specializing in subscription billing services. See Zuora, “Billing Software,” available at
https://www.zuora.com/products/billing-software/.
89
   See, e.g., Dublino, Jennier, “Payment Gateway vs. Payment Processor,” business.com, September 20, 2022, available
at https://www.business.com/articles/payment-gateway-vs-payment-processor/.
90
   Chu (Meta Platforms (formerly Google)) Deposition, p. 259 (“



                                               .


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           45
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 47 of 598




smart mobile devices.91 Google has different rules for purchases of physical goods (e.g.,
housewares, clothing, electronics) and services (e.g., food delivery, transportation services, event
tickets) than it has for ‘digital’ content; while Google requires use of Google Play Billing for in-app
purchases, Google forbids using Google Play Billing for the purchase of physical goods or services,
credit card and utility payments, peer-to-peer payments, or gambling. 92 Digital content includes
subscription services, access to ad-free or premium content, game currencies or equipment, and
cloud storage services. 93 Unlike for digital content, there are many major third-party providers of
billing services for physical goods and services purchased on Android smart mobile devices,
including, for example, PayPal, Adyen, Braintree, and Stripe. 94,95 In contrast to Google’s historical
30% rate to developers, these billing service providers charge a rate at or below 2.99% plus 49 cents
per transaction, as shown in Exhibit 8.96




91
   See, e.g., Perez, Sarah, “Google Play to pilot third-party billing option, starting with Spotify,” TechCrunch, March 23,
2022, available at https://techcrunch.com/2022/03/23/google-play-to-pilot-third-party-billing-option-globally-starting-
with-spotify/; Google, “Payments,” available at https://support.google.com/googleplay/android-
developer/answer/9858738?hl=en; and Stripe, “Stripe Android SDK,” Github, available at
https://github.com/stripe/stripe-android.
92
   See Google, “Payments,” available at https://support.google.com/googleplay/android-
developer/answer/9858738?hl=en.
93
   See Google, “Payments,” available at https://support.google.com/googleplay/android-
developer/answer/9858738?hl=en. See, e.g., Google, “Make in-app purchases in Android apps,” available at
https://support.google.com/googleplay/answer/1061913. See also Apple, “Buy additional app features with in-app
purchases and subscriptions,” December 17, 2021, available at https://support.apple.com/en-us/HT202023.
94
   See, e.g., PayPal Editorial Team, “Payments Processing 101: Learn how your money gets to you,” Paypal, September
10, 2019, available at https://www.paypal.com/uk/brc/article/how-online-payments-processing-works.
95
   Additionally, developers may have coded/integrated payment processors or payment gateways such as Xsolla or Nets
directly into the app. See Xsolla, “Find Ways to Grow with Xsolla Business Engine,” available at
https://xsolla.com/solutions. See Nets, “Nets is part of Nexi Group – the European PayTech,” available at
https://www.nets.eu/who-we-are. See, for example, a list of notable online billing service providers: Craig, William, “9+
Excellent Online Payment Systems,” Webfx, March 2, 2022, available at https://www.webfx.com/blog/web-
design/online-payment-systems/.
96
   See also Dubrova, Daria, “How to integrate payment systems into the existing app,” The App Solutions, available at
https://theappsolutions.com/blog/development/payment-systems-for-the-app/.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                            46
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 48 of 598




                                              Exhibit 8
                Select Alternative Billing Service Providers and Payment Methods 97




Notes:
1.   Commissions reflect U.S. card transactions. The fees can fluctuate depending on the payment method and region.
2.   Braintree is a subsidiary of PayPal.
3.   Adyen transaction fee reflects Mastercard and Visa networks.
4.   Information current as of September 29, 2022.
         56.      As described in Section IV.A.5 below, Google inserts its own billing services into
the purchase flows of digital in-app content for apps downloaded through the Google Play Store and
mandates the processing of payments through Google Play Billing before an item is delivered. 98

         57.      Developers, in theory, can also build their own billing services within their apps
(rather than using a third-party solution). For example, Spotify and Google recently announced the
User Choice Billing program that will allow users to choose whether to use Spotify’s own billing
system and Google Play Billing, presented with those options side-by-side. 99 While Spotify’s
payments for purchases transacted through the Google Play Store are processed through Google
Play Billing, to handle their complex payment subscriptions, Spotify’s software engineers use a




97
   Adyen, “Pricing,” available at https://www.adyen.com/pricing; Braintree, “Pricing,” available at
https://www.braintreepayments.com/braintree-pricing; PayPal, “PayPal Merchant Fees,” September 19, 2022, available
at https://www.paypal.com/us/webapps/mpp/merchant-fees; Stripe, “Pricing built for businesses of all sizes,” available
at https://stripe.com/pricing#pricing-details; Adyen, “Our customers,” https://www.adyen.com/customers; Braintree,
“Braintree Merchants,” available at https://www.braintreepayments.com/learn/braintree-merchants; Etsy, “Etsy
Payments Policy,” June 6, 2022, available at https://www.etsy.com/legal/etsy-payments/; and Stripe, “Customers,”
available at https://stripe.com/customers.
98
   Google, “Purchase flow,” July 15, 2021, available at https://developers.google.com/standard-
payments/concepts/tokenized_fop/purchase-flow.
99
   Samat, Sameer, “Exploring User Choice Billing With First Innovation Partner Spotify,” Android Developers Blog,
March 23, 2022, available at https://android-developers.googleblog.com/2022/03/user-choice-billing html. See also
Perez, Sarah, “Google Play to pilot third-party billing option, starting with Spotify,” TechCrunch, March 23, 2022,
available at https://techcrunch.com/2022/03/23/google-play-to-pilot-third-party-billing-option-globally-starting-with-
spotify/.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          47
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 49 of 598
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 50 of 598




users who downloaded their app through the Google Play Store that this alternative billing solution
is available.


IV.        Google Agreements and the Challenged Conduct

           A.       Google Background

                    1.          Development of the Android Mobile OS

           59.      Android, Inc. was developed in October 2004
                          101




          102

                                         103

                                                                                104


                                                 105
           60.


                                               106
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101
      Rubin (formerly Google) Deposition, pp. 24-25 (



                                      . See also Elgin, Ben, “Google Buys Android for Its Mobile Arsenal,” Business
Week, August 17, 2005, available at https://www.tech-insider.org/mobile/research/2005/0817.html.
102
    Sears (Google) Deposition, pp. 24-25 (                                                                          ).
103
    Sears (Google) Deposition, p. 25.
104
    Rubin (formerly Google) Deposition, p. 24.
105
    Rubin (formerly Google) Deposition, p. 24.
106
    Rubin (formerly Google) Deposition, pp. 26 -27 (


                                                                      ).


                NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          49
             Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 51 of 598



              107                                                                                              108




        109




       110

                                                                                111


              61.




107
      Sears (Google) Deposition, p. 28; Sears (Google) Deposition, pp. 184-185 (



                                                        ).
108
      Rubin (formerly Google) Deposition, p. 26 (
                                                             ); Google, “Key Themes,” GOOG-PLAY-001135055-086, at
057 (
          ); Sears (Google) Deposition, p. 184 (


                                                                           ).
109
      Sears (Google) Deposition, p. 186 (



                                                                                      .
110
      Sears (Google) Deposition, p. 186



                                                                                                         ; and Roth,
Daniel, “Google’s Open Source Android OS Will Free the Wireless Web,” Wired, June 23, 2008, available at
https://www.wired.com/2008/06/ff-android/, (“Rubin said his startup, called Android, had the solution: a free, open
source mobile platform [. . . ] He would make his money by selling support for the system—security services, say, or
email management.”).
111
    Rubin (formerly Google) Deposition, pp. 48-49 (


                                     .


                    NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                               50
           Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 52 of 598



                 112                                                                                          113
                                                                                                                    —
                                                                               114

                                                                                                                    115

                                                  116


           62.         Android debuted on its first commercial mobile device, the HTC Dream, in
September 2008 on the T-Mobile network, where it was alternatively branded the G1. 117 As
explained in greater detail below in Section IV.B.5, Google and T-Mobile entered into a series of
agreements accompanying the launch of the G1.

                       2.     Android Mobile OS at Release

           63.         Google announced Android to the public in 2008.118 The Android mobile OS was
built on the Linux kernel, part of an existing OS. 119 Android originally included a suite of free and




112
      Sears (Google) Deposition, pp. 32-33.
113
      Roth (2008)
                                                   .
114
      Sears (Google) Deposition, p. 33 (


             ).
115
    Roth, Daniel, “Google’s Open Source Android OS Will Free the Wireless Web,” Wired, June 23, 2008.
116
    Rubin (formerly Google) Deposition, p. 28 (                                                           ); Google,
“Key Themes,” GOOG-PLAY-001135055-086, at 057 (                                                           ); Google,
“Google’s Next Revolution,” GOOG-PLAY-001422296-304 at 301 (
                  ); Manjoo, Farhad “A Murky Road Ahead for Android, Despite Market Dominance,” N.Y. Times, May
27, 2015, available at https://www nytimes.com/2015/05/28/technology/personaltech/a-murky-road-ahead-for-android-
despite-market-dominance html (“Android reportedly cost at least $50 million”).
117
    Rubin (formerly Google) Deposition, p. 57 (
                                           ); Cragg, Oliver, “Remembering the first Android phone, the T-Mobile G1
(HTC Dream),” Android Authority, September 24, 2021, available at https://www.androidauthority.com/first-android-
phone-t-mobile-g1-htc-dream-906362 (“But that relationship started with the first Android phone, launched on
September 23, 2008, the HTC Dream. Just under a month later, the same phone went on sale in the US on October 22
for a price of $179 called the T-Mobile G1.”).
118
    See Open Handset Alliance, “Google and the Open Handset Alliance Announce Android Open Source Availability,”
October 21, 2008, available at http://www.openhandsetalliance.com/press_102108 html.
119
    Google, “Android Anatomy and Physiology,” GOOG-PLAY-010100574-693, at 578 (
                                   (emphasis in original)); Callaham, John, “The history of Android: The evolution of
the biggest mobile OS in the world,” Android Authority, August 13, 2022, available at
https://www.androidauthority.com/history-android-os-name-789433/.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         51
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 53 of 598




open-source apps, including an instant messaging app, browser, camera, calculator, contact list,
calendar, email app, clock, and a media player. 120 In contrast to Apple’s iOS, open-source Android
is not, upon release, proprietary to Google. The Android source code is available for use for free
under the terms of the Apache License (discussed in Section IV.B.1 below), and anyone may
download it from Google’s website. 121


                  .122


                              123




120
   Google,                                        GOOG-PLAY-010100574-693, at 576; Google, “2008 Google I/O
Session Videos and Slides: Anatomy & Physiology of an Android.” available at
https://sites.google.com/site/io/anatomy--physiology-of-an-android; and Brady (Google) Deposition, p. 321


121
    See Android, “Android Open Source Project,” available at https://source.android.com; Brady (Google) Deposition,
pp. 42-43



                                                                         ; Google, “Android Strategy and
Partnerships Overview,” June, 2009, GOOG-PLAY-008389054-089, at 062
                                                                ); Rosenberg (Google) Deposition, p. 187 (

                                                                                                               ;
Google,                             GOOG-PLAY-009295801-815, at 814
              .
122
  See Google,                                                                February 2, 2018, GOOG-PLAY-
001559464.R-496.R, at 468.R


                 ”). See also DeviceAtlas, “Android forks: Why Google can rest easy, for now,” available at
https://deviceatlas.com/blog/android-forks-why-google-can-rest-easy-for-now (“There are two kinds of Android forks –
‘compatible’ and ‘non-compatible’.”).
123
    Email from Patrick Brady, Vice President of Engineering for Android’s Automotive Efforts at Google, to Daniel
Conrad,                                                            June 12, 2009, GOOG-PLAY-008389051, and
attachment                                                  June 2009, GOOG-PLAY-008389054-089, at 062
                                                                                                         and 063.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         52
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 54 of 598




                     3.      Google Mobile Services

           64.       I understand that


             124
                   In addition to the Android OS, Google offers Google Mobile Services (“GMS”), which
is composed of a suite of proprietary “Google applications and APIs that help support functionality
across devices” (such as Gmail, YouTube, and Google Maps), available only to OEMs that execute
separate license agreements with Google.125                                                     126

                                                                                                          127


GMS “is available [to OEMs] only through a license with Google,” which requires pre-installation
of the Google Play Store in a preferential location on the device home screen. 128 Unlike the




124
      Rosenberg (Google) Deposition, pp. 189-190


                                                                       .
125
  See, e.g., Android, “Google Mobile Services,” available at https://www.android.com/gms/; and Rosenberg (Google)
Deposition, pp. 189-190


                                           and pp. 192-193


                                                                                                Kolotouros
(Google) Deposition, pp. 60-61                                                                   and p. 62


126
      Android Global Business Team, “Android 101,” May 2019, GOOG-PLAY-000128863.R-908.R at 876.R (

and Kolotouros (Google) Deposition, p. 448


127
      Brady (Google) Deposition, p. 45


Email from Patrick Brady, Vice President of Engineering for Android’s Automotive Efforts at Google, to Wirelessbiz,
                                                                       October 13, 2008, GOOG-PLAY-008471716-
720, at 717

128
   Android, “Android Compatibility Program Overview,” available at
https://source.android.com/docs/compatibility/overview. See Exhibit 61.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         53
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 55 of 598




Android OS, GMS is not open source, but is integrated at the system level, which enables
developers to incorporate Google services such as Google Pay into their apps. 129,130




                         .131

           65.         As explained in greater detail in Section IV.B.4 below,


                 132




129
    Wankhede, Calvin, “What are Google Mobile Services (GMS)?,” Android Authority, March 3, 2022, available at
https://www.androidauthority.com/google-mobile-services-gms-3025963/.
130
    As discussed in paragraph 76, Google Pay is different from in-app billing services like Google Play Billing but is
instead a payment system that allows consumers to store their credit card information in the “digital wallet” on their
mobile device and make purchases or send money with their smartphones.
131



                                               See Google, “Mobile Application Distribution Agreement
(Android),” June 17, 2014, GOOG-PLAY-000449883-897, at 885. See also Brady (Google) Deposition, p. 44

                 P. 98
                                                                         and pp. 190-191

                                                                          ; and Rosenberg (Google) Deposition, pp. 192-
193



132
      Google,                            GOOG-PLAY-009295801-815, at 810
                                     Brady (Google) Deposition, pp. 201-202


                                                                        ; Li (Google) Deposition, p. 194

                                                      ; Email from Yeum Doug, Google, to Patrick Brady, Vice
President of Engineering for Android's Automotive Efforts at Google,                                      April
27, 2010, GOOG-PLAY4-000341393-394 at 393




                NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           54
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 56 of 598



                                                                               133
                                                                                     that Google sunset or stopped
updating, as explained below in Section VII.A.

                 4.       The Google Play Store

        66.      The Google Play Store is, according to Google, “a platform that app developers can
use to distribute apps, and consumers can use to discover and install apps, on devices running the
Android OS.”134 Google Play sells not only apps, but also other digital content like movies, TV
shows, and books.135

        67.      The predecessor to the Play Store was “Android Market,” which Google launched in
October of 2008 with the early Android smart mobile devices, such as the T-Mobile G1. 136




133

                                                              See Brady (Google) Deposition, p. 292 (“



                                                                         .
134
    “Google’s Responses and Objections to Epic’s Second Set of Interrogatories,” Epic Games Inc. v Google LLC et al.,
United States District Court Northern District of California San Francisco Division, Case No. 3:20-cv-05671-JD and
Case No. 3:21-md-02981-JD, August 19, 2021.
135
    “Google’s Responses and Objections to Epic’s Second Set of Interrogatories,” Epic Games Inc. v Google LLC et al.,
United States District Court Northern District of California San Francisco Division, Case No. 3:20-cv-05671-JD and
Case No. 3:21-md-02981-JD, August 19, 2021 (explaining that Google Play is “a platform that app developers can use
to distribute apps, and consumers can use to discover and install apps, on devices running the Android OS.”); and
Google Play, “How Google Play works,” available at https://play.google.com/about/howplayworks/ (explaining that
“people go to find their favorite apps, games, movies, TV shows, books, and more.”).
136
    Rubin (formerly Google) Deposition, p. 58

                        ; Brady (Google) Deposition p. 35

                                                                                           EC Google Android
Decision, ¶ 123; German, Kent, “A brief history of Android phones,” CNET, August 2, 2011, available at
http://www.cnet.com/news/a-brief-history-of-android-phones/.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         55
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 57 of 598




                                                                                          ” 137



                 138
                       Google explained that its use of the word “market” instead of “store” was
intentional to highlight its openness to developers for distributing their content to consumers: “We
chose the term ‘market’ rather than ‘store’ because we feel that developers should have an open and
unobstructed environment to make their content available.” 139

           68.


                                140
                                      Google also sold Android smart mobile devices through




137
      Brady (Google) Deposition, pp. 150-151



                                        ; Google, “Android Strategy and Partnerships Overview,” June 2009, GOOG-
PLAY-008389054-089, at 085 (


138
  Email from Patrick Brady, Vice President of Engineering for Android’s Automotive Efforts at Google, to Mark
Vandenbrink, Vice President of Technology Solutions at Samsung Telecommunications America, “Subject: RE: Yet
Another Question,” November 5, 2009, GOOG-PLAY-001501104-106, at 105

                           ; Brady (Google) Deposition, pp. 456-457 (




139
    Android Developers, “Android Market: a user-driven content distribution system,” August 28, 2008, available at
https://android-developers.googleblog.com/2008/08/android-market-user-driven-content html.
140
    Rubin (formerly Google) Deposition, p. 430

                                                                                                             ); Brady
(Google) Deposition, p. 35 (

                                               ); and Email from Justin Mattson, Google, to Dan Morill,
Google, and Eric Chu, Google, “Subject:
             ” December 17, 2009, GOOG-PLAY-004338990-993, at 990 (
                                        .


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                                                             56
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 58 of 598




Android Market.141


                                           ”142

           69.         In 2011, Google started discussing rebranding Android Market under a code name
                                                                                                                   143
called
Patrick Brady, then-Director of Android Partner Engineering,



                 144                                                                     145




                                                                                          146




141
      Google,                          GOOG-PLAY-003773053.R-065.R
                       Gold (Google) Deposition, pp. 34-35; Email from Cristina Bita, Google, to Sundar Pichai,
Google, June 2, 2013, GOOG-PLAY4-000038856-858, at 857; Gold (Google) Deposition, p. 161


142
      Google, “Android Strategy and Partnerships Overview,” June 2009, GOOG-PLAY-008389054-089, at 085.
143
      Brady (Google) Deposition, p. 266

                                                      and pp. 269-271.
144
    Email from Patrick Brady, Vice President of Engineering for Android's Automotive Efforts at Google, to Eric Chu,
Engineering Director at Meta Platforms and formerly Director of the Android Developer Ecosystem at Google,
                                          March 24, 2011, GOOG-PLAY-005668770-771, at 770.
145
    Email from Patrick Brady, Vice President of Engineering for Android's Automotive Efforts at Google, to Eric Chu,
Engineering Director at Meta Platforms and formerly Director of the Android Developer Ecosystem at Google,
                                           March 24, 2011, GOOG-PLAY-005668770-771, at 770; Brady (Google)
Deposition, pp. 269-270

                 ; Brady (Google) Deposition, pp. 270-271.
146
   Email from Patrick Brady, Vice President of Engineering for Android's Automotive Efforts at Google for Google, to
Hugo Barra, Google, Shari Doherty, Google, Eric Chu, Engineering Director at Meta Platforms and formerly Director
of the Android Developer Ecosystem at Google, Marc Vanlerberghe, Google, Michael Siliski, Google, Hiroshi
Lockheimer, Senior Vice President of Platforms & Ecosystems at Google, John Lagerling, Vice President of Business
Development Mobile and Product Partnerships at Meta (formerly Facebook) and formerly Senior Director of Android
Global Partnerships at Google, Jamie Rosenberg, Vice President of Strategy and Operations, Platforms and Ecosystems
Division, at Google, Matias Duarte, Google,                                     ” April 26, 2011, GOOG-PLAY-
006339980-982, at 980; Brady (Google) Deposition, pp. 290-291.


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                                                         57
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 59 of 598




        70.      Ultimately, Google “consolidated all of the operating system’s content stores into
[…] the Google Play Store,” which launched and replaced Android Market in March 2012. 147 With
the launch of the Google Play Store, Google rebranded Google Music, Google Books, and Google
Movies to Google Play Music, Google Play Books, and Google Play Movies, respectively, and
made them available within the Google Play Store. 148

        71.      By 2014, the Google Play Store became the “largest Google business outside of its
advertising efforts.”149 In 2015, the Google Play Store stopped selling hardware devices and focused
on the download and purchase of digital content. 150

        72.      More than 3.5 million apps were available on the Google Play Store as of the second
quarter of 2022, making it the largest app store across all mobile operating systems in the world
(excluding China where the Google Play Store is not permitted to operate due to Chinese
government’s restrictions on Google’s commercial activities after 2010 151).152 The Google Play
Store gained more than 1 billion monthly active users as early as 2015 153 and generated 111.3
billion app downloads in 2021.154




147
    Callaham, John, “From Android Market to Google Play: a brief history of the Play Store,” Android Authority, March
6, 2017, available at https://www.androidauthority.com/android-market-google-play-history-754989/ (hereafter
“Callaham (2017)”). See Chu (Meta Platforms (formerly Google)) Deposition, p. 29
                                                                                     ”).
148
    Rutnik, Mitja, “What was Android Market and how is Google Play different?,” Android Authority, December 4,
2017, available at https://www.androidauthority.com/android-market-google-play-different-787082/.
149
    Grush, Andrew, “Google Play is now Google’s biggest cash maker after advertising,” Android Authority, June 25,
2014, available at https://www.androidauthority.com/google-play-biggest-cash-maker-397156/.
150
    Callaham, John, “From Android Market to Google Play: a brief history of the Play Store,” Android Authority, March
6, 2017.
151
    See D’onfro, Jilian “Google is missing out on billions of dollars by not having an app store in China, new data
shows,” CNBC, January 17, 2018, available at https://www.cnbc.com/2018/01/17/google-misses-out-on-billions-in-
china html.
152
    See, e.g., Statista, “Number of apps available in leading app stores as of 2 nd quarter 2022,” August 11, 2022,
available at https://www.statista.com/statistics/276623/number-of-apps-available-in-leading-app-stores/.
153
    See, e.g., Weber, Harrison, “Android passes 1.4B active devices as Google Play passes 1B active users,” Venture
Beat, September 29, 2015, available at https://venturebeat.com/2015/09/29/android-passes-1-4b-active-devices-google-
play-passes-1b-active-users/; and Dogtiev, Artyom, “App Stores List,” Business of Apps, May 4, 2022, available at
https://www.businessofapps.com/guide/app-stores-list/.
154
    See, e.g., Statista, “Annual number of app downloads from the Google Play Store worldwide from 2016 to 2021,”
January 3, 2022, available at https://www.statista.com/statistics/734332/google-play-app-installs-per-year/.


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                                                         58
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 60 of 598




                    5.      Google Play Billing

           73.      When Android Market launched in October of 2008,
                                                               155
                                                                     Google added the feature in late March
2011 as “In-app Billing.”156 Google Play Billing is Google’s billing service that facilitates
processing payments (and other services) for single, non-recurring purchases of digital content and
recurring subscriptions in the Google Play Store.157 According to Google, Google Play Billing


                                                                          158
                                                                                Besides processing payments and
authorizing purchases, Google Play Billing “tracks products and transactions using purchase tokens
and Order IDs” on Google Play Store and provides “post-purchase experiences,” such as reminders
about free trials ending, refunds, and subscriptions management. 159 Google describes a purchase
token as “a string that represents a buyer's entitlement to a product on Google Play. A purchase
token indicates that a Google user is entitled to a specific product that is represented by a purchase




155
      Brady (Google) Deposition, p. 467

          and Chu (Meta Platforms (formerly Google)) Deposition, p. 108


156
    Chu, Eric, “In-app Billing Launched on Android Market,” Android Developers Blog, March 29, 2011, available at
https://android-developers.googleblog.com/2011/03/in-app-billing-launched-on-
android html#:~:text=Today%2C%20we%27re%20pleased%20to,purchases%20from%20within%20your%20apps.
157
    Android, “Google Play’s billing system overview,” June 29, 2022, available at
https://developer.android.com/google/play/billing.
158
    See, e.g., Android Developers, “Google Play Billing,” available at https://developer.android.com/distribute/play-
billing; Loew (Google) Deposition pp. 116-117




                                                                            ; Brady (Google) Deposition pp. 224-25


159
   See Android Developers, “Google Play’s billing system overview,” available at
https://developer.android.com/google/play/billing. See also Kochikar, Purnima, “Google Play’s billing system: Update,”
Google India Blog, October 5, 2020, available at https://blog.google/intl/en-in/products/platforms/google-plays-billing-
system-update/.


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                                                          59
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 61 of 598




object.”160 An Order ID is “a string that represents a financial transaction on Google Play. This
string is included in a receipt that is emailed to the buyer.” 161 Google tells developers that they “can
use the Order ID to manage refunds in the Google Play Console.”162

        74.      To publish apps on the Google Play Store, developers need to set up a Google Play
developer account to access the Google Play Console, a platform for developers to publish and
manage their apps on the Google Play Store.163 After apps have been developed (but before being
published on the Play Store), developers must integrate the Google Play Billing Library API, an
interface that launches purchase requests and handles transactions, into their apps to enable the sales
of in-app digital content. 164 However, some parts of Google’s in-app billing services, such as
verifying purchases and issuing refunds, are not available in the Google Play Billing Library API. 165
Thus, developers need to also integrate the Google Play Developer API on the Play Console to




160
   See Android Developers, “Google Play’s billing system overview,” June 29, 2022, available at
https://developer.android.com/google/play/billing; Loew (Google) Deposition pp. 53-54 (



                                                             .
161
   See Android Developers, “Google Play’s billing system overview,” June 29, 2022, available at
https://developer.android.com/google/play/billing; Loew (Google) Deposition p. 57

             .
162
    See Android Developers, “Integrate the Google Play Billing Library into your app,” June 29, 2022, available at
https://developer.android.com/google/play/billing/integrate.
163
    See Android Developers, “Getting ready,” August 17, 2022, available at
https://developer.android.com/google/play/billing/getting-ready. See also Google Play Console, available at
https://play.google.com/console/about/.
164
    See Loew (Google) Deposition p. 49


                                                                 Android Developers, “Getting ready,” August 17,
2022, available at https://developer.android.com/google/play/billing/getting-ready. See also Android Developers,
“Integrate the Google Play Billing Library into your app,” June 29, 2022, available at
https://developer.android.com/google/play/billing/integrate.
165
    See Android Developers, “Getting ready,” August 17, 2022, available at
https://developer.android.com/google/play/billing/getting-ready (“The Google Play Developer API is a server-to-server
API that complements the Google Play Billing Library on Android. This API provides functionality not available in the
Google Play Billing Library, such as securely verifying purchases and issuing refunds to your users.”).


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                                                          60
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 62 of 598




complete the integration of Google Play Billing.166 I understand, from reviewing the Google
Payments Policy and the deposition of Lawrence Koh,



                                                168


           75.      Until 2018, Google charged an average commission of 30% on developers of all
purchase types in the Google Play Store, for which Google required the use of Google Play Billing
(as shown in Exhibit 36).169 In recent years, Google has implemented some limited changes to its
commission structure. Exhibit 10 below summarizes Google’s most recent commission structure as
of January 1, 2022. For example, Google implemented a separate policy for developers whose users
are in South Korea, due to a regulatory change requiring that developers be permitted to use
alternative in-app billing systems instead of Google Play Billing. For these developers, “the service
fee for such transactions using the Additional Billing System is equal to the service fee applicable




166
    See, e.g., Android Developers, “Google Play Billing,” available at https://developer.android.com/distribute/play-
billing. See also Android Developers, “Getting ready,” August 17, 2022, available at
https://developer.android.com/google/play/billing/getting-ready (“The Google Play Developer API is a server-to-server
API that complements the Google Play Billing Library on Android. This API provides functionality not available in the
Google Play Billing Library, such as securely verifying purchases and issuing refunds to your users.”); and Samat
(Google) Deposition, pp. 470-471




167
   See, e.g., Google Play Help, “Learn about refunds on Google Play,” available at
https://support.google.com/googleplay/answer/2479637?hl=en-
GB#:~:text=Your%20Play%20Pass%20subscription%20can,month%20in%20which%20you%20cancelled (“It’s less
been than 48 hours since you bought an app or made an in-app purchase: you can request a refund through Google
Play.”); and Play Console Help, “Understanding Google Play’s payments policy,” available at
https://support.google.com/googleplay/android-developer/answer/10281818. See also Koh (EA (formerly Google))
Deposition, p. 383


168
      See Koh (EA (formerly Google)) Deposition, p. 383



169
  Note that the commission rate is averaged by developer in each year. Google Transaction Data. See Rysman
Workpapers.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          61
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 63 of 598




for transactions via Google Play’s billing system reduced by 4%.” 170 Additionally, in the European
Economic Area (EEA), Google recently announced “a new program to support billing alternatives
for European Economic Area (EEA) users, allowing developers of non-gaming apps selling digital
content or services the option of offering their users in the EEA an alternative to Google Play's
billing system… When a consumer uses an alternative billing system, the service fee the developer
pays will be reduced by 3%.”171 The changes in Google Play’s commission structure are
summarized in Exhibit 10 below:

                                                 Exhibit 10
                             Changes to Google Play Billing’s Commission Tier
Target group                                                     Effective Date                 Commission tier
Developers who are enrolled in the 15% commission                                         15% for the first $1M (USD)
tier                                                     July 1, 2021                     of earnings each year
Developers who are enrolled in the 15% commission                                         30% for earnings in excess of
tier                                                     July 1, 2021                     $1M (USD) each year
Developers who are not enrolled in the 15%
commission tier                                          Since at least 2012              30%
Developers who offer alternative in-app billing
system in South Korea                                    December 18, 2021                Commission reduced by 4%
Automatically renewing subscription products
purchased by subscribers                                 January 1, 2022                  15%
Developers enrolled in User Choice Billing pilot
program                                                  September 1, 2022                Commission reduced by 4%

Note:
1.    Commission tiers with an effective date since at least 2012 are indicated by the average commission rate across
      developers, based on Google Transaction data.
2.    While Google is advertising a 4% reduction in the commission, Spotify, the only current member of the User
      Choice Billing program, pays Google a total commission of        subject to
                                                  . See Alzetta (Spotify) Deposition p. 43


                                                                                          ).




170
    See Play Console Help, “Service fees,” available at https://support.google.com/googleplay/android-
developer/answer/112622. See also Park, Kate, “South Korea passes ‘Anti-Google law’ bill to curb Google, Apple in-
app payment commission,” August 31, 2021, available at https://techcrunch.com/2021/08/31/south-korea-passes-anti-
google-law-bill-to-curb-google-apple-in-app-payment-commission/.
171
    See Play Console Help, “Offering an alternative billing system for users in the European Economic Area (EEA),”
available at https://support.google.com/googleplay/android-developer/answer/12348241?hl=en&ref_topic=3452890.


              NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                            62
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 64 of 598



Sources:
1.    Google, “Service fees,” 2022, available at https://support.google.com/googleplay/android-
      developer/answer/112622.
2.    Google, “Enrolling in the user choice billing pilot,” 2022, available at
      https://support.google.com/googleplay/android-developer/answer/12570971?hl=en.
3.    Google, “Changes to Google Play’s service fee in 2021,” 2021, available at
      https://support.google.com/googleplay/android-developer/answer/10632485?hl=en.
4.    Google Transaction Data.
          76.      Note that digital wallets such as Google Pay are different from in-app billing services
like Google Play Billing. Google Pay is a payment system that allows consumers to store their
credit card information in the “digital wallet” on their mobile device and make purchases or send
money with their smartphones.172 Transactions on Google Pay are executed via third-party
“payment processors” (e.g., Braintree and Stripe) employed by the app developer. 173 While Google
Pay does not charge users or merchants for payments, merchants have to pay commissions to the
payment processors they use.174 Google Pay cannot generally be used to purchase apps on the
Google Play Store or to purchase in-app content from the Google Play Store outside the U.S. and
U.K.175 Payment methods—such as credit cards, direct carrier billing, cash, and gift cards—are
likewise distinct from in-app billing services.

                   6.       Google Play Points

          77.      In 2018, Google launched the Google Play Points rewards program, which “rewards
users for any purchase they make on Play — including apps, games, in-app items, music, movies,
books, and subscriptions - and for downloading select apps and games” and lets participants use




172
    See, e.g., Google Play Help, “What is Google Pay?” available at
https://support.google.com/pay/answer/9026749?hl=en-GB&co=GENIE.Platform%3DAndroid.
173
    A list of payment processors that support Google Pay can be found in Google Pay, “Participating processors,”
available at https://developers.google.com/pay/api#participating-processors.
174
    See, e.g., Google Developers, “Frequently Asked Questions - Google Pay API,” February 9, 2022, available at
https://developers.google.com/pay/api/web/support/faq (“Google Pay doesn't additionally charge users, merchants, and
developers additional fees to use the Google Pay API for payments. Merchants, specifically, continue to pay processing
fees to their payment processor.”).
175
    Play Console Help, “Accepted payment methods on Google Play,” available at
https://support.google.com/googleplay/answer/2651410 (“In the United States and United Kingdom, you can use your
Google Pay balance to pay for your purchase. Simply make sure there's enough money in your Google Pay balance to
cover the total amount of the purchase.”).


              NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           63
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 65 of 598




points to get discount coupons, in-app items, or Google Play Credit. 176 Google initially launched
Google Play Points in Japan and then South Korea and subsequently rolled out the program to 28
countries with plans to keep expanding (as of May 2022).177 It was launched in the U.S. in
November 2019.178 The points system is tiered, allowing users who collect enough points in a
calendar year to “level up,” earning the user even more points and benefits. 179 In the U.S., users
earn “1 point for every $1 USD [they] spend with Google Play.” 180

        78.




                                                                                      ” 181

        79.




176
    See 9to5Google, “Google Play Points rewards program goes official, only works in Japan for now,” September 18,
2018 available at https://9to5google.com/2018/09/18/google-play-points-official-rewards-program-japan/. However,
Google Play Store only expanded to the U.S. in 2019 (See AndroidGuys, “Google Play Store rewards program expands
to US,” November 4, 2019, available at https://www.androidguys.com/news/google-play-points-play-store-rewards-
program). See also Google Play Help, “Join Google Play Points,” available at
https://support.google.com/googleplay/answer/9077312?hl=en&co=GENIE.CountryCode%3DU (hereafter “Join
Google Play Points”); and Android Developers Blog, “Introducing Google Play Points in the U.S.,” November 4, 2019,
available at https://android-developers.googleblog.com/2019/11/introducing-google-play-points-in-us.html.
177
    See 9to5Google, “Google Play Points rewards program goes official, only works in Japan for now,” September 18,
2018 available at https://9to5google.com/2018/09/18/google-play-points-official-rewards-program-japan/; Mu-Hyun,
Cho, “Google Play introduces reward points in South Korea,” ZDNet, April 22, 2019, available at
https://www.zdnet.com/article/google-play-introduces-reward-points-in-south-korea/; Mok, Winston, “Google Play
Points: a rewards program for all the ways you Play,” November 4, 2019, available at
https://www.blog.google/products/google-play/google-play-points-rewards-program-all-ways-you-play; and Google
Play, “Google Play Points,” available at https://play.google.com/console/about/programs/googleplaypoints/.
178
    Mok, Winston, “Google Play Points: a rewards program for all the ways you Play,” November 4, 2019, available at
https://www.blog.google/products/google-play/google-play-points-rewards-program-all-ways-you-play.
179
    See Join Google Play Points.
180
    Join Google Play Points. There is some variation in the program across certain geographies.
181
    See Google, “Play 2021/25,” October 28, 2020, GOOG-PLAY-002650052.R-138.R, at 076.R.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        64
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 66 of 598




the One store in Korea:
                                                                 182


        80.      Google expected increased loyalty would lead to increased spending and retain users
within the Play Store. For example, when introducing the program,


           183




                                                 .




182
    See Google,                                ” November 2, 2018, GOOG-PLAY-000286779.R-847.R, at 842.R. See
also Chadhoury, Saheli Roy and Sam Shead, “South Korea passes bill limiting Apple and Google control over app store
payments,” CNBC, September 1, 2021, available at https://www.cnbc.com/2021/08/31/south-korea-first-country-to-
curb-google-apples-in-app-billing-policies html.
183
    See Google,                                  November 2, 2018, GOOG-PLAY-000286779.R-847.R, at 781.R.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        65
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 67 of 598




                                                    Exhibit 11




Source: Google Transaction Data.
        81.


                                                                         185
                                                                               ).




184
    Exhibit 11, Exhibit 12, and Exhibit 13 are based on a 10% random sample of the Google Transactions Data for 2012
to July 3, 2021. The developers are worldwide excluding Chinese developers. All transactions relate to U.S. consumers.
185
    Play Points analysis in Exhibit 12 and Exhibit 13 are based on a 10 percent random sample of the Google
Transactions Data for the period 2012 to July 3, 2021. The developers are worldwide excluding Chinese developers. All
transactions relate to U.S. consumers.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          66
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 68 of 598
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 69 of 598



Source: Google Transaction Data.
        82.      Further discussion and analysis of Google Play Points is provided in Section VII.B.4.

        B.       Google’s Agreements with Carriers, OEMs, and Developers

         83.     Google’s relationships with OEMs, MNOs, developers, and consumers relating to
 the Android OS and Google Play Store are governed by an array of complex and interconnected
 contracts. I summarize below my general understanding of these agreements, which is based on my
 team’s review of Google’s agreements and testimony from Google witnesses explaining them.
 Where appropriate, I generalize based on specific examples of these agreements; however, I
 understand Google entered these agreements with different partners, at different times, and some
 agreements may have custom amendments that others do not. My team has attempted to record, as
 shown in the exhibits in my report, a core set of agreements that Google has executed with the
 largest OEMs. My use of examples below is for illustrative purposes only; the actual terms of the
 agreements themselves governed particular partners. I reserve the right to offer testimony on any
 particular agreement if asked to do so.

        84.          Google’s agreements with partners vary in the degree of “control” Google has over
the particular device subject to the agreement, as depicted in the excerpt from a Google document in
Exhibit 14 below.186




186
  Google,                             May 23, 2013, GOOG-PLAY-009295801-815, at 814; Brady (Google)
Deposition, p. 210



             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                     68
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 70 of 598
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 71 of 598



                                                       187
                                                             The Apache 2.0 license does not require
 negotiations between Google and the partner; the partner agrees to its terms as a matter of course in
 distributing smart mobile devices with the Android OS. 188 The Apache 2.0 license grants a
 “perpetual, worldwide, non-exclusive, no-charge, royalty-free, irrevocable” copyright and patent
 license to reproduce or create derivative versions of the Android OS source code (i.e., the AOSP
 code) but “does not grant permission to use the trade names, trademarks, service marks, or product
 names” for Android.189 Amazon is an example of an OEM with an open-source Android license
 that has designed an Android fork.190




187
   Android Open Source Project, “Content License,” available at
https://source.android.com/license#:~:text=The%20majority%20of%20the%20Android,under%20GPLv2%20or%20oth
er%20license (hereafter “Content License”); Brady (Google) Deposition, pp. 42-43 (




188
      Brady (Google) Deposition p. 208


                                                                                                  The Apache Software
Foundation, “Apache License, Version 2.0,” available at https://www.apache.org/licenses/LICENSE-2.0 (hereafter
“Apache License, Version 2.0”), at §§ 2-3.
189
    Apache License, Version 2.0, § 6; see also Content License (“While the documentation itself is available to you
under the Apache 2.0 license, note that proprietary trademarks and brand features are not included in that license.
Google’s trademarks and other brand features (including the android stylized typeface logo) are not included in the
license.”); and EC Google Android Decision, ¶ 156 (“The AOSP [Android Open Source Project] license further does
not grant members of the Android ecosystem the right to use the Android logo and other Android related trademarks
that Google owns.”).
190
    See Morrill (Amazon) Deposition, p. 214

                                                                . See also, Hines, Mike, “Over 75% of Android Tablet
Apps We Tested Just Work on Kindle Fire, with No Additional Development Required,” Amazon developer, August
21, 2013, available at https://developer.amazon.com/blogs/post/Tx5Z9RFM248DMJ/Over-75-Of-Android-Tablet-Apps-
We-Tested-Just-Work-On-Kindle-Fire-With-No-Additi#; Stanton, William, “Is the Amazon Fire Tablet Considered an
Android Device?” Alphr, April 13, 2020, available at https://www.alphr.com/amazon-fire-tablet-android-device/;
Ziegler, Chris, “What is an ‘Android device’?” The Verge, December 29, 2011, available at
https://www.theverge.com/2011/12/29/2668214/what-is-an-android-device.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         70
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 72 of 598




                   2.    Mobile Application Distribution Agreement (“MADA”)

          87.      Google’s MADA agreements impose several requirements on OEMs.


                                                                                                      191




                                             192

                                                                                                            193




                                             194




191
  Google,                                                   November 1, 2017, GOOG-PLAY-009640439-467, at
445
                                                                                        ; Google,
                                   April 1, 2017, GOOG-PLAY-000618261-281, at 264

                                                                 and Google,
            January 1, 2011, GOOG-PLAY-000857382-393, at § 2.7

192
    See, e.g., Google,                                            July 1, 2010, GOOG-PLAY-001089998-011, at
§ 2.2 and Google,                                             November 1, 2014, GOOG-PLAY-000617749 -766 ,
at 753.
193
    Google,                          May 23, 2013, GOOG-PLAY-009295801-815, at 810
                                        ; Brady (Google) Deposition, pp. 201-202


                                                                               ; Li (Google) Deposition, p. 194

                                                                        and Email from Doug Yeum, Google, to
Patrick Brady, Vice President of Engineering for Android's Automotive Efforts at Google,
            April 27, 2010, GOOG-PLAY4-000341393-394, at 393


194
   See, e.g., Google,                                              November 1, 2009, GOOG-PLAY-001477713-
726 , at § 3(d)(2)                                                                               and 1.16,




             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       71
           Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 73 of 598



                          195


                                                  . 196


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             88.
 A summary of each MADA executed with major OEMs is attached as Appendix D.

                     3.         Anti-Fragmentation Agreement (“AFA”) and Android Compatibility
                                Commitment (“ACC”)

             89.
                                                                                     199




195
      See, e.g., Google,                                      January 1, 2011, GOOG-PLAY-000857437-448, at 440

                                        .
196
      Brady (Google) Deposition, pp. 202-203 (


197
  See, e.g., Google,                                                                     December 1, 2018, GOOG-
PLAY-000808375-397, at 384
             Google,                                                          July 1, 2017, GOOG-PLAY-000618559-
581, at 567-568

                                      ); and Rosenberg (Google) Deposition, p. 196-197

           .
198
      Kolotouros (Google) Deposition, p. 93


199
      Brady (Google) Deposition, pp. 190-191




               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                            72
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 74 of 598



                                                             200




                                                                         ”201

         90.     In 2015, the European Commission opened proceedings “against Google to
 investigate … conduct in relation to its Android mobile operating system as well as
 applications,”202 and to investigate, among other things, “whether Google has illegally hindered the
 development and market access of rival mobile applications or services by requiring or
 incentivising smartphone and tablet manufacturers to exclusively pre-install Google’s own
 applications or services.”203 In July 2018, the EC concluded that, among other things, Google’s
 “licensing of the Play Store and the Google Search app conditional on hardware manufacturers
 agreeing to the anti-fragmentation obligations in the AFAs…constitutes an abuse of Google’s
 dominant positions in the worldwide market (excluding China) for Android app stores.” 204,205

         91.     Following the European Commission’s investigation into Google’s Android business
 practices, Google “informed the Commission of its intention to notify hardware manufacturers of
 the option to enter into an ‘Android Compatibility Commitment’ (‘ACC’) in place of an AFA.” 206 I




200
                                                                                 May 9, 2012, GOOG-PLAY-
003604523-525, at 523.
201
                                                                                    May 9, 2012, GOOG-PLAY-
003604523-525, at 523.
202
    European Commission, “Antitrust: Commission sends Statement of Objections to Google on Android operating
system and applications,” April 20, 2016, available at
https://ec.europa.eu/commission/presscorner/detail/en/IP_16_1492.
203
    See European Commission, “Antitrust: Commission opens formal investigation against Google in relation to Android
mobile operating system,” available at https://ec.europa.eu/commission/presscorner/detail/en/MEMO_15_4782.
204
    “Summary of Commission Decision of 18 July 2018 relating to a proceeding under Article 102 of the Treaty on the
Functioning of the European Union and Article 54 of the EEA Agreement (Case AT.40099 – Google Android),”
Official Journal of the European Union, November 28, 2019, ¶¶ 18-20, available at https://eur-lex.europa.eu/legal-
content/EN/TXT/PDF/?uri=CELEX:52019XC1128(02)&from=EN.
205
    On September 14, 2022, the Court of Justice of the European Union “largely confirms the Commission’s decision
that “Google imposed unlawful restrictions on manufacturers of Android mobile devices,” and imposing a fine of
€4.125 billion. See Court of Justice of the European Union, “Judgment of the General Court in Case T-604/18 | Google
and Alphabet v Commission (Google Android),” September 14, 2022.
206
    See EC Google Android Decision, ¶ 170; Li (Google) Deposition. pp. 118-119




            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        73
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 75 of 598



                                                                                            07




         208




                                                                                209




            210


         92.      Following the EC Google Android Decision, I understand Google has not enforced
 the ACC requirements in the European Economic Area (“EEA”) since October 19, 2018,
 permitting OEMs to offer first-party non-compatible Android smart mobile devices in the EEA
 only.211

                  4.      Android Compatibility Test Suite (“CTS”) and Compatibility Definition
                          Document (“CDD”)

         93.      For an OEM to market its device as an Android device, the OEM’s implementation
 of Android must (1) be compatible with the standardized Android build that Google specifies in the




207



        See Kolotouros (Google) Deposition, p. 92
                                                              Appendix D summarizes the major OEMs that have
executed MADAs.
208
    Google,                GOOG-PLAY-000128863.R-908.R, at 877.R; Google, “
                              November 18, 2020, GOOG-PLAY-001090167-170, at 167.
209
    Google,                                                                February 2, 2018, GOOG-PLAY-
001559464.R-496.R, at 477.R
                                                                                    EC Google Android Decision ¶
171.
210
    Google,                                                                (February 2, 2018, GOOG-PLAY-
001559464.R-496.R, at 477.R.
211
    Lockheimer, Hiroshi, “Complying with the EC’s Android decision,” Google, October 16, 2018, available at
https://www.blog.google/around-the-globe/google-europe/complying-ecs-android-decision/ (“First, we’re updating the
compatibility agreements with mobile device makers that set out how Android is used to develop smartphones and
tablets. Going forward, Android partners wishing to distribute Google apps may also build non-compatible, or forked,
smartphones and tablets for the European Economic Area (EEA)”).


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         74
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 76 of 598




 Android Compatibility Definition Document (“CDD”), 212 and (2) pass a software test that
 evaluates a device’s compliance with aspects of the CDD known as the Compatibility Test Suite
 (“CTS”).213 Each version of Android has a corresponding CDD.214 While Google might solicit
 input from partners and modify the CDD in response to that input, Google publishes the CDD and
 retains final control over the contents of the CDD. 215 The CDD has numerous requirements; for
 example, it governs screen size so that the Android user interface displays properly. 216

          94.    The current CDD for Android 12 states that the OEM’s implementation of Android
 OS contains requirements regarding “unknown sources” and potentially harmful applications: 217

            “MUST NOT install application packages from unknown sources, unless the app that
             requests the installation meets all the following requirements: It MUST declare the
             REQUEST_INSTALL_PACKAGES permission or have the android:targetSDKVersion
             set at 24 or lower. It MUST have been granted permission by the user to install apps
             from unknown sources.”




212
    Android Open Source Project, “Android Compatibility Definition Document,” available at
https://source.android.com/compatibility/cdd (hereafter “Android Compatibility Definition Document”).
213
    Android Open Source Project, “Compatibility Test Suite,” available at https://source.android.com/compatibility/cts
and Android Open Source Project, “Android Compatibility Program Overview,” available at
https://source.android.com/compatibility/overview.
214
    Android Compatibility Definition Document (“For each release of the Android platform, a detailed CDD will be
provided.”), https://source.android.com/docs/compatibility/cdd, visited Sept. 30, 2022.
215
    Rosenberg (Google) Deposition, p. 189 (
                                                                                                         Brady
(Google) Deposition, p. 443


                           ; Li (Google) Deposition, pp. 124-125

                                                                                                                  and
EC Google Android Decision, ¶¶ 163 (“The conditions for the Android compatibility tests are determined at Google’s
sole discretion”) and 1072 (“Google may change the specific CDD/CTS clauses at any time, given that it has the right to
amend them unilaterally.”).
216
    Android 12, “Compatibility Definition,” at § 7.1.1, available at
https://source.android.com/docs/compatibility/android-cdd.pdf. See Li (Google) Deposition, pp. 493-494.
217
    Android 12, “Compatibility Definition,” at § 4 C-0-6 and C-0-7, available at
https://source.android.com/docs/compatibility/android-cdd.pdf.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          75
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 77 of 598




              “MUST display a warning dialog with the warning string that is provided through the
               system API PackageManager.setHarmfulAppWarning to the user before launching an
               activity in an application that has been marked by the same system API
               PackageManager.setHarmfulAppWarning as potentially harmful.”

As described in further detail below, I understand (i)


                                                                                             218
                                                                                                   and (ii) to
overcome this setting, the user must navigate to “Settings” in the Android UI, select “Install
unknown apps,” and then grant permissions to an alternative app store or a browser (for sideloading
or direct downloading) to install apps.219

            95.    Thus, based on the documents and testimony I have reviewed, I understand the
 current version of Android OS requires the user to proceed through two rounds of granting
 permissions in the smart mobile device Settings – first to sideload the app store and then to install
 an app from that sideloaded app store – to enable app install permissions from each app that the
 user wishes to install. Each round involves clicking “Settings” on a warning pop-up, enabling the
 installation on the Settings page, and then again confirming that a user wishes to install the app in
 response to a second pop-up.

            96.    As depicted in Exhibit 14 above, Google notes that its CDD and CTS agreements are
 at the lower end of its spectrum of “control” over smart mobile devices running Android.




218
      Cunningham (Google) Deposition, pp. 405-406



                                        Cunningham (Google) Deposition, p. 407




219
   Samsung, “Galaxy phone or tablet won’t install apps from unknown sources,” available at
https://www.samsung.com/us/support/troubleshooting/TSG01001353/ (“By default, your Galaxy phone or tablet is set
to prohibit apps from being installed from sources other than the Play Store and Galaxy Store. However, you can change
this setting if desired.”).


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         76
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 78 of 598




                                                                     described in IV.B.4. 220

                    5.        Revenue Sharing Agreement (“RSA”)

            97.
                                                                                            221


                                                                         222
            98.


                     223
                           With the launch of paid transactions on Android Market (for paid apps, as paid
 in-app content was a later innovation224),




220
  See, e.g., Google,                                                     November 1, 2017, GOOG-PLAY-
009640439-467, at 445
                                                                                                             Rosenberg
(Google) Deposition, pp. 188-189


Android 12, “Compatibility Definition,” at § 10.1, available at https://source.android.com/docs/compatibility/android-
cdd.pdf; and Google, “Android 101,” GOOG-PLAY-000128863.R-908.R, at 877.R.
221
    Li (DOJ) Deposition, p. 199

                                     . Jamie Rosenberg, Vice President of strategy for platforms and ecosystems at
Google, explained that




                                                See Google, “Deposition of Jamie Rosenberg in the Matter of: In Re –
Google Antitrust Litigation,” July 14, 2020, GOOG-PLAY-007847148-353, at 273-277.
222
    See, e.g., PX1084,                              (Oct. 2012), GOOG-PLAY-003772918.R, at 924.R


223
      Sears (Google) Deposition, pp. 130-131



224
    Android Developers Blog, “In-app Billing Launched on Android Market,” March 29, 2011, available at
thttps://android-developers.googleblog.com/2011/03/in-app-billing-launched-on-android html.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           77
           Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 79 of 598



                           225
                                 Eventually,
            .226



                                                                                  228




                                                         229
                                                               See Exhibit 15 below, depicting this “Change
 in Play terms.”




225
  Email from Nick Sears, Google, to David Conway, Google,                                           February 11,
2009, GOOG-PLAY-005559853-854, at 853

226
      See, e.g., PX1084,                            October 2012, GOOG-PLAY-003772918.R, at 920.R, 924.R.
227
                                                                 See Brady (Google) Deposition, p. 467

                                                                           Chu (Meta Platforms (formerly
Google)) Deposition, p. 108

See also, Email from Eric Chu to John Lagerling, March 9, 2011, GOOG-PLAY-005668326, at 326
                                                                                                                   .
228
    Email from Cristina Bita, Google, to Patrick Pichette, Google, Jonathan Gold, Finance Manager for Android at
Google, and Tim Riitters, Google,                                  May 7, 2013, GOOG-PLAY-003741416-420, at 417-
418.
229
    See, e.g., Google,                                                                       May 6, 2015, GOOG-
PLAY-001184813-857, at 823
                                See also GOOG-PLAY4-004677224-229, at 225.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       78
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 80 of 598
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 81 of 598




                   232


        100.


                                                                                  233


         101.
                                                                                                      234




                                                          235




                                                                            236




232
    Google,                                                                                                  2015,
GOOG-PLAY-003605103-106, at 106; GOOG-PLAY4-002178049; Email from Matt Schwartz to Jamie Rosenberg,
Vice President of Strategy and Operations (Platforms and Ecosystems Division) at Google, Zahavah Levine, Google,
TT Ramgopal, Google, Christian Veer, Google, Paul Gennai, Product Management Director at Google,
                         GOOG-PLAY-002891881-882.
233
    Email from Cristina Bita, Google, to Patrick Pichette, Google, Jonathan Gold, Finance Manager for Android at
Google, and Tim Riitters, Google,                                 May 7, 2013, GOOG-PLAY-003741416-420, at 417.
234
    Google,                                         GOOG-PLAY-000443763.R-798.R, at 775.R; and Google, “Premier
Tier Requirements,” July 31, 2021, GOOG-PLAY-007125883-889, at 885-886



                                                                                   . See, e.g., Google and BLU
Products,                         April 1, 2020, GOOG-PLAY-005706676-704.
235
    Gold (Google) Deposition, p. 256

                                                ; Kolotouros (Google) Deposition, p. 225


236
   Google,                                              Google-HMD, GOOG-PLAY-000620282-321, at 305
(up to 10% of Net Play Revenue); Google-Xiaomi RSA, GOOG-PLAY-000620210, at 235



            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        80
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 82 of 598



                                                                                   237




                                           238




          102.




237

                                                 February 7, 2020, GOOG-PLAY-006390054. See also Kolotouros
(Google) Deposition, pp. 338-339

                           Google, “                        ,” July 31, 2021, GOOG-PLAY-007125883-889, at
886



                                       and 887


238
    Google,                                               2019, GOOG-PLAY-000620282-321, at 292 (emphasis
added).


              NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                     81
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 83 of 598




                    239                                                               240



                   6.     Google Play Developer Distribution Agreement (“DDA”)

            103. To distribute apps on the Google Play Store, a developer must have a Google Play
 Developer Account, pay a registration fee of $25, and comply with the Developer Distribution
 Agreement (“DDA”), Google’s Developer Program Policies, and related policies. 241 The DDA
 states that developers “may not use Google Play to distribute or make available any Product that
 has a purpose that facilitates the distribution of software applications and games for use on
 Android devices outside of Google Play.” 242 The DDA in turn requires developers to comply with
 the Developer Program Policy, which states that “an app may not download executable code (e.g.,
 dex, JAR, .so files) from a source other than Google Play.” 243

            104. The DDA and related policies also require the developer to use Google Play Billing
 as the billing solutions provider for app downloads and in-app purchases. 244 The DDA requires
 developers to “have a valid Payment Account under a separate agreement with a [Google] Payment




239
      Google,                                                 2019, GOOG-PLAY-000620282-321, at 310.
240
      Google,                                                 2019, GOOG-PLAY-000620282-321, at 295.



241
    Google, “How to use Play Console,” available at https://support.google.com/googleplay/android-
developer/answer/6112435?hl=en-GB. See also Google, “Policy Centre,” available at
https://support.google.com/googleplay/android-developer/topic/9858052#zippy=.
242
    Google, “Google Play Developer Distribution Agreement,” (hereafter “Google Play DDA”), § 4.5, November 17,
2020, GOOG-PLAY-000053875-878, at 875, available at https://play.google.com/about/developer-distribution-
agreement html.
243
    “Developer Program Policy,” effective September 28, 2022, available at
https://support.google.com/googleplay/android-developer/answer/12766072?visit id=638004251869883965-
3060563484&rd=1.
244
    See Google, “Google Play Payments Policy,” available at https://support.google.com/googleplay/android-
developer/answer/9858738, §§ 1-2 (Google also requires app developers to comply with its payment policy, where “any
apps existing as of 20 September 2020 that used an alternative in-app billing system needed to remove it as of 30
September 2021 to be in compliance[.]” However, it allows extensions to developers and evaluates such requests “on an
app-by-app basis with a latest possible date of compliance of 31 March 2022.”). See also Google, “Understanding
Google Play’s Payments policy,” available at https://support.google.com/googleplay/android-
developer/answer/10281818?hl=en.


                NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         82
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 84 of 598




 Processor” in order to “charge a fee” for digital in-app content. 245 Further, the Developer Program
 Policy states that developers “Play-distributed apps requiring or accepting payment for access to
 in-app features or services, including any app functionality, digital content or goods (collectively
 “in-app purchases”), must use Google Play’s billing system for those transactions.” 246 By way of
 example, Google requires consumers to use Google Play Billing to purchase digital items (“such as
 virtual currencies, extra lives, additional playtime, add-on items, characters and avatars”),
 subscription services (“such as fitness, game, dating, education, music, video, service upgrades and
 other content subscription services”), app functionality or content (“such as an ad-free version of
 an app or new features not available in the free version”), and cloud software and services (“such
 as data storage services, business productivity software, and financial management software”). 247
 Moreover, Google generally prohibits developers from leading users to “a payment method other
 than Google Play’s billing system” for in-app purchases of digital content (e.g., by embedding a
 direct link to the developers’ website containing an alternative payment method). 248,249

          105. By contrast, Google does not require developers to use Google Play Billing for the
 purchase of physical goods and services consumed outside the app, payments of credit card bills or
 utility bills, peer-to-peer transactions, payments related to online auctions, tax exempt donations,




245
    Google Play DDA, § 3.2.
246
    “Developer Program Policy,” effective September 28, 2022, available at
https://support.google.com/googleplay/android-developer/answer/12766072?visit_id=638004251869883965-
3060563484&rd=1
247
    Google, “Payments,” available at https://support.google.com/googleplay/android-developer/answer/9858738?hl=en .
248
    See Google, “Payments,” available at https://support.google.com/googleplay/android-
developer/answer/9858738?hl=en, § 4.
249
    In March 2022, Google announced a pilot program to allow non-game Android apps to use their own payment
system if they also offered Google Play Billing as an option, and Spotify was the inaugural “User Choice Billing”
partner. In September 2022, Google opened the User Choice Billing pilot to non-game developers in the European
Economic Area, Australia, India, Indonesia, and Japan. See Samat, Sameer, “Exploring User Choice Billing With First
Innovation Partner Spotify,” March 23, 2022, available at https://android-developers.googleblog.com/2022/03/user-
choice-billing html (“This pilot will allow a small number of participating developers to offer an additional billing
option next to Google Play’s billing system and is designed to help us explore ways to offer this choice to users, while
maintaining our ability to invest in the ecosystem. This is a significant milestone and the first on any major app store —
whether on mobile, desktop, or game consoles.”); Play Console Help, “Enrolling in the user choice billing pilot,”
available at https://support.google.com/googleplay/android-developer/answer/12570971; Li, Abner, “Google Play opens
developer sign-ups for third-party ‘User Choice Billing,’” 9to5Google, September 1, 2022, available at
https://9to5google.com/2022/09/01/google-play-user-billing-sign-up/.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           83
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 85 of 598




 and payments that facilitate online gambling.250 In fact, Google requires that payments related to
 those activities “must not” be processed on Google’s own IAP system. 251 In addition, Google
 allows developers to offer a “consumption only” app where users can access content that has been
 paid somewhere else; in this instance, there are no payment options within the app and developers
 may not provide information to users to pay outside the app. 252

         106. The developer has the “sole discretion” to set prices for apps it publishes in Google
 Play and the in-app content within such apps.253 The DDA does limit pricing in that the developer
 agrees that any products “that were initially offered free of charge to users will remain free of
 charge” and “[a]ny additional charges will correlate with an alternative or supplemental version of
 the Product.”254 Google “may give refunds for some Google Play purchases” within 48 hours of the
 app or in-app purchase,255 and the DDA gives Google the power to make those refunds by
 deducting the refund amount from the developer’s revenue share payments. 256 Outside that
 window, the DDA specifies that the developer “will be solely responsible, and Google will have no
 responsibility, for undertaking or handling the support and maintenance” of the developer’s apps or
 in-app content “and any complaints” from customers. 257 The DDA further commits the developer
 to “respond to customer support inquiries [for paid products or in-app transactions] within 3




250
    Google, “Payments,” available at https://support.google.com/googleplay/android-developer/answer/9858738, at § 3.
251
    See Google, “Payments,” available at https://support.google.com/googleplay/android-developer/answer/9858738, at
§ 3.
252
    See, e.g. , Google, “Understanding Google Play’s payments policy – Frequently asked questions,” available at
https://support.google.com/googleplay/android-developer/answer/10281818?hl=en-GB#zippy=%2Ccan-i-offer-a-
consumption-only-reader-app-on-google-play. (“Google Play allows any app to be consumption-only, even if it is part
of a paid service. For example, a user could log in when the app opens and access content paid for somewhere else.”)
253
    Google Play DDA, at § 3.3 (“Products are displayed to users at prices You establish in Your sole discretion.”).
254
    Google Play DDA, at § 3.7.
255
    Google, “Learn about refunds on Google Play,” available at
https://support.google.com/googleplay/answer/2479637?hl=en#:~:text=If%20you%20haven%27t%20started,65%20day
s%20of%20your%20purchase.
256
    Google Play DDA, at § 3.8 (“You authorize Google to give users refunds in accordance with the Google Play refund
policies as located here or the local versions made available to You, and You agree that Google may deduct the amount
of those refunds from payments to you.”).
257
    Google Play DDA, at § 4.7.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         84
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 86 of 598




 business days, and within 24 hours to any support or Product concerns stated to be urgent by
 Google.”258

                  7.       Google Reduced Commission Developer Programs and Agreements

          107. Google historically took 30% of the app price or in-app purchase price as its own
 revenue (setting aside carrier payments) and remitted the remaining 70% of consumer spending to
 developers.259 In recent years, Google made some limited changes to its 30% commission. For
 example, beginning on January 1, 2018, for automatically renewing subscription products, Google
 lowered its commission to 15% beginning in year two of the subscription. 260 On July 1, 2021,
 Google lowered its commission from 30% to 15% on the first $1 million in a developer’s
 consumer spending.261 On January 1, 2022, Google then lowered the commission on the first year
 in in-app subscriptions to 15% from 30%. 262 Google has also offered reductions on these general
 terms, providing some reduced commissions as part of special developer programs or in on-on-one
 deals with certain developers. Exhibit 16 below depicts various reduced commission programs and




258
   Google Play DDA, at § 4.7.
259
   See Google, “Transaction fees for merchants,” available at
https://web.archive.org/web/20220305213757/https://support.google.com/paymentscenter/answer/7159343?hl=en. See
also Rasanen (Google) Deposition, p. 227

               and Email from Jon Gold, Google, to Cristina Bita, Google,                                       May 8,
2013, GOOG-PLAY-003741416, at -417

260
    Statt, Nick, “Google matches Apple by reducing Play Store fee for Android app subscriptions,” The Verge, October
19, 2017, available at https://www.theverge.com/2017/10/19/16502152/google-play-store-android-apple-app-store-
subscription-revenue-cut and Buch, Vineet, “Playtime 2017: Find success on Google Play and grow your business with
new Play Console features,” Google, October 19, 2017, available at https://android-
developers.googleblog.com/2017/10/playtime-2017-find-success-on-google html (“Finally, from January 2018 we're
also updating our transaction fee for subscribers who are retained for more than 12 months”).
261
    Samat, Sameer, “Boosting developer success on Google Play,” Android Developers Blog, March 16, 2021, available
at https://android-developers.googleblog.com/2021/03/boosting-dev-success html (“Starting on July 1, 2021 we are
reducing the service fee Google Play receives when a developer sells digital goods or services to 15% for the first $1M
(USD) of revenue every developer earns each year”).
262
     Samat, Sameer, “Evolving our business model to address developer needs,” Android Developers Blog, October 21,
2021, available at https://android-developers.googleblog.com/2021/10/evolving-business-model.html (“To help support
the specific needs of developers offering subscriptions, starting on January 1, 2022, we’re decreasing the service fee for
all subscriptions on Google Play from 30% to 15%, starting from day one”).

            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                            85
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 87 of 598




 special deal agreements that Google has offered and entered into with developers, for which I was
 able to find information in the record.263




263
      Additional information on these programs and offers in Section VII.B.1 and Appendix E.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                            86
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 88 of 598
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 89 of 598




Play Billing.



                                                                        264




                                         265




                 266


                                                Exhibit 17




264
  Google, “Business Model / Policy,” GOOG-PLAY-004502766.R-771.R, at 769.R.
265
  Email from George Yousling, Google, to Lawrence Koh, former Director and Global Head of Games Business
Development at Google,                                                February 18, 2020, GOOG-PLAY-000928690-
692, at 691. See also Koh (EA (formerly Google)) Deposition, pp. 13-21



266
      Google,                                             GOOG-PLAY-000464148-153, at 151.


                NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                     88
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 90 of 598




Source: Google, “Business Model / Policy,” GOOG-PLAY-004502766.R-771.R, at 769.R.
         109. One program noted in Exhibit 17 is
          267




                                   268




267
   Marchak (Google) Deposition, pp. 257-258; GOOG-PLAY-006998204.R-211.R, at 206.R.
268
   Email from Samer Sayigh, Google, to Lei Zhang, Google, and Mike Marchak, Director of Play Partnerships,
Strategy and Operations for Google,                                          October 9, 2018, GOOG-PLAY-
004595170-172, at 170-171; Google, Untitled, GOOG-PLAY-000237792-797, at 792-793; 795-797; Marchak (Google)
Deposition, pp. 70, 257. See also Google,                         December 2020, GOOG-PLAY-004146689.R-
757.R, at 692.R-695.R and 709.R-713.R; and Marchak (Google) Deposition, pp. 380-382




           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                    89
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 91 of 598




                         270




                               271


         110.



              272




                                     273
                                           Another special program noted in Exhibit 17 above


                                                                                    274
                                                                                          The goal of the




269
   Google,                              December 2020, GOOG-PLAY-004146689.R-757.R, at 694.R; Marchak
(Google) Deposition, pp. 379-381.                                                                        See Email
from Purnima Kochikar, Google, to James Kolotouros, Vice President, Android Platform Partnerships, for Google,
“                    ,” June 12, 2019, GOOG-PLAY-001877016.C-022.C, at 019.C

270
    PX1577,                                                   (Aug. 18, 2021), GOOG-PLAY-011271413-442, at
-414.
271
    See, e.g., Google and Activision,
                           January 25, 2020, GOOG-PLAY-007273439-444, at § 3.A, B.
272
    Google,                                        GOOG-PLAY-000566853-914, at 863



273
    Google,                                                                                          April 9, 2019,
GOOG-PLAY-003332817.R-864.R, at 839.R.
274
    Rosenberg (Google) Deposition, pp. 99, 110-111, and 152 (




            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         90
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 92 of 598




                           275




                 276




                            .277

         111. Exhibit 17 also


                                                                                 27




                                                             279


         112. Additional information on other Google special programs and offers listed in Exhibit
 16 above is included in Section VII.B.1 below.




d




        June 20, 2019, GOOG-PLAY4-004259430-432, at 430.
275
    Google,                                                June 20, 2019, GOOG-PLAY4-004259430-432, at 430.
276
    Google,                                                June 20, 2019, GOOG-PLAY4-004259430-432, at 431.
277
    Google,                                                June 20, 2019, GOOG-PLAY4-004259430-432, at 432.
278
    Marchak (Google) Deposition, p. 105. See also Google,                                            June 2019,
GOOG-PLAY-003938581.R-614.R, at 594.R.
279
    Email from Wendy-Kay Logan, Google, to Mike Marchak, Director of Play Partnerships, Strategy and Operations
for Google, “Subject: Re: Recap of sync with Sameer,” August 2, 2019, GOOG-PLAY-001214798-799, at 798.
           Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 93 of 598




           C.      Overview of the Challenged Conduct

            113. The States allege Google has monopolized the Android App Distribution Market and
 tied Google Play Billing to Android App Distribution through the Google Play Store (“Google’s
 challenged conduct”). The States’ Amended Complaint addresses several aspects of Google’s
 conduct, including:

          The CDD’s requirement for OEMs to create an “unknown sources” dialog box for app
           installations from sources besides Google Play or app store that have been pre-loaded onto
           the device that bypass that permission; 280

          The MADA requirement that OEMs preload the Play Store icon on the default home
           screen;281

          The bundling of Google Play with more than 10 GMS apps including YouTube, Google
           Maps, and Gmail, and associated key APIs under the MADA; 282

          Google’s exclusive dealing or “no duplication of services” clauses in RSAs and elsewhere
           prohibiting MNOs or OEMs from pre-loading third-party app stores on their smart mobile
           devices in exchange for a share of revenue from Google Play; 283

          Google’s refusal to publish competing app stores on Google Play; 284

          Google’s incentive payments to developers in exchange for contractual commitment not to
           launch exclusive titles on competing app stores; 285

          Google’s tie of Google Play with Google Play Billing for in-app billing services; 286 and




280
      First Amended Complaint, ¶¶ 83-106. See Cunningham (Google) Deposition, p. 407




                       .
281
    First Amended Complaint, ¶¶ 124-27.
282
    First Amended Complaint, ¶¶ 116-123 and 128-29.
283
    First Amended Complaint, ¶¶ 130-135; Brady (Google) Deposition, p. 119.
284
    First Amended Complaint, ¶¶ 107-110.
285
    First Amended Complaint, ¶¶ 135, 139, and 147-48.
286
    First Amended Complaint, ¶¶ 161-228.


                NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         92
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 94 of 598




         Google’s anti-steering rules prohibiting developers from advertising lower commission fees
          outside of Google Play in their apps. 287

          114.    To assess this conduct, I begin with market definition.


V.        Market Definition

          A.      Antitrust Principles of Market Definition

                  1.       Basics of Market Definition

          115.    Market definition is a standard antitrust framework for identifying the boundaries of
competition relevant to anticompetitive conduct. 288 However, market definition is just the first step
in measuring market power and assessing anticompetitive conduct. As noted in the U.S. Merger
Guidelines jointly published by the U.S. Department of Justice and the Federal Trade Commission,
“[t]he measurement of market shares and market concentration is not an end in itself, but is useful
to the extent it illuminates…competitive effects.” 289 This view is supported by the UK’s Office of
Fair Trading (the CMA’s predecessor):

          Market definition is not an end in itself but a key step in identifying the competitive
          constraints acting on a supplier of a given product or service. Market definition provides a
          framework for competition analysis. For example, market shares can be calculated only after
          the market has been defined and, when considering the potential for new entry, it is




287
    First Amended Complaint, ¶ 202.
288
    See U.S. Merger Guidelines, at § 4 (“When the Agencies identify a potential competitive concern with a horizontal
merger, market definition plays two roles. First, market definition helps specify the line of commerce and section of the
country in which the competitive concern arises. In any merger enforcement action, the Agencies will normally identify
one or more relevant markets in which the merger may substantially lessen competition. Second, market definition
allows the Agencies to identify market participants and measure market shares and market concentration.”). See also
European Commission, “Commission Notice on the definition of relevant market for the purposes of Community
competition law,” Official Journal of the European Communities, Vol. 40, 1997, pp 5-13, available at https://eur-
lex.europa.eu/legal-content/EN/TXT/PDF/?uri=CELEX:31997Y1209(01)&from=EN (hereafter “Commission Notice”),
at ¶ 2 (“Market definition is a tool to identify and define the boundaries of competition between firms. It serves to
establish the framework within which competition policy is applied by the Commission. The main purpose of market
definition is to identify in a systematic way the competitive constraints that the undertakings involved face. The
objective of defining a market in both its product and geographic dimension is to identify those actual competitors of the
undertakings involved that are capable of constraining those undertakings' behaviour and of preventing them from
behaving independently of effective competitive pressure.”).
289
    U.S. Merger Guidelines, § 4.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           93
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 95 of 598




         necessary to identify the market that might be entered. Market definition is usually the first
         step in the assessment of market power. 290

         116.     The economics literature recognizes that “[m]arket definition is least useful when
market shares would not be strongly probative of market power or anticompetitive effect, while
direct evidence as to market power or anticompetitive effect is available and convincing.” 291 Indeed,
though defining a relevant market is a common first step is assessing conduct, it is not a necessary
step in determining whether a firm has market power. 292

         117.     Market definition typically centers on demand-side substitution, evaluating the
reasonably interchangeable choices available to consumers, such that they would form a relevant
antitrust market.293 That is, demand-side substitution is the extent to which consumers of a product
sold by one firm (Product A) would substitute to a product sold by another firm (Product B) in
response to a small but significant non-transitory increase in price (“SSNIP”) in Product A. The
Hypothetical Monopolist Test (“HMT”) is a framework that can be used to define the boundaries of
a relevant market. The HMT is summarized in the U.S. Merger Guidelines:294




290
    See UK Office of Fair Trading, “Market Definition,” December 2004, available at
https://assets.publishing.service.gov.uk/government/uploads/system/uploads/attachment_data/file/284423/oft403.pdf.
291
    Baker, Jonathan B., “Market definition: An analytical overview,” Antitrust LJ , Vol 74, 2007, pp. 129-173, available
at https://heinonline.org/HOL/LandingPage?handle=hein.journals/antil74&div=8&id=&page=, at p. 131.
292
    See, e.g., Baker, Jonathan B., and Timothy Bresnahan, “Economic Evidence in Antitrust - Defining Markets and
Measuring Market Power,” in Handbook of Antitrust Economics, Ed. Paolo Buccirossi, Cambridge, MA: The MIT
Press, 2008, pp. 1-43, at p. 3 (highlighting that “settings where the competitive effects of business conduct can be
measured directly [are] settings where economists might find market definition unnecessary”); and Kaplow, Louis,
“Why (Ever) Define Markets,” Harvard Law Review, Vol. 124, No. 2, December 2010, pp. 437-517, at p. 446 (arguing
that “[T]he role of the market definition / market share paradigm is, on its face, obscure. Market shares, whether in a
properly defined relevant market or in any other, do not appear in the definition of market power. Instead, one only sees
price and marginal cost. It would seem that, if one wished to know the level of market power, one would, therefore,
examine price and marginal cost.”).
293
    U.S. Merger Guidelines, § 4.
294
    U.S. Merger Guidelines, § 4.1.1. The European Commission takes a consistent approach to market definition: “The
question to be answered is whether the parties' customers would switch to readily available substitutes or to suppliers
located elsewhere in response to a hypothetical small (in the range 5 % to 10 %) but permanent relative price increase in
the products and areas being considered. If substitution were enough to make the price increase unprofitable because of
the resulting loss of sales, additional substitutes and areas are included in the relevant market. This would be done until
the set of products and geographical areas is such that small, permanent increases in relative prices would be
profitable.” See Commission Notice, ¶ 17.


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                            94
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 96 of 598




        Specifically, the test requires that a hypothetical profit-maximizing firm, not subject to price
        regulation, that was the only present and future seller of those products (“hypothetical
        monopolist”) likely would impose at least a small but significant and non-transitory increase
        in price (“SSNIP”) on at least one product in the market, including at least one product sold
        by one of the merging firms. For the purpose of analyzing this issue, the terms of sale of
        products outside the candidate market are held constant.

        118.     Thus, the hypothetical monopolist framework (often measured through the above-
defined SSNIP test) can estimate the substitution between two products to determine whether they
are in the same relevant market. The U.S. Merger Guidelines further explain that “[g]roups of
products may satisfy the [HMT] without including the full range of substitutes from which
customers choose.”295

        119.     However, as described above, the HMT focuses on the “present and future” seller
imposing a SSNIP; that is, it is not a backward-looking but a forward-looking analysis. In a merger
context, authorities seek to understand the likely impact if a merged firm raised prices post-merger.
By contrast, while the HMT can be applied in conduct cases where an analysis of the historical
market is required,296 the actual world has likely been affected by the alleged anticompetitive
conduct, thereby increasing the chance the HMT and SSNIP will define a market that is too wide.
This is because a profit-maximizing monopolist may have already increased the price to a point
where even inferior goods (that would be outside a relevant market under competitive conditions)
become substitutes (the so-called cellophane fallacy). 297 I consider the implications of the
cellophane fallacy when implementing the HMT in Section V.C.5 below.




295
    U.S. Merger Guidelines, § 4.1.1.
296
    There are numerous discussions on how historical evidence can be used to operate a HMT. See Harkrider, John and
Axinn, Veltrop & Harkrier, LLP, “Operationalizing the hypothetical monopolist test,” U.S. Department of Justice, June
15, 2015, available at https://www.justice.gov/atr/operationalizing-hypothetical-monopolist-test.
297
    See “Appeal from the United States District Court for the District of Delaware,” United States v. E.I. du Pont de
Nemours & Co., Case No. 351 U.S. 377, 1956. The “Cellophane Fallacy” is where DuPont (the sole manufacturer of
cellophane) had increased the price of cellophane to a point where other flexible wrapping materials became substitutes.
DuPont tried to argue that this substitution / switching resulting from a SSNIP proved these inferior goods were in the
market. But DuPont’s analysis did not conduct the SSNIP at the competitive level, not the prevailing (potentially anti-
competitive) market price, and therefore risked defining the market as too wide.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           95
           Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 97 of 598




           120.     To estimate consumers’ likely response to a change in price, the U.S. Merger
Guidelines permit considering “any reasonably available and reliable evidence” including:

               “how customers have shifted purchases in the past in response to relative changes in
                price or other terms and conditions;

               information from buyers, including surveys, concerning how they would respond to
                price changes;

               the conduct of industry participants, notably: sellers’ business decisions or business
                documents indicating sellers’ informed beliefs concerning how customers would
                substitute among products in response to relative changes in price; industry participants’
                behavior in tracking and responding to price changes by some or all rivals;

               objective information about product characteristics and the costs and delays of switching
                products, especially switching from products in the candidate market to products outside
                the candidate market[.]”298

           121.     The U.S. Merger Guidelines also note that:

           Even when the evidence necessary to perform the hypothetical monopolist test quantitatively
           is not available, the conceptual framework of the test provides a useful methodological tool
           for gathering and analyzing evidence pertinent to customer substitution and to market
           definition. The Agencies follow the hypothetical monopolist test to the extent possible given
           the available evidence, bearing in mind that the ultimate goal of market definition is to help
           determine whether the merger may substantially lessen competition. 299

Therefore, even if the precise quantitative evidence is not available for the HMT (or SSNIP test),
the conceptual framework can be used to analyze the evidence on customer substitution and, thus,
inform the boundaries of a relevant market.

           122.      In the sections that follow, I have been asked by counsel to evaluate qualitative
factors to consider reasonably available and reliable evidence for evaluating the boundaries of the




298
      U.S. Merger Guidelines, § 4.1.3.
299
      U.S. Merger Guidelines, § 4.1.3.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       96
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 98 of 598




relevant markets. I cannot judge the truth or falsity of any documents or testimony. Rather, I
evaluate the evidence available in this case to see whether explanations and observations from
industry participants match the economic incentives that a dominant firm would have in the relevant
product market. Where the qualitative evidence, on its face, is consistent with any quantitative
analysis, I find that to be confirming evidence of the relevant markets.

        123.     Finally, the HMT can also evaluate competition from the supply side by accounting
for the firms that reasonably could enter and compete in the relevant market if a hypothetical
monopolist imposed a SSNIP. This concept is known as supply-side substitution. The U.S. Merger
Guidelines note: “Firms that are not current producers in a relevant market, but that would very
likely provide rapid supply responses with direct competitive impact in the event of a SSNIP,
without incurring significant sunk costs, are also considered market participants.” 300 If suppliers can
easily switch production of similar products to the focal product (without significant costs or risks),
that may provide a sufficient constraint on the firm in question to limit its market power. These
effects can therefore be similar in terms of effectiveness and immediacy to the demand-side
substitution effect.301

                 2.       Market Definition and Two-Sided Markets

        124.     A two-sided market is, broadly speaking, “one in which 1) two sets of agents interact
through an intermediary or platform, and 2) the decisions of each set of agents affects the outcomes
of the other set of agents, typically through an externality.” 302 In other words, consumer demand is
interdependent, such that a consumer’s value of a good increases with the number of other




300
    U.S. Merger Guidelines, § 5.1. Similarly, the European Commission notes that: “Supply-side substitutability may
also be taken into account when defining markets in those situations in which its effects are equivalent to those of
demand substitution in terms of effectiveness and immediacy.” See Commission Notice, ¶ 20.
301
    See Commission Notice, ¶ 20.
302
    Rysman (2009), p. 125.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          97
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 99 of 598




consumers also purchasing that same good. This is known as a network effect. 303 The emphasis of
the intermediary or platform is the main difference between the literature on two-sided markets and
network effects. As I have noted previously in my research, the definitions are similar: “a good
exhibits an indirect network effect if demand for the good depends on the provision of a
complementary good, which in turn depends on demand for the original good.” 304 Indeed, “the
literature on two-sided markets could be seen as a subset of the literature on network effects,” where
“papers on two-sided markets tend to focus on the actions of the market intermediary, particularly
pricing choices, whereas papers on network effects typically focus on adoption by users and optimal
network size.”305

         125.     Network effects arise indirectly (or virtually), when a higher number of users
incentivizes innovation and development of complementary products, which then in turn increases
the value to those purchasing the original good. The interdependence between agents on each side
often creates a positive feedback loop in many markets where already strong firms get even
stronger. One example is the market for Yellow Pages where “retailer demand for advertising
increases in consumer usage and that consumer demand for directory usage increases in the amount
of advertising.”306

         126.     Other examples of two-sided markets with indirect network effects include shopping
malls, where retailers derive value from the number of shoppers and shoppers benefit from the
variety of retailers, and payment mechanisms such as credit cards where the attractiveness of a




303
    See, e.g., Shapiro, Carl, and Hal R. Varian, Information rules: A strategic guide to the network economy, Brighton,
MA: Harvard Business Review Press, 1998, at p. 13; Katz, Michael L. and Carl Shapiro, "Network externalities,
competition, and compatibility," The American Economic Review, Vol. 75, No. 3, 1985, pp. 424-440, available at
https://www.jstor.org/stable/1814809, at p. 424; Rochet, Jean‐Charles and Jean Tirole, “Two‐sided markets: a progress
report,” The RAND Journal of Economics, Vol. 37, No. 3, 2006, pp. 645-667, available at
https://www.jstor.org/stable/25046265.
304
    Rysman (2009), p. 127.
305
    Rysman (2009), p. 127.
306
    See Rysman, Marc, “Competition Between Networks: A Study of the Market for Yellow Pages,” The Review of
Economic Studies, Vol. 71, No. 2, April 2004, pp. 483–512, available at https://doi.org/10.1111/0034-6527.00512, at
pp. 484 and 508.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           98
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 100 of 598




payment mechanism to merchants and consumers is affected by how many consumers/merchants
use/accept the card.

        127.     The pricing structure also plays an important role in two-sided markets in that the
intermediary chooses the price charged to each side of the platform accounting for the benefit any
given consumer will have on other users’ valuation of the product. Specifically, intermediaries have
an incentive to reduce prices for those consumers whose consumption of the good will increase the
valuation of the good for other users. Doing so is efficient because it compensates those consumers
for the positive externality they impose on other users, thereby increasing demand for the good.

        128.     However, as I have explained in my own research, “markets are not inherently two-
sided or not,”307 and “[t]wo-sidedness is not a binary outcome endowed by the market but is
typically rather a choice made by firms about what ways to be two-sided.” 308 It is therefore perhaps
not surprising that the economics literature has identified multiple ways to consider two-sided
markets.309

        129.     At the broadest level of generality, and as noted above, two-sided markets are those
with “some kind of interdependence or externality between groups of agents that the intermediary
serves.”310 In other words, in two-sided platforms, demand from both parties is inter-dependent –
i.e., demand from one party influences demand from the other (and possibly vice versa) “in a way
that is not mediated through prices.”311 Moreover, “[t]his phenomenon leads to efficiencies as more
market participants are able to interact with each other but also, in some circumstances, market
power, as network effects can protect platform owners from entry.” 312 The risk of network effects
creating a barrier to entry for potential competitors—the chicken and egg problem, where entrants




307
    Jullien, Pavan & Rysman (2022), p. 8.
308
    Jullien, Pavan & Rysman (2022), pp. 8-9.
309
    Rysman, Marc, “Exclusionary Practices in Two-Sided Markets,” International Antitrust Law & Policy: Fordham
Competition Law, 2012 (hereafter “Rysman (2012)”), at pp. 538-540.
310
    Rysman (2009), p. 126. See also Rysman (2012), pp. 538-540.
311
    Rysman (2012), p. 538.
312
    Jullien, Pavan & Rysman (2022), p. 4.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        99
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 101 of 598




must attract users on both sides of the two-sided platform simultaneously—is particularly acute
“[i]n markets with low marginal costs, as is the case for many digital markets.” 313

        130.     In addition, Hagiu & Wright (2015) note that two-sided platforms (or more
generally, multi-sided platforms) have two distinct features, namely, enabling “direct interactions
between two or more distinct sides” and affiliation with the platform by all relevant sides, beyond
indirect network effects or non-neutrality of fees. 314 According to their definition, supermarkets and
other old-fashioned retailers are “more like resellers than [multi-sided platforms] since they control
the relevant decision variables like marketing activities, and prices.” 315 Put differently, if the
wholesaler, rather than the “retailer” intermediary, sets the price that the end-user pays, the market
is likely two-sided.316

        131.     However, even applying these different economic principles, “virtually all markets
might be two-sided to some extent.”317 Rather than classifying “firms with some binary distinction
as being a platform or not,” economists “should see the platform nature of a firm as a continuous
dimension.”318 From the economist’s perspective, “[t]he interesting question is often not whether a
market can be defined as two-sided…but how important two-sided issues are in determining
outcomes of interest.”319

        132.     I have previously noted that “[m]arket definition has a clear analog in the two-sided
market literature.”320 In terms of the analytical tools to apply to market definition, they must




313
    Jullien, Pavan & Rysman (2022), p. 4. See also Caillaud, Bernard and Bruno Jullien, “Chicken & egg: Competition
among intermediation service providers,” RAND journal of Economics, Vol. 34, No. 2, 2003, pp. 309-328, available at
https://doi.org/10.2307/1593720 (hereafter “Caillaud & Jullien (2003)”), at pp. 309-310.
314
    Hagiu, Andrei and Julian Wright, “Multi-sided platforms,” International Journal of Industrial Organization, Vol. 43,
2015, pp. 162-174, available at https://doi.org/10.1016/j.ijindorg.2015.03.003 (hereafter “Hagiu & Wright (2015)”), at
p. 163.
315
    Hagiu & Wright (2015), p. 164.
316
    Rysman (2012), p. 539.
317
    Rysman (2009), p. 127 and Jullien, Pavan & Rysman (2022), p. 7 (“In reality, almost every real-world firm has some
elements of two-sidedness to it”).
318
    Jullien, Pavan & Rysman (2022), p. 7.
319
    Rysman (2009), p. 127.
320
    Rysman (2012), p. 548.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          100
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 102 of 598




recognize that firms in two-sided markets can profit from both sides or from one side at the expense
of the other (i.e., pricing below incremental cost to one group and recouping from the other).
Economists have argued that the SSNIP test can be performed on the platform so long as the test
“account[s] for profits to the platform firm on both sides of the market.” 321 As I have explained:

         In a two-sided market, we should keep in mind that when we raise the price on one side, the
         resulting reduction in quantity has implications for the other side—typically, it drives away
         agents on the other side and thus reduces profits. Thus, all else equal, the effect of
         considering a two-sided market is often to increase the size of the relevant market, since the
         price increases will be less attractive than they otherwise would be. 322

         133.     Markets can move to a position where consumers single-home and migrate to one
platform, while those wanting access to consumers multi-home across multiple platforms. This
matters because the platforms in this context are monopolists over access to members that do not
use other platforms (particularly if those consumers would not consider switching). In these cases,
there is a sense in which platforms compete for consumers to use their platform, and then charge
monopoly prices to the side of the market that is trying to reach those users. 323

         134.     Filistrucchi et al. (2014), also considered whether the standard SSNIP test should be
amended to account for indirect network effects, concluding that the SSNIP should be modified for
two reasons:

         The first reason is that, in a two-sided market, the traditional SSNIP test cannot be applied
         as it is usually conceived. As already noted, market definition should account for both sides
         of the market in order to correctly assess the competitive constraints faced by firms. The
         logic of the SSNIP test should thus be extended (and therefore the formulas for CLA




321
    Rysman (2012), p. 548. See, e.g., Evans, David S., “Two-sided market definition,” ABA Section of Antitrust Law,
Market Definition in Antitrust: Theory and Case Studies, Forthcoming, April 29, 2009, available at
https://papers.ssrn.com/sol3/papers.cfm?abstract_id=1396751, at p. 3 (“[O]ne common approach—using the price-cost
margin on one side to assess critical loss tends—to understate the effects of a merger on prices compared with the two-
sided market formula. Another approach—estimating demand elasticities directly based on a standard one-sided
model—tends to overstate the effects of a merger on prices.”).
322
    Rysman (2012), p. 548.
323
    Rysman (2009), p. 131. See also Armstrong, Mark, "Competition in two‐sided markets," The RAND Journal of
Economics, Vol. 37, No. 3, 2006, pp. 668-691, available at https://onlinelibrary.wiley.com/doi/abs/10.1111/j.1756-
2171.2006.tb00037.x.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          101
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 103 of 598




        [Critical Loss Analysis]324) in order to account for the indirect network effects between the
        two sides of the market when judging the profitability of a price increase. 325
        The second reason why the test should be modified is that, if one wants to use a SSNIP test
        (or CLA) in a two-sided market, one should follow the original rationale of the test: defining
        the market as the smallest set of products on which a monopoly would find it profitable (or
        profit-maximizing) to exercise market power by non-temporarily raising the price above the
        current competitive level (at least) by a small but significant percentage. 326

This view suggests that one should check the profitability of the sum total price paid by all parties
when considering a two-sided market. 327

        B.       Application of the Market Definition Framework to this Case

        135.     The market for an app distribution platform on a mobile OS relies on indirect
network effects. First, mobile OSs intermediate between hardware devices (e.g., smartphones and
tablets) and software applications (e.g., social media and games), thus requiring the adoption of
hardware by consumers and the development of applications by software developers. Apps are an
important part of the user experience,
                                                          328
                                                                These effects are indirect because a consumer




324
    Note that “CLA” stands for critical loss analysis.
325
    See Filistrucchi, Lapo, Damien Geradin, Eric van Damme, and Pauline Affeldt, “Market definition in two-sided
markets: Theory and practice,” Journal of Competition Law & Economics, Vol. 10, No. 2, June 2014, pp. 293-339
(hereafter “Filistrucchi et al. (2014)”), at p. 330.
326
    See Filistrucchi et al. (2014), pp. 331.
327
    See, e.g., Filistrucchi et al. (2014), p. 333.
328
    Brady (Google) Deposition, pp. 64-65




             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         102
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 104 of 598




does not rely on other people owning the same device per se; the benefits come from the incentive
for app developers to develop apps for a given OS ecosystem. In turn, the quality and quantity of
apps available entice more consumers to use that OS.

        136.     Second, in terms of app distribution, as explained in Section IV.A.4 above, I
understand that Google does not buy apps or in-app content from developers at a fixed price and
quantity and then through Google Play Store re-sell an inventory of apps to end-users of Android
smart mobile devices. Rather, at the app distribution stage, the developer makes a profit only from
the purchase of apps by an end-user. 329 If no end-user buys the app, the developer makes nothing
from having the app listed in Google Play. As discussed at paragraph 130 above, this structure
suggests that Google operates the Play Store as a two-sided app distribution platform.

        137.     Finally, in terms of in-app billing, Google provides billing services directly to
developers, who use billing services as an input to sell the in-app content product to users. There are
no strong indirect network effects or interdependence between the sides of the market, and therefore
I analyze in-app billing services as a traditional one-sided market, as explained further below in
Section V.D.3.

        138.     I determine that there are two relevant antitrust markets, accounting for Google’s
product and potential substitutes at each level, which are relevant to evaluating Google’s challenged
conduct:

     The Android App Distribution Market, a two-sided market, which includes the dynamics
      between app distribution platform owners, developers choosing how to distribute their apps,
      and consumers choosing between different distribution methods; and

     The Android In-App Billing Market, focusing on developers choosing between competing in-
      app billing service providers. As mentioned above, I consider in-app billing services to be a
      one-sided market where developers are the customers of these services. The differences in my
      assessment of this market are explained further below.




329
   This excludes the profit a developer may make from any in-app purchases or by any other means within the app (e.g.,
advertising).


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         103
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 105 of 598




       139.    In the next section, I apply the principles of market definition set out in Section V.A
to each of the candidate markets and conclude that each is a relevant market for evaluating the
Google conduct claimed to be anticompetitive.

       C.      App Distribution on Android Smart Mobile Devices is a Relevant
               Market

               1.      Introduction

       140.    The first antitrust market pertinent to evaluating Google’s challenged conduct is the
worldwide (excluding China) Android App Distribution Market. After developing their apps for a
particular mobile OS, app developers must decide how to distribute their apps to users of that
mobile OS ecosystem. With respect to Android, absent Google’s restrictions, this decision would be
influenced by several factors, including the number of consumers using the various distribution
methods (i.e., the indirect network effects) – which directly influences the number of potential sales,
the choices available in any tied markets such as in-app billing services, the cost of each distribution
method (i.e., the commissions or revenue sharing arrangements), and any ability to pre-load their
apps. As noted in Section III.C.1, the Google Play Store is the leading app distribution platform on
Android. However, absent Google’s challenged conduct, alternative distribution methods, including
OEM app stores (e.g., the Samsung Galaxy Store), third-party app stores (e.g., F-Droid), pre-
installed apps, and sideloading, would likely be more viable alternatives for app developers to
distribute their apps than in the actual world in which Google imposes the various anticompetitive
restrictions described in Section IV.B.

       141.    From a consumer perspective, after choosing a smart mobile device with a pre-
installed OS, consumers may then search for or obtain apps using different methods. The
consumer’s choice of where to obtain apps is influenced by whether they have a particular app in
mind, the app store that was pre-installed on the mobile device (i.e., the default app store and its
placement on the home screen), any apps that were pre-installed on the device, the quantity and
quality of app developers using the different app stores, and the ease with which apps can be
sideloaded onto the device, among other factors.

       142.    For smart mobile device users who have opted into the Android ecosystem, the
distribution methods include the various means through which they can access Android apps. The

            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                   104
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 106 of 598




Android App Distribution Market therefore comprises the following means by which Android apps
may be distributed to Android mobile device users in a world absent Google’s challenged conduct
(as also set out in Section III.C): The Google Play Store; other app stores that are available for
Android including, for example, the Samsung Galaxy Store (on Samsung devices), Amazon
Appstore, and F-Droid; OEMs pre-installing their own apps or apps from third-party developers on
their Android smart mobile devices; and sideloading, such as downloading directly from a
developer’s web page using a mobile browser or peer-to-peer transfer between two smart mobile
devices via a wireless connection (e.g., Bluetooth or Wi-Fi) or physical connection (e.g., USB or
memory cards). Exhibit 18 provides a depiction of the various distribution channels included in the
two-side Android App Distribution Market and the consumer, developer, and OEM choices in this
market.
                                           Exhibit 18
                                 Android App Distribution Market




       143.    As explained further below, distribution methods for accessing non-Android non-
mobile apps, such as the Apple App Store, app stores on PCs or gaming consoles, or using apps in a

           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                  105
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 107 of 598




web browser (“web-based apps”), do not compete with these Android app distribution methods.
Due to technical barriers (i.e., incompatibility with Android smart mobile devices) and the different
use cases for these other devices, these app stores are not credible substitutes for the Google Play
Store or any other Android app distribution method. 330 Therefore, I find that a relevant app
distribution market is limited to the Android App Distribution Market.

        144.     In the remainder of this section, I describe in more detail the relevant constraints on
the Google Play Store from both the consumer and developer perspectives, whether other
alternatives for mobile app distribution such as the Apple App Store and PC/console app stores
form part of the relevant market, and the relevant geographic market for Android App Distribution.
In summary, my conclusions on the relevant market and Google’s market power would be the same
regardless of this particular characterization, so the particular type of two-sided market does not
affect my overall conclusions in this case.

                 2.       Consumer Choice of App Distribution Method

        145.     OEMs pre-install certain apps on Android smart mobile devices (either for their own
purposes or via agreements with third parties). If users want to install additional apps on their
devices, they must download them via an app store or sideloading. Before users can download apps
from a specific app store, they must first access the app store itself. Typically, OEMs pre-install at
least one app store on Android smart mobile devices (and, in most instances for reasons explained
below, it is the Google Play Store).331




330
    “On Apple devices, apps are typically written in Swift or Objective-C; thus, iOS provides middleware libraries for
use by Swift apps and Objective-C apps. A consequence is that iPhone apps written in Swift or Objective-C will
generally not run on Android phones due to (among other things) the absence of the middleware required by those apps.
For similar reasons, Android apps written in Java are generally unable to run on iPhones. So, app distribution channels
on iPhones cannot be trivially ‘transplanted’ to Android phones, nor can app distribution channels on Android be
trivially used on iPhones.” See Mickens Report, ¶79.
331
    EC Google Android Decision, ¶ 596 and Table 4.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         106
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 108 of 598




                                                                                                                 333


           146.     As noted in Section IV.B,




                  334




                             335
                                   Thus, “flagship devices from Samsung, LG, HTC and Motorola all come
with the Google Play store preinstalled.” 336




332
      Rosenberg (Google) Deposition, p. 23

                                                                             Email from Tim Carter, Google, to John
Lagerling, former Senior Director of Android Global Partnerships for Google,
                     November 1, 2010, GOOG-PLAY-001404176-180, at 176
                                           Google, “Android Work,” GOOG-PLAY-000042588.R-622.R, at 600.R

                  Google, “Play 2018 Planning Summit,” 2018, GOOG-PLAY-000292207.R-230.R, at 226.R

       ; and CMA Final Report on Mobile Ecosystems, ¶¶ 4.108-4.121 and FN 268.
333
  See Email from Ben Serridge, Google, to Jonathan Zepp, Google,                           March 6, 2013, GOOG-
PLAY-006355073-074, at 073.
334




                         June 1, 2014, GOOG-PLAY-000449883-897, at 885.
335
   See                                                                         January 1, 2011, GOOG-PLAY-
001471037-050, at 041 and
January 1, 2018, GOOG-PLAY4-005406595-618, at 600. See also Kolotouros (Google) Deposition, pp. 452-453




336
   Graziano, Dan, “How to download and install the Google Play store on any Android device,” CNET, October 16,
2015, available at https://www.cnet.com/tech/mobile/how-to-download-and-install-the-google-play-store-on-any-
android-device/.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       107
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 109 of 598



                                              337
                                                    According to OEMs like LG and Huawei, the Google
Play Store is “the main pre-installed” app store and “any other app store does not have more
contents.”338 Some OEMs, like Samsung, pre-install their own app store (the Galaxy Store) in
addition to the Google Play Store.339 However, Google is concerned about


                                                                                                                  . 340
As shown in Section VI.A.3, Google has succeeded in limiting competition from these alternative
Android app stores.

        147.     As noted above, while OEMs can choose not to pre-install the Google Play Store,
doing so prevents the OEM from offering any of the GMS apps or utilizing Google’s APIs. 341
Amazon, for example, does not pre-install the Google Play Store on its tablets (which run on an
Android fork called Fire OS) and instead pre-installs its own app store called Amazon Appstore. 342
As a consequence, on Amazon tablets, certain “third-party apps might not work properly or outright
refuse to open in some cases… because apps heavily rely on the device’s GMS backbone[;]” such




337
    Google,                                   GOOG-PLAY-000218781.R-862.R, at 801.R.
338
    EC Google Android Decision, ¶ 277.
339
    According to Samsung, the Galaxy Store “could be a viable substitute” to the Google Play Store “[i]n terms of
features and functionalities”). See EC Google Android Decision, ¶ 276.
340
    See Google, “                                              ,” June 20, 2019, GOOG-PLAY4-004259430-432, at
430 and Rosenberg (Google) Deposition, p. 74



341
    As noted in the CMA Final Report on Mobile Ecosystems, Appendix E ¶ 6: “Google Play Services APIs may allow
third-party developers to make use of basic features and functionalities such as push notifications or to communicate
with Google’s first-party services (such as Google Maps, Search, Gmail, and Translate on Android) and create rich
features compatible with Android.”).
342
    See Davenport, Corbin, “The ultimate guide for installing the Google Play Store on Amazon Fire tablets,” Android
Police, August 11, 2022, available at https://www.androidpolice.com/install-play-store-amazon-fire-tablet/.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         108
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 110 of 598




problems arise for example with apps that rely on Google Maps (including, e.g., Uber or Lyft) or
require users to log-in with a Google account. 343

         148.     Consumers can use alternative app stores other than those already pre-installed on
their Android smart mobile device. An alternative app store is itself an app. Because the Google
Play Store does not make any alternative app stores available for download, 344 to use an alternative
app store, consumers must first sideload the alternative app store onto their smart mobile devices,
typically by downloading the app store directly from the app store developer’s website (and, in
doing so, receive the warning messages described in Section III.C.2 above). 345 According to
Google’s internal documents,
                                        346


         149.     Not all Android app stores function on every Android mobile device. For example,
while the Google Play Store is available on almost every Android mobile device (as shown in
Exhibit 40),347 the Samsung Galaxy Store functions only on Samsung smart mobile devices. 348
Consumers’ ability to switch or multi-home between Android app stores is thus limited to those
alternative app stores that are functional on the consumers’ specific Android mobile device.




343
   See Wankhede, Calvin, “What are Google Mobile Services (GMS)?,” Android Authority, March 3, 2022, available at
https://www.androidauthority.com/google-mobile-services-gms-3025963/. See also Google,
                                              August 2020, GOOG-PLAY-000093636.R-673.R, at 647.R, which
states that

344
    See Hindy, Joe, “10 best third party app stores for Android and other options too,” Android Authority, June 30, 2022,
available at https://www.androidauthority.com/best-app-stores-936652/.
345
    For example, Amazon Appstore and Aptoide are available for download on their developer’s website. See Hindy,
Joe, “10 best third party app stores for Android and other options too,” Android Authority, June 30, 2022, available at
https://www.androidauthority.com/best-app-stores-936652/; Amazon, “Amazon Appstore App For Android,” available
at https://www.amazon.com/gp/mas/get/android/; and Aptoide, “Aptoide,” available at https://en.aptoide.com/.
346
    See Google, “App Stores on Android 12,” February 2021, GOOG-PLAY-006814475.R-497.R, at 477.R


347
    See Broida, Rick, “How to install Amazon Appstore on your Android device,” CNET, June 25, 2015, available at
https://www.cnet.com/tech/services-and-software/how-to-install-amazon-appstore-on-your-android-device/.
348
    See Mehvish, “What’s the Difference Between Galaxy Store and Play Store,” Techwiser, August 9, 2021, available
at https://techwiser.com/difference-between-galaxy-store-play-store/.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          109
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 111 of 598




         150.      Moreover, as discussed in Section III.A.3, alternative Android app stores are
currently a limited substitute for the Google Play Store because they have limited numbers of apps
relative to the Google Play Store. For example, the Amazon Appstore offered fewer than 500,000
apps in the first quarter of 2021, compared to over 3.5 million apps on the Google Play Store. 349

         151.      Further, while Android users can, in theory, forego app stores altogether by
sideloading apps directly onto their device, 350 the viability of sideloading as an alternative to the
Google Play Store is currently limited by the fact that it requires users to change the security
settings on their Android smart mobile devices to permit installations from “Unknown sources” and
proceed through multiple steps containing warning messages. 351 In internal documents,


                                                352




          353
                Indeed, in another document,




349
    See Ceci, L., “Number of apps available in leading app stores as of 2 nd quarter 2022,” Statista, August 11, 2022,
available at https://www.statista.com/statistics/276623/number-of-apps-available-in-leading-app-stores/.
350
    In contrast, Apple does not allow users to sideload apps on iOS devices to “prevent third party applications or
software from being downloaded to the phone.” The only way for iOS users to get around Apple’s restriction is to
“jailbreak” their device. However, jailbreaking is “technically difficult” and constitutes “a violation of the iOS end-user
software license agreements” under which Apple “may deny service for an iPhone or iPad that has installed any
unauthorised software via jailbreaking.” See CMA Final Report on Mobile Ecosystems, ¶¶ 4.101-4.103 and FN 293.
351

                                                     See Rosenberg (Google) Deposition, pp. 295-297; Samat
(Google) Deposition, pp. 178-185; and Rubin (formerly Google) Deposition, pp. 300-301 (

        ). See also Hoff, John, “How To: Sideloading Apps on Your Android Device,” Android Community, April 17,
2018, available at https://androidcommunity.com/how-to-sideloading-apps-on-your-android-device-20180417/; and EC
Google Android Decision, ¶¶ 276-277.
352
    Google, “                                      ” November 2015, GOOG-PLAY-000297309.R-329.R, at 310.R-
314.R and Google,                                                         February 2019, GOOG-PLAY-
002011285.R-290.R, at 288.R.
353
    Google,                                          November 2015, GOOG-PLAY-000297309.R-329.R, at 310.R-
314.R and Google,                                                         February 2019, GOOG-PLAY-
002011285.R-290.R, at 288.R.


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                            110
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 112 of 598



                                                       354

                                                                                                          355


           152.   Given these limitations of alternative app stores and sideloading imposed by
Google’s challenged restrictions, it is unsurprising that the number of apps installed via these
methods is small.



                    356
                          This low level of sideloading is supported by the following additional sources:

              According to Google data gathered by the CMA, in May 2021, only 3.5 – 4 million app
               downloads occurred via app stores that were not pre-installed by the OEM or via
               sideloading, compared to an average of 100 – 200 million app downloads per month via
               the Google Play Store in 2021.357

           


                                                                                                    358




354
      Google, “                GOOG-PLAY-000415076-078, at 076. See also Google,
       March 24, 2020, GOOG-PLAY-004904016.R-118.R, at 038.R



                                                                    See Presser Report, p. 9.
355
   See, e.g., Google,                     December 2019, GOOG-PLAY-004662365.R-402.R, at 367.R and 396.R.
This is also consistent with the CMA’s finding that “only a small proportion of downloads on Android devices are via
sideloading.” See CMA Final Report on Mobile Ecosystems, ¶¶ 4.108-4.112 and FN 297.


                      GOOG-PLAY-000806246.
356
      See Google, “Apps by Source,” GOOG-PLAY-001508603 and Rysman Workpapers.


                                                                                         See footnote 78
for further detail on document GOOG-PLAY-001508603.
357
    See CMA Final Report on Mobile Ecosystems, ¶¶ 4.108-4.112 and FN 268.
358
    See, e.g., Google,                December 2019, GOOG-PLAY-004662365.R-402.R, at 367.R and 396.R.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         111
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 113 of 598




           


                              359



           


                                     360


           153.     Despite the evidence of minimal consumer use of alternative Android app stores
under current market conditions, there are no significant costs to downloading an alternative
Android app store besides the unknown sources warning. Thus, in a world absent Google’s
challenged restrictions, consumers could choose alternative Android app distribution methods (such
as a rival app store or sideloading an app directly from the developer), especially if alternative
Android distribution methods were competitive on the quality and quantity of apps available.

                    3.     Developer Choice of App Distribution Method

           154.     As noted above, after making the initial decision to develop their apps for the
Android OS, developers then choose the method to distribute these apps to Android users, whether
via an Android app store and/or via sideloading.




                                                                                                              361




359
      See Google,                                    October 7, 2016, GOOG-PLAY-000042623.R-639.R, at 632.R.

                                                                            GOOG-PLAY-000571537.
360
    Email from James Bender, Google, to Paul Bankhead, Chief Product Officer of MasterClass for Google, and Aaron
Rothman, Google,                                                               July 25, 2018, GOOG-PLAY-
001254353-355, at 354.
361
    “Defendants Google LLC, Google Ireland Limited, Google Commerce Ltd., Google Asia Pacific Pte. Ltd. and
Google Payment Corp.’s Responses and Objections to Epic’s Second Set of Interrogatories to Defendants,” Epic Games
Inc. v. Google LLC et al., Case No. 3:20-cv-05671-JD, July 19, 2021, at p. 10.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       112
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 114 of 598




       155.



                                 362




                                                                                   363
                                                                                         as shown in
Exhibit 19.
                                              Exhibit 19




Source: Google,                                                 February 2019, GOOG-PLAY4-
004258208-234 at 216.
       156.    Because different consumers may use different Android smart mobile devices with
different pre-installed app stores or have a preference for certain distribution methods (e.g., a third-
party app store or sideloading), developers can ensure that their apps are available to a larger




362
  Google,                                    February 2018, GOOG-PLAY-000005203.R-312.R, at 207.R.
363
  Google,                                             February 2019, GOOG-PLAY4-004258208-234, at 215-
216.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                   113
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 115 of 598




number of consumers by publishing their apps on multiple distribution channels within the Android
App Distribution Market. As described in Section III.B, some app developers tend to multi-home by
publishing apps across different app stores.
                                                                364
                                                                      Nonetheless, the number of apps
published on the Google Play Store vastly outnumbers the number of apps offered on any other
Android app store.365

        157.




                                                 369


        158.     Nonetheless, I find that technical barriers and financial requirements would not
inhibit developers from multihoming. While there are some technical barriers to making Android
apps available on different distribution channels, the “similarities in the source code between
different Android OSs” means it is relatively easy for developers to modify an app to ensure its




364
    See Google,                                           February 2018, GOOG-PLAY-000565850-956, at 905.
365
    As of 2nd quarter of 2022, there are about 3.5 million apps available on the Google Play Store, whereas
approximately 48,000 apps are available on the Amazon Appstore. See, e.g., Ceci, L., “Number of apps available in
leading app stores as of 2nd quarter 2022,” August 11, 2022, available at
https://www.statista.com/statistics/276623/number-of-apps-available-in-leading-app-stores/.
366
    Koh (EA (formerly Google)) Deposition, pp. 89-90.
367
    Koh (EA (formerly Google)) Deposition, pp. 321-324.
368
    Koh (EA (formerly Google)) Deposition, p. 322.
369
    Koh (EA (formerly Google)) Deposition, pp. 50-51 and 101-102.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         114
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 116 of 598




functionality on various Android smart mobile devices. 370 While developers may also need to pay a
fee for every additional app store on which they publish their app, such one-time fees are modest or
even free. For example, the Google Play Store charges a one-time developer fee of USD $25, while
the Samsung Galaxy Store is free of charge for developers. 371

        159.    Therefore, I find that, in the world absent Google’s challenged restrictions,
developers would be more incentivized to distribute their apps via alternative distribution methods
that offer them a higher share of the revenues on app sales and in-app purchases and to multi-home
across several distribution methods. Finally, given the likelihood that consumers use multiple
distribution channels, developers would have a further incentive to actively promote the distribution
of their apps via alternative platforms (or via sideloading), for example by offering lower prices for
their apps or its in-app content to their consumers.


                                                                 372




370
    See EC Google Android Decision, ¶ 282.
371
    See Team Isrg KB, “How to upload Android app or Game on Samsung Galaxy Store?“ ISRG KB, available at
https://www.isrgrajan.com/how-to-upload-android-app-or-game-on-samsung-galaxy-store html.
372
    Google,                                     February 2018, GOOG-PLAY-000005203.R-312.R, at 256.R.


           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                     115
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 117 of 598
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 118 of 598




        Lock-in hinders customers from changing suppliers in response to (predictable or
        unpredictable) changes in efficiency, and gives vendors lucrative ex post market power –
        over the same buyer in the case of switching costs (or brand loyalty), or over others with
        network effects.

        161.     Switching costs can include compatibility costs (e.g., purchasing complementary
products or services from the same supplier), transaction costs (e.g., migrating data and
personalized information from one device to another), learning costs (e.g., learning how to use the
devices or software of a new supplier), uncertainty costs (e.g., uncertainty about the quality of new
products or services), and contractual costs (e.g., discounts on repeat purchases), among others. 374

        162.     Switching costs typify and define these markets. When consumers purchase a mobile
device, they consider various features of different devices, including price, screen quality, battery
life, camera, design, storage, and the pre-installed mobile OS (which could be licensable, like
Android, or proprietary, like iOS).375 This initial purchase is therefore also the gateway into the
mobile OS ecosystem associated with that mobile device. 376 However, penetration of smartphone
usage has increased rapidly over time, and thus, the number of consumers faced with that initial
purchase decision is quite low, particularly in the U.S. and other developed countries. For example,
in 2014, 67.6% of mobile phone users in the U.S. owned smartphones; by 2020, that figure was
forecast to increase to more than 87%. 377 Among those aged 12 to 64, smartphone penetration
ranged from 59% to 85% in 2014 and was forecast to range from approximately 93% to more than




374
    See Klemperer, Paul, “Competition when consumers have switching costs: An overview with applications to
industrial organization, macroeconomics, and international trade,” The Review of Economic Studies, Vol. 62, No. 4,
1995, pp. 515-539, available at https://doi.org/10.2307/2298075, at pp. 517-518.
375
    Smartphone purchasers may also be influenced by the brand and OS of the phones purchased by their friends. See
Bailey, Michael, Drew M. Johnston, Theresa Kuchler, Johannes Stroebel, and Arlene Wong, “Peer Effects in Product
Adoption,” American Economic Journal: Applied Economics, July 2022, Vol. 14, No. 3, pp. 488-526, available at
https://www.aeaweb.org/articles?id=10.1257/app.20200367, at p. 488.
376
    Lockheimer (Google) Deposition, pp. 430-431



                                      .
377
   Liu, Cindy, “US Digital Users: The eMarketer Forecast for 2016,” eMarketer, February 2016, available at
http://static1.squarespace.com/static/51b949f4e4b0c43b09f8b97f/t/57030153b6aa607cbb9a4ff9/1459814747214/eMark
eter_US_Digital_Users-The_eMarketer_Forecast_for_2016.pdf (hereafter “Liu (2016)”), at p. 5.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        117
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 119 of 598




99% in 2020.378
                                                                 379

                                                     380




                                        381


         163.


                                                                                 382
                                                                                       particularly
between Google Android OS and Apple iOS.

                            b)    There are many reasons why consumers do not switch mobile OSs
                                  (1)     The Android and iOS ecosystems are incompatible
         164.      Android and iOS are highly differentiated OSs that are integrated into two separate
ecosystems with incompatible software and hardware. Switching smart mobile devices from
Android to iOS means moving away from the whole mobile OS ecosystem, with users losing
benefits of network externalities enjoyed by other users of platform-exclusive apps.

         165.      Moreover, as discussed in Section III.B, apps written for one mobile OS are
incompatible with a different mobile OS. Thus, consumers cannot buy apps on Android smart
mobile devices and then use those apps on an iOS device, and vice versa. There is no way for the
consumer to download an app from an Android smart mobile device and then upload it to an iOS
device; rather, when switching to iOS, the user would need to re-download the app on their iOS




378
    Liu (2016), at p. 24.
379
    Google, “                     GOOG-PLAY-004530552-567, at 555.
380
    Google,                        March 19, 2019, GOOG-PLAY4-004915563-582, at 574.
381

                                                                                         April 2019, GOOG-
PLAY-002409453.R-534.R, at 459.R-461.R.
382

                                                  GOOG-PLAY-011119640-686, at 647.


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                    118
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 120 of 598




device. Even if a consumer could upload an Android app to an iOS device, the code, designed for
Android, would be non-functional on iOS; it could not be installed or operate without modifications
to make the app interoperable with iOS. Thus, the choice of iOS as an alternative app distribution
channel for consumers would involve the consumer abandoning Android apps in favor of iOS apps
and purchasing an Apple device to do so.

                                  (2)      Users customize their smart mobile devices and accumulate
                                           learning in a certain mobile OS ecosystem
        166.     Users who stay in a mobile OS and its ecosystem long enough usually customize
their devices (e.g., Android phones offer more customization options on home screen and
widgets383) and also become accustomed to it and accumulate learning about it.


                                           384




                                                      385


        167.


                                                              386
                                                                    In particular, Android users switching to an
iPhone for the first time will have to go through a series of changes such as setting up an Apple ID,
getting familiar with Siri, and using AirDrop instead of Bluetooth to transfer files. 387




383
    Davidson, Jamie, “Is Android More Customizable Than iOS?” PC-Tablet, January 17, 2022, available at https://pc-
tablet.com/is-android-more-customizable-than-ios/.
384
    See, e.g., Google, “                    January 18, 2017, GOOG-PLAY-000880576.R-645.R, at 589.R.
385
    Lockheimer (Google) Deposition, pp. 430-431


                                                                                      See also Google, “iOS
Switchers,” August 2018, GOOG-PLAY-000096813.R-844.R, at 817.R

386
    See, e.g., Google                          January 18, 2017, GOOG-PLAY-000880576.R-645.R, at 589.R. See also
Google, “Partnering with Google,” GOOG-PLAY4-007931487-501, at 496
                                                         .
387
    See, e.g., Mehak, “15 insanely handy tips for first-time iPhone users,” iGEEKSBLOG, May 23, 2022, available at
https://www.igeeksblog.com/handy-tips-for-first-time-iphone-users/.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        119
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 121 of 598




            168.     I understand that in April 2022, Google launched the “Switch to Android” app,
which is available for download on the Apple App Store and designed to facilitate user switching
from an iOS to an Android smart mobile device. Even that attempt to facilitate switching with the
use of an app has not solved all the data loss concerns that consumers have. For example, as Google
instructs the public, iMessage and Facetime must be turned off before completing the switching
process to ensure no loss of data.388 Hiroshi Lockheimer, Senior Vice President responsible for
Android at Google, testified that


                                                       389




             390



                                   (3)       Certain content cannot be used on another mobile OS
            169.


               391

                                                 392
                                                       For example, the Presser Report found that 62% of
respondents would worry “[i]f [they] switched to an iPhone,” they “might lose access to photos,
phonebooks, or other things [they] now have on [their] phone.” 393




388
    Perez, Sarah, “Google’s ‘Switch to Android’ app now officially rolling out,” Tech Crunch, April 19, 2022, available
at https://techcrunch.com/2022/04/19/googles-switch-to-android-app-now-officially-rolling-out/ and Android, “Move
your stuff from iOS,” available at https://www.android.com/switch/.
389
    Lockheimer (Google) Deposition, pp. 443-444.
390
    AT&T,                              January 2, 2018, ATT-GPLAY-00005216-220, at 217.
391
    Google,                                                        GOOG-PLAY-000437878.R-908.R, at 890.R

                                         .
392
      See, e.g., Google,                      January 18, 2017, GOOG-PLAY-000880576.R-645.R, at 607.R.
393
      Presser Report, p. 8.


                NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                             120
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 122 of 598




                                          (4)     Users who switch may have to pay again for apps and content
                                                  in the new ecosystem394
            170.


                                                                                 395
                                                                                       Thus, switching costs
increase with a user’s desire to replicate on the new device investments in apps and in-app
purchases.


                             396
                                   In other words, the more devices (e.g., smartphones, tablets, smart home
accessories, etc.) a user has in one environment, the higher the cost of switching smartphones (or
any one particular device) away from that ecosystem.

                                          (5)     Smartphones are expensive, and carriers and device
                                                  manufacturers use contracts and promotions to lock in
                                                  consumers
            171.     Buying a new smart phone costs a lot of money, typically hundreds of dollars. For
example, data from IDC shows that for smartphones sold in 2021 worldwide excluding China, an
Android phone cost $239 on average while an iPhone cost $967 on average, as depicted in Exhibit
21 below.




394
    See, e.g., Huang, Michelle, “Here’s why it’s so hard to switch from Apple to Android,” Business Insider Australia,
June 10, 2019, available at https://www.businessinsider.com/apple-to-android-switch-new-phone-stuck-ecosystem-
2019-6?r=US&IR=T.
395
    See Google,                                          GOOG-PLAY-001043637.R-714.R, at 696.R
                                                                                                 Even if an app is cross-
platform and users can access their account from either OS, it may be that their password and biometric security
information is stored on their current device, so switching devices may create a barrier to access accessing some apps.
See also Raphael, JR, “iPhone to Android: the ultimate switching guide,” Computer World, February 7, 2020, available
at https://www.computerworld.com/article/3218067/how-to-switch-from-iphone-to-android-ultimate-guide.html; and
“Defendant’s Responses and Objections to State Plaintiffs’ Second Set of Requests for Admission,” Epic Games Inc. v.
Google LLC et al., United States District Court Northern District of California San Francisco Division, Case No. 3:21-
md-02981-JD, August 22, 2022, at p. 13


396
      See, e.g., Google, “                                         September 2020, GOOG-DOJ-19768791-817, at 792.


                NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                             121
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 123 of 598




                                           Exhibit 21
          Average smartphone prices by OS, Worldwide (excluding China), 2012 – 2021




Note: The average smartphone price is calculated as the total value divided by the total units for each OS in each year.
Source: IDC, “IDC Quarterly Mobile Phone Tracker,” 2021Q4 Historical Release, February 11, 2022.
         172.     Consumers must either pay this device cost up front or over time pursuant to an
installment plan tied to a wireless contract. More than 50% of U.S. mobile smartphone users are on
carriers’ installment contracts that are usually up to 12 or 24 months long. 397 In addition, consumers
may obtain benefits (such as trade-in discounts on new devices) by signing service contracts of




397
   See, e.g., Kunst, Alexander, “What type of contract length is your cellphone contract?” Statista, December 20, 2019,
available at https://www.statista.com/statistics/718517/length-of-a-mobile-phone-contract-in-the-us/; and Kunst,
Alexander, “Did you get your smartphone as part of a cellphone contact?” Statista, December 20, 2019, available at
https://www.statista.com/statistics/716111/contract-bundled-smartphone-ownership-in-us/. Additionally, smartphone
users are waiting longer to upgrade devices, thereby reducing the percent of smartphone users considering an upgrade at
any given time. See, e.g., Ng, Abigail, “Smartphone users are waiting longer before upgrading – here’s why,” CNBC,
May 17, 2019, available at https://www.cnbc.com/2019/05/17/smartphone-users-are-waiting-longer-before-upgrading-
heres-why html (“In the U.S. and Europe, especially, the life cycle of a smartphone has been steadily increasing,
according to data from market research firm Kantar Worldpanel.”) and Lockheimer (Google) Deposition, pp. 429



            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           122
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 124 of 598




varying length.398 Carrier contracts may include penalties for early termination (e.g., loss of trade-in
discounts), which reduce consumers’ willingness to change devices within a contract term. 399

                                  (6)      The average Android user spends less on technology
        173.     Other factors such as consumers’ spending behavior for smart mobile devices and
related content may also affect their switching decisions. Android users, on average, tend to spend
less on smart mobile devices and related content than iOS users. Android phones have a wide
variety of models from low budget to high-end, with prices for Android phones ranging from $156
for a Motorola Moto G Pure to $1599 for a Samsung Galaxy Z Fold3 5G. 400 While iPhone comes in
less expensive models, like the iPhone SE which retails from $429, Apple mainly targets the
premium smartphone market (e.g., iPhone 14 models range from $799 to $1199 and iPhone 14 Pro
models range from $999 to $1599).401 iPhone users and Android phone users also differ in
spending, with iPhone users spending an average of $50 more per month on tech purchases than
Android users (monthly average of $101 on tech purchases for iPhone users versus $51 for Android
users).402




398
    See, e.g., Verizon, “Device Trade-in Program Terms & Conditions,” available at
https://www.verizon.com/support/device-trade-in-program-legal/.
399
    Verizon, “Cancel your service,” available at https://www.verizon.com/support/residential/account/manage-
service/cancel.
400
    See, e.g., Triggs, Robert, “Did smartphones get a lot more expensive in 2020? Let’s look at the numbers,” Android
Authority, December 19, 2020, available at https://www.androidauthority.com/smartphone-price-1175943/. See also
Johnson, Allison, Gloria Sin, and Dieter Bohn, “The Best Smartphone You Can Buy for under $500,” The Verge,
August 8, 2022, available at https://www.theverge.com/21420196/best-budget-smartphone-cheap. See also Samsung,
“Galaxy Z Fold3,” available at https://www.samsung.com/us/smartphones/galaxy-z-fold3-5g/buy/ and T-Mobile,
“Motorola Moto G Pure,” available at https://www.t-mobile.com/cell-phone/motorola-moto-g-pure.
401
    See, e.g, Apple, “Buy Iphone SE,” available at https://www.apple.com/shop/buy-iphone/iphone-se; Apple, “Buy
Iphone 14,” available at https://www.apple.com/shop/buy-iphone/iphone-14; and Apple, “Buy Iphone 14 Pro,” available
at https://www.apple.com/shop/buy-iphone/iphone-14-pro. See also Silver, Stephen, “Apple Leads in Premium
Smartphone Market Share,” The National Interest, June 25, 2022, available at
https://nationalinterest.org/blog/buzz/apple-leads-premium-smartphone-market-share-203210.
402
    See, e.g., Comscore, “iPhone Users Earn Higher Income, Engage More on Apps than Android Users,” August 14,
2014, available at https://www.comscore.com/ita/Public-Relations/Infographics/iPhone-Users-Earn-Higher-Income-
Engage-More-on-Apps-than-Android-Users. See also PR Newswire, “iPhone Users Spend $101 Every Month on Tech
Purchases, Nearly Double of Android Users, According to a Survey Conducted by Slickdeals,” October 30, 2018,
available at https://www.prnewswire.com/news-releases/iphone-users-spend-101-every-month-on-tech-purchases-
nearly-double-of-android-users-according-to-a-survey-conducted-by-slickdeals-300739582.html?c=n.


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        123
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 125 of 598




                                    (7)      Multiple ecosystem purchases enhance ecosystem lock-in
           174.



                                                                                                       403
                                                                                                             For
example, the CMA Consumer Survey found 52% of Android smartphone users own at least one
other Android/Google product, with 36% owning an Android tablet, and 24% having Google Smart
Home devices.404 Consequently, firms may increase prices to consumers who are locked into their
current mobile OS ecosystem, which consumers could not have accounted for when opting into that
ecosystem.405

                                                      **********

           175.    Importantly, these switching costs operate together. Some may be more or less
important for particular users, but the net effect is to significantly insulate economic decisions
purely within one ecosystem—such as, for example, the terms and conditions of app distribution
within Android or iOS—from the effect of competition by the other ecosystem and its devices. For
the purposes of evaluating the relevant market for Android App Distribution, it does not matter
which of these reasons explains the lack of switching; rather, the lack of switching still means that
consumers will not switch in response to a price change in Android App Distribution, which
delineates the relevant market for Android App Distribution.




403
      Lockheimer (Google) Deposition, pp. 435-436 (

                                                                                    .
404
    See Accent, “Consumer purchasing behaviour in the UK smartphone market,” June 2022, pp. 33-34, available at
https://assets.publishing.service.gov.uk/media/62a1cb0b8fa8f50395c0a0e7/Consumer_purchasing_behaviour_in_the_U
K_smartphone_market_-_CMA_research_report__1_.pdf (hereafter “CMA Consumer Survey”).
405
    See Shy, Oz, The Economics of Network Industries, Illustrated Edition, Cambridge, UK: Cambridge University
Press, 2001, p. 5 (“[I]f consumers are already locked-in using a specific product, firms may raise prices knowing that
consumers will not switch unless the price difference exceeds the switching cost to a competing brand.”).


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         124
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 126 of 598




                           c)       Other economic evidence of switching costs
         176.     More general economic evidence also confirms the importance of switching costs in
users’ decisions to change smart mobile devices. Park and Koo (2016), a study on South Korean
smartphone users, estimated that users’ costs for switching mobile OS is about 202.7 thousand
Korean won (c. $189 in 2014).406 Park and Koo also explain that when users replace their old
smartphones, they tend to choose the same mobile OS. This is because switching costs increase with
factors such as the uncertainty about the compatibility of previously purchased applications and
uncertainty about the possibility of additional payments after switching. Another study, using a
discrete choice model, estimated the willingness to pay for switching OS for users in a European
country to be €520 ($510407).408 These costs are very high relative to the cost of most apps or in-app
content.

         177.


                                                                                                           409
                                                                                                                 Such
uncertainties are compounded by the changes in smart mobile device features over time as well as
consumers’ changing preferences or how they value certain features and functionalities over others,
which makes it even more difficult to predict the lifecycle price when a consumer buys a smart
mobile device.410 This is another reason that the terms and conditions of belonging to one
ecosystem or another (such as inflated app prices caused by a lack of competition to distribute apps)
will not tend to be disciplined by the behavior of the other ecosystem.




406
    See, Park, Yuri, and Yoonmo Koo, “An empirical analysis of switching cost in the smartphone market in South
Korea,” Telecommunications Policy, Vol. 40, No. 4, 2016, pp. 307-318, available at
https://doi.org/10.1016/j.telpol.2016.01.004, at pp. 313-314.
407
    As at September 30, 2022, €1 is equal to $0.98.
408
    See Grzybowski, Lukasz, and Ambre Nicolle, “Estimating Consumer Inertia in Repeated Choices of Smartphones,”
The Journal of Industrial Economics, Vol. 69, No. 1, 2021, pp. 33-82, available at https://doi.org/10.1111/joie.12239, at
p. 50.
409
    Google, “Technology Brief,” June 15, 2010, GOOG-PLAY-003582582-585, at 582-583

410
   See Von Weizsäcker, C. Christian, “The costs of substitution,” Econometrica, Vol. 52, No. 5, 1984, pp. 1085-1116,
available at https://doi.org/10.2307/1910989, at p. 1089.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          125
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 127 of 598




                          d)       The Apple App Store does not constrain Android App Distribution
        178.     In evaluating whether the proposed Android App Distribution Market is a relevant
antitrust market, I consider whether the Apple App Store (or other non-Android app stores) are a
sufficient substitute for Android app stores. There are several reasons why the Apple App Store
does not sufficiently constrain Android App Distribution on smart mobile devices.

                          e)       OEMs cannot pre-install non-Android app stores
        179.


                                                    411
                                                          If an OEM wanted to pre-install a non-Android App
store, OEMs would first have to change their mobile device to run a non-Android mobile OS.
However, this is challenging, as OEMs have limited choice when switching to a non-Android
mobile OS.

         180. The choices available to OEMs are either to develop their own mobile OS (as Apple
 and BlackBerry did) or license a third-party mobile OS (the choice made by Samsung and others).
 For example, Apple uses its own mobile OS, iOS, for its smart mobile devices, whereas Samsung
 uses Google’s Android mobile OS for its smartphones and tablets. 412 Although OEMs can
 hypothetically choose to develop their own mobile OSs, few would do so in response to a SSNIP
 imposed on Android App Distribution. Mobile OSs are characterized by indirect network effects
 and economies of scale, and thus have high barriers to entry (as discussed in Section VI.A.3). 413




411

                                                                          Q4 2020, GOOG-PLAY-006408321-343, at
322.
412
    See, e.g., Samsung, “How can I check what version of Android I have on my device?” 2022, available at
https://www.samsung.com/uk/support/mobile-devices/how-can-i-check-what-version-of-android-i-have-on-my-device/
(“All Samsung smartphones and tablets use the Android operating system, a mobile operating system designed by
Google.”).
413
    In the United States v. Microsoft Corporation case, the Court found that the Windows PC OS is protected by high
barriers to entry from the consumer side and the developer side, which “would make it prohibitively expensive for a
new Intel-compatible operating system to attract enough developers and consumers to become a viable alternative to a
dominant incumbent in less than a few years.” See “Court’s Findings of Fact,” United States v. Microsoft Corporation,
Case No. 98-1232 (TPJ), available at https://www.justice.gov/atr/us-v-microsoft-courts-findings-fact#ii, at ¶¶ 30-32.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          126
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 128 of 598




 Moreover, developing a new mobile OS requires significant investments in research and
 development from designing to testing, which is not only costly but also time-consuming. 414

         181. OEMs would face the catch-22 of having to attract a critical mass of consumers to
 the OS at the same time as attracting developers to develop and program apps for the alternative
 mobile OS. Even if the programming of a new OS were surmountable on its own, the OS is not
 useful without a suite of apps that run on it. Developing those apps and APIs for integrations by
 third parties would be necessary to obtain scale. Now that the iOS and Android ecosystems have
 virtually saturated the market, as depicted in Exhibit 2 in Section III.A.2, high switching costs and
 network effects mean that such an effort would be difficult.

         182. The other option available to OEMs, which is likely less expensive than developing
 their own mobile OS, would be to license a mobile OS from a third-party. Because proprietary
 mobile OSs, such as Apple’s iOS and BlackBerry’s now defunct mobile OS, are (or were) not
 available for license to other mobile device OEMs,415 OEMs must select from the very limited
 licensable mobile OSs available, a list that is dominated by Google’s Android OS, as depicted in
 Exhibit 4 in Section III.B above.416

                                   (1)     Android smart mobile device users also cannot install non-
                                           Android app stores
        183.     I also consider whether Android smart mobile device users could and would install
non-Android app stores (e.g., the Apple App Store) in response to a SSNIP on Android App
Distribution. Users of Android smart mobile devices, like OEMs, also cannot install a non-Android




414
    As documented in the EC Google Android Decision, it cost Amazon some “tens of millions of dollars” to develop its
own Fire OS (a forked Android OS for Amazon Fire tablets). See EC Google Android Decision, ¶ 1039. See also
TechPinas, “Eight Stages Of Mobile Operating System Development - An Overview For Young Techies,” November
25, 2019, available at https://www.techpinas.com/2019/11/How-To-Create-Mobile-Operating-System.html.
415
    See, EC Google Android Decision, ¶¶ 239-240. The BlackBerry OS was discontinued in 2013, and new BlackBerry
devices were based on the Android OS. See, e.g., Bryant, Ben, “BlackBerry 10 Handsets Confirmed for January
Launch,” The Telegraph, November 12, 2013, available at
https://www.telegraph.co.uk/technology/blackberry/9672758/BlackBerry-10-handsets-confirmed-for-January-30-
launch html.
416
    See also EC Google Android Decision, ¶¶ 442-460 (showing the Google Android OS has been a leader in the market
for licensable mobile OS in the world excluding China since 2011 with a market share of at least 72.0%).


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        127
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 129 of 598




app store on their Android smart mobile devices because non-Android app stores do not function on
Android smart mobile devices –
                                                                                                                   417


         184.     For example, apps designed to run on Android OSs are typically written in Java or
Kotlin.418 Because different Android OSs are based on similar code, it is easy for developers to
make an app compatible for users of various Android OSs and distribute them via sideloading. In
contrast, iOS apps are typically written in Objective-C or Swift, and developers would need to
create two different versions of their app store for users of iOS and Android, which would only
function on the respective OS that they were programmed for. 419 Developers of app stores must
therefore create two distinct versions of an otherwise identical app store.

         185.     Consequently, if users of Android smart mobile devices want to switch to a non-
Android app store, they would have to switch to a device with a non-Android app store (e.g., an
Android user would have to switch to an iPhone). However, as I discuss below, consumers show
low propensity to switch to alternative mobile OS ecosystems due to the high costs of switching to a
mobile device running an alternative OS. Google has also prevented developers from steering
consumers to cheaper distribution methods (as discussed in Section IV.B.5). Therefore, consumers
have little or no experience with developers steering them to discounted apps or in-app content.

                                    (2)       User switching among mobile OSs is limited
         186.     Data reflects that actual switching among mobile OSs is low, which corroborates my
analysis of the various reasons why users do not switch. Users show a high degree of adherence to
the mobile OS they currently use, and a resistance to switching. For example, the Presser Report
conducted in 2022 found that there would be very limited switching between Android and iOS. The




417



           Q4 2020, GOOG-PLAY-006408321-343, at 326.
418
    See, e.g., Ilyukha, Vitaliy, “How to Port Android Apps to iOS?,” Jelvix, available at https://jelvix.com/blog/porting-
android-apps-to-ios.
419
    See, e.g., Ilyukha, Vitaliy, “How to Port Android Apps to iOS?,” Jelvix, available at https://jelvix.com/blog/porting-
android-apps-to-ios.


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           128
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 130 of 598




Presser Report found that, in response to an increase of five percent on Google Play Store pricing,
with Apple App Store prices staying the same, only 3% of respondents said they would switch to an
Apple iPhone.420 Other evidence also indicates limited switching between Android and iOS devices,
including Google documents, the CMA Consumer Survey, EC Google Android Decision, and other
surveys.

        187.     First, Google’s own evidence of limited switching includes:

        
                                            421                                                 422



        




                     426




420
    Presser Report, p. 8.
421
    Google,                                             June 20, 2016, GOOG-PLAY-000572041.R-086.R, at 048.R.
422
    Google,                                   November 2018, GOOG-PLAY-004556784.R-813.R, at 793.R and
Google,                                    January 2020, GOOG-PLAY-005705974.R-012.R, at 985.R.
423
    Google, “                                 ” November 2, 2016, GOOG-PLAY-006398898.R-909.R, at 902.R.
424
    Google,                                   ” July 21, 2019, GOOG-PLAY-004503351.R-368.R, at 355.R.
425
    The business unit that includes Google Play.
426
    Gold (Google) Deposition, p. 217 and Email from Brian Rakowski, Google, to Hiroshi Lockheimer, Senior VP of
Platforms & Ecosystems for Google,                          March 13, 2015, GOOG-PLAY-001802727-729, at 728



            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       129
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 131 of 598




        
                                                                                                               427




                      428



        


                                                                                  429

                                                                                                         430



        




                                                                                  432
                                                                                        Exhibit 22 below is an
            excerpt




427

                                                                   See, Google,
            September 2020, GOOG-DOJ-19768791-817, at 792. See also Google,
            January 2021, GOOG-DOJ-27418506-510, at 507. See, for example, a description of Lasso Regression,
Glen, “Lasso Regression: Simple Definition,” StatisticsHowTo, available at https://www.statisticshowto.com/lasso-
regression/.
428
    See Google,                                         September 2020, GOOG-DOJ-19768791-817, at 799.
429
    See Google, “                               November 2018, GOOG-PLAY-004556784-813.R, at 793.R. See also
Google,                                ” August 2019, GOOG-PLAY-005607169.R-207.R, at 180.R.
430
    Google,                 August 2018, GOOG-PLAY-000096813.R-844.R, at 840.R.
431
    See, e.g., Google, “                     January 18, 2017, GOOG-PLAY-000880576.R-645.R, at 606.R and
616.R.
432
    Google,                     January 31, 2017, GOOG-PLAY- 007317466-520, at 467 and 473.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       130
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 132 of 598




                                              Exhibit 22




      Source: Google,                    January 18, 2017, GOOG-PLAY-000880576.R-645.R, at 589.R.
        188.    Second, the CMA as part of their Mobile Ecosystems Market Study undertook a
study into consumer purchasing behavior in the UK smartphone market. 433 This survey showed that
only 5% of Android users had switched from an iOS device with their most recent Android smart
mobile device purchase (while 8% of iOS users switched from an Android with their most recent
iPhone purchase).434 In addition, of those who had not switched, only 12% of Android users even
considered buying/getting an iPhone.435 The survey also found:

           The most important factors for Android users in their decision to buy their current
            smartphone were screen size and quality (56%), overall price (54%), and battery life
            (51%). Only 15% chose range and quality of mobile apps available on the device, and
            11% chose price of subscriptions/content for apps available on the device. 436




433
    CMA Consumer Survey, p. 1.
434
    CMA Consumer Survey, Figure 16.
435
    CMA Consumer Survey, Figure 24.
436
    CMA Consumer Survey, Figure 5.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                  131
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 133 of 598




            The top reasons why Android users didn’t consider switching to an iPhone were: Too
             expensive (60%); I am happy with/prefer Android (54%); and I identify more closely
             with Android than iOS (44%).437 The survey also identified some potential barriers to
             switching including “I didn’t want to spend the time learning how to use an iPhone”
             (28%), “Because I have other devices linked to my phone/operating system (Android)”
             (25%), and “I felt it would be too much hassle to switch to an iPhone” (18%).

        189.     Third, the EC Google Android Decision concluded that Android users are unlikely to
switch between Android and iOS, citing evidence from the Yandex Survey 438 that over 90% of
Android users in the UK were likely to continue purchasing a new Android smartphone. 439 The EC
Google Android decision also refuted Google’s claims that “a substantial number of users have
switched, or would be willing to switch” or that “the degree of competition for first time buyers of
smart mobile devices would be sufficient to protect existing Android smart mobile device users.” 440

        190.     Finally, other survey evidence suggests there is limited substitution between Android
and iOS devices.

            BankMyCell, a price comparison website for electronics recycling, collected data from
             38,043 consumers who traded in their phones from October 2018 to June 2019. They
             found that 12.4% of iPhone owners traded their phones for Samsung smartphones and
             6.4% for LG smartphones, whereas only 7.7% of Galaxy S9 users switched to an iPhone
             (with 92.3% remaining on the Android OS). 441




437
    CMA Consumer Survey, Figure 27.
438
    See EC Google Android Decision, ¶ 533.
439
    See EC Google Android Decision, ¶¶ 533-534.
440
    See EC Google Android Decision, ¶¶ 535-551.
441
    This survey is based on a dataset containing 38,043 unique Apple iPhone users (of which 26,724 unique iPhone users
with defined smartphone models) and 468 unique users in the Galaxy comparison study. The survey’s online audiences
are 62.4% millennials and 37.6% aged 36-65, with a nearly 6:4 female to male split. See Turner, Ash, “iPhone Brand
Loyalty Study at Trade-in,” BankMyCell, available at https://www.bankmycell.com/blog/iphone-trade-in-loyalty-study/.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         132
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 134 of 598




           The adherence rate of Android and iOS users in the U.S. continued to rise in 2017 with
            only 9% of Android users switching to iOS.442

           The Presser Report found that between 71% and 78% of respondents believe it would
            take “a lot” or “some” effort to switch from Android to iOS.443

                                               *********************

        191.     I therefore conclude that consumers face high costs if they wish to switch from
Android to iOS, or vice versa, and that in reality consumers who already own a smart mobile device
– the vast majority of consumers, as noted above – tend to adhere to their present OS when
purchasing a new smart mobile device. This is evidence that the terms and conditions of distribution
of Android apps are not constrained by competition from the Apple App Store. In sections that
follow, I also consider whether other alternative app distribution methods, such as non-Android
mobile device app stores, app stores on PCs or gaming consoles, or web-based apps, are sufficient
constraints such that the market is wider than Android App Distribution.

                                  (3)      Developers’ incentive to multi-home does not constrain
                                           Android App Distribution
        192.     Potential switching by developers also does not constrain Android App Distribution.
App developers want to reach as many device users as possible. Mobile device users tend to use
either Android or iOS devices (and very rarely multi-home/use both). 444
                                                                                                          445




442
    See, e.g., Jones, Chuck, “Apple's iOS Loyalty Rate Is Lower Than Google's Android, But Apple May Steal More
Users Each Year,” Forbes, March 10, 2018, available at https://www forbes.com/sites/chuckjones/2018/03/10/apples-
ios-loyalty-rate-is-lower-than-googles-android-but-apple-may-steal-more-users-each-year/?sh=2208012a68a8.
443
    Presser Survey, p. 8.
444
    CMA Final Report on Mobile Ecosystems, ¶ 3.40.
445
    Chu (Meta Platforms (formerly Google)) Deposition, p. 46




            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       133
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 135 of 598




Therefore, as described in Section III.B, app developers have strong incentives to multi-home by
making their apps available for Android and iOS, in order to harness the volume and value of users
on each mobile OS.446,447 Multi-homing is especially important for apps that facilitate interactions
among users, such as apps with a social networks component.

           193.




                                             ” 449

                                                     *************

           194.      In summary, I conclude that the possibility that OEMs might adopt a different, non-
Android operating system does not constrain the behavior of Android app distributors. I similarly
conclude that Android users cannot constrain Android app developers by installing a non-Android
app store on Android smart mobile devices. Finally, the possibility of developers developing apps
for Apple’s App Store, or some other non-Android store, does not constrain the behavior of Android
app distributors.

                            f)     Basic or feature phones are not a substitute for Android App
                                   Distribution
           195.      I do not consider basic or feature phones part of the Android App Distribution
Market, as they lack the features, capabilities, and app functionality of smart mobile devices and,




446
      Varian, Hal,                                      GOOG-PLAY4-006018159-187, at 177 (

447
    For example, the EC found that developers produce apps for 2.2 OSs (non-games) and 2.6 OSs (games) on average.
See EC Google Android Decision, ¶ 554.
448
    See Google, “Report of Dr. Itamar Simonson,” February 8, 2016, GOOG-PLAY-007317611-634 (hereafter
“Simonson Report”), at 614.
449
    See Simonson Report, 615.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        134
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 136 of 598




thus, Android smart mobile device users, who have chosen to purchase a smart mobile device,
would not switch to these basic devices in response to a small, significant non-transitory price
increase on Android App Distribution. As explained above in Section III.A.1, these non-smart
mobile devices merely offer simple services such as voice calling, text messaging, and limited web
browsing. Feature phones also lack the processing power memory capability of smart mobile
devices. As shown in Exhibit 23 below, all feature phones have processor speeds less than 1.4GHZ,
while on average from 2017 to 2021, more than half of smartphones had speeds greater than 2GHZ.
                                          Exhibit 23
                     Processor Power of Feature Phones and Smartphones,
                          Worldwide (excluding China), 2017 – 2021




Source: IDC, “IDC Quarterly Mobile Phone Tracker,” 2021Q4 Historical Release, February 11, 2022.
        196.    In addition, as shown in Exhibit 24 below, feature phones have much lower random-
access memory (RAM) than smartphones. From 2017 to 2021, all feature phones had on average
less than 2GB (and 99% less than 1GB), while more than half of smartphones had RAM above
3GB.




          NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                 135
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 137 of 598




                                          Exhibit 24
                            RAM in Feature Phones and Smartphones,
                            Worldwide (excluding China), 2017 – 2021




Source: IDC, “IDC Quarterly Mobile Phone Tracker,” 2021Q4 Historical Release, February 11, 2022.
       197.    Therefore, based on the differences in functionality and capability (including the
processor speed and memory available), I do not consider basic and feature phones to be in the
same market as smart mobile devices.

                       g)     App stores on PCs or gaming consoles are not a substitute for
                              Android App Distribution
       198.    I also find App stores on PCs or gaming consoles are not a substitute for Android
App Distribution, due to several differences between their apps and OSs.

                              (1)     OEMs cannot substitute PC or console App Distribution for
                                      Android App Distribution
       199.    From an OEM perspective, technical standards mean OEMs of smart mobiles
devices cannot install OSs (and therefore app stores) for PCs or gaming consoles on their smart




          NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                 136
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 138 of 598




mobile devices.450 I understand that gaming consoles are designed for a very specific purpose and
therefore the OSs that are developed for them are bespoke and not suitable for general purpose
applications.451 In addition, I understand that PC OSs, while more general in purpose, are not
designed for smart mobile devices, which have smaller screens, focus on wireless functionality, and
run on very different hardware, as noted by smartphone OEMs, such as Samsung and Nokia: 452

        Smart mobile device OSs constitute a separate market from PC and Desktop OSs. Smart
        mobile device OSs are customized for smaller screen sizes, mobile functions, wireless
        functions, and apps that are better suited for simpler mobile devices rather than PC OSs,
        which are designed for higher performance CPUs and larger screens, and greater drive
        storage capabilities.
        ...
        The hardware requirements for a mobile OS are significantly different from a PC[’]s OS
        e.g., in terms of processors, memory, display, and power management. In most cases, the
        applications developed in the mobile environment are also specific to the mobile domain and
        not shared with the PC environment, and vice versa.

                                   (2)      App usage and user experience differ for PCs and game
                                            consoles and smart mobile devices
        200.     Smart mobile devices have replaced PCs and gaming consoles for various purposes
that make use of smart mobile devices’ portability (e.g., maps, social media, or dating apps) or their
unique hardware (e.g., motion-based navigation). Apps serving these functions often have little to
no value on desktop computers or gaming consoles. Apps that are designed with the unique
hardware of smart mobile devices in mind (e.g., touch screens, accelerometers, or gyroscopes) also
often do not function with a mouse or video game controller used with PC and gaming console




450
    See, e.g., Java T Point, “Difference between Mobile Operating System and Desktop Operating System,” available at
https://www.javatpoint.com/mobile-operating-system-vs-desktop-operating-
system#:~:text=Mobile%20OS%20handles%20cellular%20and,including%20mouse%2C%20keyboard%2C%20etc.
451
    See, e.g., Yordanov, Alexander, “How the new generation of consoles will affect PC Gaming,” Sapphire Nation,
January 28, 2021, available at https://www.sapphirenation net/how-the-new-generation-of-consoles-will-affect-pc-
gaming (“Console operating systems are optimized exclusively for gaming, so it will take a PC CPU that is significantly
faster to guarantee superior performance[.]”); and Brightwiz, “Get the Scoop on PC vs Console Gaming,” December 16,
2016, available at https://brightwhiz.com/pc-vs-console-gaming/ (“Gaming consoles usually have optimized operating
systems and internal applications designed specifically for one thing or one set of things. The PC, on the other hand,
hosts a general purpose operating system.”).
452
    See EC Google Android Decision, ¶ 223.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         137
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 139 of 598




apps, and vice versa.453 A large proportion of consumers also predominantly use certain services via
mobile apps, including instant messages (88%), dating (85%), weather (81%), maps/GPS/traffic
(76%), and food (76%).454 Also, during 2020, a new app category of Covid-tracing or symptom
tracking apps emerged, services that were only available via mobile. 455 Consumers are also
increasingly attached to smart mobile devices thanks to the convenience of using them whenever
and wherever; for example, in 2021 Americans spent an average of 4.1 hours daily on mobile
devices. 456

        201.     PCs and gaming consoles have vastly different characteristics than smart mobile
devices and are generally not substitutable for one another. Desktop PCs and most gaming consoles
are large, heavy devices that generally stay in one place. While laptop computers can be carried
from place to place, they generally require a stable resting place for access. Smartphones, on the
other hand, are slender gadgets that can be slipped into a pocket and accessed in myriad
circumstances, including while walking, waiting in a meeting, or riding transit.


                                                                    457
                                                                          For example, while ride sharing apps
such as Uber or Lyft allow a user to book a trip on a PC, the web-based app cannot track the car’s




453
    Google, “Play Sandbox,” 2021, GOOG-PLAY-000338400.R-552.R, at 484.R (
                                                                               ”).
454
    See, e.g., Comscore, “Global State of Mobile,” 2019, available at https://www.comscore.com/Insights/Presentations-
and-Whitepapers/2019/Global-State-of-Mobile, at p. 8.
455
    See, e.g., Comscore, “Global State of Mobile,” November 2020, available at
https://www.comscore.com/content/download/51336/2998036/file/2020_Global_State_of_Mobile.pdf, at p. 9.
456
    See Data.ai, “State of Mobile 2022,” 2022, available at https://www.data.ai/en/go/state-of-mobile-2022/, at p. 6
(“Users in Brazil, Indonesia and South Korea surpassed 5 hours per day in mobile apps in 2021. The average American
watched 3.1 hours of TV a day, whereas they spent 4.1 hours on their mobile device in 2021”).
457




                                                                                  See Google, “Android Staples,”
February 11, 2017, GOOG-PLAY-000570075.R-124.R, at 078.R.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         138
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 140 of 598




location and arrival time while waiting outside.458


                               .459 Additionally, social media apps such as Facebook, Snapchat, and
Instagram are almost exclusively used on smartphones. 460 Comscore found that smartphones made
up 92% of the time users spend on social media apps. 461

         202.     Finally, dating apps are designed specifically for smart mobile devices due to their
portability and GPS functions.462 Comscore data from 2020 shows that 85% of users were using
dating apps exclusively through smart mobile devices. 463



                    465
                          Thus, distribution of apps on PCs and gaming consoles is not a substitute for,
and would not constrain, Android App Distribution.




458
    Lyft noted specifically on its website that transit information is not available from a web browser. See, for example,
Lyft, “How to request a ride,” available at https://help.lyft.com/hc/e/all/articles/115013079988-How-to-request-a-
ride#r4o.
459
    See Rysman Workpapers.
460
    Garcia, Rodora, “What Are The Types Of Social Media Apps?” Cellular News, July 22, 2022, available at
https://cellularnews.com/mobile-apps/what-are-the-types-of-social-media-apps/.
461
    Comscore, “Global State of Mobile,” 2019, available at https://www.comscore.com/Insights/Presentations-and-
Whitepapers/2019/Global-State-of-Mobile, at p. 11.
462
    Chuks, Rebecca, “The power of proximity: how location data affects your love life,” Here, February 14, 2020,
available at https://www here.com/company/blog/location-intelligence-dating-apps and Castro, Angel and Juan R.
Barrada, “Dating Apps and Their Sociodemographic and Psychosocial Correlates: A Systematic Review,” Int J Environ
Res Public Health, Vol. 17, No. 18, September 2020, available at
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7557852/pdf/ijerph-17-06500.pdf, at p. 17.
463
    “Comscore, “Global State of Mobile,” November 10, 2020, available at
https://www.comscore.com/Insights/Presentations-and-Whitepapers/2020/Global-State-of-Mobile, at p. 6.
464
    Dixon, S., “Most popular dating apps worldwide as of May 2021, by number of monthly downloads,” Statista, April
28, 2022, available at https://www.statista.com/statistics/1200234/most-popular-dating-apps-worldwide-by-number-of-
downloads/.
465
    See Rysman Workpapers.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           139
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 141 of 598




        203.     Consumers also purchase gaming consoles for a very particular purpose (i.e., playing
games), while smart mobile devices have a much wider functionality than gaming. 466 This explains
why many Android users already own all three types of devices (a smartphone, PC, and gaming
console). For example, the CMA Consumer Survey found that 65% of Android users owned a
personal windows laptop/desktop computer, and 34% owned a gaming console. 467 Further, if the
consumer had an Android smart mobile device but did not already have a PC or gaming console,
they would have to purchase new hardware to access the alternative app distribution methods,
further lowering the likelihood they would switch. The types of games on mobile platforms and
non-mobile platforms are also different in a way that mobile games tend to be casual games that
appeal to mass audiences, whereas PC and console games have higher quality, offer a more
immersive experience and attract more dedicated gamers. 468 Moreover, a comparison of the top 45
apps on the Google Play Store and Steam show almost no overlap; I found only three apps were on
both, as depicted in Exhibit 25 below.




466
    Barder, Ollie, “Millions Of Gamers Are Still Buying Consoles, Here Is Why,” Forbes, February 10, 2015, available
at https://www forbes.com/sites/olliebarder/2015/02/10/millions-of-gamers-are-still-buying-consoles-here-is-
why/?sh=73bef8d76dc5.
467
    See CMA Consumer Survey, Figure 21.
468
    See, e.g., Starloop Studios, “Mobile Games Vs. PC Vs. Console Games: What Market is the Best Bet?” available at
https://starloopstudios.com/mobile-games-vs-pc-vs-console-games-what-market-is-the-best-
bet/#:~:text=Mobile%20games%20offer%20users%20the,console%20games%20are%20the%20winner.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        140
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 142 of 598
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 143 of 598



Notes:
1.    This exhibit depicts the top 45 games in the Steam Store and the Google Play Store at 11:13am on September 21,
      2022. I understand the Steam Store rankings are global, while the Google Play Store rankings might vary across
      different geographies. This exhibit depicts the Google Play Store rankings as they appear in the U.S.
2.    Column “Steam (24 Hour Peak)” depicts the top 45 apps available in the Steam Store based on the 24-hour peak
      number of players (see column “24h Peak” in source 2).
3.    Column “Google Play – Free (Current)” depicts the top 45 free phone game apps available in the Google Play Store
      and column “Google Play – Paid (Current)” depicts the top 45 paid phone game apps in the Google Play Store.
      These top apps update frequently throughout the day to reflect current top apps. Google Play does not specify the
      metrics utilized to categorize apps as “top”; however, this is likely based on downloads.

Sources:
1.    Google, “Games,” Google Play Store, available at https://play.google.com/store/games.
2.    Steam, “Most Played Games,” SteamDB, available at https://steamdb.info/graph/.


          204.     Additionally, the volume of gaming apps on the Play Store overwhelmingly
surpasses that on gaming consoles such as Steam, Switch, and PlayStation. There were
approximately 478,000 gaming apps available on the Play Store as of the second quarter of 2022. In
contrast, the number of games on Steam, Switch, and PlayStation is approximately 50,000
thousand, 5,000, and 4,000, respectively. 469 Therefore, from a consumer perspective, PCs or gaming
consoles cannot be considered as reasonable substitutes for smart mobile devices.

                                    (3)      App developers do not consider PC or console app distribution
                                             and Android App Distribution as substitutes
          205.     In addition to limited substitution from consumers and OEMs, as discussed above,
developers also would not substitute from Android App Distribution to PC or console app
distribution. From developers’ perspective, OSs for PCs and game consoles have technically
different requirements from mobile OSs, so the apps developed for different platforms must
accommodate these different specifications. OS developers such as Nokia, for example, have stated




469
   See Clement, J., “Number of available gaming apps in the Google Play Store from 1st quarter 2015 to 2nd quarter
2022,” Statista, August 30, 2022, available at https://www.statista.com/statistics/780229/number-of-available-gaming-
apps-in-the-google-play-store-quarter/; Wise, Jason, “How many games are there on Steam in 2022?” Earthweb, August
5, 2022, available at https://earthweb.com/how-many-games-are-on-
steam/#:~:text=This%20makes%20us%20all%20wonder,list%20every%20year%20since%202017.; Nintendo,
“Nintendo Switch,” available at https://www nintendo.com/switch/system/; and Adler, Matthew, “PS5: 'Majority of the
4,000+ PS4 Titles' Will be Backwards Compatible, Sony Says,” IGN, March 27, 2020, available at
https://www.ign.com/articles/ps5-majority-of-the-4000-ps4-titles-will-be-backwards-compatible-sony-says.


              NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          142
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 144 of 598




that because the “hardware requirements for a mobile OS are significantly different from a PCs,”
mobile apps are “specific to the mobile domain and not shared with the PC environment, and vice
versa.” Similarly, Amazon stated that “apps developed for a mobile OS may not function (or may
not function as well) on a device using an OS for PCs (and vice versa).” 470

        206.     Generally speaking, apps developed for mobile OSs are able to handle
cellular/wireless connectivity and use touchscreens.471 In contrast, PC and console OSs have a
higher power requirement (e.g., PC OSs are generally not optimized for power usage and have a
high requirement for CPU capacity) and support many input devices (e.g., computer mice, game
controllers, headphones, microphones, etc.), so PC software is usually developed for specific
purposes (e.g., system software and programming software). 472

        207.     Games are also developed differently for these different platforms (though cross-
platform games are increasing473). For example, games on smart mobile devices are usually lower
quality, have limited genres (due to smaller screens), generally do not support external controllers,
and damage the battery compared to games on PCs or gaming consoles, which have higher
resolution and faster gaming speeds.474 Also, as discussed in Section III.B, developers who do not
currently develop their apps on PC/consoles, would have to incur additional expense writing code
and building their app in a different environment (and consoles would only be applicable for
gaming developers). Finally, in 2021, according to WePC, the smartphone and tablet games market




470
    See EC Google Android Decision, ¶¶ 221-223.
471
    See, e.g., Java T Point, “Difference between Mobile Operating System and Desktop Operating System,” available at
https://www.javatpoint.com/mobile-operating-system-vs-desktop-operating-
system#:~:text=Mobile%20OS%20handles%20cellular%20and,including%20mouse%2C%20keyboard%2C%20etc.
472
    See, e.g., Java T Point, “Difference between Mobile Operating System and Desktop Operating System,” available at
https://www.javatpoint.com/mobile-operating-system-vs-desktop-operating-
system#:~:text=Mobile%20OS%20handles%20cellular%20and,including%20mouse%2C%20keyboard%2C%20etc and
Wilcox, Lacey, “The 4 Main Types of Software,” Primitive, March 30, 2021, available at
https://www.leadwithprimitive.com/blog/the-4-main-types-of-software.
473
    See, e.g., Conroy, Shaun, “Cross platform games & crossplay games explained 2022,” WePC, August 16, 2022,
available at https://www.wepc.com/tips/cross-platform-games/.
474
    See, e.g., Starloop Studios, “Mobile Games Vs. PC Vs. Console Games: What Market is the Best Bet?” available at
https://starloopstudios.com/mobile-games-vs-pc-vs-console-games-what-market-is-the-best-
bet/#:~:text=Mobile%20games%20offer%20users%20the,console%20games%20are%20the%20winner.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        143
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 145 of 598




was worth more than the console and PC games markets combined (with 51.6% of the total games
market).475 Therefore, smart mobile device apps have become far too substantial for gaming
developers to ignore and switch to developing only PC and/or console games. In summary,
developers face many hurdles when substituting between developing apps for smart mobile devices
and developing apps for PCs and gaming consoles.

        208.     As described in Section VII.B.3, app stores on PCs, such as the Microsoft Store and
the Epic Games store, often charge a commission of 12%. 476 This is much lower than Google’s
average commission of 29.85%.477 The fact that this difference persists (i.e., Google has not
materially adjusted its pricing in response to these lower fees) suggests developers see Android App
Distribution (and the Google Play Store in particular) as a unique/separate distribution platform that
is not subject to competition from these PC app stores.

        209.     Finally, PC/console app distribution may compete more closely with Android App
Distribution if many apps and games worked across all three platforms (also referred to as “cross-
platform”).478
                                                                                                     479
                                                                                                           Even
among gaming apps that can be played cross-platform, there is limited multi-homing by users.



                 480
                       On the other hand, Google and Amazon (i.e., mobile focused companies) would




475
    See WePC, “PC Gaming Statistics 2022,” June 10, 2022, available at https://www.wepc.com/statistics/pc-gaming/.
476
    See Warren, Tom, “Microsoft shakes up PC gaming by reducing Windows store cut to just 12 percent,” The Verge,
April 29, 2021, available at www.theverge.com/2021/4/29/22409285/microsoft-store-cut-windows-pcgames-12-percent.
477
    This is averaged across all developers who have incurred transactions with U.S. consumers from January 2012 to
July 2021. See Google Transaction Data. See Rysman Workpapers.
478
    Cross-platform is “a term used to refer to a piece of software that is compatible with more than one system. For
example, the popular media player VLC is compatible with the three major desktop operating systems: Microsoft, Mac
OS, and Linux. Cross-platform support can also extend to mobile devices, with many apps available on both the Apple
App Store and the Google Play Store.” See Vicente, Vann, “What does cross-platform mean for gaming and other
apps?” How-To Geek, October 9, 2021, available at https://www howtogeek.com/752370/what-does-cross-platform-
mean-for-gaming-and-other-apps/.
479
    Google, “Game Change: The Future of Videogames,” May 2019, GOOG-PLAY-000231487-551, at 538.
480
    See


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        144
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 146 of 598




find it easier to challenge Sony and Microsoft (the two largest gaming console providers) via cloud
gaming481,
                                                                               482


                                            ********************

        210.     Thus, because (i) app stores on PCs and gaming consoles operate on a different OS
platform, with different technical requirements, (ii) consumers use PC and gaming consoles for
different purposes (due to differences in functionality), and thus are unlikely to view the two
platforms as a substitute to Android; (iii) developers are unlikely to view mobile app stores and
PC/gaming console app stores as substitutes because they want to access different sets of consumers
and thus distribute apps where they can reach their target audience, I conclude that PC or gaming
console app stores are not in the same market as Android App Distribution methods, as my SSNIP
test excluding them, in Section V.C.5 below, demonstrates.

                          h)       Substitution between web-based apps and mobile apps is limited
        211.     I also consider whether consumers and developers would switch to web-based apps
in response to a price increase in Android App Distribution and conclude web-based apps are not a
reasonable substitute for native mobile apps on Android mobile devices. Web apps require internet
connection and do not provide the same features and functionality as mobile apps, thereby
providing an inferior user experience. 483 Moreover, as explained below, data indicates that users
spend far more time and money on mobile apps than web apps.




481
    Roach, Jacob and Kevin Parrish, “What is cloud gaming?” Digital Trends, March 29, 2021, available at
https://www.digitaltrends.com/gaming/what-is-cloud-gaming-explained/ (“Cloud gaming is a method of playing video
games using remote servers in data centers. There’s no need to download and install games on a PC or console. Instead,
streaming services require a reliable internet connection to send gaming information to an app or browser installed on
the recipient device. The game is rendered and played on the remote server, but you see and interact with everything
locally on your device”).
482
    Google, “Game Change: The Future of Videogames,” May 2019, GOOG-PLAY-000231487-551, at 489.
483
    Email from Mike Cleron, Google, to Hiroshi Lockheimer, Senior Vice President of Platforms & Ecosystems for
Google, “                                                               ” December 10, 2014, GOOG-PLAY-
004449004-006 at 004 (

                                       ).


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         145
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 147 of 598




        212.




                                                                                                489


        213.    Mobile apps can often be used “offline” (i.e., without an internet connection). For
example, content on streaming apps can be downloaded to the smart mobile device for enjoyment
even when an internet connection is unavailable, and some Android gaming apps can be played
offline.490 By contrast, web apps require connection to the internet. 491




484
    Google, “Different ‘App-like’ Experiences,” GOOG-PLAY-001882239.R-299.R, at 256.R.
485
    Google, “Different ‘App-like’ Experiences,” GOOG-PLAY-001882239.R-299.R, at 260.R-261.R.
486
    Google, “Different ‘App-like’ Experiences,” GOOG-PLAY-001882239.R-299.R, at 264.R.
487
    Google, “Different ‘App-like’ Experiences,” GOOG-PLAY-001882239.R-299.R, at 265.R.
488
    Google, “Different ‘App-like’ Experiences,” GOOG-PLAY-001882239.R-299.R, at 267.R-272.R.
489
    Google, “Different ‘App-like’ Experiences,” GOOG-PLAY-001882239.R-299.R, at 274.R.
490
    Google Play provides a list of offline apps. See, e.g., Google, “Offline Games,” available at
https://web.archive.org/web/20220809221424/https://play.google.com/store/apps/collection/promotion_3000933_offlin
egamemea?clp=CigKJgogcHJvbW90aW9uXzMwMDA5MzNfb2ZmbGluZWdhbWVtZWEQShgD:S:ANO1ljJOybU&
gsr=CioKKAomCiBwcm9tb3Rpb25fMzAwMDkzM19vZmZsaW5lZ2FtZW1lYRBKGAM%3D:S:ANO1ljLzKRU&hl
=en. See also Griffith, Eric, “How to download video from your favorite streaming service,” PCMag, April 2, 2020,
available at https://www.pcmag.com/how-to/how-to-download-video-from-your-favorite-streaming-service and Hindy,
Joe, “15 best offline Android games that require no WiFi,” Android Authority, May 4, 2022, available at
https://www.androidauthority.com/best-offline-android-games-669279/.
491
    See, e.g., GeeksforGeeks, “Difference between Native Apps and Web Apps,” March 31, 2021, available at
https://www.geeksforgeeks.org/difference-between-native-apps-and-web-
apps/#:~:text=Native%20apps%20are%20faster%20than,approved%20by%20the%20App%20Store.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       146
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 148 of 598




        214.     Mobile apps sometimes have features that are not available on the website
equivalent. For example, Instagram’s features such as dark mode or uploading stories are only
available on its mobile app.492 While consumers can access many online services through web
browsers on their smartphones, websites often have longer response times (web-based apps run
slower than native apps) and are harder to navigate, resulting in a worse user experience (as noted
above, web-based apps also cannot work without an internet connection). 493

        215.     Moreover, the significant difference in performance and features between web-based
apps and native mobile apps has led many developers to either abandon or deprioritize the web-
based version of their apps.494 For example, in 2012 Facebook decided to move away from an
HTML5 version to launching an Android native app because of limitations in “performance and
feature set” such as sub-optimal experience of using cameras on the mobile web. 495 As another
example, popular apps such as WhatsApp and Pokémon GO are only available on Android smart
mobile devices as native apps.496

        216.     Evidence indicates users have navigated to the superior experience of mobile apps.
For example, a Comscore report shows consumers spend the overwhelming majority (greater or




492
    See, e.g., Hindustan Times, “5 features you can use on the Instagram app but not on Instagram website,” January 15,
2020, available at https://tech hindustantimes.com/tech/news/5-features-you-can-use-on-the-instagram-app-but-not-on-
instagram-website-story-NeLHrjG7H65ABNJ4Ae2u4N.html.
493
    See, e.g., GeeksforGeeks, “Difference between Native Apps and Web Apps,” March 31, 2021, available at
https://www.geeksforgeeks.org/difference-between-native-apps-and-web-
apps/#:~:text=Native%20apps%20are%20faster%20than,approved%20by%20the%20App%20Store and Rooche, “What
are the Benefits of Native App?” June 20, 2022, available at https://rooche net/benefits-of-native-app/.
494
    See, e.g., Montecuollo, Michael, “Native or Web-Based? Selecting the Right Approach for Your Mobile App,” UX
Magazine, January 29, 2014, available at https://uxmag.com/articles/native-or-web-based-selecting-the-right-approach-
for-your-mobile-app.
495
    See, e.g., Langel, Tobie, “Introducing the Mobile W3C Community Group,” Facebook Developers, February 27,
2012, available at
https://web.archive.org/web/20120511110804/http://developers.facebook.com/html5/blog/post/2012/02/27/introducing-
the-mobile-w3c-community-group/. See also Reisinger, Don, “Facebook close to launch of native Android app –
report,” CNET, October 8, 2012, available at https://www.cnet.com/tech/services-and-software/facebook-close-to-
launch-of-native-android-app-report/.
496
    Google, “Different ‘App-like’ Experiences,” GOOG-PLAY-001882239.R-299.R, at 256.R. See, e.g., Nguyen, Kim
Anh, “Top 7 best native app example in 2022 that merchants can learn from,” Magenest, November 30, 2021, available
at https://magenest.com/en/native-app-example/.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         147
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 149 of 598




equal to 85 percent in all countries shown) of their mobile time in native apps, as illustrated in
Exhibit 26 below.497
                                          Exhibit 26
            Proportion of Time Spent on Mobile Apps Globally Excluding China, 2020




Source: Comscore, “Global State of Mobile,” November 2020, available at
https://www.comscore.com/content/download/51336/2998036/file/2020_Global_State_of_Mobile.pdf, slide
5.
        217.     Additionally, as shown in Exhibit 27 below, consumers spend overwhelmingly less
on web apps than they do on smartphones and tablets combined.



                   498




497
    See, e.g., Comscore, “Global State of Mobile,” November 2020, available at
https://www.comscore.com/content/download/51336/2998036/file/2020_Global_State_of_Mobile.pdf, at p. 5.
498
    See Rysman Workpapers. Note: The data includes worldwide developers. All transactions relate to U.S. consumer
transactions.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        148
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 150 of 598




                                                     Exhibit 27




Sources: Monthly App Revenue Data.
           218.




                         499
                               and therefore distributing an app via a browser is not a substitute for
distributing native mobile apps on Android.

                   5.     Implementing the Hypothetical Monopolist Test

           219.    To understand whether Google operates the Google Play Store in a two-sided
market, I apply the framework set out in Sections V.A and V.B above. The Google Play Store is a
platform that matches both developers (who need to distribute apps) and consumers (who need to
obtain their apps). The more high-quality apps that are available for download on Google Play
Store, the more attractive the Play Store is to consumers.




499
      Google,                                 GOOG-PLAY-001882239.R-299.R, at 298.R.


                NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       149
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 151 of 598




                                           500
                                                 Thus, I conclude that, based on the definitions described
above, Google operates the Play Store in a two-sided market.

        220.     As a result of my above observations that Google is operating a two-sided market,
the hypothetical monopolist test for Android App Distribution would need to be modified to analyze
whether a hypothetical monopolist of Android App Distribution could profitability impose a SSNIP
on both consumers and developers together.

        221.     From a developer perspective, the price paid by developers is the commission
Google charges in the but-for world absent the challenged conduct. As presented in Section VII.B.2,
my estimate of Google’s but-for commission charged to developers for app distribution is
approximately 15%. Therefore, a conservative 10% increase in this commission amounts to 16.5
percentage points.

        222.     From a consumer perspective, while Google does not charge consumers a separate
fee for using the Google Play Store, Google has recently introduced Google Play Points, which
“rewards users for any purchase they make on Play — including apps, games, in-app items, music,
movies, books, and subscriptions - and for downloading select apps and games” and lets
participants use points to get discount coupons, in-app items, or Google Play Credit (see Section
IV.A.6).501 The points system is tiered, allowing users who collect enough points in a calendar year
to “level up,” earning the user even more points and benefits. 502 In the U.S., users earn “1 point for




500
   See Email from Hiroshi Lockheimer, Senior Vice President of Platforms & Ecosystems for Google, to Stephanie
Saad Cuthbertson, Google, “Subject: Re: android monetization,” April 17, 2015, GOOG-PLAY-000813755-756, at 755


                                                                                 ”).
501
    See Schoon, Ben, “Google Play Points rewards program goes official, only works in Japan for now,” 9to5Google,
September 18, 2018, available at https://9to5google.com/2018/09/18/google-play-points-official-rewards-program-
japan/. However, Google Play Store only expanded to the U.S. in 2019. See also Feng, Paul, “Introducing Google Play
Points in the U.S.,” Android Developers, November 4, 2019, available at https://android-
developers.googleblog.com/2019/11/introducing-google-play-points-in-us html and Join Google Play Points.
502
    See Join Google Play Points.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         150
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 152 of 598




every $1 USD [they] spend with Google Play.”503 Google Play Points functions as a form of
negative price that rewards consumers for their purchases via the Google Play Store. Therefore, I
model the price paid by consumers as the Google Play Points (or other direct discounts to
consumers) that Google would have offered in the but-for world – 0.69%. 504 I note that the proper
implementation requires the but-for price of the hypothetical monopolist. However, in my view,
Google’s but-for Play Points (and other discounts) is a lower bound on the discount the hypothetical
monopolist would provide.

         223.     In conducting my SSNIP analysis, I start by asking whether the market is broader
than App Distribution and In-App Billing Services on Android. This is because I would like to
understand whether potential competitive constraints, such as the Apple App Store, act as a
sufficient constraint on a hypothetical monopolist that controls both markets (as Google currently
does). Therefore, I ask whether a hypothetical monopolist of both markets would find it profitable
to impose a 10% SSNIP on both Android App Distribution and Android In-App Billing Services
combined. To be clear, this does not mean that Android App Distribution and Android In-App
Billing Services on Android are in one broad market. As stated in the U.S. Merger Guidelines: “The
hypothetical monopolist test ensures that markets are not defined too narrowly, but it does not lead
to a single relevant market.”505 To understand whether a SSNIP of 10% on developers and
consumers would have been profitable for a hypothetical monopolist of both markets, I adapt my
damages model as described in Appendix F.

         224.     Intuitively, there are two effects from a hypothetical monopolist imposing a SSNIP
of 10%. First, the hypothetical monopolist reduces the discount to consumers (i.e., the number of
Play Points). This reduces consumer demand for apps and in-app content, making it less profitable
for developers to create new apps and enter the combined market, thereby reducing the variety of
apps in the combined market. Second, the hypothetical monopolist increases the commission to
developers, decreasing the number of apps (i.e., the variety) and increasing the prices for developers




503
    See Join Google Play Points.
504
    See Rysman Workpapers.
505
    U.S. Merger Guidelines, § 4.1.1.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                   151
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 153 of 598




that remain set for their apps and in-app content. As a result of the indirect network effects,
consumer demand for apps and in-app content falls.

           225.     The details of my calibration are explained in Section IX.D and also set out in detail
in Appendix F. In short, the SSNIP of 10% will be profitable when the following condition is
satisfied:

                                                         [(1.1𝜏 ∗ − 0.9𝑡𝐵∗ )𝑝∗∗ − (𝜏 ∗ − 𝑡𝐵∗ )𝑝∗ ]𝑝∗
                         𝜖𝑄,𝑝 (1.1 𝜏 ∗ − 0.9𝑡𝐵∗ )𝑝∗∗ −
                                                                        𝑝∗∗ − 𝑝∗
                  𝐶≥
                                                             𝜖𝑄,𝑝

                                                                                                             [E. 15]

           226.     Where 𝐶 is the hypothetical monopolist’s marginal cost per transaction (same for
both initial app download and in-app transaction), 𝜏 ∗ is the competitive commission for Android
App Distribution and Android In-App Billing Services on which the hypothetical monopolist
imposes the SSNIP (15%), 𝑡 ∗ is the but-for Google’s discount rate including Play Points offered to
consumers                  𝑝∗ is the but-for price of app/in-app content, 𝑝∗∗ is but-for price after SSNIP is
imposed, and 𝜖       ,   is the percentage change in the equilibrium number of transactions divided by the
                                                                                        506
percentage change in equilibrium prices as a result of the SSNIP

           227.     The prices, 𝑝∗ and 𝑝∗∗ , and the parameter 𝜖        ,   , are solved for and calibrated using
my damages model adapted for SSNIP analysis. The prices are determined in equilibrium as a result
of competition between a large number of apps. The parameter 𝜖                   ,   accounts for the supply and
demand forces discussed above.

           228.      The right-hand side of E.15 provides a critical threshold for the marginal cost for
hypothetical monopolist such that SSNIP is profitable if marginal cost is larger than the critical
threshold. The critical threshold is calibrated as the following:




506
      The calibration is detailed in the Appendix F. See Rysman Workpapers.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                            152
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 154 of 598




                                                   Exhibit 28




Sources:
1.     Google Transaction Data.
2.     Google Monthly App Revenue Data.
           229.    Plugging in the calibrated parameters, the Equation E.15 yields:




           230.    The result means that the 10% SSNIP is profitable when the hypothetical
monopolist’s marginal cost is greater than or equal to               Thus, any positive marginal cost
would satisfy the SSNIP test. According to Google’s internal documents, Google incurs costs to
provide the Google Play Store (including both app distribution and in-app billing services). These
include:

           


                                                                              507
                                                                                    Additional documents note




507
      Google, “Play Cost of Payments,” September 9, 2014, GOOG-PLAY-003764714.R-746.R, at 715.R-720.R.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       153
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 155 of 598




                                                                                          509



                                                                                               . 510

                                                                                                   511


           231.     Therefore, given these costs are positive, I conclude that Google must face at least
some positive marginal costs to provide the Google Play Store. Subsequently, marginal cost is
almost certainly greater than the 10% SSNIP marginal cost threshold of                    as noted above.
Therefore, in my view, the 10% combined SSNIP on the Android App Distribution and Android In-
App Billing Services Markets is profitable and thus the combined market does not include any
constraints from outside the Android App Distribution or In-App Billing Services markets (such as
the Apple App Store and associated billing services).

                    6.     Geographic Market

           232.     I conclude that the relevant geographic dimension to this market is worldwide
(excluding China).512 As noted in Section IV.B.2,


                                         513
                                               Given availability and popularity in most parts of the world,
Android developers who want to distribute their Android apps can reach a global audience no
matter which country the developers are based in. Further, as explained by Huawei: “Generally




508
      Google, “Project       – Potential Evolutions,” July 2, 2021, GOOG-PLAY-007819776-064, at 876.
509

                                                                                                     . See
Google, “Play Finance Overview,” November 2017, GOOG-PLAY-000613152.R-249.R, at 162.R and 180.R.
510
    Google, “Play Finance Overview,” November 2017, GOOG-PLAY-000613152-249.R at 162.R.
511
    Google, “Play Finance Overview,” November 2017, GOOG-PLAY-000613152-249.R at 162.R
512
    See Google, “Partnerships,” GOOG-PLAY4-002169674-679, at 675
                                                                                     April 4, 2013, GOOG-
PLAY-004253884-960, at 894
513
    Kolotouros (Google) Deposition, p. 450
                                                                   and EC Google Android Decision, ¶ 415
and FN 409.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         154
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 156 of 598




speaking, competition takes place at a worldwide level because this is at that level that most of the
apps in the appstore compete. For instance, customers in the UK and USA will download the same
version of gaming applications, such as Angry Birds. Some of applications like news-related ones
may compete at a regional level, but their number is limited.”514 In internal documents,
                                                                        ” 515 As noted in a Google internal
document,
                                                                 516
                                                                       Some of Google’s larger app distribution
competitors (e.g., Samsung and F-Droid) are also based outside the United States. 517

         233.     The relevant geographic market excludes China, where the Google Play Store is
unavailable (as are most other Google apps, such as Google Search, Google Maps, and
YouTube).518 Instead, the most popular Android app stores in China were developed by Chinese
companies (e.g., the Tencent My App, 360 Mobile Assistant, and Baidu Mobile Assistant). 519 These
app stores have no significant presence outside of China, because Chinese OEMs pre-install the
Google Play Store on all devices that are sold outside of China (e.g., Huawei, Lenovo, or
Xiaomi).520

                                                ****************

         234.     Based on the evidence presented above, I find the Android App Distribution Market
worldwide excluding China is a relevant antitrust market. I find that the Android App Distribution




514
    EC Google Android Decision, ¶¶ 412-415.
515
    Google, “Google Play Competitive Usage Survey,” GOOG-PLAY-001886111.R-166.R, at 118.R.
516
    Google, “App Stores on Android 12,” February 2021, GOOG-PLAY-006814475.R-497.R, at 477.R.
517
    Aptoide, “The game-changing alternative Android app store,” available at https://en.aptoide.com/company/about-us
and Bondarenko, Peter, “Samsung,” Britannica, October 1, 2021, available at
https://www.britannica.com/topic/Samsung-Electronics.
518
    D’Onfro, Jillian, “Google is missing out on billions of dollars by not having an app store in China, new data shows,”
CNBC, January 17, 2018, available at https://www.cnbc.com/2018/01/17/google-misses-out-on-billions-in-china html
and Comparitech, “Is Google blocked in China?” available at available at https://www.comparitech.com/privacy-
security-tools/blockedinchina/google/.
519
    Kuhns, Todd, “The Top 15 App Stores In China,” AppInChina, June 24, 2022, available at
https://www.appinchina.co/blog/the-top-15-app-stores-in-china/.
520
    EC Google Android Decision, ¶¶ 10 and 417-419.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           155
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 157 of 598




Market includes Android app stores and sideloading while the substitution and constraint from more
remote alternatives, such as the Apple App Store, PC app stores, and gaming console app stores, are
not sufficient to include them in the relevant market.

        D.       Android In-App Billing Services Market is a Relevant Market

        235.     The second relevant antitrust market related to Google’s alleged conduct is the
Android In-App Billing Services Market. As discussed in Section III.D, developers who monetize
in-app content require a billing service provider to receive payment and authorize the unlocking of
the purchased in-app content.521 The Android In-App Billing Service provider is a vendor to the
developer, who requires In-App Billing Services to complete Android smart mobile device users’
purchases of in-app content (as well as being part of the experience that the app provides).

        236.     My analysis of the Android In-App Billing Services Market proceeds as follows in
seven parts. First, I summarize the basic functionality of products in the Android In-App Billing
Services Market, including Google Play Billing. Second, I explain how in-app billing services are
separate from Android App Distribution, and how Google Play Billing is a separate and distinct
product from the Google Play Store. Third, I determine that the Android In-App Billing Services
Market is a one-sided market between developers (as buyers) and Android In-App Billing Services
providers (as sellers). Fourth, with those considerations in mind, I apply the HMT to define the
boundaries of the Android In-App Billing Services Market. Fifth, I consider potential alternative
market definitions for the Android In-App Billing Services Market. Finally, I define the geographic
market as worldwide excluding China.

        237.     I conclude that the Android In-App Billing Services Market consists of: (i) Google
Play Billing; (ii) developers’ own billing service systems; and (iii) independent billing service
providers.




521
   Dubrova, Daria, “How to integrate payment systems into the existing app,” The App Solutions, available at
https://theappsolutions.com/blog/development/payment-systems-for-the-app/.


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         156
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 158 of 598




                  1.       The Function of Android In-App Billing Services and Google Play Billing

         238.     As described in Section III.D, Android in-app billing services consist of a bundle of
complementary services, which includes receiving payment and authorizing the unlocking of the
purchased in-app content522 and may also include invoicing, payment history, and refund
processing.523




                                                                                                525
                                                                                                      As part of this
seamless experience, a payment gateway works as a virtual terminal at checkout to encrypt
customers’ credit card information/payment credentials and pass them to payment processors,
which then pass a consumer’s payment data to an issuing bank, collect funds from the card-issuing




522
    Xsolla, for example, is an online payment gateway that connects to credit cards networks (e.g., Visa), integrated
billing service providers (e.g., PayPal), and payment systems (e.g., Apple Pay and Google Pay). See Xsolla, “Pay
Station,” available at https://xsolla.com/products/paystation and Xsolla, “Grant Purchases to User,” available at
https://developers.xsolla.com/solutions/web-shop/catalog-and-items/grant-purchases/. As another example, Zuora is a
payment processor specializing in subscription billing services. See Zuora, “Billing Software,” available at
https://www.zuora.com/products/billing-software/.
523
    For example, Amazon’s In-App Purchasing API performs the following workflow: “logic to display the purchasable
item,”; “perform the purchase,”; “handle any preconditions or error scenarios.” It does not offer refunds on purchases of
in-app items or track consumers’ purchases. See Amazon Appstore, “In-App Purchasing Overview,” May 18, 2022,
available at https://developer.amazon.com/docs/in-app-purchasing/iap-overview html.
524
    Samat (Google) Deposition, pp. 470-471



                                     ). See also Samsung, “What is Samsung In-App Purchase?” available at
https://developer.samsung.com/iap/overview.html.
525
    Chu (Meta Platforms (formerly Google)) Deposition, p. 259 (“



                                               .


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          157
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 159 of 598




bank, and transfer the funds to the merchant’s account after deducting a fee. 526 Exhibit 30Exhibit 30
illustrates the process of enabling the purchase of in-app digital content.

         239.    Different app stores and different independent payment service providers offer (or
are poised to offer) the full suite of in-app billing services or different elements of the billing
services bundle within this market. I describe the options available to Android app developers
below.

                          a)       Android In-App Billing Services Offered by Android App Stores
         240.    Some Android app stores offer Android In-App Billing Services that include the
SDK or API specific to that billing system. The Amazon Appstore describes the In-App Billing
Services it provides with its “In-App Purchasing API” vs. what developers must provide for
themselves as shown in Exhibit 29 below.




526
    See, e.g., Dublino, Jennier, “Payment Gateway vs. Payment Processor,” business.com, September 20, 2022, available
at https://www.business.com/articles/payment-gateway-vs-payment-processor/.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        158
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 160 of 598
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 161 of 598




situations where the in-app content is downloaded to the user device as part of the original app
download, the Amazon Appstore in-app billing API works in the steps shown in Exhibit 30 below.
                                           Exhibit 30
                           Amazon Appstore In-App Purchasing API Steps




Source: Amazon, “In-App Purchasing Overview,” available at https://developer.amazon.com/docs/in-app-
purchasing/iap-overview.html.
        242.     Similarly, Samsung offers “Samsung In-App Purchase” for apps published on the
Samsung Galaxy Store.528 Samsung In-App Purchase includes “an SDK and Server APIs,” which
“enable [developers] to easily integrate IAP functionality into [an] app, such as configuring IAP,
getting item details, offering and selling items, and managing purchased items,” as well as
“verify[ing] item purchases, creat[ing] a service token, and check[ing] subscription status.” 529
Samsung explains that the first step for developers using Samsung In-App Purchase is to
“[d]ownload the Samsung In-App Purchase SDK and integrate it into your application.” 530 The
functionality of the Samsung IAP SDK is shown in Exhibit 31 below:




528
    Samsung, “What is Samsung In-App Purchase?” available at https://developer.samsung.com/iap/overview.html.
529
    Samsung, “What is Samsung In-App Purchase?” available at https://developer.samsung.com/iap/overview.html.
530
    Samsung, “What is Samsung In-App Purchase?” available at https://developer.samsung.com/iap/overview.html.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       160
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 162 of 598




                                               Exhibit 31
                               Samsung Galaxy Store In-App Purchasing SDK




Source: Samsung, “What is Samsung In-App Purchase?,” available at
https://developer.samsung.com/iap/overview.html.
           243.     The ONE store also offers an in-app billing services API. ONE store explains that
the in-app billing services functionality does not come as part of the store itself; rather, an “IAP
module” must be “applied to [the] developer’s app,” and that module “is provided as [a] Java
development library, which is called IAP SDK (In-App Purchase Software Development Kit).” 531
ONE store illustrates this as shown in Exhibit 32 below:




531
      GitHub, “What is ONE store In-App Purchase?” available at https://github.com/ONE-store/inapp-sdk-eng.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          161
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 163 of 598




                                              Exhibit 32
                                   ONE Store In-App Purchasing SDK




Source: GitHub, “What is ONE store In-App Purchase?” available at https://github.com/ONE-store/inapp-
sdk-eng.
        244.     As explained in Section III.D, Google Play Billing is Google’s billing service, which
provides a bundle of at least four services that allows developers to sell digital content through their
Android apps:




                           and (4) refund services for some credit card transactions made and then
cancelled within 48 hours from purchase.532 With respect to subscriptions for in-app content,
Google also gives developers a tool for subscription management. 533 I understand that Google Play
Billing does not include general customer service, refund services after 48 hours from purchase, any




532
    Loew (Google) Deposition, p. 48, 55-60, 93-99, and 193; Google Play Help, “Learn about refunds on Google Play,”
available at https://support.google.com/googleplay/answer/2479637?hl=en-
GB#:~:text=Your%20Play%20Pass%20subscription%20can,month%20in%20which%20you%20cancelled (“It’s less
been than 48 hours since you bought an app or made an in-app purchase: you can request a refund through Google
Play.”).
533
    Google, “Create and manage subscriptions,” available at https://support.google.com/googleplay/android-
developer/answer/140504?hl=en.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        162
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 164 of 598




content delivery, or any digital wallet services such as Google Pay (see Section III.D). As Mr. Koh
testified,
                                                                                                         534



                            b)      Alternative Android In-App Billing Services Available to Developers
           245.    Absent Google’s requirement that developers use Google Play Billing, app
developers would also be able to develop their own Android in-app billing services, use third-party
in-app billing service providers for the entire bundle of in-app billing services, or combine some
elements from each.535 Because certain purchases of digital goods (as well as purchases of physical
goods sold via Android apps distributed through Google Play Store, which are not subject to
Google’s contractual restrictions,536




534
      Koh (EA (formerly Google)) Deposition, pp. 382-383

                                 .
535
    Google, “Understanding Google Play’s payments policy – Frequently asked questions,” available at
https://support.google.com/googleplay/android-developer/answer/10281818?hl=en-GB#zippy=%2Ccan-i-offer-a-
consumption-only-reader-app-on-google-play (“Purchases of digital goods or services that can only be consumed
outside of a Play-distributed app and cannot be accessed in a Play-distributed app do not require Google Play’s billing
system”).
536
    Google, “Google Play Payments Policy,” available at https://support.google.com/googleplay/android-
developer/answer/9858738; Google, “Understanding Google Play’s payments policy – Frequently asked questions,”
available at https://support.google.com/googleplay/android-developer/answer/10281818?hl=en-GB#zippy=%2Ccan-i-
offer-a-consumption-only-reader-app-on-google-play (“Google Play allows any app to be consumption-only, even if it
is part of a paid service. For example, a user could log in when the app opens and access content paid for somewhere
else”); Google, “Play Billing Policy,” August 2019, GOOG-PLAY-003334312-347, at 314; and Google,
“Understanding Google Play’s Payments policy,” available at https://support.google.com/googleplay/android-
developer/answer/10281818?hl=en#:~:text=Starting%20on%20June%201%2C%202022,payments%20landscape%20in
%20the%20country (“In 2020, we clarified the language in our Payments policy to be more explicit that all developers
selling digital goods and services in their apps are required to use Google Play’s billing system. Apps using an
alternative in-app billing system will need to remove it in order to comply with the Payments policy … Starting June 1,
2022, any app that is still not compliant will be removed from Google Play”).


              NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           163
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 165 of 598



                             537
                                   )
                                                                        538


           246.     Some prominent developers handle in-app billing services in-house. For example,


                                                             542
                                                                   Additionally, Epic Games announced its own
in-app billing system in 2020.543

           247.     Some developers subcontract aspects of Android In-App Billing Services—including
the SDK or APIs—to standalone payments entities that do not have app stores. Square, for example,
offers a variety of payments products, including point-of-sale systems for retailers and
restaurants.544 In 2019, Square launched an “In-App Payments SDK” for multiple mobile OSs,




537
      See, e.g., Loew (Google) Deposition, p. 199



                                                                                           ).
538
      See Lockheimer Deposition, p.83


539
      Rasanen (formerly Google) Deposition, p. 307

540
      Rosenberg (Google) Deposition, p. 269

541
      Lim (Google) Deposition, pp. 505-506

542
      Google,                                                       August 2019, GOOG-PLAY-002438751-754, at 753

Google,                                December 2020, GOOG-PLAY-006997722-751, at 723

                               ; and Google,                               ” January 2021, GOOG-PLAY-006817773.R-
890.R, at 853.R
543
    The Fortnite Team, “Announcing Epic Direct Payment on Mobile,” Epic Games, August 13, 2020, available at
https://www.epicgames.com/fortnite/en-US/news/announcing-epic-direct-payment-on-mobile.
544
    Square, “A point of sale for however you sell,” available at https://squareup.com/us/en/point-of-sale.


                NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                            164
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 166 of 598




including Android.545 The app developer using Square’s solution must integrate the In-App
Payment SDK with their app, which then “captures payment information and returns a valid
payment token.”546 The app then interfaces with the “Square Payments API, which accepts the
payment token and sends the create payment requests to Square.” 547 Square warns its developer
customers that “using the In-App Payments SDK to process digital sales might not be allowed by
some mobile application distribution services (such as App Store and Google Play) and might result
in your application being removed” from those app stores by running afoul of their requirements to
use only the app store billing system for in-app payments. 548

         248.     In summary, Google’s policy of mandating that developers distributing apps via the
Google Play Store use Google Play Billing has meant that 97% of developers that have sold digital
content on the Google Play Store use Google Play Billing.549 However, there are many in-house
(i.e., developing their own API) or third-party solutions that are more cost effective or entail billing
features that are specific to the app.550




545
    Square, “Square Launches Payments SDK, Enabling Developers To Process Payments With Square In Their Mobile
Apps,” January 9, 2019, available at https://squareup.com/us/en/press/payments-sdk (“‘With the introduction of in-app
mobile payments to the Square platform, developers now have a complete, omnichannel payments solution for all their
payment needs,’ said Carl Perry, Developer Lead at Square. ‘From software to hardware to services, Square offers a
complete payments experience all in one cohesive open platform[.’]”).
546
    Square, “In-App Payments SDK Overview,” available at https://developer.squareup.com/docs/in-app-payments-
sdk/what-it-does.
547
    Square, “In-App Payments SDK Overview,” available at https://developer.squareup.com/docs/in-app-payments-
sdk/what-it-does.
548
    Square, Build on Android, https://developer.squareup.com/docs/in-app-payments-sdk/build-on-android, available at
See also Samsung, “What is Samsung In-App Purchase?” available at
https://developer.samsung.com/iap/overview.html.
549
    Samat, Sameer, “Listening to Developer Feedback to Improve Google Play,” Android Developers, September 28,
2020, available at https://android-developers.googleblog.com/2020/09/listening-to-developer-feedback-to html.
550
    See “Stipulation and [Proposed] Order on Match’s Motion for Temporary Restraining Order,” Match Group, LLC, et
al. v. Google LLC, et al., the United States District Court for the Northern District of California San Francisco Division,
Case No. 3:22-cv-02746-JD, May 19, 2022 (hereafter “Match Stipulation”), at ¶ 3 (“Match agrees to work in good faith
on further enabling Google’s Play’s billing system as an option for users of its apps so long as Google agrees to work in
good faith to continue to develop additional billing system features that are important to Match.”) and “Joint Stipulation
and [Proposed] Order Regarding Epic Games, INC.’s Request for Preliminary Relief,” Epic Games, Inc. v. Google LLC
et al., the United States District Court for the Northern District of California San Francisco Division, Case No. 3:20-cv-
05671-JD, May 20, 2022 (hereafter “Bandcamp Stipulation”), ¶¶ 2-4.


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           165
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 167 of 598




          552


        249.     Absent Google’s conduct, developers would therefore be incentivized to substitute to
these alternatives to Google Play Billing – because they would capture the revenue that flows to
Google by virtue of its requirement that developers use Google Play Billing. The evidence therefore
suggests that Google Play Billing, developers’ own transactions service systems, and third-party
billing services should all be included in the Android In-App Billing Services Market.

                 2.       Google Play Billing and Android In-App Billing Services Are Products
                          Separate and Distinct from Android App Distribution

         250. Counsel has instructed me to consider the question of whether demand for Android
 In-App Billing Services exists separately from the demand for Android App Distribution. The
 economic evidence shows that it does. Developers can and do select Android In-App Billing
 Services from independent in-app billing service providers or develop their own in-app billing
 service solutions. Further, some Android app stores do not mandate their own in-app billing
 services but instead offer multiple options to developers.




551
    Declaration of Peter Foster in Support of Plaintiffs Match Group, LLC’s, Humor Rainbow, Inc.’s, Plentyoffish
Media ULC’s, And People Media, Inc.’s Motion for Temporary Restraining Order, May 10, 2022 (hereafter “Foster
Declaration”), ¶ 75.
552
    Foster Declaration, ¶¶ 76-83.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        166
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 168 of 598




          251. Additionally, Android App Distribution and In-App Billing Services are not
 substitutes. Consumers, whose in-app purchases drive developers’ demand for In-App Billing
 Services, cannot obtain in-app content without first downloading the app. Thus, from a consumer
 perspective, in-app purchases and app distribution are complements. From a developer perspective,
 while it is possible to change the way they generate revenue from their apps (e.g., an upfront/fixed
 cost for an app vs. a free app with in-app transactions), developers cannot abandon app distribution
 entirely. Naturally, the developer requires the app to be downloaded before the developer can sell
 any in-app content for which it requires In-App Billing Services.

                          a)       When Given a Choice, Developers Select Android In-App Billing
                                   Services from Independent Service Providers or Develop Their Own
                                   Solutions
        252.     As described in Section IV.B.2, Google requires almost all Android developers to
use Google Play Billing for digital in-app transactions associated with apps downloaded from the
Google Play Store. However, as described in Section V.D.1 above, technologically this need not be
the case.553As further described in Section V.D.1 above, absent Google’s requirement that
developers use Google Play Billing, app developers would be able to choose their own billing
service providers, either by providing some of those services themselves or by using independent
billing service providers.554




553

                       See Google, “Billing Integration for Android Market,” GOOG-PLAY-005653612.R-617.R, at
617.R.
554
    See, e.g., Google, “Understanding Google Play’s payments policy – Frequently asked questions,” available at
https://support.google.com/googleplay/android-developer/answer/10281818?hl=en-GB#zippy=%2Cdoes-your-billing-
policy-change-depending-on-my-app-category%2Cdoes-the-requirement-to-use-google-plays-billing-system-apply-to-
purchases-of-goods-or-services-that-cant-be-used-within-the-app (“Purchases of digital goods or services that can only
be consumed outside of a Play-distributed app and cannot be accessed in a Play-distributed app do not require Google
Play’s billing system.”).


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         167
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 169 of 598



                                                                                                             555
           253.
Despite Google’s attempts to mandate the use of Google Play Billing for purchases of digital goods
through an app downloaded from the Google Play Store, Google’s agreement with developers
meant it could not remove, de-list or refuse to list an app, even if that developer’s app offered in-
app purchases through means others than Google Play Billing, or that developers did not pay fees to
Google on in-app purchases made through other means than Google Play Billing. 556 Google allowed
an exemption from its policies for “digital content or goods that may be consumed outside of the
application itself (e.g., buying songs that can be played on other music players).” 557


                                                                             558




                                                                                    559
                                                                                          Recognizing that
developers understood its policy permitted them to use their own billing systems in certain
instances, Google clarified the policy on September 28, 2020, “to be more explicit that all
developers selling digital goods and services in their apps are required to use Google Play’s billing
system. Apps using an alternative in-app billing system will need to remove it in order to comply




555
      Koh (EA (formerly Google)) Deposition, p 183

                                  ; and Email from Paul Feng, Product Management Director for Google, to Kristin
Reinke, Google,                         February 1, 2019, GOOG-PLAY-000259276-279, at 276

                                                                                   ); Rasanen (Google) Deposition,
p. 129 (




                               .
556
    See, e.g., Match Stipulation, ¶ 1 .
557
    See, “Google Play Developer Program Policies,” Google Play via Wayback Machine captured on August 1, 2012,
available at https://web.archive.org/web/20120801104115/https:/play.google.com/about/developer-content-policy.html.
558
    See, e.g., Rosenberg Deposition, pp. 262-264 (

559
      Google, “Play Payments Policy,” June 17, 2020, GOOG-PLAY-001018461.R-468.R, at 464.R.


              NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         168
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 170 of 598




with the Payments policy.”560
                        ,561
                                 562


                                                                                                                  563
        254.




                                              564


        255.     Google executives have recognized that developers may want to offer their own
billing solutions, which could lead to a cascading effect.




560
    Google, “Understanding Google Play’s Payments policy,” available at
https://support.google.com/googleplay/android-developer/answer/10281818?hl=en and Ahmed, Arooj, “Google Has
Finally Announced the Change in the Billing Policies of Play Store Apps,” Digital Information World, September 30,
2020, available at https://www.digitalinformationworld.com/2020/09/google-has-finally-announced-the-change-in-the-
billing-policies-of-play-store-
apps.html#:~:text=On%2028%20September%2C%20Google%20officially,rarely%20use%20Google%27s%20billing%
20system.
561
    See Google, “Play Billing Policy,” August 2019, GOOG-PLAY-003334312-347, at 314; Google, GOOG-PLAY-
004702879-881, at 879; and Google, “Updates to Google Play Policies,” available at
https://support.google.com/googleplay/android-developer/answer/9934569#zippy=%2Csummary-of-
changes%2Cjanuary.
562
    See Google, GOOG-PLAY-004702879, at 879 (

563
   Google, “Play Billing Policy,” August 2019, GOOG-PLAY-003334312-347, at 316. Match Group withdrew its
request for a temporary restraining order against Google on the basis that Google allows additional in-app payment
mechanisms in its app. See Match Stipulation, ¶ 8; Email from Brandon Barras, Google, to Sameer Samat, Vice
President of Product Management for Google,                                                               June 27, 2017,
GOOG-PLAY-000840773-782, at 779

                   and Google,                                                         August 2019, GOOG-PLAY-
002438751-754, at 753

564
  Google,                                               June 11, 2020, GOOG-PLAY-000416238-244, at 243 and
Google, “                                        GOOG-PLAY-002618277-278, at 277.

                                                                           See Email from Jamie Rosenberg, Vice
President of Strategy and Operations (Platforms and Ecosystems Division) for Google, to Sundar Pichai, Google,
                                      October 5, 2014, GOOG-PLAY-000077271-273, at 272. See also Google,
                   GOOG-PLAY-001088593-601, at 593-596.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          169
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 171 of 598




                                           565


        256.




                                                                                                  566




            567




565
    Email from Sam Tolomei, Play Apps Business Development Manager at Google, to Paul Feng, Director of Product
Management for Google Play,                                                                   May 1, 2019,
GOOG-PLAY-000259640-647, at 643 and Google, “                                    GOOG-PLAY-006829073.R-
172.R, at 085.R.
566
    Google,                                       January 26, 2009, GOOG-PLAY-004630018.R-032.R, at 025.R;
Google,                                 April 14, 2021, GOOG-PLAY-006829073.R-172.R at 083.R

567
  Email from Michael Marchak, Director of Play Partnerships, Strategy and Operations at Google, to Joshua
O’Connor, Google,                       May 14, 2019, GOOG-PLAY-000934804-805, at 804.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       170
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 172 of 598
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 173 of 598




        258.     In addition, ONE store in South Korea charges a 20% commission for in-app digital
purchases and further reduces the commission to 5% for developers who use their own billing
systems.569

        259.     Second, the similar costs between third-party billing service providers and Google
Play Billing suggest they belong to the same relevant product market.


                                      570
                                            Exhibit 34 below from Google’s internal document illustrates
this point.
                                                  Exhibit 34




569
    Na, Hyun-joon and Minu, Kim, “Korean app market One Store vows to go global in 2022 with more popular
games,” Pulse, August 24, 2021, available at https://pulsenews.co.kr/view.php?year=2021&no=816068.
570
    Google,                                   April 14, 2021, GOOG-PLAY-006829073.R-172.R at 081.R. See also,
Email from Greg Funk, Google, to Samer Sayigh, Google,
                    February 9, 2018, GOOG-PLAY-000258450-450, at 450.


              NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                      172
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 174 of 598



Source: Google,                                          4/8 discussion, GOOG-PLAY-006829073.R-172.R, at
081.R.

                           b)       Android App Stores Do Not Always Include Mandatory Android In-
                                    App Billing Services
          260. Indirect evidence of demand also shows that the Google Play Store and Google Play
 Billing are separate products because Android app stores—including the Google Play Store itself—
 have not always bundled that app store’s Android in-app billing services as a condition of Android
 App Distribution. For example, Android Market (the precursor to the Google Play Store), which
 launched in 2008, did not offer in-app billing services until 2011. 571




                                                                                                          572
                                                                                                                The Epic
 Games Store also offers a proprietary payment system for in-app purchases but does not mandate
 its use.573

         261.     Over time, Google has monitored which developers are not complying with its
Google Play Billing policies, and, in instances in which app developers have not been fully
compliant (i.e., they adopted alternative payment methods for digital in-app purchases), Google has
informed such developers to comply with its rules and transition to Google Play Billing for digital
in-app purchases.




571
    Google, “Android Market: Now available for users,” October 22, 2008, available at https://android-
developers.googleblog.com/2008/10/android-market-now-available-for-users.html and Chu, Eric, “In-app Billing
Launched on Android Market,” Android Developers, March 29, 2011, available at https://android-
developers.googleblog.com/2011/03/in-app-billing-launched-on-
android html#:~:text=Today%2C%20we%27re%20pleased%20to,purchases%20from%20within%20your%20apps.
572
    Google,                                            ” Q1 2019, GOOG-PLAY-001139437.R-531.R, at 460.R-469.R.
573
    CMA Final Report on Mobile Ecosystems, ¶ 4.205 and Appendix H, ¶ 24 and Valentine, Rebekah, “Epic Games
Store implements in-game purchases for third-parties,” Gamesindustry.biz, December 6, 2019, available at
https://www.gamesindustry.biz/articles/2019-12-06-epic-games-store-implements-in-game-purchases-for-third-parties
(“The Epic Games Store has updated its policy to allow its third-party developers and publishers to implement in-game
purchases within their titles on the store. Developers and publishers can either use Epic-provided payment services or
set up their own functionality. If they opt for the latter, they will not need to share any revenue with Epic on in-game
transactions.”).


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          173
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 175 of 598




                                                                                   574




                    578


          262. In November 2021, Google announced a program in South Korea in response to
 legislation requiring that Google allow developers to offer an “alternative in-app billing system,
 alongside Google Play’s billing system, for their mobile and tablet users in South Korea.” 579
 Google has taken similar steps in the European Economic Area. 580




574
    See Google, “Play Policy Feedback,” November 8, 2017, GOOG-PLAY-000442329-350, at 329-343.
575
    Google, “Billing Policy Compliance,” January 2021, GOOG-PLAY-006817773.R-890.R, at 776.R-777.R, 838.R,
and 867.R-868.R.
576
    Google, “Billing Policy Compliance,” January 2021, GOOG-PLAY-006817773.R-890.R, at 861.R.
577
    Google, “Billing Policy Compliance,” January 2021, GOOG-PLAY-006817773.R-890.R, at 833.R.
578
    See Google, “GPB Policy Compliance Tracker Dashboard,” GOOG-PLAY-002291709.R-715.R, at 710.R.
579
    White, Wilson, “Enabling alternative billing systems for users in South Korea,” Google, November 4, 2021,
available at https://developers-kr.googleblog.com/2021/11/enabling-alternative-billing-in-korea-en.html.
580
    Werth, Estelle, “An update on Google Play billing in the EEA,” Google, July 19, 2022, available at
https://blog.google/around-the-globe/google-europe/an-update-on-google-play-billing-in-the-eea/ (“This will mean
developers of non-gaming apps can offer their users in the EEA an alternative to Google Play's billing system when
they are paying for digital content and services. . . . . When a consumer uses an alternative billing system, the service
fee the developer pays will be reduced by 3%. Since 99% of developers currently qualify for a service fee of 15% or
less, those developers would pay a service fee of 12% or lower based on transactions through alternative billing for
EEA users acquired through the Play platform”).


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                            174
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 176 of 598




                                                         . 581


                                                                                582


           263.     Further, Google has more recently explored decoupling Google Play Billing from
purchases of digital content via apps downloaded from the Google Play Store. On March 23, 2022,
Google announced User Choice Billing, a pilot program that would “allow a small number of
participating developers to offer an additional billing option next to Google Play’s billing
system.”583 The first developer partner in the program is Spotify.584



                                                                               585


           264.     Finally, Google currently only requires the use of Google Play Billing for purchases
of digital content, not for purchases of physical goods or services (e.g., ride-share purchases). 586




581
      Rosenberg (Google) Deposition, p. 100




582
    Google,                          December 2020, GOOG-PLAY-006997722-751, at 725.
583
    Samat, Sameer, “Exploring User Choice Billing with First Innovation Partner Spotify,” Android Developers, March
23, 2022, available at https://android-developers.googleblog.com/2022/03/user-choice-billing.html.
584
    Samat, Sameer, “Exploring User Choice Billing with First Innovation Partner Spotify,” Android Developers, March
23, 2022, available at https://android-developers.googleblog.com/2022/03/user-choice-billing.html and Google,
“Spotify – Google Play Better Together Program Partnership (‘Program’) Addendum to the Google Play Developer
Distribution Agreement,” November 17, 2020, GOOG-PLAY-011250116-166, at 116-119.
585
    See, e.g., Loew (Google) Deposition, p. 199



                                                                                              .
586
   Google makes exceptions to its 30% commission for purchases that “must not” use Google Play Billing. See Google,
“Google Play Payments Policy,” available at https://support.google.com/googleplay/android-developer/answer/9858738
and Google, “Understanding Google Play’s payments policy – Frequently asked questions,” available at
https://support.google.com/googleplay/android-developer/answer/10281818?hl=en-GB#zippy=%2Ccan-i-offer-a-
consumption-only-reader-app-on-google-play. (“Google Play allows any app to be consumption-only, even if it is part
of a paid service. For example, a user could log in when the app opens and access content paid for somewhere else”).


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        175
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 177 of 598




Developers selling physical goods and services to be consumed outside apps through Android apps
can choose from several existing billing service providers with much lower commissions
                                                       or they can implement their own solutions. As
presented in Exhibit 8 in Section III.D,


        265.
                                                                                                   587




                588


        266.     Thus, from both a demand and supply perspective, Android In-App Billing Services
for the purchase of digital in-app content is a separate and distinct product from Android App
Distribution.

                 3.      Android In-App Billing Services is a One-Sided Market Between Developers
                         and Service Providers

         267. Indirect network effects are not important for the developer as purchaser of Android
 in-app billing services because the value to the developer of the billing services does not change
 based on the number of buyers in the market.




587
   Google,                                        ” September 2017, GOOG-PLAY-002405918.R-947.R, at 925.R;
and Feng (Google) Deposition, p. 285

                      Loew (Google) Deposition pp. 192-193 (



588
  Google                                           September 2017, GOOG-PLAY-002405918.R-947.R, at 921.R;
Google,                                      June 2018, GOOG-PLAY-001264185-191, at 189

                                                                                                   and
Feng (Google) Deposition, p. 438.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                     176
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 178 of 598




                                                                    589
                                                                          here the developer’s choice of billing
 service provider is independent of how many other parties may be using that same provider.
 Rather, the choice depends on criteria such as fees and the consumer experience provided. The
 billing service provider is therefore a vendor to the developer, who purchases this billing service as
 an input to the in-app content product sold to users (as well as being part of the experience that the
 app provides to consumers, i.e., a low-friction purchase process that is seamless for the user).

          268. In addition, there is no platform intermediary between the developer and the Android
 in-app billing services provider that controls their relationship. Billing service providers control
 their own prices, which developers contract for and pay.590 This suggests that the Android In-App
 Billing Services Market is one-sided.

          269. Finally, the output of Android in-app billing services is agnostic to price structure,
 which also suggests a one-sided market. Unlike an app store, which can charge higher prices to
 developers in order to subsidize negative prices to consumers, Android in-app billing services
 providers do not incentivize consumers in the same way.
                                           591
                                                 When Google does not foreclose rivals from the market,
 Android In-App Billing Service providers offer pricing incentives and quality of service solely to
 win sales to developers.




589
  Email from Hiroshi Lockheimer, Senior Vice President of Platforms and Ecosystems for Google, to Stephanie Saad
Cuthbertson, Google, “Subject: Re: android monetization,” GOOG-PLAY-000813755-756, at 755



590
    Stripe offers a pay-as-you-go pricing schedule for developers without setup fees, monthly fees, or hidden charges.
See, for example, Stripe, “Pricing,” available at https://stripe.com/pricing.
591
    Loew (Google) Deposition pp. 49 and 86




            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          177
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 179 of 598




           270.     Therefore, as an economic matter, I analyze the Android In-App Billing Services
Market as a traditional one-sided market involving Android app developers and billing service
providers.592

                    4.      Alternative Relevant Markets for In-App Billing Services

           271.     I also consider whether Apple’s in-app billing or exiting an app to complete a
payment transaction should be included in the relevant market. I conclude that neither should be
included in the relevant antitrust market for Android In-App Billing Services.

           272.     Apple’s in-app billing system is not an option for Android developers. As discussed
above, Apple’s in-app billing system is embedded exclusively into iOS apps distributed on the
Apple App Store.593


                .594 Developers who want to distribute their apps for Android, therefore, cannot use
Apple’s in-app billing system.

           273.     Billing service options that require exiting the Android app to complete a purchase,
while possible, are not a sufficient competitive constraint on Google Play Billing.
                                                                                                                  595




592
    Note that this market does not include all developers, as some developers do not monetize their in-app content,
choosing to either monetizing the initial purchase of the app, or providing the app for free – perhaps as a service to an
existing customer base (e.g., a banking app), or monetizing their app in other ways (e.g., through advertising).
593
    Apple operates its own proprietary in-app billing service—“In-app purchase.” See Apple, “In-app purchase,”
available at https://developer.apple.com/in-app-purchase/.



594
      Brady (Google) Deposition, p. 72

595
   Pasquali, Marina, “Main reasons why consumers in the United States abandoned their orders during the checkout
process in the United States in 2022,” Statista, June 24, 2022, available at
https://www.statista.com/statistics/1228452/reasons-for-abandonments-during-checkout-united-
states/ https://www.statista.com/statistics/1228452/reasons-for-abandonments-during-checkout-united-states/; Alzetta




               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                            178
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 180 of 598




Similar to the impact of frictions on app distribution described in Section V.B.2, because seamless
payments are an important input into an app’s user experience, frictions that discount the user
experience likely lead to consumers abandoning in-app purchases that cannot be completed within
the app, as recognized in academic literature on frictions. 596                                                  . 597



                                                                          598




       599


        274.     Moreover, payment methods by means of hyperlinks, websites, and even cash are not
embeddable into apps and will likely cause interruptions to the user experience. 600




596
    Transaction convenience, especially the speed and ease with which consumers complete transactions, is an important
component of consumers’ shopping experience. See Seiders, Kathleen, Leonard L. Berry, and Larry G. Gresham,
“Attention, retailers! How convenient is your convenience strategy?” Sloan Management Review, Vol. 41, No. 3, 2000,
pp. 79-89, at p. 87.
597
    Lim (Google) Deposition, pp. 258-259                                                      ; Google,
                  April 30, 2020, GOOG-PLAY-004691145-146, at 145
                                              ; and Google,
GOOG-PLAY-007628059-070 at 065.
                                        See Google,                             ” August 29, 2019, GOOG-PLAY-
001283119-123, at 120 and Google,                                             May 26, 2021, GOOG-PLAY-
007745035-079, at 036-040.
598
    Google,                                                  GOOG-PLAY-000942553.R-586.R, at 570.R.
599
    Chu (Google) Deposition, p. 259.
600
    Perez, Sarah, “Google to allow users to pay for Android apps using cash,” Tech Crunch, May 8, 2019, available at
https://techcrunch.com/2019/05/08/google-to-allow-users-to-pay-for-android-apps-using-cash/.


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         179
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 181 of 598



                                                                                                              601


For these reasons, I exclude hyperlinks/websites that direct consumers outside of the app for
processing payments or options to pay with cash from the Android In-App Billing Services Market.

                   5.     Geographic Market

           275.    The relevant geographic market for the Android In-App Billing Services Market is
worldwide excluding China. First, billing service providers offer their services worldwide. The
Google Play Store distributes apps on Android OS in over 135 countries around the world. 602
Therefore, Google Play Billing, tied to the Play Store, is used by Android developers worldwide for
transactions related to in-app digital content, in the countries where it is available.


                                                                                    603
                                                                                          Moreover, concerns
related to the exclusive use of Google Play Billing as well as Google’s 30% commission are seen in




601
      Google,                            December 18, 2017, GOOG-PLAY4-002610426-439, at 431.

                                        See Google,                                August 2020, GOOG-PLAY-
005578403.R-450.R, at 410.R; and “Defendant Google LLC, Google Ireland Limited, Google Commerce LTD, Google
Asia Pacific PTE. LTD. And Google Payment Corp.’s Responses and Objections to Match’s First Set of Interrogatories
to Defendants, Match Group LLC. et al. v. Google LLC et al., the United States District Court Northern District of
California San Francisco Division, Case No. 3:21-md-02981-JD, July 27, 2022, p. 20
                                                                      .
602
    Android Developers, “Google Play Billing,” available at https://developer.android.com/distribute/play-billing.
603
    Email from Andrew Zaeske, Director of Engineering for Google, to Eric Chu, Engineering Director for Meta
Platforms and former Director of the Android Developer Ecosystem for Google, “
                 June 6-7, 2020, GOOG-PLAY-000051084-088, at 087.


                NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       180
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 182 of 598




countries such as South Korea and India.604 In addition, competing billing service providers such as
Adyen, PayPal, and Stripe, offer their services in a worldwide market. 605

        276.     Second, China is excluded from the Android In-App Billing Services geographic
market because it has a distinct market for in-app billing services given that the Google Play Billing
APIs that come as part of GMS are inaccessible in China to date (setting aside piracy of Google
apps and APIs).606
                          ”607 The different operators in the Chinese market include WeChat Pay and
Alipay, which are not supported by app stores outside China. 608 Therefore, I find that China should
be excluded from the geographic market for Android In-App Billing Services.

                                               ****************

        277.     Based on the evidence presented above, I find the Android In-App Billing Services
Market worldwide excluding China is a relevant antitrust market. The market for Android in-app
transactions is separable from the market for Android App Distribution to the extent that third-party
billing service providers and developers’ own billing systems sufficiently meet developers’ demand
for Android in-app billing services and are considered as substitutes for Google Play Billing. I also
find that Android in-app billing services are distinct from (i) Apple’s in-app billing system, and (ii)




604
    Singh, Manish, “Google delays mandating Play Store payments rule in India to April 2022,” Tech Crunch, October
4, 2020, available at https://techcrunch.com/2020/10/04/google-policy-cut-india-paytm-mini-app-store/ and Perez,
Sarah, “Google Play to support alternative billing systems in South Korea, following new law,” Tech Crunch,
November 4, 2021, available at https://techcrunch.com/2021/11/04/google-play-to-support-alternative-billing-systems-
in-south-korea-following-new-law/.
605
    For example, Adyen is available in Europe, Mexico, Brazil, China, and Southeast Asia. PayPal is available globally
in more than 200 countries/regions. Stripe operates in 47 countries. See, e.g., Adyen, “Country guides,” available at
https://www.adyen.com/knowledge-hub/country-guides; PayPal, “We get where you’re coming from,” available at
https://www.paypal.com/uk/webapps/mpp/country-
worldwide#:~:text=We%20are%20available%20in%20more,over%20borders%20and%20language%20barriers; and
Stripe, “In your country,” available at https://stripe.com/global.
606
    Google, “Supported locations for distribution to Google Play users,” available at
https://support.google.com/googleplay/android-developer/answer/10532353?hl=en (As shown in the table, users in
China “may not download paid apps. Attempts to make in-app purchases on Google Play will fail.”).
607
    Email from Andy Dyer-Smith, Google, to Matt Goodridge, Google,
                                                         January 23, 2017, GOOG-PLAY-000976171-173, at 171.
608
    AppInChina, “Accepting Payments in China,” available at https://www.appinchina.co/services/monetization/in-app-
purchases/.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         181
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 183 of 598




billing services via hyperlinks or websites, which, I find, are not viable alternatives. Further, billing
service providers offer their services worldwide, with the exception of China where Google Play
Billing is restricted and Chinese in-app billing service providers, who do not operate outside China,
dominate.


VI.     Google has Monopoly Power in the Relevant Antitrust Markets

        278.     I now turn to assessing whether Google has monopoly power—i.e., sufficient market
power to profitably impose durable prices that are higher (or equivalently, to reduce quality, choice,
or innovation) than competitive levels and/or to exclude competition in the relevant antitrust
markets identified above.

        279.     I understand from counsel that market power and monopoly power are two related
but distinct terms under the law. U.S. antitrust authorities have defined market power as “the ability
profitably to maintain prices above competitive levels for a significant period of time” 609 and
monopoly power as “the long term ability to raise price or exclude competitors.” 610 Economists do
not recognize a qualitative distinction between market power and monopoly power. So-called
“monopoly power” as the courts appear to define it would be referred to by economists as a very
high degree of durable market power. I use the term “market power” in that sense for the sake of
clarity in this report.

        280.     An evaluation of market power typically considers a firm’s share of the relevant
market and whether there are barriers to entry or expansion that limit the ability of potential entrants
to discipline price. That is because a dominant market share alone does not reliably indicate that a
firm’s market power is tenable in the event of new entrants. Only with substantial barriers to entry




609
    U.S. Department of Justice and the Federal Trade Commission, “Horizontal Merger Guidelines,” April 8, 1997,
available at https://www.justice.gov/atr/horizontal-merger-guidelines-0#N_6_, § 0.1.
610
    Federal Trade Commission, “Monopolization Defined,” available at https://www ftc.gov/tips-advice/competition-
guidance/guide-antitrust-laws/single-firm-conduct/monopolization-defined; See also, Fisher, Franklin, “Diagnosing
Monopoly,” Journal of Reprints for Antitrust Law and Economics, Vol. 27, 1997, p. 692 (“Monopoly power is the
power to maintain a high share and earn supranormal profits without being better”).


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        182
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 184 of 598




can one infer that a dominant firm has monopoly power and the ability to exercise it. 611
Additionally, any assessment of market or monopoly power should also consider any available
direct evidence, e.g., a “firm’s price and output decisions,” and “documentation of recognition of
market power in a firm’s price setting and other marketing decisions, coupled with the market’s
acceptance of those decisions, provides evidence of some market power.” 612

        281.     Based on my analysis detailed below, I find Google has monopoly power in Android
App Distribution and Android In-App Billing Services.

        A.       Google has Monopoly Power in Android App Distribution

        282.     In this section, I provide both structural and direct evidence demonstrating Google
has monopoly power in the Android App Distribution Market.

                 1.       Google Imposes a Supracompetitive Commission on Google Play Store
                          Purchases And Earns Extraordinarily High Profits

        283.     Google’s monopoly power in Android App Distribution is demonstrated by Google’s
ability to impose a supracompetitive commission via the use of Google Play Billing on paid
downloads in the Google Play Store (see Section VII.B).




611
    Fisher, Franklin, “Diagnosing Monopoly,” Journal of Reprints for Antitrust Law and Economics, Vol. 27, 1997, p.
687 (“[T]he role of entry plays a major part in any assessment of monopoly power. Where entry is easy, no monopoly
power can persist. Where entry is difficult, provided there are not already many competitors, monopoly power can
survive… Clearly then, correct analysis of entry or barriers to entry lies at the heart of an assessment of monopoly
power” ).
612
    Schmalensee , Richard, “Another Look at Market Power,” Harvard Law Review, Vol. 95, No. 8, 1982, pp. 1789-
1816, at p. 1807; Baker, Jonathan B.and Timothy F. Bresnahan, “Economic Evidence in Antitrust: Defining Markets
and Measuring Market Power,” in Handbook of Antitrust Economics.


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         183
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 185 of 598




                                                   Exhibit 35




Note: The data includes worldwide developers. All transactions relate to U.S. consumer transactions.
Source: Google Transaction Data.
        284.
                                   613


        285.    Google is able to charge this supracompetitive commission despite lower
commissions offered by alternative Android app stores. For example, as described in Section
V.D.2,the One store in Korea charges 20% (and only 5% if a developer chooses their own billing
solution). That Google was able to maintain its supracompetitive commission in the Google Play
Store despite lower commissions from alternative Android app stores over the same period is
indicative of Google’s monopoly power in Android App Distribution.

        286.    I note that starting on July 1, 2021, after or around the time of the commencement of
related private and public enforcement actions such as this case, Google announced that “the service
fee for each developer will be 15% for the first $1M (USD) of earnings” and 30% for earnings in
excess of $1 million.614 In a competitive market, prices are set in relation to marginal cost. I am
unaware of any explanation by Google of how a reduction in the marginal cost of serving
developers below the $1 million threshold drove this change. These special commission rates
appear to be akin to price discrimination, which means pricing according to a customer’s




613
    See, Google,                                          January 26, 2009, GOOG-PLAY-004630018.R-032.R, at
024.R; See also Google, Untitled, GOOG-PLAY-004506631-633, at 631.
                                                   .
614
    See, Google, “Changes to Google Play's service fee in 2021,” available at
https://support.google.com/googleplay/android-developer/answer/10632485?hl=en.


           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                      184
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 186 of 598
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 187 of 598



Notes:
1.    The data includes worldwide developers. All transactions relate to U.S. consumer transactions.
2.    The commission rate is rounded to the nearest 1%. I further discuss the profitability of Google’s commission in
      Section VI.C below.

Source: Google Transaction Data.
          288.     Additionally, a comparison of Google’s commission in the Google Play Store to
various competitive benchmarks illustrates that Google’s commission on Android App Distribution
through the Google Play Store is supracompetitive. In Section VII.B.3, I provide an analysis of
commissions imposed by platforms that face competition, including the Microsoft Store, which
imposes a 15% commission for apps and a 12% commission for games; the Epic Games Store,
which imposes a 12% commission; and the Game Jolt store, which imposes a commission below
10%.617,618
                                                                                                                619


          289.     Further evidence of Google’s market power in Android App Distribution comes from
Google’s change in revenue sharing with MNOs. As noted in Section IV.B.5 and further in Section




617
    See e.g., Sardo, Giorgio, “Building a new, open Microsoft Store on Windows 11,” June 24, 2021, available at
https://blogs.windows.com/windowsexperience/2021/06/24/building-a-new-open-microsoft-store-on-windows-11/; Epic
Games, “Frequently Asked Questions,” available at https://store.epicgames.com/en-US/publish; “Revenue Split,”
available at https://gamejolt.com/marketplace. See also CMA Final Report on Mobile Ecosystems, ¶ 4.205.
618
    Google internally evaluated that changing to a 20% revenue-share will
                                                                       ” March 2019, GOOG-PLAY-000542516.R-
535.R at 529.R.
619
    See Exhibit 35 and Exhibit 69.


              NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           186
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 188 of 598




VII.A.1,
                                                             21,622
                                                                      below:




620
   See, Google,                                     May 6, 2015, GOOG-PLAY-001184813-857, at 824. See
also Google,                            October 2012, GOOG-PLAY-003772918.R-925.R, at 919.R (

621
      See e.g. Google,                                    May 6, 2015, GOOG-PLAY-001184813 – 857, at 823

                           . See also GOOG-PLAY4-004677224 – 229, at 225. See also,

               Google and AT&T,
January 1, 2013, GOOG-PLAY-003604606-625; Google and AT&T, “Amendment Two To Google Play Revenue
Share Agreement (Google Play For Mobile Operators),” February 1, 2015, GOOG-PLAY-003604601-604;



                                                             October 26, 2015, GOOG-PLAY-003605103-106;
GOOG-PLAY4-002178049; Email from Matt Schwartz to Jamie Rosenberg, Vice President of Strategy and Operations
(Platforms and Ecosystems Division) at Google, Zahavah Levine, Google, TT Ramgopal, Google, Christian Veer,
Google, Paul Gennai, Product Management Director at Google,                                     GOOG-PLAY-
002891881-882.
622
    Feb. 15, 2022 letter from B. Rocca to M. Coolidge


                                                                          See Google Transaction Data. See
Rysman Workpapers.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                    187
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 189 of 598
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 190 of 598




                  2.       High Margins are Indicative of Market Power

         291.     This evidence of the Google Play Store’s supracompetitive commission rates should
be viewed alongside evidence of Google Play Store’s very high profit margins. As noted above, in
economics, a firm’s market power is the ability to consistently raise price profitably above marginal
cost (or alternatively the competitive level). In highly competitive markets price will tend to be
driven towards marginal cost, so a firm sustaining price above the competitive level / marginal cost
must have some market power. 624 Therefore, very high profit margins may indicate that a firm is
exercising a high degree of market power.

         292.     Lerner (1934) proposed a price-cost margin index for measuring market power,
noting that for a profit maximizing firm, the index is equal to the inverse of a firm’s price elasticity
of demand.625 This makes it explicit that the more inelastic the demand for its product, the greater a
firm’s price-cost margin, and therefore the greater a firm’s market power.

         293.     One way to see why profit margins are a reliable measure for market power is to
consider what happens to margins as a market moves from perfect competition towards monopoly.
Under perfect competition, price equals marginal cost and firms earn zero profits and hence have
zero economic profit margins. As competition becomes weaker (e.g., the number of firms in a
market decreases), profit margins increase for firms in the market because they face less
competitive pressure and become more able to raise prices above competitive levels.

         294.     Profit margins can also convey more information about market power than market
shares or elasticities alone. When a firm profit maximizes, the profit margin can be shown to be a
function of market elasticity of demand, rival firms’ elasticity of supply, and market share of the
firm.626 Each of these components affects the profit margin in an intuitive manner – profit margins




624
    Landes, William M. and Richard A. Posner, “Market Power in Antitrust Cases,” Harvard Law Review, Vol. 94, No.
5, 1981, pp. 937-996 (hereafter “Landes and Posner (1981)”), at pp. 937-939.
625
    In two-sided markets, the ability of a monopolist to price above its marginal cost is inversely related to the price
elasticity of demand. See Jullien, Pavan & Rysman (2022), p.13. See also, Landes and Posner (1981), pp. 939-940. See
also, Lerner, A.P., “The Concept of Monopoly and the Measurement of Monopoly Power,” The Review of Economic
Studies, Vol. 1, No. 3, 1934, pp. 157-175, at p. 169.
626
    See Kaplow, Louis, “Why (Ever) Define Markets?” Harvard Law Review, Vol. 124, No. 2, 2010, pp. 437-517
(hereafter “Kaplow (2010)”), at pp. 451-452.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          189
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 191 of 598




increase with the firm’s market share but decrease with the market elasticity of demand and rivals’
elasticity of supply. Hence, a firm’s profit margin is a measure of market power that can account for
all three different factors that may affect a firm’s ability to set prices consistently above competitive
levels.

           295.     Google’s supracompetitive commission generated high margins for Google.
Google’s profit and loss statements (P&L) for Google Play, Google’s other internal documents, and
testimony all show that Google Play has maintained high profit margins.


                                                            .628


                                              62




627
      As discussed below, Google Play margins with ads are even higher.
628



                                                     See Rysman Workpapers.
629
                                                                                    See Defendants’
Responses and Objections to State Plaintiffs’ Second Set of RFAs, No. 20




               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           190
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 192 of 598
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 193 of 598




        297.     While accounting profits can deviate from economic profits and it is important to
consider other evidence, I find that Google’s high accounting margins are consistent with the other
evidence I provide of Google’s market power.

        298.     In addition to detailed P&L information,



                                                       631




margins. The spreadsheets contain revenue, total opex, and cost of sales data based on which I have estimated the
margins as follows.




631
  The exhibit is from a summary slide deck of P&L, prepared by Google in 2019 in the ordinary course of business.
Google, “2019 Play P&L Review,” July 2019, GOOG-PLAY-000559534.R-557.R, at 539.R; See Cramer (Google)
Deposition, pp. 206-207.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                             192
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 194 of 598




                                                     Exhibit 39
                                               Google Play Profitability




Source: Google, “2019 Play P&L Review,” July 2019, GOOG-PLAY-000559534.R-557.R, at 539.R.
           299.
                                                                            632



                    3.      Structural Evidence Demonstrates Google has Monopoly Power

                            a)       Google has a very high share of the Android App Distribution Market
           300.     As noted in the introduction to Section VI above, in practice, a high market share,
coupled with barriers to entry, also may be evidence of monopoly power. In this section, I establish
that no matter the method of measurement, the Google Play Store dominates the Android App
Distribution Market at levels commonly associated with monopoly power.




632
      Rosenberg (Google) Deposition, p. 399.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          193
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 195 of 598




                                                634


        301.     There are limited publicly available data on mobile app stores other than the Google
Play Store and Apple App Store.635 Firms that collect and produce publicly available data related to
mobile app distribution generally fail to track alternative Android app stores, such as the Galaxy
Store, Amazon Appstore, and F-Droid, thus indicating that such competitors are small and, by
extension, that the Google Play Store is the dominant means of distributing Android mobile apps.

        302.




                                                                                                         The
following measures are covered in further detail below: (i) overall share of Android app store
installations; (ii) share of Android app store pre-installations (iii) shares of Android app downloads;
(iv) shares of consumer expenditure on Android apps; and (v) shares in terms of user engagement
with apps on their Android smart mobile devices, including visits to Android app stores and time
spent on Android app stores.

        303.     App Store Installations: 100%.


                                                                    637
                                                                          In contrast, as summarized by the




633
    See Google,                                          GOOG-PLAY-001886111.R-166.R, at 118.R.
634
    See Google,                                                                              March, 2016, GOOG-
PLAY-000299564-570 at 569.
635
    For example, Sensor Tower, a major provider of mobile app data and information, only track Apple App Store and
Google Play Store. See e.g., Sensor Tower, “2021 – 2025 Mobile Market Forecast,” 2021.
636
    Google, “                                        GOOG-PLAY-001886111.R-166.R, at 112.R and 118.R;
Google,                    January, 2019, GOOG-PLAY-011111808-864, at 813.
637
    Google,                                   October 31, 2019, GOOG-PLAY-002076224.R-238.R, at 227.R.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        194
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 196 of 598
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 197 of 598




Android smart mobile devices. This conclusion is consistent with the EC’s findings of market
shares in the Android App Distribution Market. Data on app store pre-installations on Android
mobile devices (worldwide excluding China) from 2011 to 2016, show that the Google Play Store
was pre-installed on 90-100% of all Android mobile devices over the same time period. No other
Android app store was able to achieve a similarly high rate of pre-installations.



                                                                    639


        305.    App Store Visits:          OEMs can install their own app stores on their devices
(subject to being paid not to do so by Google).




                                         640




                                           644
                                                 The same analysis determined that the sum of users’




639
    See, EC Google Android Decision, ¶¶ 591-598.
640
    Google, “OEM App Store Share Analysis,” October 31, 2019, GOOG-PLAY-002076224.R-238.R, at 227.R, 229.R
and 230.R.
641
    Google, “OEM App Store Share Analysis,” October 31, 2019, GOOG-PLAY-002076224.R-238.R, at 229.R-230.R.
642
    Google, “OEM App Store Share Analysis,” October 31, 2019, GOOG-PLAY-002076224.R-238.R, at 229.R.
643
    Google, “OEM App Store Share Analysis,” October 31, 2019, GOOG-PLAY-002076224.R-238.R, at 228.R.
644
    Google, “OEM App Store Share Analysis,” October 31, 2019, GOOG-PLAY-002076224.R-238.R, at 229.R.


           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                     196
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 198 of 598
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 199 of 598




Apple app downloads worldwide (excluding China) was around 112 billion. 648 Therefore, I
calculate that the Google Play Store’s share of non-Apple mobile app downloads worldwide
(excluding China) in 2020 was approximately 97%.649

         307.     Consumer Expenditure: 90%. The Google Play Store has a high share of consumer
expenditure on Android mobile apps. In 2020, consumer mobile app expenditures in the Google
Play Store were $39 billion worldwide (excluding China). 650 During the same period, consumer
mobile app expenditures in the Apple App Store were $52 billion worldwide (excluding China), 651
and total mobile app expenditures worldwide (excluding China) were around $95 billion. 652
Therefore, conservatively assuming that the portion of consumer mobile app expenditures not in the
Google Play Store or the Apple App Store is spent in alternative Android app stores, I calculate that
Google Play Store’s share of Android consumer mobile app expenditures worldwide (excluding
China) in 2020 is approximately 90% (=$39 billion / ($95 billion - $52 billion). 653




648
    The total number of app downloads in China was 96.2 billion in 2020. iOS’s market share in China was around 20%
in June 2020. Using a conservative estimate of 25%, the number of non-iOS app downloads in China would be 72
billion (equal to (100%-25%) of 96.2 billion). The total number of app downloads worldwide was 218 billion in 2020.
Thus, the total number of non-iOS app downloads worldwide, excluding China, was 112 billion (equal to 218 billion
minus 34 billion minus 72 billion). See Statista, “Market share of mobile operating systems in China from January 2013
to December 2021*,” July 27, 2022, available at https://www.statista.com/statistics/262176/market-share-held-by-
mobile-operating-systems-in-china/; Statista, “Number of mobile app downloads worldwide from 2016 to 2021,” 2022,
available at https://www.statista.com/statistics/271644/worldwide-free-and-paid-mobile-app-store-downloads/; Pawar,
Pramod, “App Revenue Statistics 2022 – Mobile Games, iOS App, Android, Google Play,” August 16, 2022, available
at https://www.enterpriseappstoday.com/stats/app-revenue-statistics.html (citing Business of Apps, “App Data Report
(2022),” 2022).
649
    97% equals 109 billion divided by 112 billion.
650
    In 2020, consumer mobile apps expenditures on the Apple App Store were $72 billion worldwide and $20 billion in
China. Therefore, Apple App Store expenditures were $52 billion worldwide (excluding China). Google Play Store
expenditures in 2020 were $39 billion worldwide (excluding China). See Sensor Tower, “2021 – 2025 Mobile Market
Forecast,” 2021, pp. 6 and 22.
651
    In 2020, consumer mobile apps expenditures in the Apple App Store were $72 billion worldwide and $20 billion in
China. Therefore, Apple App Store expenditures were $52 billion worldwide, excluding China. 2020 Google Play Store
expenditures were $39 billion worldwide, which excludes China. See Sensor Tower, “2021 – 2025 Mobile Market
Forecast,” 2021, pp. 6 and 22.
652
    Total app revenue in 2020 was around $143 billion worldwide and around $48 billion in China. Therefore, total app
revenue worldwide, excluding China, was around $95 billion in 2020. See Statista, “Worldwide consumer spending on
mobile apps from 2016 to 2021,” 2022, available at https://www.statista.com/statistics/870642/global-mobile-app-
spend-consumer/; Stancheva, Terry, “17 App Revenue Statistics - Mobile Is Changing the Game in 2022,” June 3, 2022,
available at https://techjury net/blog/app-revenue-statistics/ (citing Business of Apps, “App Data Report (2022),” 2022).
653
    89% equals $39 billion divided by $43.6 billion (the difference between $95.6 billion and $52 billion).


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          198
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 200 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 201 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 202 of 598
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 203 of 598




market power.
                                                            662


           312.     As depicted in Exhibit 45, the number of apps available on the Google Play Store
vastly outnumbers the number of apps on any other Android app store, which provides further
structural evidence of Google’s market power in Android App Distribution. At the end of 2017, the
Google Play Store offered 3.5 million apps. By contrast, alternative Android app stores have vastly
fewer number of apps available on their app stores. The Samsung Galaxy Store offered only
150,000-200,000 apps in March 2017, Amazon Appstore offered 700,00-900,000 apps in April
2017, and Aptoide offered 900,000 apps in June 2017. 663




662
      See Google,                                       October 12, 2010, GOOG-PLAY-001430401-442 at 412

                                                 . See also Google, “                       GOOG-PLAY-
009245422-443 at 429.
663
    EC Google Android Decision, ¶ 608.


              NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                     202
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 204 of 598




                                        Exhibit 45
                    Number of Apps Available on Android App Stores, 2017




Source: EC Google Android Decision, ¶ 608.
       313.    Moreover, there has been substantial growth in the number of apps available in the
Google Play Store since Google’s launch of Android Market, as depicted in Exhibit 46 below.




          NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                203
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 205 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 206 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 207 of 598
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 208 of 598




                         b)       Substantial barriers to entry/expansion protect Google’s market power
        318.     As I explain above, high market shares combined with barriers to entry or expansion
can be indicative of monopoly power. As explored in Sections III and V, the Android App
Distribution Market exhibits significant indirect network effects. The Google Play Store has an
installed base of millions of apps and hundreds of millions of users that have already used the store
to download apps. It dwarfs all other Android app stores in these respects. This makes it essential
for OEMs to offer the Google Play Store pre-installed to their customers, and for app developers
who want to reach the largest number of Android users. This virtuous cycle creates substantial
barriers both to entry by new potential Android app stores and to expansion by existing app stores.
This is well documented in the economics literature. For example:

           Kouris & Kleer (2012), note: “Developers can only make profits if there are users who
            would download and buy their apps. Hence, indirect network effects are relatively high.
            That causes the participants of the app market to converge to one platform. Once there is
            a clear leader, other platforms' chances to get enough customers diminish.” 668

           Vogelsang (2010), notes that when an incumbent firm reaches dominance: “economy of
            scale effects would be at work so that the threat of market entry of a new competitor is
            minimized and the monopolistic rents can be exploited: the economies of scale of the
            platform technology lead to declining average costs and increasing persistence of users
            to stay on the platform. Therefore, potential competitors will be deterred from
            entering.”669

           Kouris (2013), also outlines four conditions that make “winner-take-all” more likely: “It
            is costly to multi-home – at least for one market side; There are high indirect network
            effects – at least for the side with high multi-homing costs; Same-side effects are not




668
    Kouris, Iana and Rob Kleer, "Business Models in Two-Sided Markets: An Assessment of Strategies for App
Platforms," 2012, available at https://aisel.aisnet.org/icmb2012/22/.
669
    Vogelsang, Michael. “Dynamics of two-sided internet markets,” International Economics and Economic Policy, Vol.
7, Iss. 1, May 2010), 129-145, at p. 138.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       207
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 209 of 598




             negative and strong, that is, the congestion effect is not too high; The goods are rather
             homogeneous and there is no demand for differentiation.” 670

         319.     In addition, Google recognizes that:

         




                                        674


         320.


                                                                                  675


         321.     The start-up costs of launching and expanding a competing Android app store are
significant and likely to deter potential entrants. For example, Amazon states that it has “dedicated
hundreds of employees and tens of millions of dollars each year over the course of several years to
develop and commercialize its app store, including engineering, app store operations, business




670
    Kouris, I. “App platforms as two-sided markets: analysis and modeling of application distribution platforms for
mobile devices” (2013), at p66.
671
    Google,                       GOOG-PLAY-004508011-013, at 012.
672
    Google,                                  April 2017, GOOG-PLAY-000879194.R-224.R, at 207.R.
673
    Google,                                  April 2017, GOOG-PLAY-000879194.R-224.R, at 204.R.
674
    See, Google,                                       GOOG-PLAY-000443763-798, at 768-769.
675
    See, Google,                                       GOOG-PLAY-000443763-798, at 768-769.


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          208
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 210 of 598




development, developer and consumer marketing, developer relations and support.” 676 For other
firms, such as Sony, the costs that must be incurred to develop and maintain an app store that can
compete with the Google Play Store have been “prohibitive.” 677 Since Google’s MADAs require
OEMs to pre-install the Google Play Store in order to license its GMS suite of apps and APIs, new
entrants would also need to invest in their own APIs to expand and fully compete with Google Play
Store.


                                         678
                                               According to Aptoide, “[c]loning the entire GMS API stack
(Maps, Messaging, Games, Billing…) implicates a[n] enormous [amount] of resources.” 679

          322.
                      680
                            For example, Samsung contends it would “not be commercially feasible for
an OEM to ship Android devices without Google Play pre-installed due to the variety and number
of apps and contents available to users uniquely through the Google Play Store.” 681 Similarly,
Orange, a French multinational telecommunications provider, explained that the Google Play Store
is currently a “must-have” on Android smartphones, pre-installing it “has become de facto
mandatory,”682 and, since Google Play Store “has no real competitors,” it would be “very difficult
to offer an app shop in competition with Google Play given (i) its link with Android OS and (ii) its
current size.”683




676
    EC Google Android Decision, ¶ 628.
677
    EC Google Android Decision, ¶ 628.
678
    Email from Patrick Brady, Vice President of Engineering for Android's Automotive Efforts at Google, to Wireless
Biz, Google,                                                                         October 13, 2008, GOOG-
PLAY4-000336290-293, at 291.
679
    EC Google Android Decision, ¶ 631.
680
    See email from John Yoo, Google, to Joshua O’Connor, Google,
                     ” April 4, 2019, GOOG-PLAY-002115870-871 at 87


681
    EC Google Android Decision, ¶ 600.
682
    EC Google Android Decision, ¶ 600
683
    EC Google Android Decision, ¶ 600.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         209
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 211 of 598




                684


         323.         While customers could in theory access their apps via several alternative Android
app stores or via sideloading, according to Deutsche Telekom there are commercialization
challenges from “significant network effects as well as developer and customer lock-in,” which
deter consumers from switching.685 According to Opera, a Norwegian multinational technology
company that offers both desktop and mobile browsers, Google “has established itself over the past
few years as the default storefront for Android apps … Significant customer education and
marketing investment would therefore be required to change this user perception with respect to an
alternative app store.”686 By being “the de-facto standard Android app store,” Google has an
inherent advantage in the Android App Distribution Market. 687

         324.         In addition, and as discussed in Section VII.A.1,




                                          688
                                                This would mean alternative “app stores struggle to gain
traction because the pre-installed app store has the inbuilt advantage of being front and centre of the




684
    Kolotouros (Google) Deposition, p. 110.
685
    EC Google Android Decision, ¶ 629.
686
    EC Google Android Decision, ¶¶ 629-630. Opera is a web browser that competes with Google Chrome and
Microsoft Edge etc. See, https://www.opera.com/about.
687
    EC Google Android Decision, ¶ 637. This finding is supported in academic literature. See, e.g., Agarwal, R., & Gort,
M., “First-mover advantage and the speed of competitive entry, 1887–1986,” The Journal of Law and Economics, Vol.
44, No. 1, 2001, pp. 161-177, at pp. 164-166 (“[A]dvertising can increase brand-name recognition of first movers and
hence impede entry.”); Cubbin, J., “Advertising and the Theory of Entry Barriers,” Economica, Vol. 48, No. 191, 1981,
pp. 289–298, at pp. 290-291 (“Thus we have a prima facie case for the proposition that advertising may contribute to an
entry barrier effect without any fundamental asymmetries in cost or demand functions.”); Lieberman, M. B., &
Montgomery, D. B., “First-Mover Advantages,” Strategic Management Journal, Vol. 9, 1988, pp. 41–58, at p. 46
(“Psychology literature suggest[s] that the first product introduced received disproportionate attention in the consumer's
mind. Late entrants must have a truly superior product, or else advertise more frequently (or more creatively) than the
incumbent in order to be noticed by the consumer”).
688
    Google,                                                  February 24, 2021, GOOG-PLAY-003894142.R-177.R, at
172.R; Google,                                                       February 2, 2018, GOOG-PLAY-001559464.R-
496.R, at 478.R-479.R.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           210
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 212 of 598




end user’s experience when they first get their device.” 689 The ability to exclude rivals is a hallmark
of market power.

         325.




                                                                                            690


         326.     For these reasons, coupled with the existence of indirect network effects, which
prevent developers from considering “any other Android app store as substitutable for the Google
Play Store based on the ability to reach end consumers,” it is “extremely difficult to establish a
meaningful market segment share” for a potential new entrant. 691

                  4.       Google’s Market Power in Android App Distribution Faces Limited
                           Competitive Constraints from Alternative App Distribution Systems

         327.     As discussed in Section V.C.4 above, the Apple App Store does not provide a
sufficient competitive constraint on the Google Play Store or other Android app distributors to be
considered in the same relevant market. Because they operate in different markets, the Apple App
Store does not constrain the Google Play Store. Further, non-Android app stores such as the Apple
App Store do not exert competitive pressure on the Android App Distribution Market because (i)
they do not function on Android smart mobile devices and (ii) Apple does not allow its mobile OS
to be installed on non-Apple devices. As discussed in Section V.C.4, users show low propensity to
switch to alternative mobile OSs due to the high costs of switching to a mobile device running an
alternative OS. Moreover, developers view Android and non-Android app distribution channels as
complements, rather than substitutes, and tend to multi-home by publishing their apps on both the




689
    EC Google Android Decision, ¶ 636.
690
    See SectionVII.A.1. See also Google,                                                        June 20, 2019, GOOG-
PLAY4-004259430, at 432.
691
    This is the so-called chicken and egg problem: in order to attract developers, an app store should have a large base of
users, who are willing to join only if a large base of developers write for that app store. See Jullien, Pavan & Rysman
(2022), at pp. 17-18. See also Caillaud & Jullien (2003); EC Google Android Decision, ¶ 638.


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           211
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 213 of 598




Apple App Store and Google Play Store. Thus, the threat of switching to an Apple iOS device to
access the Apple App Store will not constrain Google’s behavior. I therefore find the relevant
antitrust market to be a market for Android App Distribution, as explained above.

        328.     As described in Section V.C.4, most purchasers of smart mobile devices are already
locked into their initial mobile ecosystem, as evidence suggests that a relatively small proportion of
mobile device purchasers are buying their first smart mobile device. For example, worldwide
smartphone penetration has steadily increased from just under 50% in 2016 to approximately 78%
in 2020,692 with rates even higher in developed nations. For example, a 2021 survey found that
about 91% of households in the U.K. had smartphones. 693

        329.     Given this very high rate of smart mobile device ownership, the significant constraint
on Google’s behavior will therefore need to come from existing mobile users (particularly as
Google, Apple and/or the OEMs cannot discriminate between new and existing OS users).
However, as described in Section V.C.4, these users are locked into the mobile ecosystem
previously chosen, and, thus, switching costs and other barriers to switching smart mobile devices
will drive Google’s behavior in relation to the Google Play Store. As discussed in detail in Section
V.C.4, mobile device users face significant costs when switching from Android to iOS. These
include compatibility costs, transaction costs, the time to learn a new OS, uncertainty costs, among
others. The existence of high switching costs naturally locks consumers into Google’s Android
ecosystem at the initial purchase of Android smart mobile devices, and as a result, the rate of
switching between Android and iOS is quite low (see the evidence presented in Section V.C.4).

        330.     Further, most mobile device users single-home on either Android or iOS, with few
users owning two or more devices covering both OSs. For example, survey evidence shows that
80% of users only have one smartphone, and even when users purchase another smartphone, it tends




692
    See Statista, “Global smartphone penetration rate as share of population from 2016 to 2020,” August 11, 2022,
available at https://www.statista.com/statistics/203734/global-smartphone-penetration-per-capita-since-2005/.
693
    See Ofcom, “Online Nation, 2021 Report,” Figure 1.3, available at
https://www.ofcom.org.uk/__data/assets/pdf_file/0013/220414/online-nation-2021-report.pdf.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          212
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 214 of 598




to have the same OS.694 As noted in Google’s documents, for iPhone users who own tablets,
own iPads whereas              own Samsung tablets (                             own both); for Android users who
own tablets, at least          own a Samsung tablet with the iPad ownership rate at                      for Pixel
owners and           for Samsung owners. 695 The 2022 CMA Consumer Survey confirms the modest
cross-ownership rate, showing that among Apple iPhone users, 63% owned an iPad, while only 7%
owned an Android tablet.696 For Android users, 36% also owned an Android tablet, while only 18%
owned an iPad.697 Similarly, evidence from app developers suggests only a small proportion of
mobile device users access their apps from more than one OS. 698 That is consistent with evidence
described earlier in the report (See Section V.C.4) that consumers do not switch, in part, because
they are locked in to the Android or iPhone ecosystems and the hardware and software that is
exclusive to the ecosystem they use. As set out in Section V.C.4, the Presser Survey found that 62%
of respondents would worry that they might lose access to photos, phonebooks or other things they
have on their devices, while between 71% and 78% said that switching to iPhone would take
“some” effort or “a lot” of effort.699

         331.     Moreover, Android and Apple’s iOS are two highly differentiated mobile ecosystems
with distinct hardware and software, and smart mobile device pricing aimed at different target
markets.700 For example, in terms of software, Android smart mobile devices are pre-installed with
the GMS suite of apps, including Google Search, Google Chrome, Google Play Store, etc., but




694
    See CMA Final Report on Mobile Ecosystems, ¶3.39 and footnote 85.
695
    Google, “Consumption tablets,” May 2019, GOOG-PLAY-000436340.R-406.R. at 383.R.
696
    See, CMA Customer Survey, Figure 21.
697
    See, CMA Customer Survey, Figure 21.
698
    See, CMA Final Report on Mobile Ecosystems, ¶3.40.
699
    Presser Report, p. 8.
700
    See e.g., Cipriani, Jason, “Is there an alternative to Apple's ecosystem? Yes, but you'll have to Google it,” Zdnet,
May 1, 2019, available at https://www.zdnet.com/article/alternatives-to-apples-ecosystem-yes-there-is-a-way-out/.


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                            213
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 215 of 598




Android can also provide different software experiences (i.e., an Android ‘skin’701) depending on
which OEM is selling the Android mobile device. 702 By contrast, iOS smart mobile devices are
equipped with Apple’s proprietary native apps such as iMessage, Facetime, and Safari, and Apple
only offers a single concurrent version of iOS with a lack of customization (See Section V.C.4),
whereas Android offers more choice in terms of software experience. In terms of hardware, Apple
iPhones use Apple’s own propriety processor (e.g., the iPhone 13 series uses the A15 Bionic703)
and, similar to software, offer relatively limited customizations (e.g., size etc.), while Android smart
mobile devices offer a plethora of different hardware and software combinations across many
different OEMs.704 These differences in hardware and software experiences and customization often
attract different types of customers.705

        332.     Further, mobile device pricing for Android and iOS smart mobile devices are
generally targeted at different segments of the price spectrum. To examine this, I have analyzed
IDC data on the prices and quantity sold of Android and iOS smartphones (i.e., excluding tablets)
from 2017 until 2021 (worldwide excluding China). This analysis, depicted in Exhibit 49 below,
demonstrates that Android focuses heavily on the lower priced smartphone segment, with more than
80% of Android smartphones sold for under $300, whereas Apple iPhone sales are concentrated
above $600, with more than 50% of iPhone sales between $600 and $1,000. This is despite Apple’s
attempts to move into the mid-tier price brackets with its iPhone SE in 2016 (priced as low as




701
    “Android skins are software tweaks that live on top of stock Android. They often look very different and offer
features that other skins don’t. In other words, underneath all the additional design and functionality tweaks, the core
version of Android is on all Android devices. To add some brand identity though, some manufacturers craft an
experience that’s truly unique to their lines of phones. Others leave well enough alone and barely touch how Android
functions.” See Brown, C. Scott, “The many flavors of Android: A look at the major Android skins,” April 2, 2022,
available at https://www.androidauthority.com/android-skins-945375/.
702
    See Brown, C. Scott, “The many flavors of Android: A look at the major Android skins,” April 2, 2022, available at
https://www.androidauthority.com/android-skins-945375/.
703
    See, Nanoreview.Net, “Apple A15 Bionic,” available at https://nanoreview net/en/soc/apple-a15-bionic.
704
    See e.g., Peters, Aaron, “How Android Differs Depending on the Hardware Manufacturer,” November 9, 2017,
available at https://www makeuseof.com/tag/android-differs-hardware-manufacturer/. See also Nield, David, “4 ways to
know if iOS or Android is better for you,” March 16, 2022, available at https://www.popsci.com/differences-between-
android-and-ios/; see also Diffen, “Android vs. iOS,”
https://www.diffen.com/difference/Android_vs_iOS#Device_Selection.
705
    See, Nield, David, “4 ways to know if iOS or Android is better for you,” March 16, 2022, available at
https://www.popsci.com/differences-between-android-and-ios/.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          214
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 216 of 598




$399706), iPhone SE (2nd gen) in 2020 (also priced as low as $399707) and a further iteration SE in
2022 (price as low as $429708).
                                            Exhibit 49
                      Proportion of Smartphones Sold by Price Bracket and OS,
                             Worldwide (excluding China), 2017 – 2021




Note: Data exclude sales of feature phones and tablets.
Source: IDC, “IDC Quarterly Mobile Phone Tracker,” 2021Q4 Historical Release, February 11, 2022.




706
    See Espósito, Filipe, “Six years later, first-gen iPhone SE runs the latest version of iOS – and it’s still good,”
available at https://9to5mac.com/2022/03/22/six-years-later-first-gen-iphone-se-runs-the-latest-version-of-ios-and-its-
still-good/.
707
    See Bohn, Dieter, “Apple announces the new $399 iPhone SE for 2020,” April 15, 2020, available at
https://www.theverge.com/2020/4/15/21221918/iphone-se-announcement-apple-price-specs-release-date-features.
708
    See MacRumours, “iPhone SE,” August 30, 2022, available at https://www macrumors.com/roundup/iphone-se/.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          215
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 217 of 598




       333.    Unsurprisingly, considering the sale of all smartphones, Android’s share of
smartphones under $500 between 2017 and 2021 is 97%, with iPhone just 3%. Of smartphones sold
over $500, iPhone instead is dominant with a 64% share (compared with Android’s 36% share), as
depicted in Exhibit 50 below.
                                       Exhibit 50
                  Android Dominates Lower Priced Smartphones, 2017 – 2021




Source: IDC, “IDC Quarterly Mobile Phone Tracker,” 2021Q4 Historical Release, February 11, 2022.
       334.    Finally, I analyze the average prices of Android and iPhones over the period 2012 to
2021. As depicted in Exhibit 51 below, the average Android smartphone has been consistently
under $400, falling from $386 in 2012 to just $227 in 2017 (and has stayed around that level
through to 2021). In contrast, the average price of iPhones sold was $691 in 2012 and it has been
steadily increasing to $967 in 2021.




          NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                 216
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 218 of 598




                                          Exhibit 51
       Average Price of Smartphones Sold by OS, Worldwide (excluding China), 2012 – 2021




Source: IDC, “IDC Quarterly Mobile Phone Tracker,” 2021Q4 Historical Release, February 11, 2022.
           335.    Google does not currently charge a license fee for Android and has actively
encouraged OEMs to use Android on their smart mobile devices (see Section IV.B), which, Google
notes, “has helped increase the number of smartphone owners by enabling [manufacturers] to
develop quality smartphones and tablets at low cost.”709 This business model helps explain why
most low-priced smart mobile devices are Android devices.




709
      See, CMA Final Report on Mobile Ecosystems, ¶3.30.


              NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           217
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 219 of 598




       336.    I understand that Google is sometimes concerned about the Apple ecosystem.
However, that does not imply that the Apple App Store is in the relevant market or constrains
Google’s market power. As exemplified by the well-known cellophane fallacy (see Section V.A),
even a very strong monopolist may raise price until it faces significant substitution from outside the
relevant antitrust market, and, thus, every firm is constrained by some competition no matter its
level of monopoly power. Antitrust focuses on raising price above the competitive price, not the
observed price.

       337.    Furthermore, antitrust measures of competitive constraints (e.g., in a formal market
definition assessment as set out in Section V.A), consider small price increases, typically 5% or
10% (indeed, “small” is the first word in SSNIP). Thus, to represent true competitive concerns, the
types of concerns exhibited in Google’s documents would need to represent small changes in the
way consumers or developers perceive iOS relative to Android that would be equivalent to a price
change smaller than a SSNIP. However, if, for example, Google was concerned with large
developers (such as Netflix) threatening to produce for iOS and not Android, arguably this would
represent much bigger changes to the value of the Android system. Indeed, as described in Section
V.C.4, I have earlier documented significant consumer stickiness and switching costs, so an app that
can affect OS adoption through its decisions represents what consumers would perceive to be large
changes in value.

       338.    However, even if there was substantial competition between iOS and Android, that
would not be sufficient to constrain Google’s market power in the Android App Distribution
Market. For OS competition to be a constraint on app distribution, it must be that outcomes in the
Android App Distribution Market have a significant effect on mobile OS choices. In contrast, to the
extent that app distribution is not a primary factor that drives mobile OS/device choices, mobile OS
competition does not constrain the Android App Distribution Market.


         (see Section V.C.4), and, thus, mobile OS competition does not constrain Google’s market
power in the Android App Distribution Market.

       339.    App stores on PCs or gaming consoles do not exert competitive pressure on the
Android App Distribution Market, due to the different uses of apps on smart mobile devices


          NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                 218
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 220 of 598




compared to apps on PCs or gaming consoles. As discussed in Section V.C.4, apps that are designed
with the unique hardware of smart mobile devices in mind often do not function on PCs or gaming
consoles, and consumers typically use these devices for different purposes.

                   5.      Summary on Google’s Market Power in the Android App Distribution Market

           340.    In summary, I conclude that Google, with the Google Play Store, has monopoly
power in the Android App Distribution Market. Google had high and durable worldwide (excluding
China) market shares based on several metrics including app store installations, app store pre-
installations, app downloads, consumer expenditure on apps, and user engagement (including visits
and time spent on app stores). The Android App Distribution Market also exhibits significant
indirect network effects and significant costs of starting and expanding a competing app store,
which together constitute a substantial barrier to entry and expansion. Google has, as a result of
these factors and of its own anti-competitive conduct, sustained supracompetitive commissions in
the Google Play Store, resulting in sustained high margins from the Google Play Store, which have
not been eroded by competition from alternative Android or non-Android app stores (or
sideloading). This evidence is consistent with Google having monopoly power in the Android App
Distribution Market.

           341.    Finally, I note that this conclusion is consistent with the Commission Decision on
Google Android, which found that “Google holds a dominant position in the worldwide market
(excluding China) for Android app stores since 2011.” 710 It is also consistent with the CMA Mobile
Ecosystems Final Report, which found that Google has “substantial and entrenched market power in
native app distribution, with limited constraints on [the Google Play Store] … On Android, this is
driven by a limited constraint from alternative app stores (which have [less than 10]% of native app
downloads), limited sideloading and web app usage and very few opportunities for
preinstallation.”711




710
      EC Google Android Decision, ¶ 590.
711
      CMA Final Report on Mobile Ecosystems, ¶ 4.184.


              NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        219
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 221 of 598




        B.       Google’s Market Share is Consistent with a Very High Degree of
                 Market Power Even if the Relevant Market Includes the Apple App
                 Store

        342.     Counsel has also asked me to consider, as a hypothetical matter, whether including
the Apple App Store in the relevant market leads to market shares that would change my opinion
that Google has a very high degree of market power. For the reasons explained in Section VV and
Section VI.A.4 above, I conclude that it would not.

        343.     Worldwide, Android shipped 81.1% of phones in 2014, rising to 86.2% in 2022,
while Apple’s share diminished from 15.6% to 13.8% during the same period. 712 Together, Google
and Apple far surpass the next largest competitor and the hypothetical market that I have been asked
to consider could be characterized as a duopoly.

        344.     Duopolists can wield a very high degree of market power. Thus, I conclude that even
if we consider a hypothetical market including iOS, market shares are still consistent with a market
in which Google wields a very high degree of market power. Further, Google’s power in this
hypothetical market would be bolstered by the same factors that led me to conclude that the relevant
market should not include iOS in the first place, namely, ecosystem lock-in, low switching, and low
user multi-homing, driven by the highly differentiated nature of Android/iOS and different market
focus of each. Thus, even if we consider a hypothetical market including iOS, the combination of
extreme concentration of the market in two dominant firms, combined with high switching costs are
consistent with the Google Play Store possessing a very high degree of market power.

        C.       Google has Monopoly Power in the Android In-App Billing Services
                 Market

        345.




712
   Statista, “Share of global smartphone shipments by operating system from 2014 to 2023,” July 27, 2022, available at
https://www.statista.com/statistics/272307/market-share-forecast-for-smartphone-operating-systems/.


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         220
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 222 of 598




                 713


       346.    In assessing whether Google has monopoly power in the Android In-App Billing
Services Market, I consider direct evidence and whether the commission charged by Google is set
above the competitive level, structural evidence and barriers to entry / expansion that could limit the
ability of potential entrants or existing rivals to constrain Google. Based on my assessment
described below, I find Google has monopoly power in the Android In-App Billing Services
Market.

       347.    My conclusion that Google has monopoly power in the In-App Billing Services
Market is not relevant to my assessment of whether Google has leveraged its market power in
Android App Distribution to require developers to use Google Play Billing.

               1.      Google Profitably Imposes a Supracompetitive Commission

       348.    As explained in Section VI.B above, Google charges developers a 30% commission
for sales of apps and in-app purchases via Google Play Billing.



                                  71




713



                                                                               See Google,
                                   GOOG-PLAY-000308762.
714
    See email from Kevin Du, Google,
                       July 17, 2009, GOOG-PLAY-001677481-484 at 483

See also Google, “Monthly Finance Meeting,” August 2020, GOOG-PLAY-000345879.R-898.R, at 886.R.


           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                   221
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 223 of 598



                  715

                        716


        349.      As discussed in Section IV.B.7, Google has recently implemented tiered
commissions for certain types of transactions, including 15% for subscription service renewals. 717



                                     718




                                      720




                                                                                                            721
        350.
For example:




715
    See Google,                                        January 26, 2009, GOOG-PLAY-004630018.R-032.R, at
024.R.
716
    Google, “                June 17, 2020, GOOG-PLAY-001018461.R-468.R at 462.R
                                                          . Google,
GOOG-PLAY-009245422-443 at 440


717
    See Google, “Google Play service fees,” Google, available at https://support.google.com/googleplay/android-
developer/answer/112622.
718
    See Google,                                                                    November 16, 2020, GOOG-PLAY-
006990552-571, at 553.
719
    See Google,                                          January 26, 2009, GOOG-PLAY-004630018.R-032.R, at
024.R; see also Google,                                                                    November 16, 2020, GOOG-
PLAY-006990552-571, at 555
720
    See Google,                                                                    November 16, 2020, GOOG-PLAY-
006990552-571, at 555.
721

               Google,                      ” June 17, 2020, GOOG-PLAY-001018461.R-468.R at 462.R.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       222
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 224 of 598




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                                                                            725



           




722
   See email from Sameer Samat, Vice President of Product Management at Google,
      ” June 8, 2016, GOOG-PLAY-000081809-811, at 811; and Google,                                     April
5, 2016, GOOG-PLAY-000578299.R-309.R. at 301.R.-305.R. See also, Samat (Google) Deposition, pp. 337-338 (“Q.




                                                    and pp. 345, 469-471, and 483-485.
723
      See Google,                      October 30 – November 8, 2017, GOOG-PLAY-000442329-350, at 343

                             See also Google, “Monthly Finance Meeting,” August 2020, GOOG-PLAY-000345879.R-
898.R, at 885.R
724

               June 10, 2022, GOOG-PLAY-011250116-166, at 120


725
      See Google, “Play Policy Feedback,” September 28 – October 3, 2017, GOOG-PLAY-000442329-350, at 345-346


                                                                              and Google, “Play Payments
Policy,” October 31, 2019, GOOG-PLAY-001088669.R-687.R. at 673.R
                                                  . See also email from George Audi, Google,
         January 31, 2019, GOOG-PLAY-000259276-279, at 277




               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       223
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 225 of 598



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        351.
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726
    See email from Sameer Samat, Vice President of Product Management at Google,
         June 8, 2016, GOOG-PLAY-000081809-811, at 811; and Google,
           July 20, 2020, GOOG-PLAY-003330554-558, at 554-556.
727
    See email from Sameer Samat, Vice President of Product Management at Google,
         June 8, 2016, GOOG-PLAY-000081787-789, at 788.
728
    See Google’s Answers and Objections to Developer Plaintiffs’ First Set of Interrogatories, Response to Interrogatory
No. 3.
729
                                                                                                           see Exhibit
67. See also, Perez, Sarah, “Google lowers Play Store fees to 15% on subscription apps, as low as 10% for media apps,”
Tech Crunch, October 21, 2021, available at https://techcrunch.com/2021/10/21/google-lowers-play-store-fees-to-15-
on-subscriptions-apps-as-low-as-10-for-media-apps.
730
                                                                                                 See, Google,
                                                        GOOG-PLAY-007329063-073, at 068.
731
    See Exhibit 36.
732
    See, Google, “Play Policy Feedback,” October 30 – November 8, 2017, GOOG-PLAY-000442329-350, at 329-338.
Google, “Play Billing Policy,” August, 2019, GOOG-PLAY-003334312-347 at 316. Email from Hiroshi Lockheimer,
Senior Vice President of Platforms & Ecosystems at Google, to Sameer Samat, Vice President of Product Management
at Google,                        August 1, 2017, GOOG-PLAY-009911010-012 at 011.


                                      See also Google,                                                 September 2017,




            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          224
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 226 of 598




        733


        352.



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                 2.      Structural Evidence Demonstrates Google’s Monopoly Power

                         a)       Google has a very high share of the Android In-App Billing Services
                                  Market
        353.     As discussed above, high market shares can be an indicator of market power. As
noted in Section V.D.1, as of 2020, 97% of app developers who sold digital goods via the Google
Play Store used Google Play Billing.735



                                                         736
                                                               Given the Google Play Store’s dominance in
the Android App Distribution Market and Google Play Billing’s very high usage among developers




GOOG-PLAY-002405918.R-947.R. at 919.R.-921.R. Feng (Google) Deposition, pp. 287-288




         See also email from googleplay-developer-support@google.com to Haseeb Malik, Mobile Publishing Director
at Epic, January 9, 2020, EPIC_GOOGLE_01975130-131 at 131


733
    Google, “Billing Policy Compliance,” January 2021, GOOG-PLAY-006817773.R-890.R, at 777.R.
734
    Google Transaction Data; See also Rysman Workpapers.
735
    See Samat, Sameer, “Listening to Developer Feedback to Improve Google Play,” Android Developers Blog,
September 28, 2020, available at https://android-developers.googleblog.com/2020/09/listening-to-developer-feedback-
to html.
736
                                                   See Google, Untitled, July 25, 2019, GOOG-PLAY-007346993-049,
at 002.


              NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       225
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 227 of 598




who distribute apps on the Play Store, Google is likely to have a very high proportion of the total
revenues from in-app transactions in the Android In-App Billing Services Market.

         354.     To estimate Google Play Billing’s share of the Android In-App Billing Services
Market, I have reviewed Google’s financial data on its revenue from Google Play Billing and
relevant information from third-party app stores where available.

         
                    737



            As some of that revenue relates to initial app purchases (at the level of app distribution),
             I deduct an estimate of the proportion of the amount attributed to initial app sales.


                                                                 738
                                                                       Based on that calculation, I find Google’s
             2019 global revenue from in-app transactions is

            I then estimate revenues for in-app purchases through alternative app stores,



                                                                                                     739
                                                                                                           Note that the
             split between initial app purchases and in-app transaction is not available, so I
             conservatively assume 100% of the revenue relates to in-app transactions.

         




737
    See Google, “Revenue by app category,” GOOG-PLAY-010801685.R. See also Rysman Workpapers.
738
    This is calculated is the total revenue from app sales divided by the total revenue from sales of apps and in-app
content.
                                                                                                                 See
Rysman Workpapers.
739
                                                                                                        See also Rysman
Workpapers.


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           226
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 228 of 598




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          I do not have any in-app transaction revenue data on any other Android app stores,
           including Aptoide, Oppo Apps, Xiaomi Market, Vivo App Store, ONE store, and
           Yandex.


                                                        741




                               742




          Combining these estimates for the other Android app stores suggests the revenues from
           in-app transactions on all other Android app stores is
                                                                     743



          Lacking data on other Android app stores for 2017, 2018, 2020 and 2021, I estimate
           these revenues assuming these app stores have grown at the same rate as the Amazon
           App Store.

       



                                       744




740
    See Google, “                                                                             April 9,
2019, GOOG-PLAY-003332817.R-864.R, at 863.R.
741
    See Google,                             October 31, 2019, GOOG-PLAY-002076224.R-238.R at 229.R.
742
                                                          . See Google,
                GOOG-PLAY-004489655.R-663.R, at 658.R.
743
    See Rysman Workpapers.
744
    See GOOG-PLAY-010801685. See also Rysman Workpapers.


           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                  227
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 229 of 598




              355.   Based on this methodology,




       .745                                                               , as shown in Exhibit 52
below.
                                                  Exhibit 52




Sources:
1.     GOOG-PLAY-010801685.
2.
3.     GOOG-PLAY-003332817.R at 863.R.
              356.   My estimation of Google’s share of the Android In-App Billing Services Market
described above includes several conservative assumptions, including assuming (i) that all
Amazon’s revenue is from in-app payments, and (ii) that many of the other Android app stores are a
similar size to Samsung (which is highly unlikely given that the Samsung Galaxy Store is pre-
installed on every Samsung mobile device.


                                                                                            However,
as noted above, high shares alone are not sufficient to demonstrate monopoly power but must be




745
      See Rysman Workpapers.



                NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                     228
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 230 of 598




reinforced with high barriers to entry. I next consider whether there are barriers to entry / expansion
that limit the ability of potential entrants or existing rivals to constrain Google.

                          b)       Substantial barriers to entry and expansion protect Google’s market
                                   power
          357.   Google’s contractual agreements with developers, described in Section IV, have
limited the extent to which developers can choose their own billing service provider for in-app
transactions. As described in Section IV.B.6, Google requires that: (1) apps distributed via Google
Play Store (“Play-distributed apps”) must use Google Play Billing exclusively for digital in-app
transactions; and (2) developers cannot steer consumers to billing service providers other than
Google Play Billing for digital in-app purchases. 746 These restrictions have forced developers to
either integrate Google Play Billing for digital in-app transactions, or offer a consumption-only
app.747


                                                  748




                                                                      749


          358.   In addition, developers that choose to not comply with Google’s restrictions must
forego distributing apps through the Google Play Store and, thus, to potentially all Android users.




746
    See, e.g., §§ 1-4 in “Google Play Payments Policy,” Google, November 18, 2021, available at
https://support.google.com/googleplay/android-developer/answer/9858738.
747
    See, e.g., Google, “Understanding Google Play’s payments policy – Frequently asked questions,” available at
https://support.google.com/googleplay/android-developer/answer/10281818?hl=en-GB#zippy=%2Ccan-i-offer-a-
consumption-only-reader-app-on-google-play. (“Google Play allows any app to be consumption-only, even if it is part
of a paid service. For example, a user could log in when the app opens and access content paid for somewhere else.”).
748
    See, Google, “                               ,” August 2017, GOOG-PLAY-000262353.R-389.R, at 359.R
                                                                                        . See also Google,
                            February 10, 2021, GOOG-PLAY-003890736.R-748.R, at 744.R; and Google,
                    August 2019, GOOG-PLAY-007328838-878, at 856; and Google,
                         March 9, 2018, GOOG-PLAY-000051671.R-701.R, at 698.R.
749
    Email from Sarah Karam, Google, to                                       , Google,
                 September 4, 2020, GOOG-PLAY-005610941-943 at 943




            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         229
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 231 of 598




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       359.    These contractual restrictions naturally create a substantial barrier to entry and
expansion in the Android In-App Billing Services Market since, without the ability to switch billing
service providers, third party providers are unable to challenge Google Play Billing’s position in the
market.




       360.    As explained in Sections VI.A above, Google has substantial market power in the
Android App Distribution Market. The above evidence suggests that, through the contractual
restrictions Google has imposed on developers, Google leverages this market power into Android
In-App Billing services Market.

               3.      Summary on Google’s Market Power in the Android In-App Billing Services
                       Market

       361.    Based on the evidence and my assessment described above, I find Google has
monopoly power in the Android In-App Billing Services Market,
                                                                                      coupled with
substantial barriers to entry, and Google’s ability to impose contractual restrictions that require
developers to use Google Play Billing for their in-app transactions (which Google can impose due
to its market power in the Android App Distribution Market). The result is that Google can charge a
supra-competitive commission on in-app transactions                                     – see Exhibit
35), with only the very largest developers able to by-pass Google’s commission.




750

                        See, Google,
                 April 9, 2019, GOOG-PLAY-003332817.R-864.R, at 824.R and 830.R.


           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                  230
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 232 of 598




        362.   Setting aside Google’s monopoly power in the Android In-App Billing Services
Market, it is my opinion that Google has leveraged its market power in the Android App
Distribution Market to require most developers to use Google Play Billing.


VII.    Google’s Anticompetitive Conduct Harmed Competition in Android App Distribution

        363.   In this section, I consider whether the conduct described in Section IV made it very
difficult for competitors to compete in the Android App Distribution Market described in Sections
V.C and VI.A. My conclusion is that it did. I demonstrate that Google’s conduct substantially
impeded every possible means by which competing Android app stores might reach the necessary
scale to be effective competitors: pre-installation on mobile devices and sideloading by consumers.
In addition, Google’s agreements with certain developers deprived competitor app stores of the
ability to launch with exclusive content from those developers. Finally, despite the putatively
“open” nature of Android, Google has never permitted other app stores to be downloaded through
Android Market or the Play Store. The cumulative effect of the obstacles to competition Google has
erected are illustrated in Exhibit 53 below.




          NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                 231
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 233 of 598
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 234 of 598




       A.      Google’s Anticompetitive Conduct Reduced Competition in the
               Android App Distribution Market

               1.      Google Has Prevented Competing App Stores from Being Preloaded on
                       Android Smart Mobile Devices

       366.    Google has enhanced and entrenched its market power in Android App Distribution
through various contractual agreements with mobile network operators (a/k/a wireless carriers),
OEMs, and app developers, which substantially reduces competition from alternative Android App
Distribution methods. I consider two categories of conduct below. First, I consider the effect of
Google’s contracts related to a contractual agreement not to preload alternative app stores, often in
exchange for a revenue share from Google. I calculate the share of Android smart mobile device
sales by OEMs which have executed agreements with such provisions, and, coupled with
information from Google that the share of devices subject to such an agreement has been increasing
and Google’s intention to achieve 100% coverage of devices with this restriction, I find that these
shares are reflective of Google’s market power in Android App Distribution.

       367.     I also consider the effect of Google’s MADAs by calculating the percentage of
Android mobile devices that have been governed by a MADA, which mandate preloading the
Google Play Store icon in a particular place on the device user interface and requiring OEMs to
license the Google Play Store if they want to provide access to marquee Google apps like Gmail,
Search, and YouTube. I explain why these requirements that the Google Play Store receive better or
equal treatment to any other Android app store on applicable Android smart mobile devices creates
barriers to rivals to obtain such placement or discovery from users.

       368.    As explained in more detail below, I find Google’s contractual restrictions and
monetary incentives have had the effect of restricting Android App Distribution outside the Google
Play Store and, thus, impeding competition by rival Android app stores.

                       a)     Google’s Revenue Share Agreements
       369.    Early on, Google recognized that mobile network operators were key to building its
Android ecosystem. Google also recognized that they posed a significant threat to its
monopolization of the Android App Distribution Market since they could alter the layout of devices
and were best positioned, and even planning, to launch their own rival app stores. For example,


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                 233
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 235 of 598




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        370.     Google communications make the purpose of these agreements clear.




          756




751
    Google, “Internal Meeting Notes September 15th 2009,” September 15, 2009, GOOG-PLAY-001399545-546, at
546.
752
    Jamie Rosenberg, Vice President of strategy for platforms and ecosystems at Google,




See Google, “Deposition of Jamie Rosenberg in the Matter of: In Re – Google Antitrust Litigation,” July 14, 2020,
GOOG-PLAY-007847148-353, at 273-277.
753
    Email from Tom Moss, Google, to Andy Rubin, Former Google VP and Android Founder, “Subject: Re: Your
thoughts on Android Market,” February 3, 2009, GOOG-PLAY-001423609-610, at 609.
754
    Email from Tom Moss, Google, to Andy Rubin, Former Google VP and Android Founder, “Subject: Re: Your
thoughts on Android Market,” February 3, 2009, GOOG-PLAY-001423609-610, at 609.
755
    Google,                                              ” September 22, 2014, GOOG-PLAY-007264058-069, at
063.
756
    Google,                 October 18, 2014, GOOG-PLAY-000439987.R-017.R, at 012.R.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        234
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 236 of 598




        371.     Initially, Google gave to carriers the majority of the 30% commission it imposed on
developers.”757



                           758




                                                   Exhibit 54




Source: Google, “OC Quarterly Review — 4Q 2010,” October 12, 2010, GOOG-PLAY-001337211-252, at
226 (emphasis added).
        372.




757
    Google’s Android Developers Blog, “Android Market: Now available for users,” October 22, 2008, available at
https://android-developers.googleblog.com/2008/10/android-market-now-available-for-users html.
758
    Email from Tom Moss, Google, to Andy Rubin, Former Google VP and Android Founder, “Subject: Re: Your
thoughts on Android Market,” February 3, 2009, GOOG-PLAY-001423609-610, at 609.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        235
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 237 of 598




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        373.
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        374.




759
  Google,                                                                     April 6, 2010, GOOG-PLAY-
010165546-552, at 546; Brady (Google) Deposition, pp. 98-99




                ) and p. 107



760
    Email from Patrick Brady, Vice President of Engineering for Android's Automotive Efforts at Google, to John
Lagerling, Former Senior Director of Android Global Partnerships at Google,
       March 25, 2011, GOOG-PLAY4-000268331-332, at 331.
761
    Brady (Google) Deposition, p. 119.
762
                                                                                Feb 1, 2011, GOOG-PLAY-
001905152-168, at 158.
763



                                     July 1, 2011, GOOG-PLAY-001834687-707, at 694; see also Google,
“Business Development Product Deal Executive Summary,” June 1, 2011, GOOG-PLAY-009691803-806, at 805.
764
                           June 1, 2009, GOOG-PLAY-000621177-189, at 186.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         236
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 238 of 598




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           375.     Consistent with its “change the rules” strategy depicted in Exhibit 54 above, once
Google’s power over Android App Distribution had been entrenched, it changed the revenue
sharing model.
                                                                        71


           376.     Google’s revenue sharing agreements with MNOs and OEMs similarly incentivized
these parties to abandon their own app stores and raised the costs for prospective third-party app
store developers to compete against Google. I address two examples below.




765
                                                                             June 21, 2007, GOOG-PLAY-
010203197-227, at 223.
766
                          “MADA,” June 1, 2009, GOOG-PLAY-001745969-981, at 978.
76




                                      ” December 1, 2011, GOOG-PLAY-010207461-479, at 468.
768

                                                                         May 1, 2013, GOOG-PLAY-004330716-
749, at 723-724.
769

                  September 1, 2014, GOOG-PLAY-005706073-086, at 076.
770

                                August 1, 2012, GOOG-PLAY-001467154-174, 159.
771
      Google,                                      May 6, 2015, GOOG-PLAY-001184813-857, at 823

                             See also Google, GOOG-PLAY4-004677224-229, at 22;
                                                                    January 1, 2013, ATT-GPLAY-00000692-711,
Google and AT&T,                                                                               January 1, 2013,
GOOG-PLAY-003604606-625,
                                     February 1, 2015, GOOG-PLAY-003604601-604;
                                                                            August 1, 2013, GP MDL-TMO-
0001831-848;
September 1, 2013, GP MDL-TMO-0002071-098;
                                                  October 26, 2015, GOOG-PLAY-003605103-106; GOOG-PLAY4-
002178049; and Email from Matt Schwartz to Jamie Rosenberg, Vice President of Strategy and Operations (Platforms
and Ecosystems Division) at Google, Zahavah Levine, Google, TT Ramgopal, Google, Christian Veer, Google, Paul
Gennai, Product Management Director at Google,                                        GOOG-PLAY-002891881-
182.


                NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       237
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 239 of 598




        377.     T-Mobile.
                                                               772




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        378.     T-Mobile later announced plans to launch an Android app store in the Fall of
2008.774 T-Mobile’s contemplated app store would be available for all Android smart mobile
devices, among other platforms.775 T-Mobile planned to monetize based on bandwidth use. 776 T-
Mobile’s strategy was to “gut its current, lousy method of distributing mobile apps -- favoring
software companies that it has revenue-sharing deals with,” like Google, and to instead launch,
“[a]n iPhone-like app store that's organized by popularity, not payola.” 777

        379.
                                                                             778




772
    Sears (Google) Deposition pp. 34-37.
773
    “                                                                GOOG-PLAY-001377621-679, at -621, § 1.
774
    See Duryee, Tricia, “Updated: T-Mobile USA Will Ditch The Traditional Deck to Mirror Apple’s App Store,” The
Washington Post, August 11, 2008, available at https://www.washingtonpost.com/wp-
dyn/content/article/2008/08/08/AR2008080802548 html; Frommer, Dan, “T-Mobile’s Big Idea: An iPhone-Like App
Store for Every Phone,” Business Insider, August 9, 2008, available at https://www.businessinsider.com/2008/8/t-
mobile-s-big-idea-an-iphone-like-app-store-for-every-phone; Krzykowski, Matthaus, “Carriers being to believe in data
revenue, as Android’s puzzle pieces come together,” September 10, 2008, available at
https://venturebeat.com/2008/09/10/carriers-begin-to-believe-in-data-revenue-as-androids-puzzle-pieces-come-
together/; and TechCrunch, “T-Mobile planning an open app store?,” August 11, 2008, available at
https://techcrunch.com/2008/08/11/t-mobile-planning-an-open-app-store/.
775
    See Duryee, Tricia, “Updated: T-Mobile USA Will Ditch The Traditional Deck to Mirror Apple’s App Store,” The
Washington Post, August 11, 2008, available at https://www.washingtonpost.com/wp-
dyn/content/article/2008/08/08/AR2008080802548 html.
776
    See TechCrunch, “T-Mobile planning an open app store?,” August 11, 2008, available at
https://techcrunch.com/2008/08/11/t-mobile-planning-an-open-app-store/.
777
    Frommer, Dan, “T-Mobile’s Big Idea: An iPhone-Like App Store for Every Phone,” Business Insider, August 9,
2008, available at https://www.businessinsider.com/2008/8/t-mobile-s-big-idea-an-iphone-like-app-store-for-every-
phone; Krzykowski, Matthaus, “Carriers being to believe in data revenue, as Android’s puzzle pieces come together,”
September 10, 2008, available at https://venturebeat.com/2008/09/10/carriers-begin-to-believe-in-data-revenue-as-
androids-puzzle-pieces-come-together/; and TechCrunch, “T-Mobile planning an open app store?,” August 11, 2008,
available at https://techcrunch.com/2008/08/11/t-mobile-planning-an-open-app-store/.
778
                                                                                 August 10, 2009, GOOG-PLAY-
001424478-491, at 479-480.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         238
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 240 of 598




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           380.


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77
                                                                                    December 1, 2009, GOOG-PLAY-
005706961-981, at 962-968.
780
                                                                                   ” December 1, 2009, GOOG-PLAY-
005706961-981, at 980, at 967-968.
781
                                                                                   ” December 1, 2009, GOOG-PLAY-
005706961-981, at 980.
782




783
      Rubin (formerly Google) Deposition, pp. 26 -27


                                                                            Rubin (formerly Google) Deposition, p. 26

          ; GOOG-PLAY-001135055-086, at 057
                                                       Sears (Google) Deposition, p. 184




               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                             239
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 241 of 598




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        381.
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        382.     HTC. As explained above in Section III, HTC was the OEM for the first Android
smartphone released on the T-Mobile network in 2008. But Google did not offer GMS apps through
the MADA worldwide at that time.
                                                    ,787 Malaysia, and Vietnam,788 HTC phones came
preloaded with an alternative app store from SlideME, the SlideME Application Manager 789.




784
    Email from Nick Sears, Android Co-Founder, to Patrick Brady, Vice President of Engineering for Android's
Automotive Efforts at Google,                                                       October 29, 2009, GOOG-
PLAY4-000339905-910, at 907 and Email from Nick Sears, Android Co-Founder, to Patrick Brady, Vice President of
Engineering for Android's Automotive Efforts at Google,                                                      ”
November 5, 2009, GOOG-PLAY4-000339905-910, at 905.
785
    Email from Cole Brodman, T-Mobile, to Andy Rubin, Former Google VP and Android Founder,
                      September 27, 2010, GOOG-PLAY-001055565-567, at 565

                  and Email from Mitch Lustig, T-Mobile, to Jamie Rosenberg, Vice President of Strategy and
Operations (Platforms and Ecosystems Division) at Google,                                      October 4, 2010,
GOOG-PLAY-001143425-427, at 425

786
   Email from Limvirak Chea, Google, to Patrick Brady, Vice President of Engineering for Android's Automotive
Efforts at Google,
                                                                      November 3, 2009, GOOG-PLAY-010524137-
140, at 137
                             and Email from Patrick Brady, Vice President of Engineering for Android's Automotive
Efforts at Google, to Limvirak Chea, Google,
                                                                                          ” November 3, 2009,
GOOG-PLAY-010524137-140, at 137


787
   Email from Maarten Hooft, Google, to Patrick Brady, Vice President of Engineering for Android's Automotive
Efforts at Google, David Conway, Google,
                    November 2, 2009, GOOG-PLAY-010470999

                                                                   .
788
    SlideME, “SlideME’s SAM Marketplace Shows Up on the HTC Hero,” September 3, 2009, available at
http://slideme.org/blog/htc-hero.
789
    SlideME, “SAM on HTC Mobile Devices,” available at http://slideme.org/sam-htc-mobile-devices.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        240
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 242 of 598




SlideME “found a niche,” by loading its app store onto devices in regions where Google could not
or would not load Android Market. 790

        383.     That changed in February 2011, when HTC and Google executed a worldwide
revenue sharing agreement that prohibited HTC from pre-installing third-party app stores like
SlideME. The original RSA had a term of 23 months and required that HTC “will not, and will not
allow any third party to: implement on a Device any application, product or service which is the
same as or substantially similar to Android Market, Google Phone-top Search or the Google Mobile
Search Service (or any part thereof).”791
         792


        384.


                                                              . 793

        385.


                              794




                                           .795
                                                                                         . 796




790
    Email from Dan Morril, Google, to Nikhil Shanbhag, Google, “Subject: Re: alternative Android app distribution
sites,” December 7, 2009, GOOG-PLAY-007587989.
791
                                                       ” February 1, 2011, GOOG-PLAY-001905152-168, at 158.
792



                                                                                                             .
793
    Google,                            GOOG-PLAY-000443763.R-798.R, at 774.R.
794
    Google,           October 18, 2014, GOOG-PLAY-000439987.R-017.R, at 006.R-007.R.
795
    Google                                  May 6, 2015, GOOG-PLAY-001184813-857, at 820-821.
796
    Google,                                                                                   May 6,
2019, GOOG-PLAY4-007239946-951, at 946.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        241
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 243 of 598
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 244 of 598




application preloads … MUST NOT overlap with the following Google preloads in terms of the
applications, features, or functionality: Chrome Browser, Contacts, Duo, Gboard, Gmail, Google
Assistant, Google Calendar, Google Discover, Google Lens, Google News, Google One, Google
Pay, Google Photos, Google Play, Google Podcasts, Google Search app, Messages, and Phone
(Dialer)….”804

           390.


                                              805

                                        806




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           391.
                                                                                            808




804
      Google,                            July 31, 2020, GOOG-PLAY-007125883-889, at 886.
805
      Google,                          ” July 31, 2020, GOOG-PLAY-007125883-889, at 886.
                                                        See, e.g.,
                April 1, 2020, GOOG-PLAY-005706338-391, at 378.
806
                                                        ,” December 1, 2019, GOOG-PLAY-000620282-321, at 284


807
                                                       December 1, 2019, GOOG-PLAY-000620282-321, at 292.
See also                                           February 1, 2020, GOOG-PLAY-000416651-697, at 662;
                                        March 1, 2020, GOOG-PLAY-001745614-663, at 625-626
                                             ” March 1, 2020, GOOG-PLAY-000620442-475, at 452;
                            April 1, 2020, GOOG-PLAY-000416708-752, at 717;
       April 1, 2020, GOOG-PLAY-000620478-520, at 488;                                              March 1,
2020, GOOG-PLAY-000620131-172, at 141;                                              March 1, 2020, GOOG-
PLAY-000620638-675, at 649;                                                 April 1, 2020, GOOG-PLAY-
005706676-704, at 685;
April 1, 2020, GOOG-PLAY-005706728-756, at 737;                                          April 1, 2020, GOOG-
PLAY-005706436-484, at 446; and                                             September 1, 2020, GOOG-PLAY-
000620770-798, at 778.
808
    Google,                                                            February, 2020, GOOG-PLAY4-
006758735-764, at 738.


                NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       243
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 245 of 598




                             809


        392.     LG and Motorola have exceptions to the Play Store exclusivity provision for their
own stores but not for third-party app stores, and, as a result, third-party app stores cannot be pre-
installed on LG and Motorola devices. Furthermore, Samsung devices have the Samsung Galaxy
Store pre-installed in addition to the Google Play Store, but Samsung does not permit alternative
Android app stores to be distributed through the Samsung Galaxy Store. 810 Thus, to be distributed
on Samsung smart mobile devices, other alternative Android app stores would need to be sideloaded
and, thus, subject to the technological barriers, another means by which Google impedes rival
Android app stores, as described in Section VII.A.2 below. Alternatively, while the rival Android
app store could negotiate with Samsung to be distributed alongside the Galaxy Store or instead of it,
I have found no evidence of Samsung preloading a third-party app store on its smart mobile devices.

        393.     These exclusivity RSAs with OEMs allow Google to maintain its market power in
Android App Distribution and stifle entry/expansion by third-party app stores seeking to be
preloaded on mobile devices. These RSAs dampened OEMs’ incentives to license from an
alternative mobile OS (or develop their own fork of Android, like Amazon). 811 I understand that
Google’s RSAs with OEMs include Google search as the default search engine, 812 which allows
Google to use the revenue it generates from Google Search to fund its agreements with OEMs. I
also understand that Google generates less revenue from the MADA license fees than it pays to
OEMs under the RSAs – meaning Google effectively pays OEMs to adopt the Android OS. 813
Consequently, for a new entrant to challenge Google’s Android OS, they would need to provide




809
                                                                                June, 2019, GOOG-PLAY-
00457156.R-204.R, at 158.R-159.R.
810
    Samsung Galaxy Store, “App Distribution Guide,” available at https://developer.samsung.com/galaxy-
store/distribution-guide html (“Apps that offer app download inside the app are not allowed”).
811
    Amazon, “Fire OS Overview,” available at https://developer.amazon.com/docs/fire-tv/fire-os-overview.html#fire-os-
versions.
812
    See, CMA Final Report on Mobile Ecosystems, ¶3.153.
813
    See, CMA Final Report on Mobile Ecosystems, ¶3.154.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        244
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 246 of 598




similar incentives to OEMs, essentially monetizing their OS in the same way as Google does with
Google Search. However, given Google’s strength in the search advertising and search engines
market,814 a new mobile OS entrant would likely be unable to leverage search advertising / search
engine revenue to the same extent as Google.


                                                    815
                                                          in addition to losing access to the popular GMS suite
of apps and APIs. Further, Amazon noted “customers expect a certain ‘out of the box’ experience
with popular and desirable apps pre-installed on their device and that some of the most popular apps
are Google apps such as Google Maps and YouTube, which are included in the GMS suite.” 816
Thus, Google’s exclusivity requirement creates a substantial barrier to entry / expansion for a new
mobile OS provider.

        394.




                                                    . 817


                                         818




814
   Google has more than 90% share in search engines. See Statcounter, “Search Engine Market Share Worldwide,”
available at https://gs.statcounter.com/search-engine-market-share. Additionally, the CMA Market Study into Online
Platforms and Digital Advertising found that “Google has significant market power in the general search sector, having
had a share of supply of around 90% or higher in the UK for more than a decade. Google’s strong position is primarily
maintained by three key barriers to entry and expansion: economies of scale in developing a web index; access to click-
and-query data at scale; and Google’s extensive default positions.” See CMA, “Online platforms and digital advertising
Market Study Final Report,” July 1, 2020, available at
https://assets.publishing.service.gov.uk/media/5fa557668fa8f5788db46efc/Final_report_Digital_ALT_TEXT.pdf.
815

                See Google,                                                   October, 2020, GOOG-PLAY-
011057832-886, at 834.
816
    See, CMA Final Report on Mobile Ecosystems, ¶3.163.
817
    Google,                                                                                         May 6,
2019, GOOG-PLAY4-007239946-951, at 949.
818
    Google, “                                         February 24, 2021, GOOG-PLAY-003894142.R-177.R. at
173.R.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                            245
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 247 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 248 of 598
     Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 249 of 598




                                      Exhibit 57




Sources: GOOG-PLAY-005706676; GOOG-PLAY-000620282; GOOG-PLAY-001745664; GOOG-PLAY-
005706338;                    GOOG-PLAY-005706894;                      GOOG-PLAY-
008111867; GOOG-PLAY-000416651; GOOG-PLAY-001745614; GOOG-PLAY-007038477; GOOG-
PLAY-000620442; GOOG-PLAY-000416708; GOOG-PLAY-005706436; GOOG-PLAY-000620478;
GOOG-PLAY-000620770; GOOG-PLAY-000620814; GOOG-PLAY-005706728; GOOG-PLAY-
000620131; GOOG-PLAY-000620210; GOOG-PLAY-007038511; GOOG-PLAY-000620638; GOOG-
PLAY-000620837; and GOOG-PLAY-011120406.
      397.




        NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                       248
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 250 of 598




                                                   Exhibit 58




Sources:
1.   IDC, “IDC Quarterly Mobile Phone Tracker,” 2021Q4 Historical Release, February 11, 2022.
2.   Exhibit 57.
         398.    Additionally, I also estimate the share of Android smart device sales in the U.S. for
OEMs with RSA 3.0 agreements. As shown in Exhibit 59 below, I estimate that approximately
40.2% to 46.0% of Android smartphone device sales in the U.S. were subject to RSA 3.0
agreements during 2020-2021.




            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       249
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 251 of 598




                                                   Exhibit 59




Notes:
1. RSA 3.0 OEMs are those for which RSA 3.0 contracts could be identified and confirmed.
2. Excludes Google devices from total Android smartphone sales.
3. Excludes Huawei, an RSA 3.0 OEM for which no Play exclusivity was identified.

Sources:
1.   IDC, “IDC Quarterly Mobile Phone Tracker,” 2021Q4 Historical Release, February 11, 2022.
2.   Exhibit 57.
          399.   Finally, due to the impact of indirect network effects, I find these shares likely do not
fully reflect the market dynamics and competitive opportunities available to alternative Android app
stores. When an alternative Android app store is unable to reach consumers through OEM pre-
installation or distribution through an OEM app store, that alternative app store reaches fewer
Android smart device users. Fewer Android smart device customers using that alternative Android
app store attracts fewer developers to the store; with fewer developers and the apps they distribute
on the store, the few customers are attracted to the store, and so on. Therefore, foreclosure on one
side implies a reciprocal foreclosure on the other side, and, thus, the foreclosure is magnified due to




            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       250
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 252 of 598




indirect network effects and the virtuous cycle described in Section V.A.2 above becomes a vicious
cycle.823

                           b)         Google’s Offers to Samsung to Neutralize It as a Competitive Threat
         400.


                                824
                                      Indeed, according to data from IDC, during the period 2012 to 2021,
Samsung’s share of device sales ranged from 39% to 53% in the U.S. and 32% to 54% worldwide
excluding China (see Exhibit 60). The next largest Android OEM during the same period was LG in
the U.S., with a peak share of 24% during the same period, and Xiaomi worldwide excluding China
with a peak share of 17% in 2021.




823
    I do not have data or agreements after 2020 that indicate the number of premier tier devices sold worldwide or in the
United States. I reserve the right to modify these calculations and present premier tier devices subject to exclusivity
clauses as a percentage of worldwide and U.S. Android smart mobile device sales.
824
    Vu, Linda, Brian Brazinski, Josh O’Connor, Shafiq Ahmed,                                               Google,
February, 2018, GOOG-PLAY-000005203.R-312.R, at 216.R.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           251
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 253 of 598




                                          Exhibit 60
                   Samsung’s Share of Android Smartphone Devices, 2012 – 2021




Source: IDC, “IDC Quarterly Mobile Phone Tracker,” 2021Q4 Historical Release, February 11, 2022.
        401.



                                                                  825


        402.     Google had good reason to view Samsung as a threat to its Android-app-distribution
monopoly: In 2018, Samsung allowed Epic Games to launch Fortnite exclusively on the Samsung
Galaxy Store.826




825
   Google,                                      GOOG-PLAY-001267046.
826
   Webster, Andrew and Chris Welch, “Fortnite for Android is launching today exclusively on recent Samsung Galaxy
device,” August 9, 2018, available at https://www.theverge.com/2018/8/9/17666316/samsung-galaxy-note-9-fortnite-
android-release-unpacked-event-2018.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       252
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 254 of 598




                                                                                 827




                                           828




                                  829


                                                                830
           403.   Specifically,

      



           



           



           404.




827
    Email from Hiroshi Lockheimer, Senior Vice President of Platforms & Ecosystems at Google, to Erin Crosby,
Google, Sameer Samat, VP of Product Management at Google,                           June 12, 2019, GOOG-PLAY-
001877016.C-022C, at 018.C and Email from Jamie Rosenberg, Vice President of Strategy and Operations (Platforms
and Ecosystems Division) at Google, to Erin Crosby, Google, Sameer Samat, VP of Product Management at Google
                       June 11, 2019, GOOG-PLAY-001877016.C-022.C, at 020.C
828
    Google, “Play Monthly,” March 2019, GOOG-PLAY-004508753.R-851.R, at 765.R.
829
    Rosenberg (Google) Deposition, pp. 99-100.
830
    Google,                                                                                    April 26, 2019,
GOOG-PLAY-007246367-395, at 395.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                      253
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 255 of 598




                                                                                        832


         405.




                                                                                      837




831
    Google                                                                                     April 26, 2019,
GOOG-PLAY-007246367-395, at 392.
832
    Email from Jay Kim, Samsung, to Jim Kolotouros, Vice President, Android Platform Partnerships at Google,
Christopher Li, Director and Head of Product Growth at Google, Seung Song, Samsung,
June 20, 2019, GOOG-PLAY4-004259429

833
    Email from Jay Kim, Samsung, to Jim Kolotouros, Vice President, Android Platform Partnerships at Google,
Christopher Li, Director and Head of Product Growth at Google, Seung Song, Samsung,
June 20, 2019, GOOG-PLAY4-004259429 and Google,                                                        June 20,
2019, GOOG-PLAY4-004259430(attachment).
834
    Google,                                                June 20, 2019, GOOG-PLAY4-004259430; Kolotouros
(Google) Deposition, p. 470
              ; and Rosenberg (Google) Deposition, p. 118

835
    Google, “                                             ” June 20, 2019, GOOG-PLAY4-004259430, at 430.
836
    Google, “                                            ,” June 20, 2019, GOOG-PLAY4-004259430, at 431.
837
    Google, “                                             ” June 20, 2019, GOOG-PLAY4-004259430, at 432.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        254
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 256 of 598




        406.


                                             839


        407.




             .842

                          c)       Google Restricted Competition from Third-Party App Stores Through
                                   Mobile App Distribution Agreements with OEMs
        408.




838
  Kolotouros (Google) Deposition, p. 383.
839
  Email from Jamie Rosenberg, Vice President of Strategy and Operations (Platforms and Ecosystems Division) at
Google, to Google Personnel,                                ” July 11, 2019, GOOG-PLAY-003720093 and see
GOOG-PLAY-001059135 (
                                                                          ; and Google, “Samsung Update,” July,
2019, GOOG-PLAY-001183163.R-188.R, at 166.R

840
    Rosenberg (Google) Deposition, p. 125.
841
    Google and Samsung,                            July 1, 2020, GOOG-PLAY-003604372-410, at 372.
842
    Porat (Google ) Deposition, p. 169



            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          255
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 257 of 598




                  (1)




                               Exhibit 61




   NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                 256
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 258 of 598



Sources:
1.                                                              November 1, 2009, GOOG-PLAY-001477713-726, at
     717;                                           October 1, 2009, GOOG-PLAY-000621075-084, at 078.
                                                              . See, e.g.,
     June 1, 2009, GOOG-PLAY-001745969-981, at 978.
2.                                                            ” January 1, 2012, GOOG-PLAY-000617360-371, at
     363 and 361;                                           January 1, 2011, GOOG-PLAY-000857382-393, at 385-
     386 and 383                                         January 1, 2011, GOOG-PLAY-000621085-096, at 086 and
     088; and                                         December 1, 2011, GOOG-PLAY-000416789-800, at 790 and
     792.                                                                                              “MADA
     (Android),” July 1, 2012, GOOG-PLAY-001089608-619, at 611 and 609.
3.                                         “MADA,” March 1, 2014, GOOG-PLAY-000617555-576, at 557-558 and
     561-562;                   “MADA,” March 1, 2014, GOOG-PLAY-000617577-592, at 578-579 and 582;
                   “MADA,” May 1, 2016, GOOG-PLAY-007981395-410, at 396-397 and 400;
     “MADA,” July 1, 2013, GOOG-PLAY-000617505-521, at 506-507 and 510;
     November 1, 2014, GOOG-PLAY-000617749-766, at 750-751 and 755
                                                   April 1, 2014, GOOG-PLAY-000416327-341, at 328-329 and 331-
     332;                                   April 1, 2015, GOOG-PLAY-000416373-392, at 374-375 and 380; and
                                                               February 1, 2015, GOOG-PLAY-000617778-797, at
     780-781 and 785-786.
4.                                                    October 1, 2017, GOOG-PLAY-000618885-910, at 887 and 893-
     894;                                     August 1, 2017, GOOG-PLAY-000618863-884, at 865 and 871;
                           November 1, 2017, GOOG-PLAY-009640439-467, at 442 and 450;
                July 1, 2017, GOOG-PLAY-000618559-581, at 561-562 and 567-568;
     July 1, 2017, GOOG-PLAY-000618749-771, at 752 and 758;                                   July 1, 2017, GOOG-
     PLAY-000618341-363, at 344 and 350;                                     August 1, 2017, GOOG-PLAY-
     000416477-497, at 479 and 485;                                September 1, 2017, GOOG-PLAY-000416454-476,
     at 456-457 and 462-463.
                         October 1, 2017, GOOG-PLAY2-000456929-966, at 933 and 942.
            410.




              NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       257
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 259 of 598
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 260 of 598




                                                                                        847


         413.     Google admitted in its submission to the European Commission in connection with
its investigation of Android that “[p]re-loading these apps and placing Search on the home screen is
unquestionably valuable to Google.” 848




                          850


         414.



                                                                                         851




846
    Email from Ben Serridge, Director of Product Management at Google, to Jonathan Zepp, Google,
      June 06, 2019, GOOG-PLAY-006355073-074, at 073.
847
    Email from Vitor Baccetti, Google, to Andy Abramson, Google,
                                       October 20, 2016, GOOG-PLAY-007932523-525, at 523.
848
    EC Decision ¶ 780(1) and ¶ 789(1) (admission by Nokia that “being prominently visible on a smartphone’s home
screen or near to the home screen inevitably increases the likelihood of consumers trying out the app.”); and ¶ 789(5)
(data from Yandex, a competitor to Google Search and member of the “One Platform Foundation” of third-party app
stores showing that its market share jumped when its search icon was placed on the home screen with default
permissions as compared to placement on a screen one swipe away).
849
    Google,                                 March 17, 2016, GOOG-PLAY-004494298.R-325.R, at 307.R.
850

851
                                            October 1, 2017, GOOG-PLAY-000618885-910, at 895;
                        August 1, 2017, GOOG-PLAY-000618863-884, at 873; and
November 1, 2017, GOOG-PLAY-009640439-467, at 452.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          259
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 261 of 598




                                    (2)        Google’s bundling of GMS apps with the Google Play Store
           415.



                              852


                                                                                                       . 853




852
      Brady (Google) Deposition, pp. 201-202


                                          ; Li (Google) Deposition, p. 194

                              Email from Patrick Brady, Vice President of Engineering for Android's Automotive
Efforts at Google, to Doug Yeum, Google,                                         April 27, 2010, GOOG-PLAY4-
000341393-394, at 393
                                                                                                          and
Email from Doug Yeum, Google, to Patrick Brady, Vice President of Engineering for Android's Automotive Efforts at
Google,                                       ” April 26, 2010, GOOG-PLAY4-000341393-394, at 393.
853
    Google, “GOOG-PLAY-006334343-GOOG-PLAY-006334343-GOOG-PLAY-006334343_HIGHLY
CONFIDENTIAL - ATTORNEYS' EYES ONLY.xlsx,” GOOG-PLAY-006334343, Sheet =




               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           260
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 262 of 598




                                              Exhibit 63




Notes:
1.


2.

Sources:
1.                                                                                      November 1,
     2009, GOOG-PLAY-001477713-726, § 1.10;
                                                       June 1, 2009, GOOG-PLAY-001745969-981, Exhibit A;
     and                                                                                  October 1,
     2009, GOOG-PLAY-000621075-084, § 1.10.
2.                                                                                   March 1, 2014,
     GOOG-PLAY-000617555-576, § 1.1(m);
                      March 1, 2014, GOOG-PLAY-000617577-592, § 1.1(m);
                                                        May 1, 2014, GOOG-PLAY-007981395-410, §
     1.1(m);                                                                               March 1,
     2014, GOOG-PLAY-000617505-521, § 1.1(m);
                                  November 1, 2014, GOOG-PLAY-000617749-766, § 1.1(m); Google and


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                 261
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 263 of 598



                                                                                            April 1, 2014, GOOG-
       PLAY-000416327-341, § 1.1(m);
                                    April 1, 2015, GOOG-PLAY-000416373-392, § 1.1(m); and
                                                                                      February 1, 2015,
       GOOG-PLAY-000617778-797, § 1.1(m).
3.                                 December 7, 2020, GOOG-PLAY-006334343,
       see also



           416.
                                                                   854

                                                                                                855


           417.




           418.     OEMs also need to pre-load GMS in order ensure that many third-party apps will
work. For example, the Google Play Services API Fused Location Provider allows developers to
choose the level of precision desired to determine device location: “For example, you can request
the most accurate data available, or the best accuracy possible with no additional power
consumption.” 856 Google states that the work to determine location with a given level of precision




854
      Brady (Google) Deposition, p. 45




855
    Email from Patrick Brady, Vice President of Engineering for Android's Automotive Efforts at Google, to Wireless
Biz,                                                                             October 13, 2008, GOOG-PLAY-
008471716, at 717.
856
    Google, “Simple, battery-efficient location API for Android,” available at https://developers.google.com/location-
context/fused-location-provider.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          262
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 264 of 598




is “challenging” without Fused Location Provider, as this API “removes the guesswork by
automatically changing the appropriate system settings.” 857



                                    858


         419.     Google engineered OEMs’ reliance on GMS. Before the original open-source
Android was released, Google marketed it as including a host of open-source apps, including text
and instant messaging, a browser, and an email app, as depicted in Exhibit 64 below.




857
    Google, “Simple, battery-efficient location API for Android,” available at https://developers.google.com/location-
context/fused-location-provider.
858
    PX647                                                           May 2019, GOOG-PLAY-000128863.R-908.R, at
876.R
                       and Kolotouros Deposition, p. 448




            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          263
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 265 of 598




                                            Exhibit 64
                        Google Marketing of Android Apps as Open Source 859




Source: Brady, Patrick, “Android Anatomy and Physiology,” Google, available at
https://sites.google.com/site/io/anatomy--physiology-of-an-android.
        420.     Over time, however, Google stopped updating or removed functionality from open-
source Android apps.




                                                 861




859
  Brady, Patrick, “Android Anatomy and Physiology,” Google, available at https://sites.google.com/site/io/anatomy--
physiology-of-an-android and Brady (Google) Deposition, p. 321


860
    Email from Dave Burke, Google, to Hiroshi Lockheimer, Senior Vice President of Platforms & Ecosystems at
Google,                      October 19, 2011, GOOG-PLAY4-000821936-940, at 938.
861
    Email from Dan Morrill, Google, to Hiroshi Lockheimer, Senior Vice President of Platforms & Ecosystems at
Google,                      October 19, 2011, GOOG-PLAY4-000821936-940, at 937-38.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        264
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 266 of 598




        421.     Google released the Chrome browser for Android in February 2012. 862




                                                                                                864


        422.




862
    Swift, Mike, “Google launches Chrome browser for Android smartphones,” Phys.Org, February 9, 2012, available at
https://phys.org/news/2012-02-google-chrome-browser-android-smartphones html.
863
    Email from Andy Rubin, Former Google VP and Android Founder, to Patrick Brady, Vice President of Engineering
for Android's Automotive Efforts at Google,                                  April 18, 2012, GOOG-PLAY-
001449657 and Brady (Google) Deposition, pp. 322-326.
864
    Brady (Google) Deposition, pp. 327-328
                              and Email from Patrick Brady, Vice President of Engineering for Android's Automotive
Efforts at Google, to Srikanth Rajagopalan, Google,                                 June 18, 2012, GOOG-PLAY-
001460686-692, at 686

865
   Email from Jon Larimer, Google, to Patrick Brady, Vice President of Engineering for Android's Automotive Efforts
at Google, Selim Gurun, Google,                                                   ,” January 23, 2014, GOOG-
PLAY4-001703880-885, at 884
                                                                                                     nd Brady
(Google) Deposition, p. 330

866
    Email from Hiroshi Lockheimer, Senior Vice President of Platforms & Ecosystems at Google, to Patrick Brady, Vice
President of Engineering for Android's Automotive Efforts at Google, Selim Gurun, Google,
                           January 23, 2014, GOOG-PLAY4-001703880-885, at 881.
867
    Brady (Google) Deposition, p. 346



            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        265
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 267 of 598
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 268 of 598



Source: Patel, Rakesh,                                                           Google, February 25, 2015,
GOOG-PLAY-002546242-279, at 247.


                         .870

           423.




           424.




            872
                  Thus, using data from IDC, I calculate that, for 2020-2021, 96.15% of Android




870
    Email from Junichi Monma, Google, to Madan Ankapura, Google, Jon Gold, Finance Manager for Android at
Google, Sagar Kamdar, Google,                                                             January 24, 2017,
GOOG-PLAY-008727310
871
    See, e.g., Google, “Android 101,” May 2019, GOOG-PLAY-000128863.R-908.R, at 876.R
                                                                                                       See also
Kolotouros Deposition, p. 448


872
      Kolotouros (Google) Deposition, p. 93




                  NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                      267
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 269 of 598




smartphone devices worldwide (excluding China) and 99.97% in the United States are sold by
OEMs with a MADA. 873 Therefore, it is my opinion that the MADAs created barriers to entry for
third-party app stores and enhanced and entrenched Google’s market power in Android App
Distribution.

                  2.      Google Restricted Competition from Third-Party App Stores Through
                          Technological Barriers Aimed at Deterring Sideloading

           425.    The final means by which a competing app store might reach users is direct
downloading from the web, i.e., sideloading, explained in Section III.C.2 above.



                                      874
                                            These restrictions increase the friction users experience in trying
to install a new app store, which in turn causes users to abandon the attempt. These warnings are
effective: Google data shows that sideloading accounts for only 4% of Android app installations
(see Section III.C.2).

           426.
                                                                                                875




873
      See Rysman Workpapers.
874




                                                                September 3, 2019, GOOG-PLAY-001181435-503, at
453
                                                                                             As Dr. Mickens explains in
his report, the practical consequence of locking OEMS into a particular, Google-proprietary version of AOSP (open-
source) middleware is that neither the moments at which installation friction is generated nor the prompts shown during
those moments can be changed from their AOSP defaults. See Mickens Report at ¶ 166 & Figures 22 to 24.
875
    Google,                                      July 19, 2018, GOOG-PLAY-007278690-740, at 694.


              NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          268
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 270 of 598




                                                              876


        427.
                                                                                    877




876
  See, e.g., Cunningham, Edward,                                     Google, February 1, 2021, GOOG-PLAY-
004903945-947
                                                                                (see Cunningham (Google)
Deposition, pp. 164-166),

                             See note 134 supra.
877
   Rolefson, Dave, Ben Byon, Adrienne McCallister, and David Noam,                           Google, March
17, 2016, GOOG-PLAY-04494298.R-325.R, at 318.R-320.R.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                     269
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 271 of 598




   NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                 270
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 272 of 598




       428.    I understand that James W. Mickens, the Gordon McKay Professor of Computer
Science at Harvard University, a co-director of Harvard’s Berkman-Klein Center for Internet and
Society and a co-director of Harvard’s Institute for Rebooting Social Media, who has been retained
as an expert by Epic Games, the Plaintiff States, and the Match Group Plaintiffs ran tests as part of
his engagement in this matter to identify the steps Android must currently follow to download a




          NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                 271
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 273 of 598




third-party app store. In Figure 23 of his report, as depicted below, he sets forth those steps using an
attempt to download competing app store Aptoide as an example: 878




         429.     In Figure 22 of his report, as depicted below, Dr. Mickens sets out the steps Android
users must currently follow to download an app from a competing app store (after the user has
installed the app store on their device):879




878
    Mickens Report, p. 66 (describing Figure 23 as an “[e]xample of directly installing the Aptoide app store on a Pixel
4a phone running Android 12”). He notes that “[t]he same prompts and warnings were seen on the rest of the Android
phones that we tested.”
879
    Mickens Report, pp. 65 (describing Figure 22 as an “[e]xample of installing an app via the Aptoide third-party app
store” using “a Google Pixel 4a phone running Android 12”).


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           272
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 274 of 598




       430.    Dr. Mickens describes the steps as follows: 880

       In the leftmost screen, the user has located the app to install via the Aptoide app. In this
       particular example, the user wants to install the Minecraft app. When the user confirms the
       desire to install the app by clicking on the “Install” button, Android asks the user whether
       she wants to allow the app store to download the app’s APK file. Android then asks the user
       whether she allows the app store to access her phone’s “photos, media, and files.” Next,
       Android informs the user that “For your security, your phone is not allowed to install
       unknown apps from this source. You can change this in Settings.” If the user clicks on the
       “Settings” button in that dialog box, the user then has the option to enable app installation
       via the Aptoide store. If the user selects that option, Android shows another prompt which
       asks the user whether she wants to install the application. If the user clicks “Install,”
       Android returns the user to the “Settings” screen. The user must then manually navigate
       away from this screen and back to the Aptoide app screen. At this point, the user can finally
       launch the installed app. [If a user installs additional apps via Aptoide, the friction screens
       denoted by “*” will no longer be shown during subsequent installs.].

       431.


      881

        882




880
    Mickens Report, p. 65 (alteration in original).
881
    Lim (Google) Deposition, p. 255. See also Mickens Report, ¶ 99.
882
    Google, “AP-PS: Unknown Sources,” September, 2018, GOOG-PLAY-000219435.R-475.R, at 457.R




            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                  273
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 275 of 598




           432.      Google’s security warnings and technological hurdles have made it more difficult to
obtain even popular apps from well-known developers.




                                                                               888
                                                                                     Similarly, in summer 2018,
after Google began flagging competing app store Aptoide as “a harmful app, hiding it in users’
Android devices and requesting them to uninstall it,”889 Android users that attempted to download
Aptoide received a warning message from Google that the download was “unsafe” and “can




883
      Google,                           March 24, 2020, GOOG-PLAY-004904016.R-118.R, at 038.R



                GOOG-PLAY-000415076-078, at 076

884
    Lim (Google) Deposition, p. 255.
885
    Lim (Google) Deposition, p. 258-59.
886
    Kolotouros (Google) Deposition, p. 99
                                                                                     .
887
    GOOG-PLAY-000219435.R, at 438.R.
888
    Rolefson, Dave, Ben Byon, Adrienne McCallister, and David Noam,                                        Google, March
17, 2016, GOOG-PLAY-04494298.R-325.R, at 317.R.
889
    Lomas, Natasha, “Aptoide, a Play Store rival, cries antitrust foul over Google hiding its app,” Techcrunch, June 4,
2019, available at https://techcrunch.com/2019/06/04/aptoide-a-play-store-rival-cries-antitrust-foul-over-google-hiding-
its-app/.


                NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          274
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 276 of 598




download potentially harmful apps.”890 Aptoide estimates it lost 15-20% of its user base in the year
following Google’s action.891



                                                                                        893


            433.     A survey conducted by Dr. Stanley Presser in this matter confirms my conclusion
that Google’s security warnings have foreclosed competition from sideloading by making it less
likely that users will sideload apps or app stores. I understand that, at the request of counsel for the
Plaintiff States and the Consumer Class, Dr. Presser designed a survey that was designed in part to
estimate “the reaction of U.S. Android phone users to a warning message that may be displayed
when the user attempts a download from a website or an app store that is not preloaded on the user’s
phone.”894 The relevant part of Dr. Presser’s questionnaire told respondents, “Here is a message that
might appear on the phone you now use if you try to download an app from somewhere other than
the Play Store,” and this warning message was displayed:




890
    Lomas, Natasha, “Aptoide, a Play Store rival, cries antitrust foul over Google hiding its app,” Techcrunch, June 4,
2019, available at https://techcrunch.com/2019/06/04/aptoide-a-play-store-rival-cries-antitrust-foul-over-google-hiding-
its-app/.
891
    Lomas, Natasha, “Aptoide, a Play Store rival, cries antitrust foul over Google hiding its app,” Techcrunch, June 4,
2019, available at https://techcrunch.com/2019/06/04/aptoide-a-play-store-rival-cries-antitrust-foul-over-google-hiding-
its-app/.
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      Presser Report, p. 2.


                NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          275
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 277 of 598




       Allow from this
       source
       Your phone and personal data are
       more vulnerable to attack by unknown
       apps. By installing apps from this
       source you agree that you are
       responsible for any damage to your
       phone or loss of data that may result
       from their use.



Half of the respondents, randomly selected, were then asked, “If you saw this message on your
phone, would you feel it was … safe to download the app or it was not safe to download the app?”
while the other half were asked “If you saw this message on your phone, would you feel it was …
not safe to download the app or it was safe to download the app?” Respondents were also asked,
“Would this message make you less likely to download the app?” According to Dr. Presser’s report,
“[m]ost respondents said that they would feel the app was not safe to download [82% (+/- 6%) and
86% (+/- 5%) in the two different orderings of the response options]. Likewise, most said they
would be less likely to download it [84% (+/- 4%)].” 895

            434.     Economic literature on user friction also confirms that Google’s efforts would
decrease the number of users who sideload apps. Consumers are unlikely to have perfect
information about whether sideloading is dangerous or not and are likely to take messages (security
warnings) from Google seriously. The economics literature supports that consumers are responsive
to information provided by sellers and that consumers would consume more of a good (or demand




895
      Presser Report, p. 9.


                NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                      276
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 278 of 598




would increase) if they believe the good is of high quality (and consume less if they believe the
good is of low quality).896

        435.
                                             897
                                                   enabled.


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        436.




896
    Saeedi, Maryam, “Reputation and adverse selection: theory and evidence from eBay,” RAND Journal of Economics,
Vol. 50, No. 4, 2019, pp. 822-853, at 838; Kamenica, Emir and Matthew Gentzkow, “Bayesian Persuasion,” American
Economic Review, Vol. 101, No. 6, 2011, pp. 2590-2615, at 2606-2608. Further, evidence from the computer science
literature based on experimental and field data suggest that mobile users experiencing security warnings “led to
significantly higher perceived threat to personal information, more negative attitudes toward the mobile service and a
lower tendency for future use.” See Zhang, Bo, et al., “Effects of Security Warnings and Instant Gratification Cues on
Attitudes toward Mobile Websites,” CHI '14: Proceedings of the SIGCHI Conference on Human Factors in Computing
Systems, 2014, pp. 111-114, at p. 114. Similarly, less than a quarter of Mozilla Firefox and Google Chrome users chose
to ignore their “browser’s malware and phishing warnings.” See Akhawe, Devdatta, and Adrienne Porter Felt, “Alice in
Warningland: A Large-Scale Field Study of Browser Security Warning Effectiveness,” Usenix Security Symposium,
2013, pp. 257-272, at p. 270.
897

                      See Kleidermacher (Google) Deposition, p. 54.
See Kleidermacher (Google) Deposition, pp. 57-60.
                                                             See Porst (Google) Deposition, pp. 46-47.
898
    See supra footnote 78.
899
    Google,                        GOOG-PLAY-000415076-078, at 076-077.
900
    Porst (Google) Deposition, pp.36-38 and 157 and 159.
901
    Porst (Google) Deposition, p. 40.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         277
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 279 of 598




           437.     Thus, by erecting technological hurdles, which reduce the likelihood that consumers
will sideload apps, Google has foreclosed competing app stores and developers from nearly all
distribution through sideloading.

                    3.       Google Restricted Competition by Paying Developers for Parity Terms

           438.     I showed above how Google’s conduct foreclosed competitors from entry and
expansion in the three key distribution channels by which app stores can reach Android users: the
Google Play Store, preloading, and sideloading. I now show that Google also sought to cut off rival
app stores’ access to apps from high-value developers, which, in turn, cut off their access to high-
value consumers, by offering incentive payments to developers. Again, as noted above, if a rival is




902
      Porst (Google) Deposition, p. 42



903
    Porst (Google) Deposition, pp.43-45 and 51.
904
    Porst (Google) Deposition, p. 45
905
    Porst (Google) Deposition, pp. 52-53.
906
    Porst (Google) Deposition, pp. 45-46.
907
    Porst (Google) Deposition, pp. 45-46.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                     278
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 280 of 598




foreclosed from a share of developers, then fewer developers would attract fewer consumers, and
then fewer consumers would attract fewer developers, etc., thereby magnifying the effect of
foreclosure due to indirect network effects.

        439.      Google’s exploration of incentive payments to developers came in response to the
competitive threat posed by Epic Games and Samsung. In August 2018, Epic announced it would
not make Fortnite available on the Google Play Store but instead would distribute to users through
the official Fortnite website.908 According to Epic Games founder Tim Sweeney, there were two
primary motivations for forgoing the Google Play Store in favor of direct distribution: (1) Epic
wished to maintain a direct relationship with consumers; and (2) Epic believed Google’s 30%
commission was “disproportionate to the cost of the services these stores perform, such as payment
processing, download bandwidth, and customer service.” 909 In December 2018, Epic announced it
would launch the Epic Games Store and Fortnite on PC and Mac, starting with a “hand-curated set
of games,” and then open up to “other games and to Android and other open platforms throughout
2019.”910


            911


        440.      Subsequently, in December 2019, Epic announced it “intended to launch Fortnite on
the Google Play Store, but with the request that Epic be exempt from Google's policy of taking 30%
of all in-app purchases.”912 Google rejected those terms, stating: “We welcome any developer that




908
    Statt, Nick, “Fortnite for Android will ditch Google Play Store for Epic’s website,” The Verge, available at
https://www.theverge.com/2018/8/3/17645982/epic-games-fortnite-android-version-bypass-google-play-store.
909
    Statt, Nick, “Fortnite for Android will ditch Google Play Store for Epic’s website,” The Verge, available at
https://www.theverge.com/2018/8/3/17645982/epic-games-fortnite-android-version-bypass-google-play-store.
910
    Sweeney, Tim, “Announcing the Epic Games store,” Epic Games, December 4, 2018, available at
https://www.unrealengine.com/en-US/blog/announcing-the-epic-games-store.
911
                                  September 2018, GOOG-PLAY-000542827.R-852.R, at 828.R. See also Google,
                               December 2020, GOOG-PLAY-004146689.R-757.R, at 692.R and Email from Purnima
Kochikar, Director of Apps and Games at Google Play, to Erin Crosby, Google, Sameer Samat, VP of Product
Management at Google, “                           ” June 12, 2019, GOOG-PLAY-001877016.C-022.C, at 019.C.
912
    Morris, Seren, “‘Fortnite’ Rejected From the Google Play Store, How Can You Play ‘Fortnite’ on Android
Devices?” Newsweek, December 12, 2019, available at https://www.newsweek.com/fortnite-google-play-store-rejected-
android-devices-1476910.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                      279
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 281 of 598




recognizes the value of Google Play and expect them to participate under the same terms as other
developers.”913 Epic clarified its stance, stating “Epic doesn’t seek a special exception for ourselves;
rather we expect to see a general change to smartphone industry practices in this regard.” 914
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        441.




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        442.


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913
    Statt, Nick, “Google says it won’t grant Fortnite and exemption to the Play Store’s 30 percent cut,” The Verge,
December 9, 2019, available at https://www.theverge.com/2019/12/9/21003553/google-play-store-fortnite-epic-games-
30-percent-cut-dispute.
914
    Statt, Nick, “Google says it won’t grant Fortnite an exemption to the Play Store’s 30 percent cut,” The Verge,
December 9, 2019, available at https://www.theverge.com/2019/12/9/21003553/google-play-store-fortnite-epic-games-
30-percent-cut-dispute.
915
    Google,                                      July 19, 2018, GOOG-PLAY-007278690-740, at 691. See also,
Rosenberg (Google) Deposition, p. 318.
916
    Google,                               January 9, 2018, GOOG-PLAY-004509271-273, at 272




                                                                                               . See also Vu, Linda,
Brian Brazinski, Josh O’Connor, Shafiq Ahmed,                                           Google, February, 2018,
GOOG-PLAY-000005203.R-312.R, at 208.R

917
    Marchak, Mike,                                             ” Google, June, 2019, GOOG-PLAY-003938581.R-
614.R, at 582.R. See also, Marchak (Google) Deposition, pp. 105-106 and 117-119.
918
    Google,                                  July 19, 2018, GOOG-PLAY-007278690-740, at 691 and 694.
919
    See ¶¶ 402-407, supra                                                                           GOOG-
PLAY-004502766.R-771.R, at 769.R.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        280
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 282 of 598




           443.




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920
   Email from Samir Sayigh, Google, to Lei Zhang, Google, Mike Marchak, Director of Play Partnerships, Strategy and
Operations, at Google,                                         October 9, 2018, GOOG-PLAY-004595170-172, at
170-171; Google, GOOG-PLAY-000237792-797, at 792-793 and 795 and 797; Marchak (Google) Deposition, pp. 70-
72 and 257-258. See also Google,                           December, 2020, GOOG-PLAY-004146689.R-757.R, at
692.R-695.R and 709.R-713.R; Marchak (Google) Deposition, pp. 380-382




921
  Google,                           GOOG-PLAY-004502766.R-771.R, at 769.R.
922
  Email from Lawrence Koh, Former Director and Global Head of Games Business Development at Google, to George
Yousling, Google,                                             February 13, 2020, GOOG-PLAY-000928690-692, at
691. See also Koh (EA (formerly Google)) Deposition, p. 299 (


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923
      Google,                      GOOG-PLAY-000464148-153, at 151.


                NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       281
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 283 of 598



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924
   Google,                               August 19, 2020, GOOG-PLAY-003335786.R-823.R, at 796.R.
925
   Email from Paul Gennai, Product Management Director at Google, to Samer Sayigh, Google, Shafiq Ahmed,
Onetime Play Finance Director at Google,                              ” GOOG-PLAY4-004529823-825, at 824. See
also Koh (EA (formerly Google)) Deposition, p. 141



                                                  and p. 177



926
    Google,                            December, 2020, GOOG-PLAY-004146689.R-757.R, at 694.R. See also
Marchak (Google) Deposition, January 13, 2022, pp. 379-381; Email from Purnima Kochikar, Director of Apps and
Games at Google Play, to Erin Crosby, Google, Jim Kolotouros, Vice President, Android Platform Partnerships at
Google,                        June 12, 2019, GOOG-PLAY-001877016.C-022.C, at 019.C.
927
    Google,                            December, 2020, GOOG-PLAY-004146689.R-757.R, at 693.R. See also
Email from Mike Herring, Google, to Ruth Porat, CFO at Google,
April 8, 2019, GOOG-PLAY-000000807-815, at 808 and 810; Marchak (Google) Deposition, January 13, 2022, pp.
379-381; and Koh (Google) Deposition, pp. 362-363




            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       282
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 284 of 598




         446.     In a highly competitive market, most-favored-nations clauses in contracts may be
beneficial, by reducing transaction or information costs.928 However, in a market dominated by a
single, entrenched firm that benefits from network effects, most favored nations clauses can be
anticompetitive.929 That is because to challenge such a firm, potential rivals must gain scale; and to
gain scale they must attract customers away from the entrenched firm. In this market, a rival app
store might attract users by giving developers lower commissions in exchange for exclusive content,
features or functionality. Google has closed off this possibility, however, by paying developers in
advance not to do it via parity clauses.

         447.     The exact benefits Google offered to each developer in the Games Velocity Program
are custom and set forth in their specific addenda to the DDA. But the specific provisions at issue
were common to all agreements.



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928
    Baker, Jonathan and Judith A. Chevalier, “The Competitive Consequences of Most-Favored-Nation Provisions,”
Antitrust, Vol. 27, No. 2, 2013, pp. 20-26, at p. 22 (“A frequently cited motivation for [most-favored-nations clauses] is
to reduce transaction and negotiation costs.”) and Salop, Steven C. and Fiona Scott Morton, “Developing an
Administrable MFN Enforcement Policy,” Antitrust, Vol. 27, No. 2, 2013, pp. 15-19, at p. 18 (listing market conditions
under which most-favored-nations clauses “are less likely to raise antitrust concerns,” including “smaller sellers that
lack market power,” “[u]nconcentrated markets,” or “input with close substitutes”).
929
    Salop, Steven C. and Fiona Scott Morton, “Developing an Administrable MFN Enforcement Policy,” Antitrust, Vol.
27, No. 2, 2013, pp. 15-19, at p. 18 (stating that most-favored-nations clauses “are more likely to raise antitrust
concerns” if they are “[p]rovided by large sellers with market power.”) and Baker, Jonathan and Fiona Scott Morton,
“Antitrust Enforcement Against Platform MFNs,” The Yale Law Journal, Vol. 127, No. 8, 2018, pp. 2176-2202, at p.
2195 (“The adoption of platform MFNs is likely to harm competition through exclusion-absent efficiencies, because
scale economies in platform operation typically create oligopoly markets that do not perform competitively. Platforms
often benefit from strong scale economies in demand (network effects). They may also benefit from scale economies in
supply. Exclusionary conduct that prevents a new entrant from gaining a toehold is particularly problematic when the
market is likely to be concentrated”).
930
    Google and Activision,
                            January 25, 2020, GOOG-PLAY-007273439-444, at
                                                                                                                December
2, 2019, GOOG-PLAY-007335447-450, at
                                                                               February 28, 2020, GOOG-PLAY-




            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           283
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 285 of 598




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        448.



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007273267-272, at

            March 4, 2020, GOOG-PLAY-010662251-255, at

                                            August 28, 2019, GOOG-PLAY-007273051-054, at §

                                October 28, 2019, GOOG-PLAY-007273160-164, at §

March 31, 2020, GOOG-PLAY-007273309-313,

                                July 24, 2020, GOOG-PLAY-007335476-481, at


November 5, 2019, GOOG-PLAY-007273168-172, at

                       November 6, 2019, GOOG-PLAY-007273234-238, at
                                                                                                  July 29,
2020, GOOG-PLAY-007273358-362, a
                                             ” October 29, 2019, GOOG-PLAY-010661066-069, at

                                     December 18, 2020, GOOG-PLAY-007335585-595, at

            March 10, 2020, GOOG-PLAY-007847579-583, at
                                                                                          January 19, 2021,
GOOG-PLAY-007335471-475, at

            January 8, 2020, GOOG-PLAY-007273404-408, at

931
    Id. at §
932
    Google,                                  November 2017, GOOG-PLAY-000304837.R-892.R, at 840.R.
933
    Email from Junichi Monma, Google, to Marko Medenica, Google, Takeshi Kishimoto, Google,
                         April 12, 2017, GOOG-PLAY-003467770-773, at 772.


           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                    284
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 286 of 598



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934
    Google,                                                GOOG-PLAY4-007226588-592, at 591.
935
    Email from Yoshitsuga Hirotaka, Google, to Jamie Rosenberg, Vice President of Strategy and Operations (Platforms
and Ecosystems Division) at Google,                                   May 15, 2017, GOOG-PLAY-000084963-964,
at 964.
936
    Email from Junichi Monma, Google, to Marko Medenica, Google, Takeshi Kishimoto, Google,
                          April 12, 2017, GOOG-PLAY-003467770-773, at 770.
937
    Email from Junichi Monma, Google, to Marko Medenica, Google, Takeshi Kishimoto, Google,
                          April 12, 2017, GOOG-PLAY-003467770-773, at 771.
938
    Google and Mixi Inc.,
             November 21, 2019, GOOG-PLAY-007273259-262, at 260.
939
    Google,                                                                 February 19, 2020, GOOG-PLAY-
007172256.R-266.R, at 256.R.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        285
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 287 of 598



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  Google,                                                                 February 19, 2020, GOOG-PLAY-
007172256.R-266.R, at 256.R, 259.R. See also,
                                                March 24, 2021, GOOG-PLAY-009214167-177, at 168-171;

June 27, 2021, GOOG-PLAY-011249830-841, at 832-836;
                                                                         July 13, 2021, GOOG-PLAY-011249875-
887, at 876-882; and
                                           December 20, 2021, GOOG-PLAY-011250003-016.
941

             March 24, 2021, GOOG-PLAY-009214167-177;
                                                                         June 27, 2021, GOOG-PLAY-011249830-
841;
                           July 13, 2021, GOOG-PLAY-011249875-887; and
                                                                                         December 20, 2021,
GOOG-PLAY-011250003-016.
942
    Koh (Google) Deposition, p. 286
943
    Email from Lawrence Koh, Former Director and Global Head of Games Business Development at Google, to Google
Personnel,                                                        February 13, 2020, GOOG-PLAY-007035840-
843, at 840. See also Koh (Google) Deposition, pp. 284-292.
944
    Google,                           December 2020, GOOG-PLAY-004146689.R-757.R, at 694.R.
945
                                                                    See Google,
December 2020, GOOG-PLAY-004146689.R-757.R, at 694.R.
946
    Google,                           December 2020, GOOG-PLAY-004146689.R-757.R, at 707.R.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         286
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 288 of 598




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                    4.     Google Has Always Intended to Monopolize the Android App Distribution
                           Market

           453.     The anticompetitive purposes of Google’s conduct have been evident from the
beginning. Google promoted Android to the market as an “open” system that would foster choice
and competition, implying that the best apps and phones—and app stores—would win. Though
Google initially said it never intended to “monetize” Android, it ultimately did.

           454.     If Google had not intended to foreclose competition from competing app stores, it
could have offered competing app stores the option of being available for download through the
Google Play Store. However, Section 4.5 of the DDA—which Google requires developers to accept
as a condition of publishing apps on Google Play—forbids developers from using the Google Play
Store “to distribute or make available any Product that has a purpose that facilitates the distribution
of software applications and games for use on Android devices outside of Google Play.” 948


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           455.
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947
    Koh (Google) Deposition, pp. 367-368.
948
    Google, “Google Play Developer Distribution Agreement,” November 17, 2020, GOOG-PLAY-000053875-878, at
875, available at https://play.google.com/about/developer-distribution-agreement.html.
949
    Google, “Summary of Changes,” GOOG-PLAY-000270597-600

950
                                                          GOOG-PLAY-000054841-848.
951
      Email from Dan Morrill, Google, to Jeffrey Sharkey, Google,
                             May 20, 2009, GOOG-PLAY-004283892-896, at 892.


              NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       287
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 289 of 598
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 290 of 598




apps on Google Play, only for Google to block the app store from publication or remove it. Below I
present two such examples, from the early days of Android.

        457.      Handango. Handango was a third-party app store that distributed apps for early
mobile phone platforms such as Blackberry, Windows Mobile, Palm, 955 and, eventually, Android.
Handango announced its plans to launch an Android app store in the fall of 2008 956.




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                 In 2010, Handango was acquired by the app store company PocketGear, “creating the




955
    Games Industry International, “First Half 2008 Handango Yardstick,” September 23, 2008, available at
https://www.gamesindustry.biz/first-half-2008-handango-yardstick-data-on-the-most-popular-smartphone-apps-with-
games-topping-the-charts.
956
    Ray, Bill, “Handango cashes in on Android,” The Register, October 2, 2008, available at
https://www.theregister.com/2008/10/02/handango_android/.
957
    Email from Dan Morrill, Google, to Meghan Hughes, Google, Hiroshi Lockheimer, Senior Vice President of
Platforms & Ecosystems at Google,
       September 30, 2008, GOOG-PLAY-001382685-689, at 687.
958
    Email from Dan Morrill, Google, to Meghan Hughes, Google, Hiroshi Lockheimer, Senior Vice President of
Platforms & Ecosystems at Google,
       September 30, 2008, GOOG-PLAY-001382685-689, at 687.
959
    Email from Dan Morrill, Google, to David Conway, Google,
                      ” May 19, 2009, GOOG-PLAY-001090916-918, at 916



            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       289
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 291 of 598




world’s largest cross-platform mobile application store.” 960 In 2011, the combined store rebranded
as Appia but then exited the third-party app store business to focus on designing white-label app
stores for carriers and OEMs.961

        459.     Amazon. On September 9, 2014, Amazon launched a version of the Amazon App
that gave consumers “access to Amazon’s digital products and services, including unlimited
streaming of tens of thousands of movies and TV episodes at no additional cost for Prime
members.”962 Amazon explained that “[a]fter updating their existing Amazon App for Android,
customers wishing to stream Prime Instant Video movies and TV episodes can install the Prime
Instant Video players app, which is delivered exclusively via the Amazon Appstore.” 963 Amazon
confirmed this release was also offering “the ability for customers to purchase videos, songs,
audiobooks, apps and games from within the Amazon App” directly.964

        460.
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960
    The app store was cross-platform in the sense that it offered apps “for users of Android, Symbian, BlackBerry,
Windows Mobile, Palm, Linux and Java handsets.” See Meyer, David, “PocketGear buys Handango to create giant app
store,” ZDNET, February 24, 2010, available at https://www.zdnet.com/home-and-office/networking/pocketgear-buys-
handango-to-create-giant-app-store/.
961
    Rao, Leena, “PocketGear Rebrands To Appia; Shifts To White-Label App Marketplace Platform,” TechCrunch,
February 3, 2011, available at https://techcrunch.com/2011/02/03/pocketgear-rebrands-to-appia-shifts-to-white-label-
app-marketplace-platform/.
962
    Amazon, “Prime Instant Video Now Available on Android Phones — Exclusively Via the Amazon Appstore,”
September 9, 2014, available at https://press.aboutamazon.com/news-releases/news-release-details/prime-instant-video-
now-available-android-phones-exclusively.
963
    Amazon, “Prime Instant Video Now Available on Android Phones — Exclusively Via the Amazon Appstore,”
September 9, 2014, available at https://press.aboutamazon.com/news-releases/news-release-details/prime-instant-video-
now-available-android-phones-exclusively.
964
    Perez, Sarah, “Google Removes Amazon’s App Listing from Google Play Search Following Addition of Appstore,
Instant Video Integrations,” TechCrunch, December 11, 2014, available at https://techcrunch.com/2014/12/11/google-
removes-amazons-app-listing-from-google-play-search-following-addition-of-appstore-instant-video-integrations/
(emphasis added).
965
    Email from Atul Kumar, Google, to Sarah Karam, Google, Kevin Wang, Operations Consultant at Google,
                                                                    ” September 9, 2014, GOOG-PLAY4-007215136.R-
39.R, at 38.R.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         290
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 292 of 598



          966
                Approximately two weeks after Amazon’s new app version went live, Google released
the new DDA Section 4.5 language precluding all developers from distributing or making available
“any Product that has a purpose that facilitates the distribution of software applications and games
for use on Android devices outside of Google Play.”967

        461.



                                                                                           969




                       970


        462.
                                                                         971



                  5.         Google Used its Valuable Advertising Programs to Restrict Competition from
                             Rival App Stores

        463.      Google used its valuable advertising campaigns as another means to foreclose
competing app stores, by forcing app developers to distribute through the Google Play Store in
order to use its advertising campaigns to promote their apps. Google’s Universal App Campaigns




966
  Google,                                         ” GOOG-PLAY-004713191-194, at 192.
967
  Google, “Google Play Developer Distribution Agreement,” November 17, 2020, GOOG-PLAY-000053875-878, at
875, available at https://play.google.com/about/developer-distribution-agreement.html
968

                                                                                       November 12, 2014, GOOG-
PLAY-000830885.R-889.R, at 887.R-888.R; see also Google,                                         November 11,
2014, GOOG-PLAY-009580959-962.
969
    Email from Sarah Karam, Google, to Aaron Rova, Google,                                            December
26, 2014, GOOG-PLAY-007135039.
970
    Email from Kevin Wang, Operations Consultant at Google, to Larissa Fontaine, Google,
                     December 13, 2014, GOOG-PLAY-000831600-606, at 600; 9to5 Google, “Google forces
removal of Amazon app from Play Store over hidden app store,” December 11, 2014, available at
https://9to5google.com/2014/12/11/google-amazon-app-store/.
971
    GOOG-PLAY-000469931.


           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                      291
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 293 of 598




allows app developers to “get your app into the hands of more paying users” by “streamlin[ing] the
process” and “making it easy” for developers “to promote your apps across Google’s largest
properties.”972
                           973
                                 Therefore, developers who choose to offer their apps on a competing app
store – and therefore forego offering their apps on the Google Play Store pursuant to the DDA
section 4.5 – cannot access Google’s App Campaigns.

        464.      App Campaigns is a key means to reach potential consumers. 974 Types of Google
App Campaigns include app installs, which “[r]un ads that encourage people to install your app,”
“automates targeting and bidding,” and allows developers to focus ads “on finding valuable users
based on actions [they] care about, like in-app conversions”; app engagement, which “[e]ngage
users who already [the developer’s] app and take[s] them to a targeted landing page”; and app pre-
registration, which “[r]un[s] ads that build excitement and awareness for … apps and games before
they release on Google Play.”975

        465.      Google App Campaigns provide many useful services to app developers and
advertisers. For example, Google App Campaigns streamline the process for app advertisers to
connect with paying users by helping to promote apps across Google properties including Search,
Google Play, YouTube, Discover on Search, AdMob, the Google Display Network, Google’s search
partners, and other publishers who host app ads. 976 Google uses the advertiser’s text ideas, images,
videos, and assets to “design a variety of ads across several formats and networks,” thereby
eliminating the need for the advertiser or developer to create individual ads for App campaigns. 977




972
    See Google, “About App Campaigns,” available at https://support.google.com/google-ads/answer/6247380?hl=en.
973
    Google, “2021.09.10 – Defendants’ Supplemental Responses and Objections to Epic’s Second Set of Interrogatories
(002).pdf,” September 10, 2021, p. 15.
974
    Google, “Find the people who will love your app,” available at https://ads.google.com/home/campaigns/app-ads/.
975
    Google, “About App Campaigns,” available at https://support.google.com/google-ads/answer/6247380?hl=en.
976
    Google, “About App Campaigns,” available at https://support.google.com/google-ads/answer/6247380?hl=en.
977
    Google, “About App Campaigns,” available at https://support.google.com/google-ads/answer/6247380?hl=en (“To
get started, all you need to do is provide some text, a starting bid and budget, and let us know the languages and
locations for your ads. We also strongly recommend that you provide at least one landscape image, one portrait video,
and one landscape video, and where relevant, HTML5 assets. Our systems will test different asset combinations and
serve ads that are performing the best more often, with no extra work needed from you”).


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         292
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 294 of 598




Apps Campaigns allow advertisers to access a record of changes to app campaigns with annotations
on the performance chart to see how those changes might have impacted performance 978 and also
offer free appointments with an Ads expert to provide support in crafting media strategies. 979
Google thus discourages Android App Distribution competition by limiting Google App Campaigns
to developers who offer their Android apps exclusively on the Google Play Store.

        B.       Google’s Anticompetitive Conduct in the Android App Distribution
                 Market Has Allowed it to Impose Supracompetitive Commissions

        466.     Google’s anticompetitive restrictions with regard to Android App Distribution has
allowed it to charge supracompetitive commissions. As explained in Section VI.A.1, with few
exceptions, Google has charged a 30 percent commission for paid apps and in-app digital content
sold through Google Play’s billing system.980 In the following section, I show that the fee would
have been lower under a competitive but-for world in which Google did not monopolize the
Android App Distribution Market. Moreover, I find that fees in the but-for world would be lower in
both the Android App Distribution and In-App Billing Services Markets, as enhanced competition
on the Android App Distribution Market would make any anticompetitive tying arrangement on the
Android In-App Billing Services Market ineffective, thereby allowing for competition in the latter
market as well.




978
    Google, “About App Campaigns,” available at https://support.google.com/google-ads/answer/6247380?hl=en.
979
    Google, “About App Campaigns,” available at https://support.google.com/google-ads/answer/6247380?hl=en and
Google, “Find the people who will love your app,” available at https://ads.google.com/home/campaigns/app-ads/.
980
    Google Play Console Help, Service fees, available at https://support.google.com/googleplay/android-
developer/answer/112622?hl=en&visit_id=637872098045257136-3276584470&rd=1. There are a few exceptions: (i)
starting July 1, 2021, the service fee “for each developer will be 15% for the first $1M (USD) of earnings you make
each year when you sell digital goods or services;” (ii) for automatically renewed subscriptions the service fee is 15
percent; (iii) “As of December 18, 2021, for developers who offer an alternative in-app billing system in addition to
Google Play’s billing system for transactions with users in South Korea… the service fee for such transactions using the
Additional Billing System is equal to the service fee applicable for transactions via Google Play’s billing system
reduced by 4%.” See also Google Play Console Help, Changes to Google Play’s service fee in 2021, available at
https://support.google.com/googleplay/android-developer/answer/10632485.


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          293
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 295 of 598




                 1.       Google Has Charged Commissions Substantially Above Its Marginal Costs
                          and Has Offered Lower Rates on Several Occasions

        467.


                                                                                          981
                                                                                                All of these facts
indicate that Google has charged a supracompetitive commission that is substantially above
marginal costs.

        468.


                                                                                                          . 982




981



                                                                                 GOOG-PLAY-007819776-064, at
861; Cramer (Google) Deposition, pp. 392-393. See also Marchak (Google) Deposition, pp. 98-102, and associated
exhibit (Email from Rashad Sharif, Google, to Felix Hu, Google, Mike Marchak, Director of Play Partnerships, Strategy
and Operations, at Google,                           April 22, 2019, GOOG-PLAY-000934740-742, at 740)

                                                                                                           See also,
Email from Justin Mattson, Senior Software Engineer at Google, to Dan Morrill, Google, and Eric Chu, Google,
                                                                                                     December 17,
2009, GOOG-PLAY-001677481-484, at 481

982
   See, e.g., “Defendant Google’s Answers and Objections to Developer Plaintiff’s First Set of Interrogatories,” United
States of America, Google Play Store Developer Antitrust Litigation, Case No. 3:20-cv-05792-JD, July 6, 2021, at pp.
13-16. See also Google,
GOOG-PLAY-006409808-820; Google,                                                                       GOOG-PLAY-
003896481-482; and Google,                                                       July 20, 2020, GOOG-PLAY-
003330554-558.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          294
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 296 of 598




Since many of these programs pertain to commissions for in-app content, I discuss these programs
further in Section VIII.B below.

        469.     The evidence above indicates Google’s ability and willingness to substantially
decrease commissions in the face of the threat by certain developers to distribute their apps outside
the Google Play Store (or not use Google Play Billing), as discussed above, or other goals related to
growth and success of its business, thereby indicating that Google’s 30% commission is
supracompetitive. Nonetheless, such programs are limited, thereby demonstrating Google is able to
broadly maintain its market power.



                                                      984




        470.




983
   See, e.g., “Defendant Google’s Answers and Objections to Developer Plaintiff’s First Set of Interrogatories,” United
States of America, Google Play Store Developer Antitrust Litigation, Case No. 3:20-cv-05792-JD, July 6, 2021, at pp.
14-16.




                 GOOG-PLAY4-001404993 – 5001, at 4993-994.
984
    Letter from Brian C. Rocca to Yonatan Even, September 23, 2022, pp. 1-2.
985
    See, e.g., Google,                                                             GOOG-PLAY-007819776-064, at
785. See also Cramer (Google) Deposition, pp. 384-388.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                            295
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 297 of 598
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 298 of 598



                                                                                        987




                                                                              989



                   2.     Competitive But-For World Commission

           472.    As the evidence above indicates, (i) Google’s 30 percent commission is
supracompetitive; and (ii) Google was able and willing to substantially decrease commissions in the
face of competitive pressures or other goals related to growth and success of its business. Thus, it is




987
  See Google,                                    January 26, 2009, GOOG-PLAY-004630018.R-032.R, at
024.R; See also Google, GOOG-PLAY-004506631-633, at 631
                               See also Google,                            March 22, 2019, GOOG-PLAY-
000565541.R-562.R, at 552.R

988
      Google,                       May, 2019, GOOG-PLAY-004504494.R-506.R, at 495.R and 499.R
                                                     . See also Cramer (Google) Deposition, pp. 374-376.
989
    Google, GOOG-PLAY-009292321-357, at 329
            ; Google,                                                       GOOG-PLAY-007819776-064, at
785
                                                                                                   See also
Cramer (Google) Deposition, pp. 384-388; Google,                               April 14, GOOG-PLAY-
006829073.R-172.R, at 157.R and 170.R-171.R


                                                                                                 See also
Marchak (Google) Deposition, pp. 473-475




Email from Sameer Samat, Vice President of Product Management at Google, to Hiroshi Lockheimer, Senior VP of
Platforms & Ecosystems at Google,                      August 1, 2017, GOOG-PLAY-009911010-012, at 011


                                            November 16, 2020, GOOG-PLAY-006990552-571, at 555




                NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                      297
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 299 of 598




my opinion that, in a competitive but-for world in which Google did not monopolize the Android
App Distribution Market—and hence did not foreclose the market to competitor Android
distribution methods—there would be enhanced competitive pressure on Google. Developers and
users would have more Android App Distribution alternatives from which to choose and potentially
switch. As a result, commission would be lower than 30%.

       473.    The lower commissions that Google has offered to various developers over time, as
described above, serve as upper bounds on what the commissions would look like in a competitive
but-for world. In the competitive but-for world, competitive pressure on Google would be what
Google has faced so far in the actual world plus additional pressure due to enhanced competition. In
addition, the commissions would be lowered on both Android App Distribution and In-App Billing
Services Markets as enhanced competition on the Android App Distribution Market would make
any anticompetitive tying arrangement on the In-App Billing Services Markets ineffective and
hence would allow for competition in that market as well.

       474.    I find that an upper bound on a commission in the Android App Distribution Market
in a but-for world in which Google does not monopolize the Android App Distribution Market
would be 15%. Furthermore, enhanced competition on the Android App Distribution Market would
make any anticompetitive tying arrangement on the Android In-App Billing Services Markets
ineffective and as a result an upper bound commission in the Android In-App Billing Services
Market would also be 15%.

       475.    In Section VIII.B.2, I discuss why 15% is a conservative estimate of upper bound on
the but-for commission in the Android In-App Billing Services Market in a but-for world in which
Google has monopoly in the Android App Distribution Market but does not pursue an
anticompetitive tying strategy. If Google, in addition, faced competition in the Android App
Distribution Market, then the commission would reduce further thus making 15% a conservative
estimate. In addition, with few exceptions, Google sets the same commissions on the two markets in
the actual world. Thus, I find the commissions would likely not be different on the two markets in a
but-for world in which Google faced competition in the Android App Distribution Market.




          NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                298
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 300 of 598




                3.        Competitive But-For World Commissions Are In-Line with Commissions on
                          Other App Stores

        476.    I also evaluate whether this competitive but-for world commission is in line with
commissions in other app stores, including PC app stores and alternative mobile app stores.


                                                                                         990




                            991
                                  These commissions are bounded above by Google’s commission of 30
percent and the lower commissions are in-line with the commissions that Google has offered to
various price sensitive developers over time.
                                               Exhibit 68
                                        PC App Store Commissions




Source: See Appendix G.




990
    Google, “Play Business Model Thoughts,” GOOG-PLAY-000565541.R-562.R, at 558.R; Google, “Exploring new
business models,” March, 2019, GOOG-PLAY-000542516.R-535.R, at 529.R-530.R.
991
    For more detailed information, see Appendix G.


           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                    299
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 301 of 598




        477.     The competitive dynamics among PC app stores provide an insight into how
competition can drive commissions down below 30 percent and highlights the ability and
willingness of app stores to aggressively compete on commissions in response to competitive
pressures. For example, in December 2018, Epic launched its PC store and offered 12 percent
commission to developers.992 The same month, Steam decreased its commission from flat 30
percent to “30 percent cut on sales under $10 million, then a 25 percent cut on sales between $10
million and $50 million, then a 20 percent cut on sales above $50 million.” 993 Shortly after, in early
2019, Discord instituted “a reduced, 10-percent cut from game revenues generated on its online
store … one-upping the Epic Games Store and its recently announced 12-percent cut on the Epic
Games Store.”994 Following that, in March 2019, the Microsoft Store decreased its commission to
tiers of 5 and 15 percent, from 30 percent, for “app purchases on Windows 10 PCs, Windows
Mixed Reality, Windows 10 Mobile and Surface Hub devices.” 995 A few months later, in late 2019,
Epic permitted developers and publishers who offered in-game purchases to use payment platforms
other than Epic’s payment platform and, if they did so, would pay no commission to Epic. 996 Two
years later, in the summer of 2021, the Microsoft Store likewise gave app developers an option “to
bring their own or a third party commerce platform in their apps,” which would allow those
developers to avoid paying Microsoft a commission. 997 Around this time, the Microsoft Store




992
    Epic Games, “The Epic Game Store is Now Live,” December 6, 2018, available at https://store.epicgames.com/en-
US/news/the-epic-games-store-is-now-live.
993
    Dillet, Romain, “Valve changes revenue-sharing tiers on Steam,” TechCrunch, December 3, 2018, available at
https://techcrunch.com/2018/12/03/valve-changes-revenue-sharing-tiers-on-
steam/?guccounter=1&guce_referrer=aHR0cHM6Ly93d3cuZ29vZ2xlLmNvbS8&guce_referrer_sig=AQAAALppmkB
DcQzTmcmVRIAQ--
JnZtWxEuQY6XBKIWKQYhgZ4LSXPsSQedJ3Jezb8w7pQpoaGNvI5zLtcAdidglTKOAEnZ6hR7lhjmrzXfxAjthmUX
XKtBtx1I9n1bZYuTi1EHXeNt669ERH0ZM5jReT-1BrJ6ecL3kO-XXYCevOTJez.
994
    Orland, Kyle, “Discord Store to offer developers 90 percent of game revenues,” December 14, 2018, available at
https://arstechnica.com/gaming/2018/12/discord-store-to-offers-developers-90-percent-of-game-
revenues/#:~:text=Discord%20has%20announced%20that%20it,on%20the%20Epic%20Games%20Store.
995
    Miller, Chance, “Microsoft updates Store revenue split to give developers a 95% cut, but with limitations,” 9to5Mac,
March 6, 2019, available at https://9to5mac.com/2019/03/06/microsoft-store-revenue-share/.
996
    Nguyen, Lisa, “Epic Games Store Gives Developers and Publishers More Choices For In-Game Payment Options,”
Happy Gamer, December 9, 2019, available at https://happygamer.com/epic-games-store-gives-developers-and-
publishers-more-choices-for-in-game-payment-options-45712/.
997
    Sardo, Giorgio, “Building a new, open Microsoft Store on Windows 11,” Microsoft, June 24, 2021, available at
https://blogs.windows.com/windowsexperience/2021/06/24/building-a-new-open-microsoft-store-on-windows-11/.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          300
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 302 of 598




decreased its commission for games from 30% to 12%. 998 Those changes reflect how, in a market
that is a two-sided platform with indirect network effects, prices are driven down by competition.

        478.     Finally, Exhibit 69 shows the commissions offered by alternative Android app stores.
Those commissions are generally below 30 percent, which provides yet another indication that
mobile app stores are able and willing to decrease their commissions below 30%.
                                             Exhibit 69
                             Alternative Android App Store Commissions




Source: See Appendix H.

        479.     As illustrated above, commissions on PC app stores and alternative Android app
stores are bounded by Google’s commission of 30 percent and the lower commissions are in-line
with the commissions that Google has offered to various price-sensitive or important developers
over time. In addition, the observed competitive dynamic among PC stores illustrates how
competition can drive commissions down below 30 percent and demonstrates the ability and
willingness of app stores to compete aggressively on commissions in response to competitive
pressures.




998
   Warren, Tom, “Microsoft shakes up PC gaming by reducing Windows store cut to just 12 percent,” The Verge, April
29, 2021, available at https://www.theverge.com/2021/4/29/22409285/microsoft-store-cut-windows-pc-games-12-
percent.


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       301
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 303 of 598




                 4.       Direct Discounts to Consumers

        480.     In a world absent Google’s anticompetitive conduct, I find there likely would have
been increased discounts to consumers. Providing direct discounts to consumers is an effective way
to retain or acquire consumers when faced with competitive pressures. Other app stores have
recognized this and have offered discounts to consumers in the face of competitive threats.

        481.     For example, as discussed in Section IV.A.6, in September 2018, Google launched
Google Play Points, a consumer loyalty rewards program that allows users to earn points on their
Google Play purchases and redeem them for content in the Google Play Store, thereby providing
discounts directly to consumers.999 Google initially launched Google Play Points in Japan, followed
by South Korea approximately six months later and roughly one year after the regulatory change in
South Korea and ONE store’s subsequent reduction of its commission to 20% (or 5% if developers
choose their own billing service provider).1000 Google eventually rolled out the Play Points
consumer rewards program to over 22 markets, launching in the U.S. in November 2019. 1001

        482.
                                                      1002




999
    See Google, “Google Play Points,” available at https://play.google.com/console/about/googleplaypoints/; Schoon,
Ben“Google Play Points rewards program goes official, only works in Japan for now,” 9to5Google, available at
https://9to5google.com/2018/09/18/google-play-points-official-rewards-program-japan/.
1000
     Na, Hyun-joon and Minu, Kim, “Korean app market One Store vows to go global in 2022 with more popular
games,” Pulse, August 24, 2021, available at https://pulsenews.co.kr/view.php?year=2021&no=816068.
1001
     See Schoon, Ben, “Google Play Points rewards program goes official, only works in Japan for now,” 9to5Google,
available at https://9to5google.com/2018/09/18/google-play-points-official-rewards-program-japan/; Mu-Hyun, Cho,
“Google Play introduces reward points in South Korea,” ZDNet, April 22, 2019, available at
https://www.zdnet.com/article/google-play-introduces-reward-points-in-south-korea/; Mok, Winston, “Google Play
Points: a rewards program for all the ways you Play,” Google, November 4, 2019, available at
https://www.blog.google/products/google-play/google-play-points-rewards-program-all-ways-you-play; Google,
“Google Play Points: Frequently Asked Questions,” available at
https://play.google.com/console/about/programs/googleplaypoints/.
1002
     See, e.g., Google,                                October 28, 2020, GOOG-PLAY-002650052.R-138.R, at 076.R
                                                                                            See also Google, “Play
Points,” December 5, 2018, GOOG-PLAY-000953420.R-460.R, at 422.R

                                                                            and Google, “Google Play
Points Developer Overview,” May 2019, GOOG-PLAY-000518034.R-071.R, at 037.R.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        302
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 304 of 598




                                                                1003




          1004
                 As described in Section IV.A.6, transactions earning Play Points grew steadily after its
introduction, both in transaction volume and revenue. Moreover, the number of Android users
enrolled in Play Points has also steadily increased, and the average spending by consumers enrolled
in Play Points is higher than those not enrolled in the loyalty program.

        483.




                                                    1006


        484.      Further, “One Store, for example, has also been offering promotions targeting
consumers. As well as discount coupons, One Store offered cashback events, giving refunds of 30
to 50 percent on total transactions inside certain gaming apps. The number of people who purchased
gaming apps through One Store in the third quarter increased by 19 percent compared to the same
period a year earlier as a result.”1007 Similarly, Aptoide has a digital currency system called




1003
     Google,                                     December 5, 2018, GOOG-PLAY-000953420.R-460.R, at 422.R.
1004
     Google,                                  GOOG-PLAY-000302766-867, at 864 (emphasis in original).
1005
     Google,                                           February, 2018, GOOG-PLAY-001284083.R-162.R, at 086.R
(emphasis in original).
1006
     Google,                                  April, 2017, GOOG-PLAY-000879194.R-224.R, at 204.R (emphasis in
original).
1007
     Kim Jung-Min, Chea Sarah, “One Store gains ground in local Android app market,” Korea JoongAng Daily,
December 2, 2020, available at https://koreajoongangdaily.joins.com/2020/12/02/business/industry/One-Store-app-
market-Google/20201202175300439.html.


           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       303
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 305 of 598




AppCoins, which is used for in-app transactions and gives up to 20% bonus to customers across all
purchases.1008

        485.     In 2022, Samsung offered a 30% discount to consumers for purchases from the
Galaxy Store of at least $2. Consumers could claim a maximum of 10 coupons in 24 hours.
“Additionally, users who spend more throughout the promotion” were offered “exclusive benefits,”
including “a $3 coupon when you purchase something worth $3.99 or more.” As PhoneArena points
out, you can get a 20% discount coupon on your first purchase and a 30% discount on your third
purchase. And finally, when you reach a total purchase of $300, you will get a 99% coupon upon
checkout.”1009

        486.     Thus, in a world absent Google’s anticompetitive conduct in which it faced
competitive pressures throughout the relevant time period, it is my opinion that Google would have
provided direct discounts to consumers, such as its Play Points loyalty reward program, earlier than
it did in the actual world and with likely more generous rewards. However, in my model, I
conservatively assume that Google would have launched such a program within approximately one
year following the introduction of the Google Play Store, based on the example of Google
launching Play Points in South Korea in response to ONE store’s subsequent commission reduction,
as described above.1010 Moreover, I have also assumed that the direct to consumer price discount
from Play Points in the but-for world would be at a minimum comparable to the price discounts
observed in the actual world. However, these assumptions about direct to consumer discounts are
highly conservative. Under greater competition, Google’s discounts to consumers would likely be
much more generous, as with other consumer discount programs offered by alternative Android app




1008
     Aptoide, “AppCoins,” available at https://appcoins.io/; AppCoins, “Everything you need to know about AppCoins
Credits [Updated],” April 12, 2019, available at https://appcoins.medium.com/everything-you-need-to-know-about-
appc-credits-
a9f3b5855071#:~:text=Our%20User%20Incentive%20Programs%20allow,their%20in%2Dapp%20spending%20level.
1009
     Everton, Jordan “Samsung offering 30% discount on purchases made from The Galaxy Store,” Wirefly, May 2,
2022, available at https://www.wirefly.com/news/samsung-offering-30-discount-purchases-made-galaxy-store.
1010
     Given the damages period starts August 16, 2016, damages would be unaffected even if I assumed that, in the but-
for world, Google started a loyalty reward program any time within about four years after the introduction of the Google
Play Store. Given it launched Play Points in South Korea within one year following the regulatory change and ONE
store’s subsequent reduction of its commission, I find a launch date within four years to be reasonable.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          304
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 306 of 598




stores described above, and these discounts may have started even earlier than approximately one
year after the launch of the Google Play Store, rather than in November 2019 as it did in the actual
world. Thus, though Google may have launched a consumer discount program even sooner after
launch of the Google Play Store in a competitive world and provided even more generous discounts
than it did in the actual world, I, nonetheless, use this start date and the actual-world discount levels
as conservative assumptions of the direct- to -consumer discounts in a world absent Google’s
challenged conduct. Using Google’s transaction data, I estimate the average price discount due to
Play Points as the total value of Play Points during the period 2020-2021, calculated as 100 Play
Points equaling a $1 discount, divided by the total gross consumer spend in the Google Play Store.

       C.      Google’s Anticompetitive Conduct in the Android App Distribution
               Market Has Lowered Output and Harmed Innovation

       487.    In addition to allowing Google to charge supracompetitive commissions, I find that
Google’s anticompetitive conduct in the Android App Distribution Market has also resulted in
reduced output and innovation. In a competitive but-for world, in which Google did not monopolize
the Android App Distribution Market, there would be higher output and greater innovation. As I
explain in Section IX.A and derive it in my model in Appendix F, the output would be higher
because more developers would be willing to enter the market as their expected profits from doing
so would be higher given the lower commissions and higher direct discounts to consumers set by
Google. This would translate into increased supply (i.e., more apps and in-app content available




            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                   305
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 307 of 598




from developers).1011 Consequently, there would be lower equilibrium price and higher equilibrium
output.1012

        488.     To demonstrate that output would be higher in a world absent Google’s
anticompetitive restrictions, I estimate but-for output (product quantity) using a model of
competition between apps in which developers supply apps and in-app content and compete on
prices charged to consumers. The model also has free entry of apps, which determines the number
of apps entering an app store. The model is developed and explained in more detail in Appendix F
and discussed in Section IX.A. First, I estimate the increase in the number of apps. I estimate that
the number of apps would increase by about 20%. 1013 Second, I estimate the equilibrium output in
the but-for world in each year from August 16, 2016 to May 31, 2022. 1014 Exhibit 70 shows the
actual and but-for output for each year from August 16, 2016 to May 31, 2022. The weighted
average increase in output from the actual to the but-for world across this time period is about
20%.1015




1011
     Mankiw, N. Gregory, Principles of Microeconomics, Fifth Edition, Mason, OH: South-Western CENGAGE
Learning, 2008 (hereafter “Mankiw (2008)”), pp. 304-305. It has been shown that reduction in cost or increase in
demand can lead to more entry and large benefits to consumers. See e.g. Janßen, Rebecca, Reinhold Kesler, Michael E.
Kummer, and Joel Waldfogel, “GDPR and the Lost Generation of Innovative Apps,” NBER Working Paper Series,
2022 (hereafter “Janßen et al (2022)”), pp. 1 and 22; Church, Jeffrey and Neil Gandal. “Complementary network
externalities and technological adoption,” International Journal of Industrial Organization 11, 1993, pp. 239-260
(hereafter “Church and Gandal (1993)”). In general, analyzing or quantifying the benefits of variety to consumers is
common in the economics literature. See, e.g., Dixit, Avinash K. and Joseph E. Stiglitz, “Monopolistic Competition and
Optimum Product Diversity,” The American Economic Review, Vol. 67, No. 3, 1977, pp. 297-308 (hereafter “Dixit and
Stiglitz (1977)”); Petrin, Amil, “Quantifying the Benefits of New Products: The Case of the Minivan,” Journal of
Political Economy, Vol. 10, No. 4, August 2002 (hereafter “Petrin (2002)”); Brynjolfsson, Erik, Yu (Jeffrey) Hu, and
Michael D. Smith, “Consumer Surplus in the Digital Economy: Estimating the Value of Increased Product Variety at
Online Booksellers,” Management Science, Vol. 49, No. 11, 2003, pp. 1580-1596 (hereafter “Brynjolfsson et al
(2003)”).
1012
     See Appendix F where I develop a model underlying my damages calculations. The model provides a mechanism
through which lower service fee translates into increased supply of apps and in-app content, resulting into lower
equilibrium price and output.
1013
     See Rysman Workpapers.
1014
     Note that this estimation is performed under a conservative assumption that there is only a direct effect of
commission on app and in-app content price. For the discussion of direct effect of commission on price, in my model,
see Section IX.A.1.
1015
     See Rysman Workpapers.


              NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         306
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 308 of 598
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 309 of 598




                                                                                               1017


        491.




               1018


        492.    Further, economic literature suggests that new apps that would enter the market as a
result of enhanced competition and concomitant lower commissions would not be low-quality apps.
A study by Janßen et al (2022), of the impact of the General Data Protection Regulation (GDPR),
enacted by EU in May 2018, which imposes a series of rules intended to increase consumer security
and privacy,1019 found that entry of high-quality apps on the Google Play Store after enactment of
GDPR fell by about 40 percent, about the same as low-quality apps. 1020 The post-GDPR decline in
entry “reduced the number of both ex post successful and ex post unsuccessful apps … [T]his
provides strong evidence that app success is unpredictable, so that an entry reduction can deliver
large welfare impacts.”1021 Indeed, the authors found that “GDPR reduces the quarterly CS
[consumer surplus] from $45.0 billion to $30.6 billion, or by 31.93 percent” and conclude
“[w]hatever the benefits of GDPR’s privacy protection, it appears to have been accompanied by
substantial costs to consumers, from a diminished choice set, and to producers from depressed
revenue and increased costs.”1022 Hence, imperfect predictability of app quality, before its entry,




1017
     Samat, Sameer,                         February 22, 2021, GOOG-PLAY-002358233-240, at 236 (emphasis
added).
1018
     Google,                                  April 14, GOOG-PLAY-006829073.R-172.R, at 168.R. See also
Google, “Project Basecamp – Optionality,” April 14, GOOG-PLAY-006829073.R-172.R, at 165.R
                                                         ).
1019
     GDPR.EU, “Complete guide to GDPR compliance,” available at https://gdpr.eu/.
1020
     Janßen, Rebecca, Reinhold Kesler, Michael E. Kummer, and Joel Waldfogel, “GDPR and the Lost Generation of
Innovative Apps,” NBER Working Paper Series, 2022 (hereafter “Janßen et al (2022)”), pp. 1 and 22.
1021
     Janßen et al (2022), p. 22.
1022
     Janßen et al (2022), pp. 2, 30.


           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                      308
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 310 of 598




mitigates concerns that only low-quality apps would enter after the reduction of commissions. This
leads to substantial welfare gains as a result of enhanced entry of some high-quality apps.

        493.   Thus, as I explain above, in a world absent Google’s anticompetitive conduct, it is
my opinion that there would be increased supply (i.e., more high-quality apps and in-app content
available from developers), leading to lower equilibrium prices and higher equilibrium output, as
well as increased innovation from developers.


VIII. Google’s Anticompetitive Conduct Caused Harm to Competition in the Android In-
      App Billing Services Market

        494.   Having concluded that Google monopolized Android App Distribution, foreclosing
rival app stores and causing harm to competition, I now develop evidence and analyses to evaluate
the allegation that Google has tied its Android In-App Billing Services to Android App Distribution.
To distribute apps through the Google Play Store, Google requires app developers to enter its
standardized Developer Distribution Agreement (“DDA”), which states that developers must
exclusively use Google Play Billing, Google’s in-app billing services provider, to process all in-app
purchases of digital content for apps distributed through Google Play, though it does not require, or
actually allow, the use of Google Play Billing to process purchases of tangible goods and services
consumed outside the digital environment. 1023 I find Google has tied use of Google Play Billing to
distribution through the Google Play Store.

        495.   I conclude that Google’s anticompetitive restrictions with regard to Android App
Distribution has allowed it to charge supracompetitive commission on the In-App Billing Market.
Moreover, the conduct has led to reduced consumer choice (apps), output, and innovation. In
addition, I conclude that (i) an upper bound on competitive but-for commission is most likely to be
15% which is consistent with most of the commission discount programs that Google has
implemented; (ii) the competitive but-for Play Points would have been launched earlier and, under a




1023
    Google, “Google Play Developer Distribution Agreement,” November 17, 2020, GOOG-PLAY-000053875-878.
See also, Play Console Help, “Payments,” available at https://support.google.com/googleplay/android-
developer/answer/9858738.


           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                   309
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 311 of 598




conservative assumption, the price discount through Play Points in the but-for world would be the
same as in the actual world.

        A.       Google’s Anticompetitive Conduct in Android In-App Billing Services
                 Market Reduced Competition

                 1.       Economics of Tying

        496.     In economics, tying refers to a situation in which a firm conditions the sale of one
product (tying product) on the sale of another product (tied product). That is, a seller of tying
product refuses to sell the tying product to consumers unless consumers also buy the tied
product.1024 If a firm has monopoly or market power in the tying product market, then, by tying the
products, it can extend its market power to the tied product market, thereby foreclosing sales and
monopolizing the tied product market. 1025 As a consequence, in general, the consumer and total
welfare decrease, rivals are disincentivized to enter the tied product market, and innovation is
harmed.1026

        497.     Economists have identified various environments and mechanisms under which tying
can harm competition and result in a consumer welfare loss. For example, tying can serve as a
mechanism to price discriminate among buyers of a tying product when the tying and the tied
products are complements and tied product is used in varying amount with the tying product. 1027
The benefits of tying arising from the enhanced ability to price discriminate have also been shown




1024
     Carlton, Dennis W. and Michael Waldman, “The Strategic Use of Tying to Preserve and Create Market Power in
Evolving Industries,” The RAND Journal of Economics, Vol. 33, No. 2, 2002, pp. 194-220 (hereafter “Carlton and
Waldman (2002)”).
1025
     Whinston, Michael D., “Tying, Foreclosure and Exclusion,” The American Economic Review, Vol. 80, No. 4, 1990,
pp. 837-859 (hereafter “Whinston (1990)”).
1026
     Elhauge, Einer, “Tying, Bundled Discounts, and the Death of the Single Monopoly Profit Theory,” Harvard Law
Review, Vol. 123, No. 2, 2009, pp. 397-481 (hereafter “Elhauge (2009)”), at pp. 397-401; Choi, Jay Pil and
Christodoulos Stefanadis, “Tying, Investment, and the Dynamic Leverage Theory,” The RAND Journal of Economics,
Vol. 32, No. 1, 2001, pp. 52-71 (hereafter “Choi and Stefanadis (2001)”). In addition to foreclosing sales and
monopolizing the tied product market, tying can have anticompetitive effects on the tying product market. Tying can
strengthen firm’s monopoly power on the tying product market by deterring future entry into that market. See Carlton
and Waldman (2002), pp. 194, 198-205.
1027
     Elhauge (2009), pp. 404-405.


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        310
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 312 of 598




in an environment in which there is no strong positive demand correlation between the tied and
tying product.1028

        498.     Additionally, in economic models that relax the assumptions of constant returns to
scale and perfect competition in the tied good market, it has been shown that tying is frequently a
profitable strategy for a monopolist - even for independent products (not complements), a tying
strategy can be profitable for a monopolist, foreclosing sales in the tied good market. 1029 Further, a
bundling strategy can also be profitable, mitigating impact of competition:

        A company with a monopoly in product A and a duopoly in product B makes higher profits
        by selling an A B bundle than by selling A and B independently. Leveraging market power
        from A into B and accepting some one-product competition against the bundle is better than
        using the monopoly power in good A all by itself. Since bundling mitigates the impact of
        competition on the incumbent, an entrant can expect the bundling strategy to persist, even
        without any commitment.1030

        499.     Finally, resonating with some of the key lessons from economic theory, the Federal
Trade Commission has explained the anticompetitive nature of tying as follows:

        a monopolist may use forced buying, or ‘tie-in’ sales, to gain sales in other markets where it
        is not dominant and to make it more difficult for rivals in those markets to obtain sales. This
        may limit consumer choice for buyers wanting to purchase one (‘tying’) product by forcing
        them to also buy a second (‘tied’) product as well. Typically, the ‘tied’ product may be a less
        desirable one that the buyer might not purchase unless required to do so, or may prefer to get
        from a different seller. If the seller offering the tied products has sufficient market power in
        the ‘tying’ product, these arrangements can violate the antitrust laws. 1031

                 2.       Google Has Tied Android App Distribution Through Google Play to Google
                          Play Billing In-App Billing Services

        500.     In the current case, the tying product/service is the distribution of apps on Android
smart mobile devices through Google Play, and the tied product/service is Google Play Billing




1028
     Elhauge (2009), pp. 405-407.
1029
     Whinston (1990), pp. 838-840.
1030
     Nalebuff, Barry, “Bundling as an Entry Barrier,” The Quarterly Journal of Economics, Vol. 119, No. 1, 2004, pp.
159-187, at p. 159.
1031
     Federal Trade Commission, “Tying the Sale of Two Products,” available at https://www.ftc.gov/advice-
guidance/competition-guidance/guide-antitrust-laws/single-firm-conduct/tying-sale-two-products.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         311
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 313 of 598




services. I have been instructed by counsel to analyze whether the distribution of apps on Android
smart mobile devices through Google Play and Google Play Billing services are separate and
distinct products/services; whether Google has monopoly or market power in the distribution of
apps on Android smart mobile devices through Google Play; and whether there is “coercion,”
meaning that the firm (Google) conditions the sale of the distribution of apps on Android smart
mobile devices through the Google Play Store on the sale of Google Play Billing services and that
the tying arrangement affects a not insubstantial volume of commerce in the market for Android In-
App Billing Services.

       501.    I have previously demonstrated the first two criteria. In Sections V.C and V.D, I
established that the Google Play Billing Services is a product distinct from the distribution of apps
on Android smart mobile devices through Google Play, and I have defined the two markets,
respectively. Further, I have shown and show further below that separate firms sell these products.
In particular, developers could obtain payment processing and other in-app services from other
firms besides Google but for contractual restraints imposed by Google. Further, I provide evidence
that developers would like to do so. That is, developers do not perceive a technological benefit from
tying the two products such that we should regard the tied products as a single new product. In
Section VI.A, I have further shown that Google has a monopoly power in the market in which the
tying product is sold.

       502.    Having established that the tied product (In-App Billing Services) is a distinct
product and Google has a monopoly power in the tying product (Android App Distribution), I next
demonstrate that Google has tied Android App Distribution through Google Play to the Google Play
Billing In-App Billing Services and coerced app developers into the tying arrangement, which
affects “a ‘not insubstantial volume of commerce’” in the Android In-App Billing Services Market.

       503.




           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                  312
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 314 of 598



                          1032
                                 Sameer Samat, Vice President Product Management at Google, effectively
testified that Google required this tie, stating




                                 ”1033

         504.     Further, the DDA also expressly prohibits developers from steering users to payment
methods other than Google Play Billing, noting:1034

         Other than the conditions described in Section 3 and Section 8, apps may not lead users to a
         payment method other than Google Play’s billing system. This prohibition includes, but is
         not limited to, leading users to other payment methods via:
         - An app’s listing in Google Play;
         - In-app promotions related to purchasable content;
         - In-app webviews, buttons, links, messaging, advertisements or other calls to action; and
         - In-app user interface flows, including account creation or sign-up flows, that lead users
         from an app to a payment method other than Google Play’s billing system as part of those
         flows.




                                                                                   . Thus, users in the midst of




1032
     Google, “Google Play Developer Distribution Agreement,” November 17, 2020, GOOG-PLAY-000053875-878;
Google Play Console Help, Payments, available at https://support.google.com/googleplay/android-
developer/answer/9858738. Note that Google’s Vice President Product Management, Sameer Samat, posted a blog in
September 2020 noting that “We’ve always required developers who distribute their apps on Play to use Google Play’s
billing system if they offer in-app purchases of digital goods, and pay a service fee from a percentage of the purchase.”
See Samat, Sameer, “Listening to Developer Feedback to Improve Google Play,” Android Developers Blog, September
28, 2020, available at https://android-developers.googleblog.com/2020/09/listening-to-developer-feedback-to.html.
Also, note that previous versions of the agreement, in addition, had an exception for “digital content consisting of
music, movies, TV shows, books, newspapers or magazines that can currently be used outside of the app itself (e.g.,
buying songs that can be played on other music players).” See also Google, “Google Play Developer Program Policies,”
March 9, 2012, GOOG-PLAY-006347283-285.
1033
     Samat (Google) Deposition, pp. 469-471; see also, Samat (Google) Deposition, pp. 483-485.
1034
     Google Play Console Help, available at https://support.google.com/googleplay/android-
developer/answer/9858738?hl=en.
1035
     Samat (Google) Deposition, p. 484.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          313
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 315 of 598




engaging with an app and prepared to make an in-app purchase could not be informed to make the
purchase through an alternative means.

         505.     Sections 3 and 8 of the DDA summarize exceptions to the above rules involving
purchases by users in South Korea and purchases of physical goods and services consumed outside
the Play-distributed app.1036 Section 8 states that developers may offer alternative in-app billing
systems to users in South Korea.1037 Importantly, Google was forced to institute the exception
related to South Korea following the August 2021 policy change in South Korea, which prevented
“app store operators from requiring developers to use their in-app purchase systems.” 1038 Section 3
provides exceptions for non-digital goods and other services, noting Google Play Billing “must not
be used” for such services.1039




1036
     Google, “Google Play Developer Distribution Agreement,” November 17, 2020, GOOG-PLAY-000053875-878;
Play Console Help, “Payments,” available at https://support.google.com/googleplay/android-
developer/answer/9858738. See also, Google, “Google Play Developer Program Policies,” March 9, 2012, GOOG-
PLAY-006347283-285, at 284.
1037
     Section 8 states that “developers of Play-distributed apps on mobile phones and tablets requiring or accepting
payment from users in South Korea for access to in-app purchases may offer users an in app billing system in addition
to Google Play’s billing system…” (See Google, “Google Play Developer Distribution Agreement,” November 17,
2020, GOOG-PLAY-000053875-878; Play Console Help, “Payments,” available at
https://support.google.com/googleplay/android-developer/answer/9858738.).
1038
     Fathi, Sami, “Apple’s Proposal to Allow Third-Party Payment Methods in App Store ‘Lacks Detail,’ Says South
Korean Regulatory Commission,” MacRumors, February 3, 2022, available at
https://www.macrumors.com/2022/02/03/app-store-plan-lacks-detail-south-
kore/#:~:text=In%20August%2C%20South%20Korea%20passed,payment%20methods%20within%20their%20apps;
Google, “Google Play Developer Distribution Agreement,” November 17, 2020, GOOG-PLAY-000053875-878.
1039
     “Google Play’s billing system must not be used” for purchase or rental of physical goods, purchase of physical
services, remittance in respect of a credit card bill or utility bill, payments for content or services facilitating online
gambling, peer-to-peer payments, online auctions, and tax exempt donations, payments for any product category
deemed unacceptable under Google’s Payments Center Content Policies. (See Play Console Help, “Payments,”
available at https://support.google.com/googleplay/android-developer/answer/9858738; Google, “Google Play
Developer Distribution Agreement,” November 17, 2020, GOOG-PLAY-000053875-878). See also, “Google Play
Developer Program Policies,” March 9, 2012, GOOG-PLAY-006347283-285, at 284.


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                            314
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 316 of 598




                 3.       Google Actively Enforces its Tie by Coercing App Developers into the Tying
                          Arrangement

        506.     As early as the planning stages for its Android Market for In-App Billing service
(“IAB”), which launched in March 2011 1040 and was the predecessor to Google Play Billing,
Google was already intent on enforcing a tying arrangement to ensure that developers used their
billing service for in-app payments. At the launch of its In-App Billing service, Google stated “[t]he
In-app Billing service manages billing transactions between apps and users, providing a consistent
purchasing experience with familiar forms of payment across all apps. At the same time, it gives
you full control over how your digital goods are purchased and tracked. You can let Android
Market manage and track the purchases for you or you can integrate with your own back-end
service to verify and track purchases in the way that’s best for your app.” 1041




1040
     Chu, Eric, “In-App Billing on Android Market: Ready for Testing,” Android Developers Blog, March 24, 2011,
available at https://android-developers.googleblog.com/2011/03/in-app-billing-on-android-market-ready html (“Back in
January we announced our plan to introduce Android Market In-app Billing this quarter. We’re pleased to let you know
that we will be launching In-app Billing next week.”).
1041
     Chu, Eric, “New Merchandising and Billing Features on Android Market,” Android Developers Blog, February 2,
2011, available at https://android-developers.googleblog.com/2011/02/new-merchandising-and-billing-features html.
1042
     Email from Dirk Dougherty to Anita Mhaskar,
        , March 10, 2011, GOOG-PLAY-004320094.
1043
     Email from Dirk Dougherty to Anita Mhaskar,
        , March 10, 2011, GOOG-PLAY-004320094.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        315
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 317 of 598




        507.     Since then, as discussed in Section V.D.2 above, a number of developers have not
complied with Google’s Google Play Billing policy and have not used Google Play Billing. Google
actively monitored which developers have not been complying with its Google Play Billing
policies, and, in instances in which app developers have not been fully compliant (i.e., they adopted
alternative payment methods for digital in-app purchases), Google has informed such developers to
comply with its rules and transition to Google Play Billing for digital in-app purchases.

        508.     In September 2020, Google clarified its Payments Policy incorporated into the DDA
“to be more explicit that all developers selling digital goods and services in their apps are required
to use Google Play’s billing system.”1044 Google extended the date of compliance with the revised
policy until June 1, 2022.1045
                    1046




1044
     Google, “Understanding Google Play’s Payments policy,” available at
https://support.google.com/googleplay/android-developer/answer/10281818?hl=en. “Developers in India have until
October 31, 2022 to comply due to unique circumstances with the payments landscape in the country.”
1045
     Google, “Understanding Google Play’s Payments policy,” available at
https://support.google.com/googleplay/android-developer/answer/10281818?hl=en. “Developers in India have until
October 31, 2022 to comply due to unique circumstances with the payments landscape in the country.”
1046
     See, e.g.,




            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       316
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 318 of 598



                                     1047
                                            In response, some developers, such as Amazon,1048                     1049


and Tidal,1050 decided to make their Android apps “consumption-only,” meaning that digital content
may be purchased outside the app (such as on the web) to be used in the app. The result is that
consumers cannot buy in-app what they could before, like Kindle books or movie streaming.


                                                                             1051


        509.     Moreover, Google has actively enforced these rules by punishing developers who
fail to abide by them.1052
                                                                                                          1053
                                                                                                                 In




1047




1048
    Laura Hautala, “Here’s Why Amazon Won't Let You Buy Books on Kindle App for Android Anymore,” CNET
(June 2, 2022), available at https://www.cnet.com/tech/services-and-software/heres-why-amazon-wont-let-you-buy-
books-on-kindle-app-for-android-anymore/ (“Amazon let customers know on Tuesday they can no longer rent or buy
books or pay for Kindle Unlimited subscriptions using the Kindle app. In an email, the company explained people will
have to pay for the digital content on a web browser and then access the books through their app's digital library. The
change was necessary ‘to remain in compliance with updated Google Play Store policies,’ Amazon said in the email.”).
1049



1050
   Tidal, “Google Play Store,” https://support.tidal.com/hc/en-us/articles/4472166442769-Google-Play-Store, accessed
Oct. 3, 2022 (“Q: Why can’t I sign up for HiFi or HiFi Plus in the Android app? A: While you can sign up for TIDAL
Free in the app, we have made some changes to the TIDAL HiFi and HiFi Plus sign up process in order to comply with
new rules from Google for apps on the Google Play Store. At this time, it is unfortunately not possible to sign up for
HiFi or HiFi Plus in the Android app. We are sorry for the inconvenience.”).
1051




1052
    Play Console Help, “Understanding Google Play’s Payments policy,” available at
https://support.google.com/googleplay/android-developer/answer/10281818?hl=en (“Google Play’s billing system is
required for developers offering in-app purchases of digital goods and services distributed on Google Play … Starting
June 1, 2022, any app that is still not compliant will be removed from Google Play.”).
1053




            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          317
           Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 319 of 598




2020, several apps developed by Cracku, a developer providing online coaching and test preparation
material for MBA Exams, Banking Exams, SSC, and Railways exams, were removed from Google
Play due to the Google Play Store payments policy violation.


                     1054
                            Yet, Google does not apply the same standards to first party apps. For example,
even though Google found Epic to be in violation of the DDA for using its own payment system in
August of 2020, some Google first party apps were not in compliance with Google Play’s billing
policy.


                            1055



                   4.         Developers May Prefer Alternatives to Google Play Billing for Various
                              Reasons

            510.   Developers’ attempts to bypass Google’s payment policies to choose alternative in-
app billing services methods have revealed their preference for alternatives to Google Play Billing.


                                                                                                           1057
                                                                                                                  In
addition,                                                                              , including: 1058

       




1054
     Cracku, available at https://cracku.in/; Google, “App Name: SB I, IBPS PO, SSC, CAT Exam Preparation 2020,”
June 18, 2020, GOOG-PLAY-004696864-870, pp. 865 and 869.
1055
     Chu (Meta Platforms (formerly Google)) Deposition 212:18-213:2.
1056
     See, e.g., Google, “Play Payments Policy,” October 31, 2019, GOOG-PLAY-001088669.R-687.R, p. 5; Google,
“Update on Play,” GOOG-PLAY-000604882-902, pp. 1-2
                                                                                       ; Emails between Google
personnel,                                     March 11-24, 2017, GOOG-PLAY-000257629-633, pp. 2-3; Google, “Play
Billing Policy,” August, 2019, GOOG-PLAY-003334312-347, p. 3

1057
       See, e.g., Google, “Play Payments Policy,” October 31, 2019, GOOG-PLAY-001088669.R-687.R, at 673.R

1058
    Google, “Play Billing Policy,” August, 2019, GOOG-PLAY-003334312-347, p. 5. See also Google, “Play update
for Alphabet Board,” Q2, 2020, GOOG-PLAY-000559379.R-384.R, p. 4



               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        318
           Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 320 of 598




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            511.


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1059
       Feng (Google) Deposition, p. 315

1060
       Feng (Google) Deposition, pp. 180-181.
                                                                          See, Google, “Defendants’ Responses and
Objections to Consumer Plaintiffs’ First Set of Interrogatories” State of Utah et al. v. Google LLC et al. United States
District Court for the Northern District of California San Francisco Division, Case No. 3:21-cv-05227-JD, October 11,
2021, pp. 26-27.
1061
     Google,                          December, 2020, GOOG-PLAY-006997722.C-751.C, p. 3. See also, Email from
Rishi Chandra, Google, to Google personnel, March 21, 2017, GOOG-PLAY-000257629-633, p.2

1062
    Emails between Google personnel,                             October 22, 2014, GOOG-PLAY-004470512-516, pp. 1-
2; Google,                                                               February 2, 2015, GOOG-PLAY-000308691-
692, p.1.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           319
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 321 of 598



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           514.




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1063
       Google,                   December, 2020, GOOG-PLAY-006997722.C-751.C, at 723.C.
1064
       Google,                  December, 2020, GOOG-PLAY-006997722.C-751.C, at 734.C.
1065




1068
       Google,                        ,” August, 2017, GOOG-PLAY-000262353.R-389.R, p. 5.
1069
       Google,                           August, 2017, GOOG-PLAY-000262353.R-389.R, pp. 7-8.


                 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                  320
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 322 of 598




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           516.



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Specifically:

           517.
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1070
       Google,                              January 2021, GOOG-PLAY-006817773.R-890.R, p. 81.
                         see Feng (Google) Deposition, pp. 389-390 (




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1071
     Emails between Google personnel,                                                    December 16, 2016-
June 27, 2017, GOOG-PLAY-000840773-782, p. 7.
1072
     Emails between Google personnel,                                                    December 16, 2016-
June 27, 2017, GOOG-PLAY-000840773-782, p. 7. See also Samat (Google) Deposition, pp. 508-529.
1073
     Emails between Google personnel,                                                    December 16, 2016-
June 27, 2017, GOOG-PLAY-000840773-782, p. 2.
1074
     GOOG-PLAY-002438751, p. 1.
1075
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 323 of 598




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        518.
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                                     In May 2022, after Match Group filed a complaint against Google,
“alleging the company ‘illegally monopolized the market for distributing apps’ by requiring app
developers to use Google’s billing system and then taking up to a 30% cut on any in-app
purchases.” Google and Match Group reached an agreement that allows “its apps to remain on the
Google Play Store while offering alternate payment systems.” 1079

        519.     In spring 2022, Epic acquired Bandcamp, an online music platform. 1080 Epic wanted
to use an alternative payment system for Bandcamp because “Google’s stricter in-app purchase
requirements (which will demand that Bandcamp use Google’s billing system from June 1st) and
delayed payments (from a maximum 48 hours to as long as 45 days) would cause ‘irreparable harm’




1077
     Emails between Google personnel,                                                            December 16, 2016-
June 27, 2017, GOOG-PLAY-000840773-782, p. 7.
1078
     Google,                                       August, 2019, GOOG-PLAY-002438751-754, p. 3.
1079
     Competition Policy International (CPI), “Google Allows Match to Use Alternate Payments as the[y] Head to Trial,”
May 22, 2022, available at https://www.competitionpolicyinternational.com/google-allows-match-to-use-alternate-
payments-as-the-head-to-trial/ (hereafter “CPI (2022)”). See also “Stipulation and [Proposed] Order on Match’s Motion
for Temporary Restraining Order,” Match Group, LLC; Humor Rainbow, Inc; Plentyoffish Media ULC; and People
Media, Inc. v. Google LLC; Google Ireland Limited; Google Commerce Limited; Google Asia Pacific PTE. Limited;
and Google Payment Corp., United States District Court for the Northern District of California San Francisco Division,
Case No. 3:22-cv-02746-JD, May 19, 2022.
1080
     Sisario, Ben, “Gaming Giant Behind Fortnite Buys Bandcamp, an Indie Music Haven,” The New York Times, March
8, 2022, available at https://www nytimes.com/2022/03/02/arts/music/epic-games-bandcamp.html; Fingas, J., “Epic
Games is Acquiring Music Marketplace Bandcamp,” engadget, March 2, 2022, available at
https://www.engadget.com/epic-games-acquires-bandcamp-173446180.html.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         322
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 324 of 598




to both Epic and musicians.”1081 However, Epic games was worried that Google might pull the app
from its platform if it used an alternative payment system. 1082 Consequently, it filed for a
preliminary injunction to enjoin Google from “removing … or otherwise making unavailable the
app Bandcamp … on the basis that Bandcamp offers in-app payments through means other than
Google Play Billing.”1083 On May 20, 2022, Google and Epic reached an agreement that allows
Bandcamp to remain on the Google Play Store while offering alternate payment systems. 1084

        520.     Google coerces developers to use Google Play Billing even though it recognizes that
Google Play Billing may not be readily tailored to an app. For example, Google’s own app
YouTube1085 did not integrate with Google Play Billing because it lacked certain features. 1086




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1081
     Fingas, J., “Epic Asks Court to Stop Google’s Removal of Bandcamp from the Play Store (updated),” engadget,
April 29, 2022, available at https://www.engadget.com/epic-preliminary-injunction-google-bandcamp-app-
151821052.html.
1082
     Fingas, J., “Epic Asks Court to Stop Google’s Removal of Bandcamp from the Play Store (updated),” engadget,
April 29, 2022, available at https://www.engadget.com/epic-preliminary-injunction-google-bandcamp-app-
151821052.html.
1083
     “Joint Stipulation and [Proposed] Order Regarding Epic Games, Inc.’s Request for Preliminary Relief,” Epic Games
Inc. v. Google LLC et al., the United States District Court for the Northern District of California San Francisco
Division, Case No. 3:20-cv-05671-JD, May 20, 2022 (hereafter “Epic v. Google Re. Bandcamp”).
1084
     Epic v. Google Re. Bandcamp.
1085
     YouTube offers paid services including YouTube Premium, which allows users to view videos on the platform ad-
free in addition to other features, and YouTube TV, which enables users to stream live content from cable channels and
networks using an internet connection. See Moore, Ben, “YouTube Premium vs. YouTube TV: What’s the Difference?”
PCMag, August 5, 2021, available at https://www.pcmag.com/how-to/youtube-premium-vs-youtube-tv-whats-the-
difference.
1086
     Google, “Play Payments Policy,” October 31, 2019, GOOG-PLAY-001088669.R-687.R, at 673.R.
1087
     Chu (Meta Platforms (formerly Google)) Deposition, pp. 220, 223, and 224; Messages between Eric Chu and
Eunice Kim, Google personnel, June, 6, 2020, GOOG-PLAY-003600814-816.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         323
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 325 of 598




           521.
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1089
       OpenIAB, Github (last accessed Sept. 24, 2022), https://github.com/onepf/OpenIAB;




1090
       OpenIAB, Github (last accessed Sept. 24, 2022), https://github.com/onepf/OpenIAB;

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1092




               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          324
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 326 of 598




                 5.      Google’s Anticompetitive Tying Arrangement Affects Nearly All Developers
                         and Foreclosed Rival In-App Billing Services Providers

        522.     Google’s rules have forced nearly all developers to use Google Play Billing, with
few exceptions, therefore foreclosing a substantial part of the Android In-App Billing Services
Market for rival in-app billing service providers. For example, in September 2020, Sameer Samat,
Vice President Product Management at Google, posted on Google’s blog: 1093

        Less than 3% of developers with apps on Play sold digital goods over the last 12 months,
        and of this 3%, the vast majority (nearly 97%) already use Google Play’s billing. But for
        those who already have an app on Google Play that requires technical work to integrate our
        billing system, we do not want to unduly disrupt their roadmaps and are giving a year (until
        September 30, 2021) to complete any needed updates. And of course we will require
        Google’s apps that do not already use Google Play’s billing system to make the necessary
        updates as well.

        523.



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        524.     Given Google Play Store’s dominance in the Android App Distribution Market and
Google Play Billing’s very high usage among developers who distribute apps on the Google Play
Store, Google has a substantial share of the Android In-App Billing Services Market. Indeed, as
estimated in Section VI.C, in 2019 Google Play Billing’s market share was approximately 87% in
terms of revenues. Thus, I conclude that Google’s tying arrangement has affected a not insubstantial
volume of commerce in the tied product market.




1093
     Samat, Sameer, “Listening to Developer Feedback to Improve Google Play,” Android Developers Blog, September
28, 2020, available at https://android-developers.googleblog.com/2020/09/listening-to-developer-feedback-to.html.
1094
     Google, “Checkin with Hiroshi,” September 13, 2019, GOOG-PLAY-007346993-049, at 002.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       325
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 327 of 598




                  6.       Conclusion: Google Successfully Imposed an Anticompetitive Tie

         525.     Based on the evidence described above, I find that: (i) Google Play Billing is a
product distinct from the Google Play Store; (ii) Google has imposed rules requiring developers to
use Google Play’s Billing for all subsequent in-app purchases of digital content in the apps that
were downloaded through Google Play; (iii) these rules have been actively enforced by Google; (iv)
developers have been coerced into using Google Play Billing for purchases of in-app digital content
as a condition to distribute on Google Play Store; (v) developers have voiced concerns regarding
Google Play Billing and, in some instances, have preferred alternative in-app billing services; and
(vi) the rules have foreclosed a substantial part of the market for rival in-app billing service
providers. Thus, this tying arrangement has affected a substantial part of the Android In-App Billing
Services Market. I have also demonstrated that Google’s tie has created substantial foreclosure to
competing Android in-app billing service providers.

         B.       Google’s Anticompetitive Conduct in the In-App Billing Services
                  Market Has Allowed it to Impose Supracompetitive Commissions

         526.     Google’s anticompetitive tying arrangements have allowed it to charge
supracompetitive commissions. As I explained in Section VI, with a few exceptions, Google
charges a 30% commission for paid apps and in-app digital content sold through the Google Play
Store.1095 In what follows, I show that the commission on the Android In-App Billing Services
Market would have been lower under a competitive but-for world in which Google did not extend




1095
     Google, “Google Play Console Help, Service fees,” available at https://support.google.com/googleplay/android-
developer/answer/112622?hl=en&visit_id=637872098045257136-3276584470&rd=1. There are a few exceptions: (i)
starting July 1, 2021, the service fee “for each developer will be 15% for the first $1M (USD) of earnings you make
each year when you sell digital goods or services;” (ii) for automatically renewed subscriptions the service fee is 15%;
(iii) “As of December 18, 2021, for developers who offer an alternative in-app billing system in addition to Google
Play’s billing system for transactions with users in South Korea… the service fee for such transactions using the
Additional Billing System is equal to the service fee applicable for transactions via Google Play’s billing system
reduced by 4%.” See also Google Play Console Help, Changes to Google Play’s service fee in 2021, available at
https://support.google.com/googleplay/android-developer/answer/10632485. Also, in March 2022, Spotify announced
that “[u]sers who’ve downloaded Spotify from the Google Play Store will be presented with a choice to pay with either
Spotify’s payment system or with Google Play Billing.” See Spotify, “Spotify and Google Announce User Choice
Billing,” March 23, 2022 available at https://newsroom.spotify.com/2022-03-23/spotify-and-google-announce-user-
choice-billing/.


              NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          326
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 328 of 598




its market power from the tying to the tied product, hence not effectively foreclosing the Android
In-App Billing Services Market. Moreover, the commission would likely have been lower as
enhanced competition on the In-App Billing Services Markets would potentially lead to “laddering
up,” i.e., enhanced distribution and discoverability for apps, as discussed in section VII.B, hence
enhancing competition in the Android App Distribution Market as well.

               1.      Google Has Charged Commissions Substantially Above Its Marginal Costs
                       and Has Offered Lower Commissions on Several Occasions

        527.   In section VII.B.1, I explained that Google has charged a supracompetitive
commission that is substantially above marginal costs. In addition, I explained that Google was able
and willing to substantially decrease commission in the face of some limited competitive pressures
or other goals related to growth and success of its business.

        528.




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        529.




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1096
     Google,                                                                  March 5, 2020, GOOG-
PLAY-001291192.R-232.R (emphasis added).
1097
     GOOG-PLAY-001291192.R.
1098
     Rosenberg (Google) Deposition, p. 264 (emphasis added).
1099
     GOOG-PLAY-001291192.R, at 208.R and 210.R (emphasis added).


           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                   327
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 329 of 598




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1100
     GOOG-PLAY-001291192.R, at 208.R and 210.R.
1101
     “Defendants Google LLC, Google Ireland Limited, Google Commerce LTD., Google Asia Pacific PTE. LTD. and
Google Payment Corp.’s Answers and Objections to Developer Plaintiffs’ First Set of Interrogatories to Defendants,”
the United States District Court for the Northern District of California San Francisco Division, Google Play Store
Developer Antitrust Litigation, Case No. 3:20-cv-05792-JD, July 6, 2021, at pp. 13-15.
1102
     Google,                                                 November 2020, GOOG-PLAY-004684227.R-239.R, at
228.R and 237.R.
1103
     GOOG-PLAY-004684227.R, at 228.R and 237.R.
1104
     Google,                                                   April 2021, GOOG-PLAY-006998204.R-211.R, at 206.R.
1105
     Google,                                   GOOG-PLAY-000233314-319.
1106
     Email from Mike Herring, Google, to Ruth Porat, CFO at Google,
April 8, 2019, GOOG-PLAY-000000807-815, at 808

1107
       GOOG-PLAY-006998204.R, at 206.R.


              NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        328
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 330 of 598




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        532.




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        534.   Thus, the evidence above indicates Google’s ability and willingness to decrease
commission substantially in the face of some limited competitive pressures or other goals related to




1108
     GOOG-PLAY-001291192.R, at 202.R-206.R.
1109
     Google,                   December 2020, GOOG-PLAY-006997722-751, at 723.
1110
     GOOG-PLAY-006997722, at 734.
1111
     Google,                             March 2019, GOOG-PLAY-000542516.R-535.R, at 532.R.
1112
     Google,                                             September 13, 2019, GOOG-PLAY-007173383-
451, at 435.


          NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                 329
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 331 of 598




growth and success of its business (and in most cases, in the face of threat to its tying arrangement),
indicating that its 30% commission for GPB is supracompetitive.

               2.      Competitive But-For World Commission

       535.    As the evidence above indicates, (i) Google’s 30% commission is supracompetitive;
and (ii) Google was able and willing to substantially decrease commissions in the face of
competitive pressures or other goals related to growth and success of its business. Thus, it is my
opinion that, in a competitive but-for world in which Google had not pursued an anticompetitive
tying strategy and hence did not foreclose a substantial part of the Android In-App Billing Services
Market to potential competing in-app billing service providers, there would be enhanced
competitive pressure on Google. Many developers would become more price sensitive as they
would have more alternatives from which to choose and switch if desired. Developers would have
an increased ability to find a substitute to Google’s own payment system and, according to the
evidence above, this would discipline Google’s price setting power and hence its commission.

       536.    The lower commissions that Google has offered to various developers over time, as
described above, thus serve as upper bounds on what the commissions would look like in a
competitive but-for world because in the competitive but-for world competitive pressure on Google
would be what Google has faced so far in the actual world plus additional pressure due to enhanced
competition. In addition, the commissions would likely be lowered on both Android App
Distribution and In-App Billing Services Markets as enhanced competition on the In-App Billing
Services Markets would potentially lead to “laddering up” as discussed in section VII.B, hence
enhancing competition and lowering commissions on the Android App Distribution Market as well.

       537.    Given the above evidence, I take 15% as an upper bound on the commission in a but-
for world in which Google does not pursue an anticompetitive tying strategy: (i)




          NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                  330
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 332 of 598



                                                                                                    1113
                                                                                                           (ii)


         1114
                (iii)




                                                                             1115
                                                                                    and the maximum service fee
offered by those programs is 15%. Moreover, I am not aware of any evidence that Google’s margins
on the Google Play Store under these programs were negative.

                    3.     Competitive But-For World Commissions Are In-Line with Commissions on
                           Other App Stores

        538.        In section VII.B, I explained that comparing Google’s commission in the Google
Play Store to commissions offered by PC app stores is informative about whether Google’s
commissions for Android App Distribution and In-App Billing Services through the Google Play
Store are supracompetitive. In addition, I showed that commissions of some major PC app stores are
bounded above by Google’s commission of 30% and the lower commissions are in-line with the
commissions that Google has offered to various price sensitive developers over time.

        539.        In section VII.B I also showed that commissions offered by alternative Android app
stores are also bounded above by 30% and are generally below 30%, which provides yet another
indication that mobile app stores are able and willing to decrease their commissions below 30%.




1113
     GOOG-PLAY-001291192, at 208.R and 210.R.
1114
     GOOG-PLAY-006997722, at 723; GOOG-PLAY-001291192, at 208.R and 210.R.
1115
     “Defendants Google LLC, Google Ireland Limited, Google Commerce LTD., Google Asia Pacific PTE. LTD. and
Google Payment Corp.’s Answers and Objections to Developer Plaintiffs’ First Set of Interrogatories to Defendants,”
the United States District Court for the Northern District of California San Francisco Division, Google Play Store
Developer Antitrust Litigation, Case No. 3:20-cv-05792-JD, July 6, 2021, at pp. 12-14.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        331
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 333 of 598




                 4.      Direct Discounts to Consumers

        540.     In section VII.B, I explained that providing direct discounts to consumers is an
effective way to retain or acquire consumers when faced with competitive pressures. Google and
developers of other app stores have acknowledged this and have offered discounts to consumers in
the face of competitive threats.

        C.       Google’s Anticompetitive Conduct in the Android In-App Billing
                 Services Market Has Lowered Output and Harmed Innovation

        541.     In addition to allowing Google to charge supracompetitive commissions, it is my
opinion that Google’s tying has also resulted in reduced output and innovation. In a competitive
but-for world, in which the Android In-App Billing Services Market were not subject to tying
arrangements, there would be higher output and greater innovation. The output would be higher
because more developers would be willing to enter the market as their expected profits from doing
so would be higher given the lower commissions set by Google, and billing services options
available on the market. This would translate into increased supply (i.e., more apps and in-app
content available from developers).1116 Consequently, there would be a lower equilibrium price of
apps and in-app content and higher equilibrium output. 1117

        542.     In section VII.C, I estimate the increase in output and varieties (number of apps) in a
competitive but-for world using my model. Those output and variety increases would be similar if
Google did not impose anticompetitive tying arrangements. In my model, developers would create
new apps if it became profitable to do so. In a competitive but-for world, Google’s commission
would be lower and direct discounts to consumers would be higher hence making it more profitable
for developers to create and post new apps on Google Play. In section VII.C, I also show that lower
commissions would free up financial resources for developers to invest in capacity and innovation.




1116
     Mankiw, N. Gregory, Principles of Microeconomics, Fifth Edition, South-Western CENGAGE Learning, 2008
(hereafter “Mankiw (2008)”), pp. 304-305.
1117
     See Appendix F where I develop a model underlying my damages calculations. The model provides a mechanism
through which lower commission translates into increased supply of apps and in-app content, resulting into lower
equilibrium price and higher output.


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       332
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 334 of 598




        543.     Evidence in the record supports my opinion that absent Google’s anticompetitive
conduct, there would be increased innovation and more features of payment solutions available to
developers on Google Play.

        544.     Payment services providers other than Google Play Billing have various features that
are unavailable to app developers required to use Google Play Billing. For example, “Google Play's
billing system is a service that enables you to sell digital products and content in your Android
app.”1118 In contrast, other payment service providers are available across multiple platforms -
Amazon Pay, Braintree, PayPal, Square, and Stripe are a few examples of providers that are also
available on iOS.1119 In addition, Google Play Billing does not process payments for physical
goods.1120 In contrast, Amazon Pay, Braintree, PayPal, Square, and Stripe do. 1121


                              1122




                                1123




1118
     Google, “Google Play’s billing system overview,” June 29, 2022, available at
https://developer.android.com/google/play/billing.
1119
     Amazon Pay, “Support,” available at https://www.amazonpay.in/help/202030010; Braintree, “Accept and process
payments online,” available at https://www.braintreepayments.com/products/braintree-direct; PayPal, “Add payment
checkout to an app with PayPal Mobile Checkout SDK,” available at https://developer.paypal.com/limited-
release/paypal-mobile-checkout/; Square, “Payments,” available at https://developer.squareup.com/docs/payments;
Stripe, “Accept a payment using Stripe Elements and the Charges API,” available at
https://stripe.com/docs/payments/accept-a-payment-charges.
1120
     Google, “Google Play Developer Distribution Agreement,” available at https://play.google.com/about/developer-
distribution-agreement.html. See also Play Console Help, “Payments,” available at
https://support.google.com/googleplay/android-developer/answer/9858738.
1121
     Stripe, “A complete payment platform, engineered for growth,” available at https://stripe.com/en-gb-be/payments;
PayPal, “Seller Protection for Merchants,” available at https://www.paypal.com/us/webapps/mpp/security/seller-
protection; Amazon Pay, “For Merchants - Make Amazon's customers your customers,” available at
https://www.amazonpay.in/merchant; Braintree, “Accept and process payments online,” available at
https://www.braintreepayments.com/products/braintree-direct; Square, “Add a Physical Item to Square Online,”
available at https://squareup.com/help/us/en/article/7046-add-a-physical-product.
1122
     Google, “Play Billing Policy,” August 2019, GOOG-PLAY-003334312-347, at 316.
1123
     GOOG-PLAY-003334312, at 316.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         333
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 335 of 598




          545.     Google Play Billing is also not tailored to developers’ specific needs and
requirements and can be too generic.




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          546.     In Section VIII.A.4, I also discuss examples of various developers




          547.     Finally, requiring app developers to use Google Play Billing would also harm app
developers’ incentives to invest in and innovate their own payment solutions.



           1126




1124
       Chu (Meta Platforms (formerly Google)) Deposition, p. 282:


                                                                                                       .
1125
     Email from Eric Chu, Engineering Director at Google (former), to Prachi Gupta, Google, Will Aldrich, Google, and
Eunice Kim, Google,                                      July 31, 2020, GOOG-PLAY-001741853-854; Chu (Meta
Platforms (formerly Google)) Deposition, pp. 276-279.
1126
     Chu (Meta Platforms (formerly Google)) Deposition, pp. 219-223; PX 316, GOOG-PLAY-003600814, at 816; see
also Google,                         GOOG-PLAY-001088593-601, at 596




              NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          334
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 336 of 598




           548.



                                                               1127




                    1128


           549.




                                                          . 1129


                                                                                           ” 1130 So,
Google offered lower commission and a more advanced and flexible version of GPB when faced
with a threat of Spotify going consumption-only. This serves as an evidence of Google improving
the quality of its billing services as a result of threat of losing a customer.

           550.   In summary, the evidence suggests that there are billing service providers (or
developers having capability to provide billing services) that have features and quality that Google
Play Billing does not have. Moreover, those providers are better tailored to various developer needs




1127
       GOOG-PLAY-003600814, at 816.
1128
       Google,                                                        GOOG-PLAY-000560166-172
                                                                               at 166.
1129
       GOOG-PLAY-006997722, at 734.
1130
       GOOG-PLAY-006997722, at 725.


              NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                    335
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 337 of 598




as compared to Google Play Billing. However, since those providers are being foreclosed by
Google’s anticompetitive tie, developers are not enjoying all the benefits of additional features
offered by those providers. Finally, Google’s anticompetitive tie harms innovation in billing
services as it disincentivizes investment and development in this sphere - further limiting the
potential variety and quality of billing services to the developers.


IX.     Google’s Anticompetitive Conduct Has Harmed Consumers in the U.S.

        551.     Having established that Google’s anticompetitive conduct harmed competition, I
now present an economic model that can be used to quantify the extent to which Google’s conduct
harmed consumers. I explain my theoretical model, describe the components I use to estimate the
model, and present a summary of the damages in the Plaintiff States and nationwide during the
period from August 16, 2016 to May 31, 2022 (the date of the last transaction in the Google
transaction data). I also extrapolate the results through June 5, 2023, the date on which trial in this
case is set to begin. Damages by Plaintiff State/year are presented in Appendix I.

        A.       Model of Competition

        552.     I develop a model of monopolistic competition between apps, based on Church and
Gandal (1993), in which developers supply apps and in-app content and compete on prices charged
to consumers.1131 Entry of apps determines the number of apps in an app store. The model is
developed and explained in more detail in Appendix F.

        553.     The model has three stages and is in the tradition of models of monopolistic
competition.1132 Models of monopolistic competition feature a large number of firms that supply
differentiated products to consumers. The firms have a degree of market power because their
products are unique in certain aspect (they are differentiated), i.e., consumers would not be willing




1131
     Church, Jeffrey and Neil Gandal. “Complementary network externalities and technological adoption,” International
Journal of Industrial Organization 11, 1993, pp. 239-260 (hereafter “Church and Gandal (1993)”).
1132
     See e.g. Dixit and Stiglitz (1977); Church and Gandal (1993); Nair, Harikesh, Pradeep Chintagunta, and Jean-Pierre
Dube, “Empirical Analysis of Indirect Network Effects in the Market for Personal Digital Assistants,” Quantitative
Marketing and Economics, 2, 2004, pp. 23–58 (hereafter “Nair et al (2004)”).


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          336
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 338 of 598




to fully substitute to other products in response to the price changes. The degree to which
consumers would be willing to substitute to other products is one determinant of firms’ market
power. In the long run, firms enter or exit depending on the cost of entry. Firms keep entering up to
the point when it is no longer profitable for additional firms to enter the market. This further drive
down firms’ market power and prices.

       554.    In my model, in the first stage, the app developers make a decision to create an app
to post on the platform or not to do so (entry decision). If an app is posted then, in the second stage,
the app developer sets the app price (pricing decision). In the third stage, the consumer decides how
many transactions to make with app developers who have posted apps on the platform. The
consumer takes app prices, the number of available apps on the market, and Google’s direct
discounts to consumers as given when making a choice of how much to transact at each app, i.e.,
how to allocate her budget across various apps. This determines consumer’s demand for apps. In the
second stage, when an app developer makes her pricing decision, she takes demand and the
commission rate as given and sets price to maximize profits. At the point of making the entry
decision, the app developer compares its fixed cost of making the app to the expected profits from
the second and third stages of the model. The app developer enters if the expected profits cover its
fixed cost. As more apps decide to enter, the expected profits to each app falls (because competition
drives prices down and because more entrants means each captures smaller market share).

       555.    The model can be used to quantify two separate effects of Google’s conduct, as
compared to the but-for competitive world, and the associated damages: (i) the direct effect of an
inflated commission and later-introduced Play Points on prices (overcharge effect); and (ii) the
consumer welfare lost through decreased app variety while holding the app and in-app content
prices at the actual world level (variety effect). In addition, I calculate (iii) the combined welfare
effect of an inflated commission and later-in-time Play Points accounting for both the overcharge
and variety effects.

               1.      Direct Effect of Lower Commissions and Earlier Introduction of Play Points
                       on Prices

       556.    The overcharge effect results from a lower commission and from the earlier
introduction of Play Points given to consumers in the hypothetical world absent Google’s


           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                   337
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 339 of 598




anticompetitive conduct. A lower commission charged by Google can affect the prices consumers
pay for apps and in-app content through two mechanisms. The first results from a decreased
commission causing marginal revenue to rise relative to marginal cost. In other words, app
developers’ margins increase as the commission decreases. As a result of the lower commission, a
profit-maximizing developer would want to reduce price. I refer to this as a direct effect of a lower
commission on prices. The second mechanism is the downward pressure on prices caused by new
entry. All else being equal, a lower commission implies higher revenue per unit sold, and thus,
higher expected profits for developers, which facilitates entry of more apps. Consequently,
increased entry implies (i) a greater variety of apps and higher number of successful apps; and (ii)
fiercer competition, which leads to lower prices. Conservatively, my overcharge damages
calculation accounts only for the first of these two mechanisms, i.e., the direct effect as a result of
marginal revenue becoming higher than marginal cost if Google’s commission were to decrease.
Additionally, the earlier introduction of Play Points reduces the final prices that consumers pay, and
hence, affects the overcharge to consumers directly. My overcharge calculation accounts for this
effect.

          557.   I can solve the model to obtain a but-for price per transaction that consumers would
pay after accounting for Google’s but-for commission and price discount (Google’s but-for price
discount accounts for the but-for earlier introduction of Play Points); subtract that but-for price from
the actual price after Google’s actual price discount; and divide by the actual price after Google’s
actual price discount to get the percentage overcharge. Finally, I multiply the percentage overcharge
by the net consumer spend (netting out Google and developer discounts) over the damages period
(August 16, 2016 – June 5, 2023) to calculate damages due to this effect. The overcharge that I
calculate as a result of the lower commission in the but-for world equals the difference in Google’s
commissions (in $) between the actual world and the but-for world. In other words, the pure




            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                   338
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 340 of 598




overcharge calculation predicts that in the but-for world developers would have passed on to
consumers all the value of the reduction in commission in the form of lower app prices. 1133

         558.     For an illustration, suppose that 𝑝 is the price in the actual world, 𝑝 is the price in
the but-for world, 𝜏 is the commission in the actual world, and 𝜏 is the commission in the but-for
world. Then the overcharge to consumers as a result of higher commission (in $) would equal to
𝜏 𝑝 − 𝜏 𝑝 . That is, in my model, the price in the but-for world would fall to the point where 𝑝 −
𝑝 = 𝜏 𝑝 − 𝜏 𝑝 holds.1134

         559.     This result is independent from the app’s marginal cost in my model, as long as the
marginal cost is not zero. The reason why this is independent of marginal cost is that the optimal
price set by an app is equal to markup times the app’s marginal cost. 1135 Hence, the percentage
change in optimal prices set by firms would be independent of the marginal cost as it scales the
prices in the but-for and actual world by the same amount, in my model. As I demonstrate in
Section IX.B below, in general, marginal cost is likely to be greater than zero.

                  2.       Welfare Effect through Increased Varieties (Apps)

         560.     In addition to the direct effect on price, my model also considers a second effect
through which Google’s anticompetitive conduct harms consumers – the welfare lost in the form of
less app variety. I first consider, as an illustration, a hypothetical scenario in which prices are sticky
in the but-for world, (i.e., prices remain at the same level as in the actual world ( 𝑝 = 𝑝 )). In this
scenario, there are no overcharge damages, as, by assumption, prices do not change. Nonetheless, as




1133
     I understand that other trial experts in this case may opine on the question of whether consumers may have felt less
than 100% of the price effect due to market conditions. I have not been asked to opine on that question. However, the
model can easily be adapted to show the price and variety effects on consumers given different assumptions about the
market. To the extent that other experts in this case opine that consumers felt less than 100% of the price effect of
Google’s conduct, I reserve the right in rebuttal to testify about the effect of those different assumptions on my model’s
calculations.
1134
     See for example Anderson, Simon P., André de Palma, and Brent Kreider, “Tax Incidence in Differentiated Product
Oligopoly,” Journal of Public Economics, Vol. 81, 2001, pp. 173–192, at 172 (“[A]d valorem… taxes in an
oligopolistic industry with differentiated products and price setting (Bertrand) firms… may be passed on to consumer
by more than 100 percent…”).
1135
     See Landes, William M. and Richard A. Posner, “Market Power in Antitrust Cases,” Harvard Law Review, Vol. 94,
No. 5, 1981, pp. 937-996 (hereafter “Landes and Posner (1981)”), at pp. 937-939.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           339
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 341 of 598




I demonstrate below and describe in more detail in Appendix F, even in a world in which there is no
direct effect on price, there is still harm to consumers in the form of lost app variety.

         561.     My model demonstrates that, but for Google’s conduct, there would be a greater
variety of apps on the market, which would increase consumers’ utility. As I demonstrate below, the
loss of this utility benefit due to Google’s anticompetitive conduct can be quantified in dollar terms.
Analyzing or quantifying the preferences for and benefits of variety to consumers is common in the
economics literature.1136

         562.     While lower commissions decrease prices that consumers pay for downloads and in-
app purchases, as explained above, I shut down this price effect by holding price constant in the
model when quantifying the welfare effect through increased varieties; that is, I fix app and in-app
prices at the actual levels and consider only the welfare effects of increased varieties (or the number
of apps) due to the lower commissions and more Play Points in the competitive but-for world. Even
if app prices did not change in the competitive but-for world, developers would still expect higher
profits because lower commissions imply higher revenues per transaction and an earlier launch of
Play Points implies increased demand from consumers (as explained below, earlier launch of Play
Points translates into the higher direct discounts to consumers). These effects induce more entry
because developers would, in the hypothetical world, expect higher profits that are more likely to
cover developers’ fixed costs or make developing a new app more profitable than their next best
alternative option to developing an app, and hence, more apps would enter the market. 1137




1136
     Dixit, Avinash K. and Joseph E. Stiglitz, “Monopolistic Competition and Optimum Product Diversity,” The
American Economic Review, Vol. 67, No. 3, 1977, pp. 297-308 (hereafter “Dixit and Stiglitz (1977)”); Petrin, Amil,
“Quantifying the Benefits of New Products: The Case of the Minivan,” Journal of Political Economy, Vol. 10, No. 4,
August 2002 (hereafter “Petrin (2002)”); Brynjolfsson, Erik, Yu (Jeffrey) Hu, and Michael D. Smith, “Consumer
Surplus in the Digital Economy: Estimating the Value of Increased Product Variety at Online Booksellers,”
Management Science, Vol. 49, No. 11, 2003, pp. 1580-1596 (hereafter “Brynjolfsson et al (2003)”); Nair et al (2004),
pp. 25, 35, 43-45,
1137
     Because I do not allow prices to fall either because of the direct effects of lower commissions and higher Play
Points, or because of the increased competition between apps as more apps enter, the variety effect that I measure is
larger than it would be if prices adjusted. The reason is that if prices also adjusted downward, fewer firms would enter
given the lower prices. When I calculate the change in total consumer welfare, I account for changes in prices and
variety together.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           340
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 342 of 598




        563.     In my model, consumers intrinsically value varieties (more apps), and as a result,
their welfare improves in the competitive but-for world even if app prices do not decrease. The
model allows me to calculate the amount of money that one would need to give to consumers in the
actual world (under the actual prices and varieties) to generate the utility level that they would
experience in the competitive but-for world. For example, if the utility level in the but-for world
would be 5 and in the actual world it is calculated to be 3, I can quantify the dollar value that
provides consumers the utility levels of 3 and 5. This method for converting a welfare change to a
dollar equivalent is referred to as equivalent variation in the economics literature. 1138 I explain how
I derive the equivalent variation in Appendix F. The value in dollars of the foregone benefits of
additional apps is another source of damages to consumers.

                 3.      Total Welfare Effect of Lower Commissions or Earlier Launch of Play
                         Points

        564.     In fact, in a world absent Google’s challenged conduct, consumers would have
benefited from both effects described above. Thus, the total welfare effect includes both welfare
effects due to the price decrease and welfare effects due to the increased varieties. Consumers
benefit directly from lower prices, which enable them to buy more products and more of each
product. On the other hand, the lower commission and earlier introduction of Play Points would
increase developers’ profits and induce more entry and competition. As a result, consumers also
benefit from more varieties. To calculate the total damages, I convert the total welfare change to
dollar equivalent as explained in Section IX.A.2 above, the details of which are described in
Appendix I.

        565.     One thing to note is that, unlike the welfare effect through increased varieties
described in Section IX.A.2 above, the total welfare effect allows for prices to change as a result of
lower commission and higher Play Points as well as increased competition between apps as more




1138
    For a discussion about notions of equivalent and compensating variation, see Mas-Colell, Andreu, Michael D.
Whinston, and Jerry R. Green, “Microeconomic Theory,” Oxford University Press, June 1995 (hereafter “Mas-Colell et
al (1995)”), pp. 80-91. See also Varian, Hal R., “Intermediate Microeconomics: a Modern Approach,” Eighth Edition,
New York, NY:W.W. Norton & Company, 2010 (hereafter “Varian (2010)”), pp. 258-262.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       341
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 343 of 598




apps enter. Since the prices decrease, this puts downward pressure on developers’ profits and
induces less entry (and hence less variety) compared to the case where I assume that prices are
sticky and calculate the welfare effect through increased variety (see SectionIX.A.2). Thus, the
overcharge damages from Section IX.A.1and damages due to foregone varieties from Section
IX.A.2do not add up to what I refer to as the total welfare effect damages. However, the overcharge
damages from Section IX.A.1are included in the total welfare effect damages, and can be compared
with them

        B.      Developer Marginal Costs

        566.    As noted above, my model requires that marginal cost not be equal to zero. A
developer’s marginal costs could potentially include customer support costs, hosting costs, user
acquisition costs, salaries and wages, and costs associated with creating new versions and upgrading
in-app content, to the extent these costs scale up with the number of downloads and sales of in-app
content. Based on my review of evidence in the record, I find these costs are unlikely to be zero.


                                                                                    1139




                                                                   1140


        567.    Those costs can be considered marginal costs because, to increase sales (or continue
to generate sales in future periods) or support existing customers, an app would need to pay more
for advertising and marketing and pay wages (that is, an app would need to keep buying labor hours
to continue selling its app over time and providing customer support). In general, those labor hours




1139



1140



        See also GOOG-PLAY-001058642, at 682, 779



             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                    342
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 344 of 598




may, for example, include costs related to certain ongoing maintenance-related tasks after app
development.1141

        568.     Advertising and marketing costs on their own can scale with sales and can be
nontrivial. For example, “getting a game into the hands of players… includes testing, marketing,
making a trailer, localisation, advertising” and so on.1142 “For a bigger project[], marketing budget
can equal up to 50% of the development budget.” 1143

        569.     Moreover, as noted below, developers use various methods to advertise their apps
and many of those methods use cost per download/install/acquisition pricing strategies, and thus
scale with sales:

           Cost-per-install (CPI) is a metric used to assess the cost a developer incurs for every
            additional install (customer) associated to some mobile app marketing campaign.
            Specifically, “publishers place digital ads across a range of media in an effort to drive
            installation of the advertised application. The brand is charged a fixed or bid rate only
            when the application is installed.”1144 CPIs may be nontrivial; for example, in 2021, the
            average mobile app CPI was $5.28 in North America.1145

           Customer Acquisition Cost (CAC) is a metric calculated by dividing total spend by the
            number of customers: “For example, if the same ad campaign cost $5,000 and it
            acquired 1000 new users, the CAC is $5,000/1000 or $5 per new user.” 1146




1141
     Ghose and Han (2014), p. 1474 (“[O]ngoing marginal costs arise from various maintenance tasks after app
development…”).
1142
     Auroch Digital, “How much does it cost to make a game?” August 24, 2021, available at
https://www.aurochdigital.com/blog/2021/8/19/how-much-does-it-cost-to-make-a-game.
1143
     Rocket Brush Studio, “HOW MUCH DOES IT COST TO DEVELOP A GAME,” May 6, 2022, available at
https://rocketbrush.com/blog/how-much-does-it-cost-to-develop-a-game.
1144
     Dogtiev, Artyom, “Cost Per Install (CPI) Rates (2021),” Business of Apps, April 26, 2022, available at
https://www.businessofapps.com/ads/cpi/research/cost-per-install/
1145
     Dogtiev, Artyom, “Cost Per Install (CPI) Rates (2021),” Business of Apps, April 26, 2022, available at
https://www.businessofapps.com/ads/cpi/research/cost-per-install/
1146
     App Radar, “Key Metrics to Monitor for Subscription Apps,” April 21, 2022, available at
https://appradar.com/de/blog/key-metrics-to-monitor-for-subscription-apps.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                        343
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 345 of 598




             “CPA often stands for cost per action or cost per acquisition. This takes CPI one step
              further; not only does someone need to click on an ad, but they also need to take a
              designated action, like filling out a form or downloading an app, before an advertiser is
              charged. This pricing model is typically used by advertisers and marketers with ad
              campaign goals further down the proverbial funnel. Similarly, some campaigns -
              particularly for companies with an app-centric business model - work on a CPI (cost per
              install) basis.”1147

         570.     For some apps, marginal cost may include content licensing costs, particularly for
apps that offer streaming services like Netflix, SoundCloud, Sirius, Pandora, Spotify, etc. Such apps
may use licensed intellectual property based on a per consumer/transaction basis. For example,
Netflix uses statistical models to “determine expected hours of viewing for each piece of content
over its license period” and compares “cost per hour viewed against other ‘like’ content deals (i.e.,
exclusive versus non-exclusive, TV versus movies, etc.).” 1148 In this way, it evaluates the content
costs as an expected per unit measure. Netflix also incurs costs in producing original content and
has increased its investment in original series and movies based on their success, a measure of
which is their ability to generate the acquisition of new members and user engagement. In answers
to its “Top Investor Questions,” Netflix states: “Given the success we've had with our original
series, we are increasing our investment in this area and we expect the % of our content spend on
original series to increase over time,” and “[w]e evaluate the performance of our originals several
ways. We measure the impact of our originals on our ability to acquire new members and
engagement, which is correlated with retention of existing members. We also seek reasonable
economics relative to other exclusive content on a cost per hour viewed. We also take into account
critical acclaim and awards for our originals and the impact original series may have on enhancing
our brand and attractiveness of our service which helps with member growth.” 1149 Thus, these costs




1147
     Inmobi, “How Are In-App Advertising Rates Calculated?” January 22, 2019, available at
https://www.inmobi.com/blog/2019/01/22/how-are-in-app-advertising-rates-calculated.
1148
     Matthew Ball, “Netflix Is a Product & Technology Company (Netflix Misunderstandings, Pt. 2),” May 12, 2018,
available at https://www matthewball.vc/all/netflixproduct.
1149
     Netflix, “Top Investor Questions,” available at https://ir netflix.net/ir-overview/top-investor-questions/default.aspx.


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                            344
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 346 of 598




may be considered marginal cost because incurring costs to produce content would be associated
with making additional sales.
                                                                     1150


        571.     Hosting and cloud computing costs are also marginal costs because they scale up
with the number of users or usage.1151 Developers can rent computing resources (servers) instead of
buying a fixed amount of servers that run continuously. This approach allows developers to pay
only for the capacity they use.1152 For example, Epic Games and Netflix purchase such services. 1153
Finally, customer support and some maintenance costs are also marginal costs as they can scale
with the number of users.1154 Thus, collectively the evidence above suggests that the average
marginal cost is not zero.

        572.     In my model, I assume that all developers have the same marginal cost 𝑐.That
assumption is natural if firms set prices before learning their marginal cost. 1155 In that case, the




1150

1151
     Angerhofer, Tirza J. and Roger D. Blair, “Economic Reality at the Core of Apple,” The Antitrust Bulletin, Vol. 66,
No. 2, 2021, pp. 308-321 (hereafter “Angerhofer and Blair (2021)”), at p. 315 (“Consider an app that interacts with the
internet in any way, such as online games, rideshare apps, or banking apps. In these cases, server traffic and therefore
costs associated with additional server space and maintenance, which the app developer must bear, scale with the
number of users.”); See also, Francis, Paul, “Mobile App Maintenance Costs,” The BHW Group, January 16, 2017,
available at https://thebhwgroup.com/blog/mobile-app-maintenance-costs; VentureBeat, “Zoom’s surging free user base
dents margins as cloud costs rise,” December 1, 2020, available at https://venturebeat.com/business/zooms-surging-free-
user-base-dents-margins-as-cloud-costs-rise/.
1152
     Amazon Web Services, “Amazon GameLift Pricing,” available at https://aws.amazon.com/gamelift/pricing/.
1153
     Amazon Web Services, “Epic Games Delivers Entertainment Experiences at Global Scale on AWS,” 2021,
available at https://aws.amazon.com/solutions/case-studies/epic-games/?did=cr_card&trk=cr_card; and Amazon Web
Services, “Netflix on AWS,” available at https://aws.amazon.com/solutions/case-studies/netflix/.
1154
     Angerhofer and Blair (2021), p. 315 (“[T]he cost of user support may be directly related to volume. Although the
App Store takes care of much of the support for downloading the apps, the app developers need to interact with users
who have questions about the app itself.”); Angerhofer and Blair (2021), footnote 33.
1155
     Developers are likely to have a degree of uncertainty about marginal costs.
                                                                           Also, CPI is likely to be uncertain to
developers.                                                                   This bidding process determines CPI for a
given sale. In this bidding process, a developer may end up paying less than its bid per install because developer “will
only pay enough to beat the next best ad in the ad rank.” See AppBrain, “The AppBrain advertising system,” available
at https://www.appbrain.com/info/help/advertiser-resources/adsystem.html. Uncertainty about marginal costs is also




            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                          345
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 347 of 598




interpretation of the marginal cost in my model is that it is an average marginal cost, which is an
approximation to the reality in which developers have some uncertainty about various features of
the market, including whether their app will be successful. A recent paper by Janßen et al., which
uses data on apps in the Google Play Store to study the effect of the General Data Protection
Regulation (“GDPR”) in the EU on entry of new apps and innovation, finds “strong evidence that
app success is unpredictable.”1156 Also, I show in Appendix F that the pricing equation that I derive
closely approximates the average pricing equation that would arise in a model with heterogeneous
marginal costs. While the costs discussed above may vary across different apps, the predicted price
from my model approximates the average price that would arise, in that setting.

         573.     Finally, as long as the marginal cost is non-zero and an estimate of app’s own-price
demand elasticity is given, the level of actual price determines the magnitude of marginal cost. This
follows from the Lerner’s Index which states that price equals marginal cost multiplied by the
markup over marginal cost. If markup is given, then the level (scale) of price determines marginal
cost. For example, if markup is 1.5 and price is $9, then the implied marginal cost would be
$9/1.5=$6. Now, under the same markup, if instead price is $18, the implied marginal cost would be
$18/1.5=$12.1157

         574.     Moreover, if the marginal cost from the Lerner Index is more than what one would
obtain using alternative methods for estimating marginal cost (e.g., benchmarking or regression




often assumed in economic literature. See for example Hansen, Gary D., “Indivisible labor and the business cycle,”
Journal of Monetary Economics, Vol. 16, Issue 3, 1985, pp. 309-327 (hereafter “Hansen (1985)”); Ireland, Peter N., “A
method for taking models to the data,” Journal of Economic Dynamics and Control, Vol. 28, Issue 6, 2004, pp. 1205-
1226 (hereafter “Ireland (2004)”). Finally, some seminal work on firm entry assumes same marginal costs across firms.
See for example Berry, Steven T., “Estimation of A Model of Entry in the Airline Industry,” Econometrica, Vol. 60, No.
4, 1992, pp. 889-917, at p. 894; Bresnahan, Timothy F. and Peter C. Reiss, “Entry and Competition in Concentrated
Markets,” Journal of Political Economy, Vol. 99, No. 5, 1991, pp. 977-1009, at pp. 988-993.
1156
     Janßen, et al (2022) p. 22. For Dynamic Stochastic General Equilibrium models in macroeconomics that allow for
aggregate technology shocks to the production process and hence uncertainties about the future marginal costs, see
Hansen; (1985); Ireland (2004).
1157
     Using Lerner’s index to recover marginal cost or elasticity is a standard methodology in economics. There are
various methodologies and ways of using the information contained in the index to recover marginal costs or
elasticities, but generally these methodologies make use of a firm’s profit maximization condition (or price setting rule)
to recover marginal cost or elasticity. See, e.g. Berry, S., J. Levinsohn, and A. Pakes, “Automobile prices in market
equilibrium” Econometrica, Vol. 63, No. 4, July 1995, pp. 841–890 (hereafter “BLP (1995)”) pp. 853-854, 875-885;
Brynjolfsson et al (2003), p. 1586.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           346
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 348 of 598




approach), that would indicate that my elasticity estimate is too conservative (i.e., too high, which
implies that I underestimate damages). Indeed, I am using the elasticity estimate from Ghose and
Han (2014), which is more conservative than the estimate I derive using Google’s data, as described
in Section IX.C.As I showed above, a low marginal cost is rationalized by a higher markup over
marginal cost in my model: if the marginal cost is low, then firms must be enjoying high markups
that rationalize the observed high prices in the data. Firms can set high markups if consumers are
less willing to substitute to competing apps (i.e., if apps’ own-price elasticity of demand is low).
Furthermore, if apps’ own-price elasticity of demand is low, then consumers value varieties more as
they view each variety as being more unique and difficult to substitute to other varieties. In this
instance, the damages due to foregone varieties would be higher.

        575.    An assumption in my model of entry is that all apps have the same expected quality.
As described above, that is consistent with recent evidence from Janßen et al. (2022). They use the
General Data Protection Regulation in the European Union, which imposed restrictions on the way
in which apps may handle personal data, as an exogenous increase in the cost of producing and
operating an app. They show that the GDPR reduced the number of new apps. However, the share
of new apps which were successful did not change after the GDPR, which the authors interpret as
evidence that app success is unpredictable.1158

        C.      Estimating Apps’ Own Price Elasticity of Demand

        576.    My theoretical economic model generates a regression equation that is used to
estimate apps’ own price elasticity of demand, which is required to calculate the welfare effects
through the increased varieties, total welfare effects, and associated damages. The regression
estimates the effect of prices on the demand for apps and in-app content. A standard linear
regression of log of quantity of items (apps or in-app content) purchased on the log of prices, 1159 in
which I control for app, time, and app purchase type (i.e., app download, subscription, or other type




1158
    Janßen et al (2022), pp. 1, 22-24.
1159
    For a discussion of OLS method, see Wooldridge, Jeffrey M., Introductory Econometrics: A Modern Approach,
Fifth Edition, Mason, OH: South-Western, Cengage Learning, 2009 (hereafter “Wooldridge (2009)”), Chapter 3.


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                      347
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 349 of 598




of in-app content) fixed effects, may be problematic if prices are endogenous. That is, standard
linear regression does not identify a causal relationship between prices and demand. I correct for
such endogeneity by using an instrumental-variable (“IV”) regression, which is a standard
approach in econometrics.1160 I use app and in-app content sales tax rates as instruments for prices,
based on a framework in the academic literature. 1161 As explained by Zoutman et al. (2018), tax
rates can serve as a source of exogenous variation in prices for consumers: “a standard assumption
in models of taxation … is that the supply of a good depends on the before-tax price, whereas
demand depends on the price after taxation.” 1162 A technical description of the regression and how it
relates to my damages model is included in Appendix F.

        577.     To estimate apps’ own price elasticity of demand, I use the monthly app revenue data
produced by Google, from which I calculate the quantity of transactions, prices, and tax rates on a
monthly basis for each app package name and app purchase type combination in the data. I
understand these data include paid- for purchases only; transactions relating to free
purchases/downloads are not included in the data. 1163 In addition, I understand the data include U.S.
consumers and worldwide developers. 1164 Relevant to my analyses, the data include the quantity of
the product purchased by consumers, consumer expenditure on app and in-app content, sales taxes
on those purchases, and the type of purchase (i.e., paid download, subscription service, or other in-
app content).

        578.     My regression results are presented in Exhibit 71 below.




1160
      For a discussion of IV method, see Wooldridge (2009), Chapter 15.
1161
      See, e.g., Zoutman, Floris T., Evelina Gavrilova, and Arnt O. Hopland, “Estimating Both Supply and Demand
Elasticities Using Variation in a Single Tax Rate,” Econometrica, Vol. 86(2), 2018, pp. 763-771 (hereafter “Zoutman et
al. (2018)”). See also Dearing, Adam, “Estimating structural demand and supply models using tax rates as Instruments,”
Journal of Public Economics, Vol. 205, 2022 (hereafter “Dearing (2022)”).
1162
     Zoutman et al. (2018), p. 764.
1163
     Letter from Brian C. Rocca to Gregory Arenson, October 11, 2021.
1164
     See Letter from Brian C. Rocca to Melinda R. Coolidge, September 3, 2021, p. 2; Letter from Brian C. Rocca to
Steve Berman, Hae Sung Nam, Yonatan Even, and Brendan Glackin, February 17, 2022, p. 1.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         348
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 350 of 598




                                                          Exhibit 71




Notes:
1.     ***, **, and * denote statistical significance at 1%, 5%, and 10% levels, respectively.
2.     The data are limited to the following device types: “DEVICE_FRONTEND_PHONE,”
       “DEVICE_FRONTEND_TABLET,” and missing device type values.
3.     The regression uses data for August 2016 to December 2021. The data are limited to the top apps by total consumer
       spending net of developer discounts between January 2012 and December 2021 that cover 95 percent of consumer
       spending net of developer discounts in the data.
4.     Data are aggregated at year/month/app/purchase type level.
5.     Price after tax is used in the regressions. Prices and tax rates are calculated using consumer spend net of developer
       discounts.
6.     Data are demeaned to account for app fixed effects.
7.     The IV model is implemented using 2SLS method and uses log of one plus sales tax rate as an instrument.
8.     To determine whether the instrument is weak, I use Kleibergen-Paap rk Wald F-Statistic and Stock-Yogo critical
       values.

Sources: Google Monthly App Revenue Data.
           579.     As noted above, the linear specification indicates the need for an exogenous
instrument that affects price independently of other demand drivers. Using log of tax rate plus one
as an instrument, the IV specification provides a negative elasticity of -1.736.

           580.     In their paper, “Estimating Demand for Mobile Applications in the New Economy,”
Ghose and Han (2014) estimate an expected own price elasticity on Google Play using a nested
logit demand model and a sample of paid and free apps on Google Play. 1165 Their expected own
price elasticity estimate of -3.731 is not dissimilar from my result. 1166 In order to estimate welfare




1165
     Ghose, Anindya and Sang Pil Han, “Estimating Demand for Mobile Applications in the New Economy,”
Management Science, Vol. 60, No. 6, 2014, pp. 1470-1488 (hereafter “Ghose and Han (2014)”).
1166
     Ghose and Han (2014), p. 1482.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                             349
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 351 of 598




effects of increased varieties and corresponding damages, since the elasticity estimate from Ghose
and Han (2014) produces slightly more conservative results than the elasticity estimate from my
model, I have chosen to use their estimate. Moreover, Ghose and Han (2014) also use the expected
own price elasticity of -3.731, that they estimate, to compare effects of different pricing strategies
on app demand for various apps.1167

           581.    Models with a constant elasticity of substitution are used often in the economics
literature. For example, in the international trade literature, the constant elasticity of substitution
assumption has been used when studying trade between countries for a wide variety of
differentiated goods, including papers published in the most highly regarded economic journals. 1168
For example, Bernard et al (2003) study the impact of dollar appreciation and globalization on
productivity, plant entry and exit, and employment in U.S. manufacturing. Under the constant
elasticity of substitution assumption, they analyze U.S. plant-level data that includes over 200,000
plants.1169 Additionally, Nair et al (2004) study indirect network effects in the market for Personal
Digital Assistants (PDAs), and, in estimating demand for software available on PDAs, they assume
that consumers of software have constant elasticity of substitution preferences. 1170

           582.    I also run several sensitivities on my baseline regression model, (i) keeping various
combinations of device types; and (ii) using various thresholds to determine the top apps by total
consumer spending net of developer discounts between August 2016 and 2021. The results are
presented in Exhibit 72 and Exhibit 73 below.




1167
       Ghose and Han (2014), pp. 1482-1484.
1168
     See, e.g., Helpman, Elhanan, Marc Melitz, and Yona Rubinstein. “Estimating trade flows: trading
partners and trading volumes,” Quarterly Journal of Economics, Vol. 123, No. 2, 2008, pp. 441-487; Bernard, Andrew,
B., Jonathan Eaton, J. Bradford Jensen, and Samuel Kortum, “Plants and Productivity in International Trade,” American
Economic Review, Vol. 93, No. 4, 2003, pp. 1268-1290;
1169
     Bernard et al (2003), pp. 1269, 1273-74, 1282, 1289.
1170
     Nair, Harikesh, Pradeep Chintagunta, and Jean-Pierre Dube, “Empirical Analysis of Indirect Network Effects in the
Market for Personal Digital Assistants,” Quantitative Marketing and Economics, 2, 2004, pp. 23–58 (hereafter “Nair et
al (2004)”), at p. 23 and p. 35.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         350
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 352 of 598




                                                         Exhibit 72




Notes:
1.   ***, **, and * denote statistical significance at 1%, 5%, and 10% levels, respectively.
2.   The data for the regressions including “All Devices” are limited to “DEVICE_FRONTEND_PHONE,”
     “DEVICE_FRONTEND_TABLET,” “PLAY_RECURRENCE_TASK_SERVICE,” “GOOGLE_TV,”
     “PAYMENTS_BUY_FLOW,” “BATTLESTAR_FRONTEND,” and missing/unknown device types.
3.   The data are limited to the top apps by total consumer spending net of developer discounts between 2012 and 2021
     that cover 95 percent of consumer spending net of developer discounts in the data. Additionally, the regressions
     utilize data between August 2016 and 2021 only.
4.   Data are aggregated at year/month/app/purchase type level.
5.   Price after tax is used in the regressions. Prices and tax rates are calculated using consumer spend net of developer
     discounts.
6.   Data are demeaned to account for app fixed effects.
7.   The IV model is implemented using 2SLS method and uses log of one plus sales tax rate as an instrument.
8.   To determine whether the instrument is weak, I use Kleibergen-Paap rk Wald F-Statistic and Stock-Yogo critical
     values.

Sources: Google Monthly App Revenue Data.
                                                         Exhibit 73




Notes:
1.   ***, **, and * denote statistical significance at 1%, 5%, and 10% levels, respectively.




             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           351
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 353 of 598



2.     The data are limited to the top apps by total consumer spending net of developer discounts between 2012 and 2021
       that cover 99, 97, 95, and 90 percent of consumer spending net of developer discounts in the data, respectively.
       Additionally, the regressions utilize data between August 2016 and 2021 only.
3.     Data are aggregated at year/month/app/purchase type level.
4.     Price after tax is used in the regressions. Prices and tax rates are calculated using consumer spend net of developer
       discounts.
5.     Data are demeaned to account for app fixed effects.
6.     The IV model is implemented using 2SLS method and uses log of one plus sales tax rate as an instrument.
7.     To determine whether the instrument is weak, I use Kleibergen-Paap rk Wald F-Statistic and Stock-Yogo critical
       values.

Sources: Google Monthly App Revenue Data.
           583.




           D.       Methodology for Calculating Damages

           584.     In this section, I explain a methodology for quantifying damages based on the direct
price effects, the welfare effect through increased variety, and total welfare effects described in
Section IX.A. In Section IX.E,I then demonstrate my model’s calculations of damages for
consumers in the Plaintiff States, by year, for the periods August 16, 2016, through May 31, 2022,
and August 16, 2016, through June 5, 2023. I also calculate damages for consumers in all states.

           585.     For my damages calculations, I use Google transactions data to assess damages to
consumers by state, for the Plaintiff States, and year. I first aggregate these data at the state/app
purchase type/year level. I understand these data include paid for purchases only; transactions
relating to free purchases/downloads are not included in the data. 1171 In addition, I understand these
data include U.S. consumers and worldwide developers. 1172 Relevant to my analyses, the data




1171
   Letter from Brian C. Rocca to Gregory Arenson, October 11, 2021, p. 2.
1172
   Letter from Brian C. Rocca to Melinda R. Coolidge, September 3, 2021, p. 2; Letter from Brian C. Rocca to Steve
Berman, Hae Sung Nam, Yonatan Even, and Brendan Glackin, February 17, 2022, p. 1; Letter from Brian C. Rocca to
Gregory Arenson, April 16, 2021, pp. 2-3; Letter from Brian C. Rocca to Gregory Arenson, May 5, 2021, p.2.


                NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                             352
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 354 of 598




include quantity of the product purchased by the consumer as part of the transaction, consumer
expenditure on app and in-app content, and the number of Play Points earned.

       586.    For each of the three damages effects (direct price effects, the welfare effect through
increased varieties, and total welfare effects), I calculate three versions of damages corresponding to
the hypothetical world in which Google does not have a monopoly in the Android App-Distribution
Market, and hence there is competition in Android App Distribution, and also has not tied its
Android app distribution services to the use of Google Play Billing:

          Pooled (Android App Distribution and Android In-App Billing Services) Markets with
           but-for commission and Play Points effects;

          Pooled (Android App Distribution and Android In-App Billing Services) Markets with
           but-for commission effects but no Play Points effects (i.e., the but-for Play Points is set
           to equal actual Play Points); and

          Pooled (Android App Distribution and Android In-App Billing Services) Markets with
           but-for Play Points effects but no commission effects (i.e., the but-for commission is set
           to equal actual commission);

       587.    Similarly, for each of the three damages effects (direct price effects, the welfare
effect through increased varieties, and total welfare effects), I also calculate three versions of
damages corresponding to the scenario in which Google has a legitimate monopoly in Android App
Distribution but engages in anticompetitive tying:

          Android In-App Billing Services Market with but-for commission and Play Points
           effects;

          Android In-App Billing Services Market with but-for commission effects but no Play
           Points effects; and

          Android In-App Billing Services Market with but-for Play Points effects but no
           commission effects.




           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                   353
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 355 of 598




                 1.      Direct Effect of Lower Commissions and Greater Play Points on Prices

        588.     The overcharge calculation is based on equation E.5 in Appendix F, which uses the
following inputs for the quantification of damages:

           Consumer net expenditure, which is gross consumer expenditure net of Google and
            developer discounts;

           Google’s actual commission, which is Google’s commission (in $) as a share of the
            gross consumer expenditure net of developer discounts;

           Google’s actual price discount to consumers, which is Google discounts, including Play
            Points, as a share of the gross consumer expenditure net of developer discounts;

           Google’s but-for commission, which is 15 percent in both markets as explained in
            Sections VII and VIII; and

           Google’s but-for price discount to consumers.

        589.     For the latter, I assume that, in a world in which Google faced competition in
Android App Distribution, Google would have introduced its Play Points discounts to consumers
earlier. As discussed in Section VII.B.4,several app stores have pursued direct discount/loyalty
programs to retain or attract consumers, and Google introduced Play Points in Japan and Korea in
response to competition from Amazon and OneStore. Google launched Play Points in South Korea
approximately one year following the regulatory change in South Korea and ONE store’s
subsequent reduction of its commission to 20% (or 5% if developers choose their own billing
service provider).1173 While Google’s discount/loyalty program for consumers may likely would
have offered even more generous rewards in a world with greater competition, to be conservative I
have assumed that the price discount due to Play Points in the but-for world would be comparable to




1173
    See Mu-Hyun, Cho, “Google Play introduces reward points in South Korea,” ZDNet, April 22, 2019, available at
https://www.zdnet.com/article/google-play-introduces-reward-points-in-south-korea/; Na, Hyun-joon and Minu, Kim,
“Korean app market One Store vows to go global in 2022 with more popular games,” Pulse, August 24, 2021, available
at https://pulsenews.co.kr/view.php?year=2021&no=816068.
https://pulsenews.co.kr/view.php?year=2021&no=816068; GOOG-PLAY-000286779.R-847.R, at 842.R; GOOG-
PLAY-000953420.R-460.R, at 422.R.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                       354
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 356 of 598




the same as the price discount in the actual world but that these discounts due to Play Points would
have started earlier, approximately one year after the launch of the Google Play Store. I therefore
extend Google’s actual Play Points from the period 2020- May 2022 to previous years. More
specifically, I (i) calculate the but-for price discount due to Play Points over 2020-May 2022 by
dividing the dollar value of total Play Points (assuming 100 Play Points equals $1) by the gross
consumer expenditure net of developer discounts; (ii) multiply this by the gross consumer
expenditure net of developer discounts from August 16, 2016 through 2019; and (iii) add this
amount to the actual Google discounts from August 16, 2016 through May 2022, and divide that by
the gross consumer expenditure net of developer discounts from August 16, 2016 through May
2022.1174

         590.     Using equation E.5 in Appendix F, I calculate a common percentage overcharge
across Plaintiff States and relevant years, which I multiply by the net consumer expenditure to
obtain the damages. To allocate damages across relevant state/years, I use the corresponding net
consumer spends. To account only for the share of smart mobile devices , in allocating damages
across state/years, I multiply net consumer spend by the share of net consumer spend for smart
mobile devices for each year using Google’s monthly app revenue data. 1175

         591.     Finally, to extrapolate damages up to June 5, 2023, I regress net consumer spend on
a constant and time trend using data for the period 2018-May 2022 to estimate the parameters of the
regression model which I then use to predict net consumer spend for the extrapolation period.
Consequently, for the extrapolated period, I allocate net consumer spend proportionally by state
according to the percent distribution of net spend over states for the years 2018 through 2019. To
only account for the share of smart mobile devices in damages, for the extrapolated period, I
calculate the compounded annual growth rate of the share of net consumer spend for phones, tablets




1174
     I reserve my rights to update this analysis, if requested, to assume that Google would have launched the Play Points
program at a later date.
1175
     Note that Google in its correspondence regarding the transactions data stated that “We understand “device_class”
may not be tracked accurately by Google and are investigating the burden of providing this information.” (10/11/2021
Letter from Brian C. Rocca to Gregory Arenson, p.12). Thus, I use ‘device_type’ field from Google Monthly App
Revenue Data to account for the device type in the damages calculations.


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           355
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 357 of 598




and missing device types from 2019 to 2021. I then apply that rate to the 2021 share to predict 2022
and 2023 phone and tablet shares.

               2.      Welfare Effect through Increased Varieties (Apps)

       592.    In addition to the parameters explained in Section IX.D.1 above, I need the following
two parameters to quantify damages due to the welfare effects through increased variety in the but-
for world, under the assumption that prices do not respond directly or indirectly to commission or
Play Points:

          Apps’ own-price elasticity of demand which, as explained above, I take from Ghose and
           Han (2014);

          Developer fixed cost which is required to predict the number of apps in the but-for
           world. This is calibrated from the model equation that is based on the free entry
           condition of apps. Intuitively, fixed cost affects app developers’ entry decisions because
           it serves as a threshold on variable profits such that, if variable profits are larger than
           fixed cost, the apps would keep entering.

       593.    Given the parameters, I solve the model to find the amount of dollars that one would
need to give to consumers in the actual world (under the actual prices and varieties) to make them
as well of as they would be in the competitive but-for world in which prices are fixed at the actual
level. This is equivalent to calculating the percentage increase in welfare (also referred to as a
multiplicative factor in equation E.9 of Appendix F) and multiplying by the net consumer spend. I
calculate a common percentage increase in welfare across Plaintiff States and relevant years. I then
multiply by the net consumer spend to quantify damages. To allocate damages across relevant
state/years, extrapolate to the future period, and account for only phones and tablets, I follow the
same procedure as explained in Section IX.D.1 above.

               3.      Total Welfare Effect of Lower Commissions or Greater Play Points

       594.    To quantify total damages, I need the same set of parameters as for the variety
effects damages above. Again, I use those parameters to solve the model to find the amount of
dollars that one would need to give to consumers in the actual world (under the actual prices and



           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                   356
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 358 of 598




varieties) to make them as well of as they would be in the competitive but-for world. In this total
welfare calculation, unlike the variety effect calculation, I allow the prices to change in the but-for
world as predicted by my model.

          595.    As above, for the variety effects damages, I calculate the percentage increase in
welfare (also referred to as a multiplicative factor in equation E.10 of Appendix F) and multiply by
the net consumer spend. I calculate a common percentage increase in welfare across Plaintiff States
and relevant years. I then multiply by net consumer spend to quantify damages. To allocate
damages across relevant state/years, extrapolate to the future period, and account for only phones
and tablets, I follow the same procedure as explained in Section IX.D.1 above.

          E.      Quantification of Damages to Consumers in the Plaintiff States

          596.    Using the methodology to calculate damages described above, I quantify damages to
consumers for the relevant damages period and Plaintiff States. Damages across Plaintiff States and
the relevant time period for the Pooled Android App Distribution and Android In-App Billing
Services Markets are summarized in Exhibit 74 and Exhibit 75 below. Damages by Plaintiff State
and year are presented in Appendix I.

                                                        Exhibit 74




Notes:
1.   These figures utilize data for all states (excluding missing states) from August 16, 2016 through May 31, 2022.
2.   To only account for the share of phones and tablets in damages, in allocating damages across state/years, I multiply
     net consumer spend by the share of net consumer spend for phones, tablets, and missing device types for each year
     using Google Monthly App Revenue Data.

Sources:
1.   Google Transaction Data.
2.   Google Monthly App Revenue Data.
3.   Census State Code Crosswalk.


               NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                           357
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 359 of 598




                                                      Exhibit 75




Notes:
1.   These figures utilize data for all states (excluding missing states) from August 16, 2016 through May 31, 2022.
2.   To only account for the share of phones and tablets in the damages, in allocating damages across state/years, I
     multiply net consumer spend by the share of net consumer spend for phones, tablets and missing device types for
     each year using Google Monthly App Revenue Data. For years 2022 through 2023, I calculate the compounded
     annual growth rate of the share of net consumer spend for phones, tablets and missing device types from 2019 to
     2021. I then apply that rate to the 2021 share to predict 2022 and 2023 phone and tablet shares.
3.   I extrapolate net spend for June 1, 2022 through June 5, 2023 using a regression of net consumer spend on a time
     trend and a constant, using 2018-2022 data from Google Monthly App Revenue Data and Google Transaction Data.
     Consequently, I allocate net consumer spend proportionally by state according to the percent distribution of net
     spend over states for the years 2018 through 2022.

Sources: See sources for Exhibit 74.
          597.




          598.




            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                         358
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 360 of 598




       599.




       600.    As explained in Section IX.A.3, the sum of direct effect and varieties effects
damages is greater than total damages because prices are fixed in the varieties effect damages
calculations while the total damages relaxes that assumption. As explained above, fixing the prices
at the actual levels (i.e., assuming prices do not go down in the but-for world) further incentivizes
apps to enter and leads to more varieties compared to the case when prices fall in the but-for world.

       601.    Damages across Plaintiff States and the relevant time period for the In-App Billing
Services Market are summarized in Exhibit 76 and Exhibit 77 below. Damages by Plaintiff State
and year are presented in Appendix I. Damages for In-App Billing Services Market are similar to
the damages for the Pooled Markets because consumer spending in the Google transaction data is
heavily weighted toward in-app purchases.

       602.




       603.




          NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                  359
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 361 of 598




        604.




                                               Exhibit 76




Notes: See notes for Exhibit 74.
Sources: See sources for Exhibit 74.
                                               Exhibit 77




Notes: See notes for Exhibit 75.
Sources: See sources for Exhibit 74.
        605.    In my model, I can solve for how developers set price in response to Google’s
commission or I can set the price for developers and solve for the other elements of the model, such
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 362 of 598




as the number of entrants and consumer harm. That is evidenced by the direct effects and total
effects entries in the table, where I solve for app prices, or the variety effects entries, where I hold
app prices constant. I can use this feature of the model to consider alternative rates at which app
prices respond to Google’s commission.

       606.    For instance, suppose I were to consider the case in which, in response to Google
decreasing commission from 30% to 15%, developers decrease price by 50% of the decrease in
what developers pay Google (per transaction). I can equate the change in price to 50% of change in
payment and recover the implied new price. I can then fix this new price and resolve the model in a
manner similar to the variety effects version. For example, if the average price is $9 when Google
charges a 30% commission rate, then Google collects $2.7 for each transaction. When I consider
15% commission rate, I can set (new price-$9)=0.5*(0.15*(new price)-$2.7) and solve for the new
price from this equation. This would give me the new price due to decrease in commission from
30% to 15% and under the assumption that developers decrease price by 50% of the decrease in
what developers pay Google (per transaction). In this example, the new price would be about $8.27.
In order to consider a 50% response rate, I can hold app prices constant at $8.27 and solve the
remaining elements of the model in order to compute damages.

       607.    Counsel has not asked me to opine on the appropriate response rate to consider.
Rather, we can see from the exhibits above that a response rate of 0% (the variety effects only
calculation) generates damages lower than the total welfare version of damages which has
approximately 100% response rate. Thus, to be extremely conservative, I adopt the variety effects
entries as my proposed damages in this matter. However, I understand that other trial experts in this
case may opine on the question of whether consumers may have felt less than 100% of the price
effect due to market conditions. To the extent that other experts in this case opine that consumers
felt less than 100% of the price effect of Google’s conduct, I reserve the right in rebuttal to testify
about the effect of those different assumptions on my model’s calculations.

       608.    Counsel also asked me to quantify damages at the nationwide level during the
damages period. Exhibit 78, Exhibit 79, Exhibit 80, and Exhibit 81 below provide the damages at
the nationwide level.




           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                   361
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 363 of 598




                                       Exhibit 78




Notes: See notes for Exhibit 75.
Sources: See sources for Exhibit 74.



                                       Exhibit 79




           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                        362
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 364 of 598



Notes: See notes for Exhibit 75.
Sources: See sources for Exhibit 74.
                                              Exhibit 80




Notes: See notes for Exhibit 75.
Sources: See sources for Exhibit 74.


                                              Exhibit 81




Notes: See notes for Exhibit 75.
Sources: See sources for Exhibit 74.

X.      Conclusion

        609.    Based on my review of the record and my analyses described above, I conclude that
Google engaged in anticompetitive conduct that caused harm to competition and harmed Android
smart mobile device users in the U.S. and worldwide (excluding China). My analysis demonstrates
that Android App Distribution and Android In-App Billing Services are relevant antitrust markets
for evaluating Google’s challenged conduct. I find these markets are worldwide, excluding China. I
demonstrate that Google has substantial market power in Android App Distribution and In-App
Billing Services and that non-Android app stores do not constrain Google in these markets.

           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                363
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 365 of 598




Moreover, I also conclude that Google uses its market power in Android App Distribution to tie the
use of Google Play Billing for digital content on apps distributed through Google Play.

       610.    To assess the harm to consumers caused by Google’s anticompetitive and
exclusionary conduct, I develop a model of monopolistic competition between apps, based on
Church and Gandal (1993), in which developers supply apps and in-app content and compete on
prices charged to consumers. I use the model to calculate separate damages for two effects that a
lower commission and more Play Points would have had, but for Google’s anticompetitive conduct,
on consumers’ welfare, including a direct effect (“overcharge”), a welfare effect through increased
varieties/apps, as well as a combined total effect.

       611.    I provide several measures of damages that variously hold entry constant, hold prices
constant, or allow for a total effect on consumer welfare in response to Google’s high commissions
and low discounts. While the total welfare effect accounts for all of the economic effects of the
high commissions and low discounts, to be conservative I take the minimum of the total welfare
damages and variety damages, where, in the latter, I hold the price constant, (i.e., no changes in app
pricing in response to commission changes).




                                               _______________________________
                                               Marc Rysman, Ph.D.
                                               October 3, 2022




           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                  364
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 366 of 598

                                          Appendix A
                                Curriculum Vitae of Marc Rysman


MARC RYSMAN
Department of Economics                                                               mrysman@bu.edu
Boston University                                                                sites.bu.edu/mrysman/
270 Bay State Road                                                              (617) 353-3086 (office)
Boston, MA 02215



EDUCATION
Ph.D. Economics, University of Wisconsin-Madison
B.A.   Economics, Columbia University

PRIMARY ACADEMIC APPOINTMENTS
Professor, Boston University, 2011 to present
Associate Professor, Boston University, 2006 to 2011
Assistant Professor, Boston University, 1999 to 2006

VISITING POSITIONS
Visiting Scholar, Center for Consumer Payments Research, Federal Reserve Bank of Boston, 2009-2019
Visiting Scholar in Economics, Harvard University, 2014-2015
Visiting Associate Professor, Economics Department, Massachusetts Institute of Technology, 2007-2008
Visiting Scholar in Economics, Harvard University, 2003-2004
Visiting Fellow, Center for Studies in Industrial Organization, Northwestern University, May-June 2003
Visiting Scholar, Federal Reserve Bank of Minneapolis, July 2003
Research Assistant, Brookings Institution, 1992-1994

EDITORIAL POSITIONS
Editor, RAND Journal of Economics, 2014-2020
Editor, Review of Network Economics, 2010-2015
Associate Editor, Journal of Industrial Economics, 2010-2014
Associate Editor, The RAND Journal of Economics, 2007-2014
Associate Editor, International Journal of Industrial Organization, 2005-2014
Co-editor, Journal of Economics and Management Strategy, 2007-2010

OTHER PROFESSIONAL SERVICE
Advisory Committee on Interoperable Payment Systems Project for Innovations for Poverty Action, 2022
Program Committee for Asia-Pacific Industrial Organization Conference, December 2021


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                            A-1
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 367 of 598




Scientific Committee for Online Seminar on the Economics of Platforms, Toulouse School of Economics,
         2020 to present
Faculty affiliate to the Rafik B. Hariri Institute for Computing and Computational Science & Engineering,
        Boston University
Faculty affiliate to the Center for Innovation in Social Sciences, Boston University
Sponsorships, Industrial Organization Society, 2022
Secretary, Industrial Organization Society, 2018 to present
President, Industrial Organization Society, 2016-2017
Vice-President, President-Elect of Industrial Organization Society, 2014-2015
Academic Panel Member, Competition and Markets Authority, United Kingdom, 2016-2020
Organizing Committee, International Industrial Organization Conference 2008-2014
Organizer, Standards, Innovation and Patents Conference in Tucson. Sponsored by the NBER and
       USPTO. February 2012. Editor for special issue in IJIO
Organizing Committee, European Association for Research in Industrial Economics (EARIE) conference,
       Stockholm, 2011
Local Organizer, Summer Meetings of the North American Econometric Society, Boston University, 2009

UNIVERSITY SERVICE
Chair of the Department of Economics, 2020- present
Associate Chair of the Department of Economics, 2017-2020
Department Liaison to the Scientific Computing and Visualization Center, 2012- 2016
Merit and Equity Advisory Committee, 2001, 2002, 2009, 2014, 2016, 2019
Advisor to Second-year Graduate Students, 2013-2014, 2008-2009
Director, Junior Recruiting Committee, 2006-2007, 2009-2010, 2013-2014
Department newsletter, 2013
Chair, Academic Promotion and Tenure, College of Arts and Sciences, 2012-2013
Academic Promotion and Tenure, College of Arts and Sciences, 2011-2012
Discussion Facilitator in the Program in Responsible Conduct of Research for Graduate Students and
        Postdoctoral Researchers on March 31, 2011
College Teaching Prize Committee, Spring, 2011
Committee on Conflicts of Interest, 2008-2011
Co-director, Junior Recruiting Committee 2000-2001
Social Science Curriculum Committee, 2005-2007
Representative to CAS Reg-Prep (Registration Preparation)
Acting Director, Industry Studies Program, 2001-2002, 2009-2010
Summer Orientation Academic Advising, 2001, 2002, 2004, 2005




            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                           A-2
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 368 of 598




Junior Recruiting Committee 1999-2005
Undergraduate Studies Committee 1999-2005

INVITED LECTURES (SELECTED)
“Empirics of Network Effects,” Plenary Talk, Conference on “Digital Platforms: Opportunities and
       Challenges,” Toulouse School of Economics, October, 2020.
Panel on “The Current Economic Understanding of Multi-Sided Platforms,” Competition and Consumer
        Protection Hearings, organized by the Federal Trade Commission at George Mason Law School,
        October, 2018.
“Antitrust in Digital Industries,” Public Lecture organized by the Japanese Federal Trade Commission,
        Tokyo, March, 2014.
“Estimating Price-Cost Margins in a Dynamic Environment,” Invited Lecture, European Association for
       Research in Industrial Economics (EARIE), Munich, September 2015.
“Payment Networks,” Academic Consultants Conference for the members of the Board of Governors,
      Federal Reserve Bank, October 2011.
“Estimating Network Effects in a Dynamic Environment,” Invited Lecture, European Association for
       Research in Industrial Economics (EARIE), Stockholm, September 2011.
“Adoption and Use of Payment Instruments by US Consumers,” Keynote speech at conference entitled
       Payments Markets: Theory, Evidence and Policy, Granada, Spain. June, 2010.
“Platform Pricing at Sportscard Conventions,” Plenary speech at conference entitled Platform Markets:
        Regulation and Competition Policy. Mannheim, Germany, May, 2010.
“Empirical Analysis of Payment Card Usage,” Plenary session at Conference on Two-Sided Markets,
       Institut D’Economie Industrielle, Toulouse, January 2004.

INVITED SHORT COURSES
“Two-Sided Markets: From Theory to Empirics and Applications,” Shanghai University of Finance and
      Economics, June 2017.
“Static and Dynamic Demand Estimation,” for joint PhD program among Berlin universities, August
         2014.
“Network Effects, Two-Sided Markets and Standard Setting,” Fordham Competition Law Institute
       Training for Agency Economists. (I taught one section of a week-long training for competition
       authority economists from many countries.) June, 2007-June, 2013.
“Structural Econometrics in Industrial Organization,” Hitotsubashi University, February 2009.




            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                          A-3
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 369 of 598




PUBLICATIONS
Leong, K., Li, H., Rysman, M., and Walsh, C. (2022). Law enforcement and bargaining over illicit drug
       prices: Structural evidence from a gang’s ledger. Journal of the European Economic Association,
       20:1198–1230.
Rysman, M. and Schwabe, R. (2021). Platform competition and the regulation of stock exchange fees.
      Concurrences Competition Law Review, (4):27–33.
Jullien, B., Pavan, A., and Rysman, M. (2021). Two-sided markets, pricing, and network effects. In Ho,
         K., Hortacsu, A., and Lizzeri, A., editors, Handbook of Industrial Organization, volume 4, chapter
         7, pages 485–592. Elsevier.
Celiktemur, C., Klein, A., Rysman, M., and Mani, V. (2021). Taming gatekeepers - but which ones?
        Competition Policy International.
Rysman, M., Simcoe, T., and Wang, Y. (2020). Differentiation in adoption of environmental standards:
      LEED from 2000-2010. Management Science, 66:4173–4192.
Chiou, L., Kafali, E. N., and Rysman, M. (2020). Internet use, competition, and geographical rescoping in
        Yellow Pages advertising. Information Economics and Policy, 52. Article 100867.
Chu, C. S. and Rysman, M. (2019). Competition and strategic incentives in the market for credit ratings:
        Empirics of the financial crisis of 2007. American Economic Review, 109:3514–3555.
Rysman, M. (2019). The reflection problem in network effect estimation. Journal of Economics and
      Management Strategy, 28:153–158. Named Management Science Top 10 most downloaded paper
      over two years.
Greene, C., Rysman, M., Schuh, S., and Shy, O. (2018). Costs and benefits of building faster payment
        systems: The U.K. experience. Journal of Financial Transformation, 47:51–66.
Rysman, M. and Schuh, S. (2017). New innovations in payments. In Greenstein, S., Lerner, J., and Stern,
      S., editors, Innovation Policy and the Economy, volume 17, pages 27–48. University of Chicago
      Press.
Falls, C., Friedman, P., and Rysman, M. (2016). The impact of the internet on distribution. In Banks, T.,
         Langenfeld, J., and Wittrock, Q., editors, Antitrust Law and Economics of Product Distribution,
         chapter 10, pages 475–495. American Bar Association, second edition.
Rysman, M. (2016). Empirics of business data services. Appendix B of Business Data Services Federal
      Notice of Proposed Rulemaking, FCC 16-54.
Koulayev, S., Rysman, M., Schuh, S., and Stavins, J. (2016). Explaining adoption and use of payment
       instruments by US consumers. RAND Journal of Economics, 47:293–325.
Jin, G. and Rysman, M. (2015). Platform pricing at sports cards conventions. Journal of Industrial
         Economics, 63:704–735.
Rysman, M. and Wright, J. (2014). The economics of payment cards. Review of Network Economics,
      13:303–353.




            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                             A-4
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 370 of 598




Rysman, M. (2013). Exclusionary practices in two-sided markets. In Hawk, B. E., editor, Proceedings of
      the 39th Fordham Competition Law Institute International Conference on Antitrust Law and
      Policy, pages pp. 537–564, New York. Juris.
Gowrisankaran, G. and Rysman, M. (2012). Dynamics of consumer demand for new durable goods.
       Journal of Political Economy, 120:1173–1219.
Rysman, M. and Simcoe, T. (2011). A NAASTY alternative to RAND pricing commitments.
      Telecommunications Policy, 35:1010–1017.
Crowe, M., Rysman, M., and Stavins, J. (2010). Mobile payments at the retail point of sale in the United
       States: Prospects for adoption. Review of Network Economics, 9.
Mehta, A., Rysman, M., and Simcoe, T. (2010). Identifying the age profile of patent citations. Journal of
       Applied Econometrics, 25:1179–1204.
De Stefano, M. and Rysman, M. (2010). Competition policy as strategic trade with differentiated products.
        Review of International Economics, 18:758–771.
Rysman, M. (2010). Consumer payment choice: Measurement topics. In The Changing Retail Payments
      Landscape: What Role for Central Banks? An International Payment Policy Conference, pages
      61–81. Federal Reserve Bank of Kansas City.
Rysman, M. (2009). The economics of two-sided markets. Journal of Economic Perspectives, 23:125–
      144.
Rysman, M. and Simcoe, T. (2008). Patents and the performance of voluntary standard setting
      organizations. Management Science, 54:1920–1934.
Rysman, M. (2007a). Empirical analysis of payment card usage. Journal of Industrial Economics, 60:1–
      36.
Rysman, M. (2007b). Empirics of antitrust in two-sided markets. Competition Policy International, 3:197–
      209.
Greenstein, S. and Rysman, M. (2007). Coordination costs and standard setting: Lessons from 56k
       modems. In Greenstein, S. and Stango, V., editors, Standards and Public Policy, pages 123–159.
       Cambridge University Press.
Rysman, M. and Simcoe, T. (2007). The performance of standard setting organizations: Using patent data
      for evaluation. Journal of IT Standards and Standardization Research, 5:25–40.
Augereau, A., Greenstein, S., and Rysman, M. (2006). Coordination vs. differentiation in a standards war:
       56k modems. RAND Journal of Economics, 37:887–909.
Ackerberg, D. A. and Rysman, M. (2005). Unobservable product differentiation in discrete choice models:
       Estimating price elasticities and welfare effects. RAND Journal of Economics, 36:771–788.
Busse, M. and Rysman, M. (2005). Competition and price discrimination in Yellow Pages advertising.
       RAND Journal of Economics, 36:378–390.
Rysman, M. and Greenstein, S. (2005). Testing for agglomeration and dispersion. Economics Letters,
      86:405–411.



            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                            A-5
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 371 of 598




Rysman, M. and Simcoe, T. (2005). Evaluating the performance of standard setting organizations with
      patent data. In Egyedi, T. and Sherif, M., editors, Proceedings of the 4th International Conference
      on Standardization and Innovation in Information Technology, pages 195–206, Geneva. IEEE.
Rysman, M. (2004). Competition between networks: A study of the market for Yellow Pages. Review of
      Economic Studies, 71:483–512.
Rysman, M. (2002). Review of the book: The economics of network industries, by Oz Shy. Journal of
      Economic Literature, 40:556–557.
Rysman, M. (2001). How many franchises in a market? International Journal of Industrial Organization,
      19:519–542.

WORKING PROJECTS
Rysman, M., Townsend, R. M., and Walsh, C. (2022). Branch location strategies and financial service
      access during the Thai financial crisis. Unpublished Manuscript, Boston University.
Ho, C.-Y., Rysman, M., and Wang, Y. (2021). Demand for performance goods: Import quotas in the
       Chinese movie market. Unpublished manuscript, Boston University.
Chen, M., Rysman, M., Wang, S., and Wozniak, K. P. (2020). Payment instrument choice with scanner
       data: An MM algorithm for fixed effects in non-linear models. Unpublished manuscript, Boston
       University.
Gowrisankaran, G. and Rysman, M. (2020). A framework for modeling industry evolution in dynamic
       demand models. Unpublished Manuscript, Boston University.
Rapson, D. S., Rysman, M., and Wang, S. (2020). The impact of the Zero Emissions Vehicles mandate on
       the California automobile market.
Kaido, H., Li, J., and Rysman, M. (2018). Moment inequalities in the context of simulated and predicted
       variables. Unpublished manuscript, Boston University.
McCalman, P. and Rysman, M. (2019). Airline services agreements: A structural model of network
      formation. Unpublished Manucript, Boston University.
Cohen, M., Rysman, M., and Wozniak, K. (2017). Payment choice with consumer panel data.
       Unpublished Manuscript.
Gowrisankaran, G., Park, M., and Rysman, M. (2017a). Measuring network effects in a dynamic
       environment. Unpublished Manuscript, Boston University.
Gowrisankaran, G., Rysman, M., and Yu, W. (2017b). Computing price cost margins in a durable goods
       environment. Unpublished Manuscript, Boston University.
Rysman, M. (2003). Adoption delay in a standards war. Unpublished manuscript, Boston University.
Rysman, M. (2000). Competition policy as strategic trade. Industry Studies Project Working Paper, #100,
      Boston University.




            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                            A-6
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 372 of 598




GRANT ACTIVITY
“Estimation and Computation of Dynamic Oligopoly and Network Effects Models”, with Gautam
       Gowrisankaran. National Science Foundation, SES-0922629, 2009-2013.
“Dynamic Demand for New Durable Goods: An Empirical Model and Applications to Pricing and
      Welfare,” with Gautam Gowrisankaran. National Science Foundation, SES-0551348, 2006-2009.
“Discrete adjustment costs, investment dynamics, and productivity growth: Evidence from Chilean
        manufacturing plants”, with Simon Gilchrist. National Science Foundation, SES-0351454, 2004-
        2006.
“Empirical Studies of Network Effects”, National Science Foundation, SES-0112527, 2001-2002.

COURSES TAUGHT
EC333 Market Organization and Public Policy (Antitrust and Regulation): Fall 1999, Fall 2000, Spring
      2002-2003, Spring 2005-2011, Fall 2008-2011, Spring 2016, Spring 2020, Fall 2020.
EC732 Topics In Industrial Organization (Graduate Empirical IO): Spring 2000-2001, Fall 2001, Spring
      2003, Fall 2004, Spring 2005-2013, Spring 2016-2022.
EC711 Topics in Econometrics: Spring 2010-2011.
EC709 Advanced Econometrics II: Fall 2006, Fall 2015, Fall 2017-2018.
EC201/303 Intermediate Microeconomics: Fall 2001, Fall 2002, Fall 2005.
EC903 Graduate Student Seminar: Fall 1999, Fall 2000.

HONORS AND AWARDS
Neu Family Award for Teaching Excellence in Economics, 2006, 2012.
Networks, Electronic Commerce and Telecommunications (NET) Institute Grant, 2009.
Professor of the Year, 2006-2007, awarded by Boston University Fraternities and Sororities
Networks, Electronic Commerce and Telecommunications (NET) Institute Grant, 2005.
Networks, Electronic Commerce and Telecommunications (NET) Institute Grant, 2003.
Gerald M. Gitner Award for Excellence in Undergraduate Teaching, 2000.
Christensen Award in Empirical Economics, 1997 (with Phil Haile).

MEMBERSHIPS
American Economic Association
International Industrial Organization Society




            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                         A-7
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 373 of 598




TESTIMONY EXPERIENCE
▪   Independent Living Resource Center of San Francisco, et al. v. Lyft, Inc. (US District Court, Northern
    District of California, Case No. C-19-01438). Deposition in August 2020 and trial testimony in June
    2021.
▪   Twentieth Century Fox Film v. Wark Entertainment, JAMS Ref. No. 1220052735. Deposition in June
    2018 and trial testimony in August 2018.

OTHER LITIGATION AND REGULATORY EXPERIENCE
▪   Retained as a testifying expert by performing rights organization in the determination of the allocation
    of retransmission fees by the Copyright Royalty Board, 2022.
▪   Retained as a testifying expert by music publishers for antitrust counterclaims in a copyright
    infringement case, January 2020.
▪   Retained as a testifying expert by banks in a foreign antitrust case involving payment cards, 2018-
    2019.
▪   Retained as a testifying expert in a confidential FRAND Arbitration, Hong Kong International
    Arbitration Centre, 2019.
▪   Retained as an expert in a group of antitrust cases in the high-tech sector involving FRAND and
    unilateral conduct issues, 2018.
▪   Wrote “Stock Exchanges as Platforms for Data and Trading,” for the New York Stock Exchange,
    which NYSE submitted to the SEC as part of a regulatory filing, December 2019. A follow-up report
    was filed in July 2020.
▪   Advocacy presentation to the Antitrust Division of the Department of Justice on a matter involving
    standard setting in a technology industry, March 2020.
▪   Wrote a white paper for the Federal Communication Commission studying market power in the
    business data services market, which influenced rulemaking: “Empirics of business data services.”
    Appendix B of Business Data Services Federal Notice of Proposed Rulemaking, FCC 1654, 2016.
▪   Commissioned to write and present a paper on interchange fee policy and its effect on competition in
    the payments card market to the members of the Board of Governors of the Federal Reserve Bank.
    The paper was entitled “Payment Networks,” and the event was formally titled as the “Academic
    Consultant’s Conference for the members of the Board of Governors.” September 2012. I presented
    directly to Chairman Bernanke, Vice Chairman Yellen and the rest of the Board of the Governors

OTHER CONSULTING EXPERIENCE
▪   Academic Panel Member, Competition and Markets Authority, United Kingdom, 2016 to 2020. I was
    called on periodically to provide advice on CMA cases.
▪   Served as an academic consultant to the Consumer Payments Research Center at the Federal Reserve
    Bank of Boston 2009-2019.
▪   Served as a consultant to the Association of Directory Publishers in their advocacy to various state and
    municipal governments on the benefits of competition in the Yellow pages market, 2007.




            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                A-8
     Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 374 of 598




                                      Appendix B
                                  Materials Relied Upon

I.       Expert Reports
     Expert Report of Dr. Stanley Presser, Google Play Consumer Antitrust Litigation, Case
      No. 3:20-cv-05761-JD, October 3, 2022.

     Expert Witness Report of James Mickens, Google Play Consumer Antitrust Litigation,
      Case No. 3:20-cv-05761-JD, October 3, 2022.

II.      Depositions and Associated Exhibits
     Deposition of Adam Sussman, President at Epic Games, January 7, 2022.

     Deposition of Andrew Rubin, Founder of Android and formerly Google Vice President,
      May 17-18, 2022.

     Deposition of Christian Cramer, Finance Director for Play at Google, January 13-14,
      2022.

     Deposition of Christopher Dury, CEO at GetJar, September 16, 2022.

     Deposition of Christopher Li, Director and Head of Product Growth at Google, May 24-
      25, 2022.

     Deposition of Daniel Vogel, Chief Operating Officer at Epic Games, May 23, 2022.

     Deposition of David Kleidermacher, Vice President, Engineering, at Google, February 3-
      4, 2022.

     Deposition of Donn Morrill, Director of Developer Relations for Entertainment Devices
      and Services at Amazon, August 11, 2022.

     Deposition of Edward Cunningham, Product Manager for Android at Google, July 21-22,
      2022.

     Deposition of Eric Chu, Engineering Director at Meta Platforms and formerly Director of
      the Android Developer Ecosystem at Google, December 20, 2021 and January 14, 2022.

     Deposition of George Christopolous, Founder of SlideMe, September 9, 2022.




       NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                       B-1
    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 375 of 598




    Deposition of Haseeb Malik, Director of Mobile Publishing at Epic Games, March 4,
     2022.

    Deposition of Hiroshi Lockheimer, Senior Vice President of Platforms & Ecosystems at
     Google, August 15-16, 2022.

    Deposition of James Kolotouros, Vice President, Android Platform Partnerships at
     Google, February 2-3, 2022.

    Deposition of Jamie Rosenberg, Vice President of Strategy and Operations, Platforms
     and Ecosystems Division, at Google, February 10, 2022.

    Deposition of Jonathan Gold, Finance Manager for Android at Google, June 23-24, 2022.

    Deposition of Kirsten Rasanen, formerly Business Development Director at Google,
     August 17, 2022.

    Deposition of Kobi Glick, Product Manager at Google, December 15-16, 2021.

    Deposition of Lacey Ellis, Developer Class Representative and Founder and CEO of
     LittleHoots LLC, March 22, 2022.

    Deposition of Lawrence Koh, General Manager and Head of FIFA Mobile at EA and
     formerly Director and Global Head of Games Business Development at Google,
     December 9, 2021.

    Deposition of Michael Marchak, Director of Play Partnerships, Strategy and Operations,
     at Google, January 12-13, 2022.

    Deposition of Mrinalini Loew, Product Lead for Google Play Commerce at Google,
     September 15, 2022.

    Deposition of Nick Sears, Android Co-founder at Google, July 1, 2022.

    Deposition of Patrick Brady, Vice President of Engineering for Android’s Automotive
     Efforts at Google, April 21, 2022.

    Deposition of Paul Feng, Product Management Director at Google, January 14 and 18,
     2022.




      NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                       B-2
    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 376 of 598




      Deposition of Paul Perryman, Vice President of Partnerships for the Americas at Netflix,
       September 28, 2022.

      Deposition of Richard Czeslawski, Developer Class Representative and Chief Operating
       Officer and President of Pure Sweat Basketball, March 21, 2022.

      Deposition of Ruth Porat, Chief Financial Officer at Google, September 15, 2022.

      Deposition of Sameer Samat, Vice President of Product Management at Google,
       February 2-3, 2022.

      Deposition of Sandra Alzetta, Vice President and Global Head of Payments at Spotify,
       September 29, 2022.

      Deposition of Sebastian Porst, Security Engineer and Manager Two at Google, July 13-
       14, 2022.

      Deposition of Tian Lim, Vice President, Engineering Product UX, at Google, December
       2, 2021.

III.      Data, Associated Documentation, and Correspondence
      AMZ-GP_00001497

      GOOG-PLAY-000042623.R

      GOOG-PLAY-000416245; GOOG-PLAY-010801682

      GOOG-PLAY-002076224.R

      GOOG-PLAY-003332817.R

      GOOG-PLAY-010801685.R




        NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                     B-3
    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 377 of 598




     App Annie Data

      “AZ004 - Q1_2_4_App_downloads_and_user_spend_v0.2.csv “; “AZ004 -
      Q3a_Proportion_of_Free_Apps_Google.csv”; “AZ004 -
      Q3b_Proportion_of_Free_Apps_Apple.csv”; “AZ004 -
      Q8a_Top_100_Developers_WW_exCN_Google_v0.2.csv”; “AZ004 -
      Q8b_Top_100_Developers_WW_exCN_Apple_v0.2.csv”; “AZ004 -
      Q8c_Top_1000_Developers_Global_Apple.csv”; “Notes, assumptions and caveats.xlsx”

     Census State Code Crosswalk

      “state_crosswalk.txt”

     Google Monthly App Revenue Data

      GOOG-PLAY-005535886; GOOG-PLAY-010801688

     Google Transaction Data

      GOOG-PLAY-007203251; GOOG-PLAY3-000018260

     IDC, “IDC Quarterly Mobile Phone Tracker,” 2021Q4 Historical Release, February 11,
      2022

      “IDC Mobile Phone Tracker_FinalHistoricalPivot CMI_2021Q4.xlsx”

IV.      Produced Documents
     AMZ-GP_00000001                                 EPIC_GOOGLE_01975130

     AMZ-GP_00000259                                 GOOG-DOJ-19768791

     ATT-GPLAY-00000692                              GOOG-DOJ-27418506

     ATT-GPLAY-00005216                              GOOG-PLAY- 003330554

     BUMBLE-00000001                                 GOOG-PLAY- 007317466

     EPIC_GOOGLE_00006187                            GOOG-PLAY-000000807

     EPIC_GOOGLE_01581798                            GOOG-PLAY-000005203.R

     EPIC_GOOGLE_01941268                            GOOG-PLAY-000042588.R



       NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                 B-4
    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 378 of 598




    GOOG-PLAY-000051084                      GOOG-PLAY-000259640

    GOOG-PLAY-000051671.R                    GOOG-PLAY-000262353.R

    GOOG-PLAY-000053875                      GOOG-PLAY-000263805.R

    GOOG-PLAY-000054841                      GOOG-PLAY-000270597

    GOOG-PLAY-000077271                      GOOG-PLAY-000286779.R

    GOOG-PLAY-000081787                      GOOG-PLAY-000292207.R

    GOOG-PLAY-000081809                      GOOG-PLAY-000297309.R

    GOOG-PLAY-000084963                      GOOG-PLAY-000299564

    GOOG-PLAY-000092281.R                    GOOG-PLAY-000302766

    GOOG-PLAY-000093636.R                    GOOG-PLAY-000304837.R

    GOOG-PLAY-000096813                      GOOG-PLAY-000308691

    GOOG-PLAY-000096813.R                    GOOG-PLAY-000308762

    GOOG-PLAY-000128863.R                    GOOG-PLAY-000338400.R

    GOOG-PLAY-000218038                      GOOG-PLAY-000345879.R

    GOOG-PLAY-000218781.R                    GOOG-PLAY-000415076

    GOOG-PLAY-000219435.R                    GOOG-PLAY-000416238

    GOOG-PLAY-000220592                      GOOG-PLAY-000416258

    GOOG-PLAY-000231487                      GOOG-PLAY-000416327

    GOOG-PLAY-000233314                      GOOG-PLAY-000416373

    GOOG-PLAY-000237792                      GOOG-PLAY-000416398

    GOOG-PLAY-000257629                      GOOG-PLAY-000416419

    GOOG-PLAY-000258450                      GOOG-PLAY-000416420

    GOOG-PLAY-000259276                      GOOG-PLAY-000416441




      NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY      B-5
    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 379 of 598




    GOOG-PLAY-000416442                      GOOG-PLAY-000443763

    GOOG-PLAY-000416443                      GOOG-PLAY-000443763.R

    GOOG-PLAY-000416444                      GOOG-PLAY-000449883

    GOOG-PLAY-000416445                      GOOG-PLAY-000450926

    GOOG-PLAY-000416446                      GOOG-PLAY-000464148

    GOOG-PLAY-000416447                      GOOG-PLAY-000464354.R

    GOOG-PLAY-000416453                      GOOG-PLAY-000469931

    GOOG-PLAY-000416454                      GOOG-PLAY-000518034.R

    GOOG-PLAY-000416477                      GOOG-PLAY-000542516.R

    GOOG-PLAY-000416537                      GOOG-PLAY-000542827.R

    GOOG-PLAY-000416562                      GOOG-PLAY-000553664

    GOOG-PLAY-000416588                      GOOG-PLAY-000559379.R

    GOOG-PLAY-000416594                      GOOG-PLAY-000559534.R

    GOOG-PLAY-000416595                      GOOG-PLAY-000560166

    GOOG-PLAY-000416651                      GOOG-PLAY-000563831

    GOOG-PLAY-000416698                      GOOG-PLAY-000565541.R

    GOOG-PLAY-000416708                      GOOG-PLAY-000565850

    GOOG-PLAY-000416789                      GOOG-PLAY-000566853

    GOOG-PLAY-000433886.R                    GOOG-PLAY-000570075.R

    GOOG-PLAY-000436340.R                    GOOG-PLAY-000571537

    GOOG-PLAY-000437878.R                    GOOG-PLAY-000572041.R

    GOOG-PLAY-000439987.R                    GOOG-PLAY-000575018.R

    GOOG-PLAY-000442329                      GOOG-PLAY-000578299.R




      NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY      B-6
    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 380 of 598




    GOOG-PLAY-000604733                      GOOG-PLAY-000617897

    GOOG-PLAY-000604882                      GOOG-PLAY-000617900

    GOOG-PLAY-000613152.R                    GOOG-PLAY-000617907

    GOOG-PLAY-000617360                      GOOG-PLAY-000617910

    GOOG-PLAY-000617393                      GOOG-PLAY-000617919

    GOOG-PLAY-000617419                      GOOG-PLAY-000617920

    GOOG-PLAY-000617431                      GOOG-PLAY-000617921

    GOOG-PLAY-000617505                      GOOG-PLAY-000617924

    GOOG-PLAY-000617522                      GOOG-PLAY-000617925

    GOOG-PLAY-000617538                      GOOG-PLAY-000617926

    GOOG-PLAY-000617555                      GOOG-PLAY-000617928

    GOOG-PLAY-000617577                      GOOG-PLAY-000617962

    GOOG-PLAY-000617593                      GOOG-PLAY-000617963

    GOOG-PLAY-000617626                      GOOG-PLAY-000617964

    GOOG-PLAY-000617749                      GOOG-PLAY-000617965

    GOOG-PLAY-000617772                      GOOG-PLAY-000617966

    GOOG-PLAY-000617778                      GOOG-PLAY-000617995

    GOOG-PLAY-000617798                      GOOG-PLAY-000617996

    GOOG-PLAY-000617807                      GOOG-PLAY-000618017

    GOOG-PLAY-000617814                      GOOG-PLAY-000618018

    GOOG-PLAY-000617820                      GOOG-PLAY-000618062

    GOOG-PLAY-000617841                      GOOG-PLAY-000618064

    GOOG-PLAY-000617842                      GOOG-PLAY-000618065




      NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY      B-7
    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 381 of 598




    GOOG-PLAY-000618066                      GOOG-PLAY-000618681

    GOOG-PLAY-000618072                      GOOG-PLAY-000618704

    GOOG-PLAY-000618092                      GOOG-PLAY-000618725

    GOOG-PLAY-000618094                      GOOG-PLAY-000618726

    GOOG-PLAY-000618095                      GOOG-PLAY-000618749

    GOOG-PLAY-000618100                      GOOG-PLAY-000618863

    GOOG-PLAY-000618141                      GOOG-PLAY-000618885

    GOOG-PLAY-000618255                      GOOG-PLAY-000618986

    GOOG-PLAY-000618256                      GOOG-PLAY-000619045

    GOOG-PLAY-000618257                      GOOG-PLAY-000619058

    GOOG-PLAY-000618258                      GOOG-PLAY-000619081

    GOOG-PLAY-000618259                      GOOG-PLAY-000619109

    GOOG-PLAY-000618260                      GOOG-PLAY-000619144

    GOOG-PLAY-000618261                      GOOG-PLAY-000619149

    GOOG-PLAY-000618341                      GOOG-PLAY-000619161

    GOOG-PLAY-000618521                      GOOG-PLAY-000619165

    GOOG-PLAY-000618541                      GOOG-PLAY-000619190

    GOOG-PLAY-000618553                      GOOG-PLAY-000619306

    GOOG-PLAY-000618559                      GOOG-PLAY-000619401

    GOOG-PLAY-000618582                      GOOG-PLAY-000619452

    GOOG-PLAY-000618583                      GOOG-PLAY-000619484

    GOOG-PLAY-000618633                      GOOG-PLAY-000619514

    GOOG-PLAY-000618658                      GOOG-PLAY-000619579




      NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY      B-8
    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 382 of 598




    GOOG-PLAY-000619636                      GOOG-PLAY-000620638

    GOOG-PLAY-000619866                      GOOG-PLAY-000620770

    GOOG-PLAY-000619896                      GOOG-PLAY-000620814

    GOOG-PLAY-000619897                      GOOG-PLAY-000620837

    GOOG-PLAY-000619949                      GOOG-PLAY-000620892

    GOOG-PLAY-000620054                      GOOG-PLAY-000620966

    GOOG-PLAY-000620057                      GOOG-PLAY-000621050

    GOOG-PLAY-000620095                      GOOG-PLAY-000621075

    GOOG-PLAY-000620097                      GOOG-PLAY-000621085

    GOOG-PLAY-000620098                      GOOG-PLAY-000621097

    GOOG-PLAY-000620111                      GOOG-PLAY-000621122

    GOOG-PLAY-000620119                      GOOG-PLAY-000621165

    GOOG-PLAY-000620120                      GOOG-PLAY-000621177

    GOOG-PLAY-000620131                      GOOG-PLAY-000801782

    GOOG-PLAY-000620210                      GOOG-PLAY-000806246

    GOOG-PLAY-000620282                      GOOG-PLAY-000808375

    GOOG-PLAY-000620332                      GOOG-PLAY-000813755

    GOOG-PLAY-000620334                      GOOG-PLAY-000830885.R

    GOOG-PLAY-000620339                      GOOG-PLAY-000831600

    GOOG-PLAY-000620360                      GOOG-PLAY-000832471

    GOOG-PLAY-000620369                      GOOG-PLAY-000840773

    GOOG-PLAY-000620442                      GOOG-PLAY-000857382

    GOOG-PLAY-000620478                      GOOG-PLAY-000857437




      NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY      B-9
    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 383 of 598




    GOOG-PLAY-000879194.R                    GOOG-PLAY-001089998

    GOOG-PLAY-000880576.R                    GOOG-PLAY-001090102

    GOOG-PLAY-000928690                      GOOG-PLAY-001090167

    GOOG-PLAY-000934740                      GOOG-PLAY-001090227

    GOOG-PLAY-000934804                      GOOG-PLAY-001090916

    GOOG-PLAY-000942553                      GOOG-PLAY-001135055

    GOOG-PLAY-000953420.R                    GOOG-PLAY-001139437.R

    GOOG-PLAY-000976171                      GOOG-PLAY-001143425

    GOOG-PLAY-001018461.R                    GOOG-PLAY-001181435

    GOOG-PLAY-001043637.R                    GOOG-PLAY-001183163.R

    GOOG-PLAY-001055565                      GOOG-PLAY-001184813

    GOOG-PLAY-001058642                      GOOG-PLAY-001214798

    GOOG-PLAY-001059135                      GOOG-PLAY-001254353

    GOOG-PLAY-001085889                      GOOG-PLAY-001264185

    GOOG-PLAY-001088593                      GOOG-PLAY-001265881.R

    GOOG-PLAY-001088669.R                    GOOG-PLAY-001267046

    GOOG-PLAY-001089608                      GOOG-PLAY-001283119

    GOOG-PLAY-001089914                      GOOG-PLAY-001284083.R

    GOOG-PLAY-001089924                      GOOG-PLAY-001291192.R

    GOOG-PLAY-001089952                      GOOG-PLAY-001337211

    GOOG-PLAY-001089978                      GOOG-PLAY-001346566

    GOOG-PLAY-001089985                      GOOG-PLAY-001377621

    GOOG-PLAY-001089995                      GOOG-PLAY-001382685




      NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY      B - 10
    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 384 of 598




    GOOG-PLAY-001399545                      GOOG-PLAY-001745614

    GOOG-PLAY-001404176                      GOOG-PLAY-001745664

    GOOG-PLAY-001422296                      GOOG-PLAY-001745695

    GOOG-PLAY-001423609                      GOOG-PLAY-001745852

    GOOG-PLAY-001424478                      GOOG-PLAY-001745923

    GOOG-PLAY-001430401                      GOOG-PLAY-001745943

    GOOG-PLAY-001449657                      GOOG-PLAY-001745952

    GOOG-PLAY-001460686                      GOOG-PLAY-001745969

    GOOG-PLAY-001467154                      GOOG-PLAY-001745994

    GOOG-PLAY-001471037                      GOOG-PLAY-001802727

    GOOG-PLAY-001477713                      GOOG-PLAY-001834687

    GOOG-PLAY-001497762                      GOOG-PLAY-001877016.C

    GOOG-PLAY-001501104                      GOOG-PLAY-001882239.R

    GOOG-PLAY-001508603                      GOOG-PLAY-001886111.R

    GOOG-PLAY-001559464.R                    GOOG-PLAY-001905152

    GOOG-PLAY-001677481                      GOOG-PLAY-002011285.R

    GOOG-PLAY-001741853                      GOOG-PLAY-002115870

    GOOG-PLAY-001745388                      GOOG-PLAY-002291709.R

    GOOG-PLAY-001745389                      GOOG-PLAY-002358233

    GOOG-PLAY-001745410                      GOOG-PLAY-002405918.R

    GOOG-PLAY-001745411                      GOOG-PLAY-002409453.R

    GOOG-PLAY-001745412                      GOOG-PLAY-002438751

    GOOG-PLAY-001745514                      GOOG-PLAY-002546242




      NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY      B - 11
    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 385 of 598




    GOOG-PLAY-002618277                      GOOG-PLAY-003604514

    GOOG-PLAY-002650052.R                    GOOG-PLAY-003604517

    GOOG-PLAY-002891881                      GOOG-PLAY-003604523

    GOOG-PLAY-003330554                      GOOG-PLAY-003604601

    GOOG-PLAY-003331764                      GOOG-PLAY-003604606

    GOOG-PLAY-003334312                      GOOG-PLAY-003604713

    GOOG-PLAY-003335786.R                    GOOG-PLAY-003605103

    GOOG-PLAY-003467770                      GOOG-PLAY-003720093

    GOOG-PLAY-003490159                      GOOG-PLAY-003741416

    GOOG-PLAY-003582582                      GOOG-PLAY-003762336

    GOOG-PLAY-003600814                      GOOG-PLAY-003764714.R

    GOOG-PLAY-003604122                      GOOG-PLAY-003772918.R

    GOOG-PLAY-003604185                      GOOG-PLAY-003773053.R

    GOOG-PLAY-003604203                      GOOG-PLAY-003890736.R

    GOOG-PLAY-003604239                      GOOG-PLAY-003894142.R

    GOOG-PLAY-003604248                      GOOG-PLAY-003896481

    GOOG-PLAY-003604279                      GOOG-PLAY-003938581.R

    GOOG-PLAY-003604300                      GOOG-PLAY-004146689.R

    GOOG-PLAY-003604365                      GOOG-PLAY-004253884

    GOOG-PLAY-003604372                      GOOG-PLAY-004283892

    GOOG-PLAY-003604438                      GOOG-PLAY-004320094

    GOOG-PLAY-003604477                      GOOG-PLAY-004330716

    GOOG-PLAY-003604490                      GOOG-PLAY-004338990




      NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY      B - 12
    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 386 of 598




    GOOG-PLAY-004449004                      GOOG-PLAY-004713191

    GOOG-PLAY-004456799                      GOOG-PLAY-004775094

    GOOG-PLAY-004470512                      GOOG-PLAY-004903945

    GOOG-PLAY-004489655.R                    GOOG-PLAY-004904016.R

    GOOG-PLAY-004494298.R                    GOOG-PLAY-005559853

    GOOG-PLAY-004502766.R                    GOOG-PLAY-005571079

    GOOG-PLAY-004503351.R                    GOOG-PLAY-005578403.R

    GOOG-PLAY-004504494.R                    GOOG-PLAY-005607169.R

    GOOG-PLAY-004506631                      GOOG-PLAY-005610941

    GOOG-PLAY-004508011                      GOOG-PLAY-005653612.R

    GOOG-PLAY-004508753.R                    GOOG-PLAY-005668326

    GOOG-PLAY-004509271                      GOOG-PLAY-005668770

    GOOG-PLAY-004530552                      GOOG-PLAY-005705974

    GOOG-PLAY-004556784.R                    GOOG-PLAY-005706073

    GOOG-PLAY-00457156.R                     GOOG-PLAY-005706180

    GOOG-PLAY-004595170                      GOOG-PLAY-005706338

    GOOG-PLAY-004630018.R                    GOOG-PLAY-005706436

    GOOG-PLAY-004662365.R                    GOOG-PLAY-005706676

    GOOG-PLAY-004684227.R                    GOOG-PLAY-005706728

    GOOG-PLAY-004691145                      GOOG-PLAY-005706894

    GOOG-PLAY-004692994.R                    GOOG-PLAY-005706961

    GOOG-PLAY-004696864                      GOOG-PLAY-006334343

    GOOG-PLAY-004702879                      GOOG-PLAY-006339980




      NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY      B - 13
    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 387 of 598




    GOOG-PLAY-006347283                      GOOG-PLAY-007264058

    GOOG-PLAY-006355073                      GOOG-PLAY-007273051

    GOOG-PLAY-006381385                      GOOG-PLAY-007273160

    GOOG-PLAY-006390054                      GOOG-PLAY-007273168

    GOOG-PLAY-006398898.R                    GOOG-PLAY-007273234

    GOOG-PLAY-006408321                      GOOG-PLAY-007273259

    GOOG-PLAY-006409808                      GOOG-PLAY-007273267

    GOOG-PLAY-006814475.R                    GOOG-PLAY-007273309

    GOOG-PLAY-006817773.R                    GOOG-PLAY-007273358

    GOOG-PLAY-006829073.R                    GOOG-PLAY-007273404

    GOOG-PLAY-006861555.R                    GOOG-PLAY-007273439

    GOOG-PLAY-006990552                      GOOG-PLAY-007278690

    GOOG-PLAY-006997722                      GOOG-PLAY-007317611

    GOOG-PLAY-006997722.C                    GOOG-PLAY-007328838

    GOOG-PLAY-006998204.R                    GOOG-PLAY-007329063

    GOOG-PLAY-007035840                      GOOG-PLAY-007335447

    GOOG-PLAY-007038477                      GOOG-PLAY-007335471

    GOOG-PLAY-007038511                      GOOG-PLAY-007335476

    GOOG-PLAY-007125883                      GOOG-PLAY-007335585

    GOOG-PLAY-007135039                      GOOG-PLAY-007337179

    GOOG-PLAY-007172256.R                    GOOG-PLAY-007346993

    GOOG-PLAY-007173383                      GOOG-PLAY-007587989

    GOOG-PLAY-007246367                      GOOG-PLAY-007628059




      NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY      B - 14
    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 388 of 598




    GOOG-PLAY-007745035                      GOOG-PLAY-010100574

    GOOG-PLAY-007819776                      GOOG-PLAY-010165546

    GOOG-PLAY-007847148                      GOOG-PLAY-010203197

    GOOG-PLAY-007847579                      GOOG-PLAY-010207461

    GOOG-PLAY-007932523                      GOOG-PLAY-010470999

    GOOG-PLAY-007981395                      GOOG-PLAY-010511166

    GOOG-PLAY-008111867                      GOOG-PLAY-010524137

    GOOG-PLAY-008156711                      GOOG-PLAY-010661066

    GOOG-PLAY-008389051                      GOOG-PLAY-010662251

    GOOG-PLAY-008389054                      GOOG-PLAY-010801680

    GOOG-PLAY-008471716                      GOOG-PLAY-010801683

    GOOG-PLAY-008681354                      GOOG-PLAY-010939023

    GOOG-PLAY-008727310                      GOOG-PLAY-010939026

    GOOG-PLAY-008737003                      GOOG-PLAY-011057832

    GOOG-PLAY-009214167                      GOOG-PLAY-011111808

    GOOG-PLAY-009245422                      GOOG-PLAY-011119640

    GOOG-PLAY-009292321                      GOOG-PLAY-011120406

    GOOG-PLAY-009295801                      GOOG-PLAY-011249830

    GOOG-PLAY-009580959                      GOOG-PLAY-011249875

    GOOG-PLAY-009607450                      GOOG-PLAY-011250003

    GOOG-PLAY-009640439                      GOOG-PLAY-011250116

    GOOG-PLAY-009691803                      GOOG-PLAY-011271413

    GOOG-PLAY-009911010                      GOOG-PLAY-04494298.R




      NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY      B - 15
    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 389 of 598




    GOOG-PLAY2-000456776                     GOOG-PLAY4-004915563

    GOOG-PLAY2-000456929                     GOOG-PLAY4-005406595

    GOOG-PLAY4-000034628                     GOOG-PLAY4-006018159

    GOOG-PLAY4-000038856                     GOOG-PLAY4-006758735

    GOOG-PLAY4-000268331                     GOOG-PLAY4-007215136.R

    GOOG-PLAY4-000285505                     GOOG-PLAY4-007226588

    GOOG-PLAY4-000336290                     GOOG-PLAY4-007239946

    GOOG-PLAY4-000339905                     GOOG-PLAY4-007931487

    GOOG-PLAY4-000341393                     GP MDL-TMO-0001831

    GOOG-PLAY4-000821936                     GP MDL-TMO-0002071

    GOOG-PLAY4-001404993                     GP MDL-TMO-0132828

    GOOG-PLAY4-001703880                     LGEUS-DOJ-0085240

    GOOG-PLAY4-002169674                     LGUS-GOOGLEPLAY-00028821

    GOOG-PLAY4-002178049                     MOTO-NDCAL-00000193

    GOOG-PLAY4-002369232                     MOTO-NDCAL-00108176

    GOOG-PLAY4-002610426                     MOTO-NDCAL-00142728

    GOOG-PLAY4-004258208                     MOTO-NDCAL-00154735

    GOOG-PLAY4-004259429                     MSFT_GOPLAY_00009666

    GOOG-PLAY4-004259430                     SLIDE-PLAY-0066

    GOOG-PLAY4-004529823                     STATEAGS_0015939

    GOOG-PLAY4-004530839                     STATEAGS_0023196

    GOOG-PLAY4-004677224                     UBER00000001




      NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY      B - 16
    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 390 of 598




V.      Other Case Documents
    “Declaration of Peter Foster in Support of Plaintiffs Match Group LLC’s, Humor
     Rainbow INC.’s, Plentyoffish Media ULC’s, and People Media INC.’s Motion for
     Temporary Restraining Order,” Match Group, LLC; Humor Rainbow, Inc; Plentyoffish
     Media ULC; and People Media, Inc. v. Google LLC; Google Ireland Limited; Google
     Commerce Limited; Google Asia Pacific PTE. Limited; and Google Payment Corp.,
     United States District Court for the Northern District of California San Francisco
     Division, Case No. 3:22-cv-02746-JD, May 10, 2022.

    “Defendants Google LLC, Google Ireland Limited, Google Commerce Ltd., Google Asia
     Pacific PTE. Ltd., and Google Payment Corp.’s Responses and Objections to Consumer
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     Litigation, United States District Court for the Northern District of California San
     Francisco Division, Case No. 3:20-cv-05761-JD, October 11, 2021.

    “Defendants Google LLC, Google Ireland Limited, Google Commerce Ltd., Google Asia
     Pacific PTE. Ltd., and Google Payment Corp.’s Responses and Objections to Epic’s
     Second Set of Interrogatories to Defendants,” Epic Games Inc. v. Google LLC et al, the
     United States District Court for the Northern District of California San Francisco
     Division, Case No. 3:20-cv-05671-JD, August 19, 2021.

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     et al, the United States District Court for the Northern District of California San
     Francisco Division, Case No. 3:20-cv-05671-JD, September 10, 2021.

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     Developer Antitrust Litigation, the United States District Court for the Northern District
     of California San Francisco Division, Case No. 3:20-cv-05792-JD, July 6, 2021.




      NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                        B - 17
    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 391 of 598




    “Defendants Google LLC; Google Ireland Limited; Google Commerce Limited; Google
     Asia Pacific PTE. Limited; and Google Payment Corp.’s Responses and Objections to
     Match’s First Set of Interrogatories to Defendants,” Match Group, LLC. et al. v. Google
     LLC et al., Case No. 3:22-cv-02746-JD, July 27, 2022.

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     District of California San Francisco Division, Case No. 3:21-cv-05227-JD, August 22,
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     Court for the Northern District of California San Francisco Division, Case No. 3:20-cv-
     05671-JD, May 20, 2022.

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     Northern District of California San Francisco Division, Case No. 3:22-cv-02746-JD, May
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      NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                      B - 18
    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 392 of 598




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       NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                    B - 19
    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 393 of 598




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    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 395 of 598




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    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 400 of 598




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    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 408 of 598




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    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 409 of 598




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      NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                    B - 38
    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 412 of 598




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    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 419 of 598




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    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 422 of 598




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      NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                    B - 49
    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 423 of 598




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      NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                    B - 50
    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 424 of 598




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      NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                      B - 51
    Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 425 of 598




                                Appendix C
          App Annie Top 100 Android App Developers, by Revenue, 2020
Developer                                           Revenue (2020)     Rank
Playrix                                              $854,449,063        1
NCSOFT                                               $768,303,873        2
King                                                 $580,071,480        3
Supercell                                            $528,449,679        4
BANDAI NAMCO Entertainment Inc.                      $469,803,341        5
LilithGames                                          $453,514,934        6
XFLAG, Inc.                                          $441,985,566        7
Moon Active                                          $441,751,698        8
Aniplex Inc.                                         $430,812,951        9
SQUARE ENIX Co.,Ltd.                                 $423,363,961       10
Netmarble                                            $408,292,884       11
Niantic, Inc.                                        $351,609,911       12
Google LLC                                           $350,886,614       13
Scopely                                              $303,789,222       14
Century Games Limited                                $296,674,219       15
NEXON Company                                        $272,948,015       16
Roblox Corporation                                   $266,761,037       17
PROXIMA BETA                                         $266,149,795       18
IGG.COM                                              $247,639,272       19
LINE Corporation                                     $235,957,870       20
Zynga                                                $230,779,009       21
GARENA INTERNATIONAL I PRIVATE LIMITED               $229,623,662       22
Playtika                                             $222,653,461       23
KingsGroup Holdings                                  $215,361,579       24
Small Giant Games                                    $213,432,531       25
Long Tech Network Limited                            $206,082,340       26
KONAMI                                               $197,562,535       27
ELECTRONIC ARTS                                      $191,326,441       28
Disney                                               $184,891,865       29
Peak                                                 $177,545,447       30
SpinX Games Limited                                  $161,721,964       31
Com2uS                                               $161,052,928       32
Plarium Global Ltd                                   $159,822,443       33
Tinder                                               $151,924,514       34
Bigo Technology Pte. Ltd.                            $149,363,176       35
miHoYo Limited                                       $148,521,614       36
SciPlay                                              $145,630,968       37
Product Madness                                      $139,562,592       38
Jam City, Inc.                                       $137,429,778       39
Activision Publishing, Inc.                          $137,265,062       40




      NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY      C-1
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 426 of 598




Gram Games Limited                                  $135,199,718          41
YottaGame                                           $132,481,770          42
GungHo Online Entertainment, Inc.                   $129,647,701          43
Huuuge Games - Play Together                        $126,311,946          44
NEXTERS GLOBAL LTD                                  $126,232,716          45
VIZOR APPS LTD.                                     $116,357,835          46
Camel Games Limited                                 $115,205,746          47
Nintendo Co., Ltd.                                  $114,779,921          48
Moonton                                             $112,524,589          49
NetEase Games                                       $111,267,642          50
Playtika Santa Monica                               $109,446,026          51
4399 KOREA                                           $98,989,103          52
Big Fish Games                                       $97,774,897          53
Kabam Games, Inc.                                    $94,794,562          54
Warner Bros. International Enterprises               $93,541,752          55
Twitch Interactive, Inc.                             $93,494,920          56
YOUZU(SINGAPORE)PTE.LTD.                             $91,295,562          57
Pandora                                              $89,146,017          58
Kakao Games Corp.                                    $89,120,452          59
Webzen Inc.                                          $87,894,718          60
PLAYSTUDIOS INC                                      $86,497,871          61
Smilegate Megaport                                   $79,736,522          62
Magic Tavern, Inc.                                   $79,644,309          63
Rovio Entertainment Corporation                      $78,802,305          64
KLab                                                 $77,437,939          65
SEGA CORPORATION                                     $76,294,835          66
Crowdstar Inc                                        $75,944,492          67
Facebook                                             $74,631,717          68
Miniclip.com                                         $74,588,819          69
Ten Square Games                                     $74,024,584          70
GSN Games, Inc.                                      $72,793,671          71
Yostar Limited.                                      $70,763,662          72
My.com B.V.                                          $69,845,520          73
Cygames, Inc.                                        $68,509,849          74
PEARL ABYSS                                          $66,527,949          75
Playdemic                                            $65,815,453          76
Gamania Digital Entertainment Co Ltd                 $64,997,836          77
Yostar, Inc.                                         $64,857,861          78
DeNA Co., Ltd.                                       $63,864,380          79
Mechanist Internet Technologies Co., Ltd.            $61,284,552          80




         NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY        C-2
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 427 of 598




Gameloft SE                                          $60,752,305          81
Seriously Digital Entertainment Ltd.                 $59,566,388          82
ONEMT                                                $59,565,006          83
Tactile Games                                        $59,045,924          84
CHUANG COOL ENTERTAINMENT                            $58,960,546          85
Elex Wireless                                        $58,191,381          86
ZlongGames                                           $57,791,652          87
Glu                                                  $57,075,380          88
Wooga                                                $56,590,713          89
Tango                                                $56,170,492          90
Jelly Button Games                                   $55,478,992          91
C4 Connect Inc.                                      $52,539,430          92
Hyperconnect inc                                     $52,097,594          93
Supertreat - A Playtika Studio                       $51,756,312          94
Playtika UK â€“ House of Fun Limited                 $51,459,782          95
Melsoft Games Ltd                                    $51,350,611          96
Mojang                                               $50,715,450          97
Fun Games For Free                                   $49,272,291          98
Wargaming Group                                      $48,645,974          99
COLOPL, Inc.                                         $47,848,819          100

Source: App Annie Data.




         NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY     C-3
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 428 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 429 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 430 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 431 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 432 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 433 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 434 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 435 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 436 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 437 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 438 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 439 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 440 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 441 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 442 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 443 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 444 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 445 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 446 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 447 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 448 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 449 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 450 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 451 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 452 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 453 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 454 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 455 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 456 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 457 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 458 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 459 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 460 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 461 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 462 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 463 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 464 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 465 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 466 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 467 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 468 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 469 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 470 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 471 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 472 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 473 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 474 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 475 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 476 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 477 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 478 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 479 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 480 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 481 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 482 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 483 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 484 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 485 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 486 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 487 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 488 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 489 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 490 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 491 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 492 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 493 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 494 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 495 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 496 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 497 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 498 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 499 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 500 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 501 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 502 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 503 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 504 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 505 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 506 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 507 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 508 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 509 of 598
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 510 of 598


                             Appendix E
                      Google Discount Programs




  NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY      E-1
                 Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 511 of 598




Commission Changes
                                                                                                                       30% commission for
                                                                                                                       the first year of
                     Google lowered its commission for                 Developers offering in-app subcriptions
                                                                                                                       subcription; 15%
                     subscriptions, applicable only “for 2018 - 2021 Reduced fee applies for users retained after 12                                                              [23]
                                                                                                                       commission for users
                     users retained after 12 months ”                  months of subscription
                                                                                                                       retained after a year
                                                                                                                       of subscription
                                                                                                                       15% commission for
                     For automatically renewing
                                                                                                                       automatically
                     subscription products purchased by 2022 - present Subscription services                                                                                      [24], [25]
                                                                                                                       renewing subscription
                     subscribers, the commission is 15%
                                                                                                                       products
                     Google lowered its commission for
                                                                                                                       15% commission for      To help small and medium
                     developers' first $1 million of
                                                                                                                       first $1 million in     businesses going through difficult
                     earnings they make each year for                   Developers must have “a payments profile,”
                                                                                                                       earnings; 30%           times as a result of the COVID-
Project Runway       the sale of digital goods and      2021 - present “create an Account Group,” and “accept the                                                                 [26], [27]
                                                                                                                       commission for          19 pandemic and to compete with
                     services For earnings above $1                    Terms of Service for the 15% service fee tier ”
                                                                                                                       earnings in excess of   Apple's Small Business Program
                     million, the standard commission
                                                                                                                       $1 million              which offerend similar terms
                     applies




                        NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                                                                    E-2
                Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 512 of 598

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                   NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                     E-3
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 513 of 598




                                                Appendix F
                                             Technical Appendix

I.      Damages Model with Entry and Variety Effects

        1.       I develop a model of competition between apps in which developers supply apps
and in-app content and compete on prices charged to consumers. My model is based on a classic
model in the literature on indirect network effects: Church and Gandal (1993). The model
generates formulae for estimating damages as a result of direct effects of changes in but-for
commission or Play Points on app and in-app content prices as well as damages as a result of
effects of changes in but-for commission or Play Points on the number of apps entering the
markets. In addition, the model is used to estimate consumer choice (i.e., number of available
apps) and output effects of Google’s anticompetitive conduct.

        2.       I consider a model with three periods. In period 1, a countably infinite number of
identical firms simultaneously choose whether or not to enter. Firms that enter pay a fixed cost
𝐹𝐹. In period 2, firms that enter are indexed by 𝑖𝑖 = 1, . . . , 𝑛𝑛. Firms choose the price of their
product 𝑝𝑝𝑖𝑖 . In period 3, a representative consumer chooses how much to buy of each product. I
search for a subgame perfect Nash equilibrium.

        3.       I find the equilibrium by backward induction.

        A.       Consumers

        4.       Google Play Store has 𝑛𝑛 apps. A representative consumer chooses the quantity of
transactions 𝑞𝑞𝑖𝑖 , at each app 𝑖𝑖 = 1, … , 𝑛𝑛. 1 Let 𝑞𝑞⃗ be the 𝑛𝑛 × 1 vector of elements 𝑞𝑞𝑖𝑖 . The utility
function for the consumer is:




1
  An alternative to assuming that there is a single representative consumer that buys every app is to use a discrete
choice model, that is, to assume there are a set of heterogeneous consumers that buy one app (or several apps).
Representative agent and discrete models are closely related and have the same implications for many outcomes of
interest. Intuitively, if we observe product-level quantity data (as opposed to individual level purchase data), we
cannot distinguish just from data whether every consumer bought some of each product or different consumers
bought each product. Thus, either modeling approach to such data can typically be mapped into the other approach.
Anderson et al (1989) show how to map a CES model, such as used here, into a logit discrete choice model.
(Anderson, Simon P., André De Palma, and Jacques-François Thisse, “Demand for Differentiated Products, Discrete
Choice Models, and the Characteristics Approach,” The Review of Economic Studies, Vol. 56, Issue 1, 1989, pp. 21-
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             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                    F-1
          Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 514 of 598




                                                                 𝑛𝑛                    𝜌𝜌
                                                                                1
                                                  𝑢𝑢(𝑞𝑞⃗) = ��(𝑎𝑎𝑖𝑖 𝑞𝑞𝑖𝑖       )𝜌𝜌 �
                                                                𝑖𝑖=1

where 𝜌𝜌 > 1 represents the degree of substitutability between transactions on different apps. The
greater is 𝜌𝜌, the greater is the preference for variety. 2 The parameters 𝑎𝑎𝑖𝑖 reflect the relative
quality of each app. This utility function is a standard model in economics and underlies many
classic models of competition, such as Dixit and Stiglitz (1977). 3

           5.        The price of app 𝑖𝑖 per transaction is 𝑝𝑝𝑖𝑖 . Google Play also provides Play Points and
other direct discounts to consumers on that posted price which is denoted by 𝑡𝑡𝐵𝐵 . The final price
paid by a consumer on a transaction is then 𝑝𝑝𝑖𝑖 (1 − 𝑡𝑡𝐵𝐵 ). The consumer has a budget 𝑦𝑦 to spend on
apps so the budget constraint is:
                                                        𝑛𝑛
                                                                             𝑦𝑦
                                                       � 𝑝𝑝𝑖𝑖 𝑞𝑞𝑖𝑖 =
                                                                           1 − 𝑡𝑡𝐵𝐵
                                                       𝑖𝑖=1

           6.        The consumer chooses the quantity of transactions from each app subject to the
budget constraint. Mathematically, the problem for the consumer is:
                                                                      𝑛𝑛
                                                                                          𝑦𝑦
                                          max 𝑢𝑢(𝑞𝑞⃗) 𝑠𝑠. 𝑡𝑡. � 𝑝𝑝𝑖𝑖 𝑞𝑞𝑖𝑖 =
                                         𝑞𝑞1 ,…,𝑞𝑞𝑛𝑛                                    1 − 𝑡𝑡𝐵𝐵
                                                                  𝑖𝑖=1

This leads to the demand system for each app 𝑖𝑖:
                                                                                            1
                                                                  𝑦𝑦       (𝑎𝑎𝑖𝑖 𝑝𝑝̅ )𝜌𝜌−1
                                             𝑞𝑞𝑖𝑖 (𝑝𝑝⃗, 𝑝𝑝̅ ) =          ×           𝜌𝜌
                                                                1 − 𝑡𝑡𝐵𝐵          𝜌𝜌−1
                                                                              𝑝𝑝𝑖𝑖
                                                                                                                 E. 1
where:




                                                                                                    𝜎𝜎
2
    Let 𝜎𝜎 be own price elasticity of demand. Then, the relationship between 𝜌𝜌 and 𝜎𝜎 is 𝜌𝜌 =           .
                                                                                                   𝜎𝜎−1
3
 Dixit, Avinash K. and Joseph E. Stiglitz, “Monopolistic Competition and Optimum Product Diversity,” The
American Economic Review, Vol. 67, No. 3, 1977, pp. 297-308 (hereafter “Dixit and Stiglitz (1977)”). Note that
Dixit and Stiglitz (1977) analyze a general version of the CES utility function that allows for two nests. I use a
special case of the utility function for my analyses.


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                      F-2
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 515 of 598



                                                      𝑛𝑛            −1   1−𝜌𝜌
                                                      𝑝𝑝𝑖𝑖 𝜌𝜌−1
                                            𝑝𝑝̅ = �� � � �
                                                      𝑎𝑎𝑖𝑖
                                                    𝑖𝑖=1

That is, 𝑝𝑝̅ can be seen as a price index adjusted for the number of varieties that depends on app
quality and the consumer's preference for variety. The more app choices, the better are the apps,
and the more the consumer prefers variety, the lower is the effective price index.

        7.       Taking logs of both sides of the demand equation gives us an equation that is
linear in parameters. I run a log-log regression of quantity of transactions on prices net of
                                                            𝜌𝜌
developer discounts to estimate the parameter                     , which is the own-price elasticity. In that
                                                           𝜌𝜌−1

regression, I demean the data to account for app fixed effects, include time fixed effects,
purchase type fixed effects, and use a measure of the sales tax rate to instrument for price as
motivated by Zoutman et al. (2018). 4 The motivation for the instrument is that tax rates can serve
as a source of exogenous variation in prices for consumers: “a standard assumption in models of
taxation since Ramsay (1927) is that the supply of a good depends on the before-tax price,
whereas demand depends on the price after taxation.” 5 The results are summarized in Exhibit 71
in the report.

        B.       Firms

        8.       A firm producing (supplying) app 𝑖𝑖 faces fixed cost 𝐹𝐹 of developing the app and
marginal cost 𝑐𝑐 per transaction. A firm also does not know the actual quality of its app at the
time of making the decision of whether to incur the fixed cost of developing the app and setting a
price. 6 Its expected profit function is:

                                 𝜋𝜋𝑖𝑖 (𝑝𝑝⃗) = (1 − 𝜏𝜏)𝑝𝑝𝑖𝑖 𝐸𝐸(𝑞𝑞𝑖𝑖 ) − 𝑐𝑐𝐸𝐸(𝑞𝑞𝑖𝑖 ) − 𝐹𝐹




4
  Zoutman, Floris T., Evelina Gavrilova, and Arnt O. Hopland, “Estimating Both Supply and Demand Elasticities
Using Variation in a Single Tax Rate,” Econometrica, Vol. 86(2), 2018, pp. 763-771 (hereafter “Zoutman et al.
(2018)”). See also Dearing, Adam, “Estimating structural demand and supply models using tax rates as
Instruments,” Journal of Public Economics, Vol. 205, 2022.
5
  Zoutman et al. (2018), p. 764.
6
  See Janßen, Rebecca, Reinhold Kesler, Michael E. Kummer, and Joel Waldfogel, “GDPR and the Lost Generation
of Innovative Apps,” NBER Working Paper Series, 2022 (hereafter “Janßen et al (2022)”), p. 22 (finding “strong
evidence that app success is unpredictable.”).


          NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                         F-3
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 516 of 598




          9.       Where 𝜏𝜏 is the commission charged by the Google Play Store and 𝐸𝐸 is the
expectation operator. I assume that all developers are ex-ante symmetric and hence have the
same beliefs about potential app quality. 7 Plugging in from E. 1 we have:
                                                                                           1
                                                   ((1 − 𝜏𝜏)𝑝𝑝𝑖𝑖 − 𝑐𝑐)𝑦𝑦𝑦𝑦 �(𝑎𝑎𝑖𝑖   𝑝𝑝̅ ) �
                                                                                         𝜌𝜌−1
                                    𝜋𝜋𝑖𝑖 (𝑝𝑝⃗) =                               𝜌𝜌               − 𝐹𝐹
                                                                            𝜌𝜌−1
                                                             (1 −   𝑡𝑡𝐵𝐵 )𝑝𝑝𝑖𝑖

          10.      Each firm maximizes profit with respect to price 𝑝𝑝𝑖𝑖 simultaneously in a Nash
equilibrium. Firms account for the direct effect of 𝑝𝑝𝑖𝑖 and the effect on the price index 𝑝𝑝̅ . The first
order condition for app 𝑖𝑖 is then:
                                                                                       2                       1
                                       1                            ⎡𝐸𝐸 �(𝑎𝑎𝑖𝑖 𝑝𝑝̅ )𝜌𝜌−1 � 𝜌𝜌𝜌𝜌 �(𝑎𝑎𝑖𝑖 𝑝𝑝̅ )𝜌𝜌−1 �⎤
            (1 − 𝜏𝜏)𝐸𝐸 �(𝑎𝑎𝑖𝑖   𝑝𝑝̅ ) �
                                     𝜌𝜌−1   + [(1 − 𝜏𝜏)𝑝𝑝𝑖𝑖 − 𝑐𝑐] × ⎢                  𝜌𝜌 −
                                                                                                                  ⎥=0
                                                                    ⎢                𝜌𝜌−1
                                                                                              (𝜌𝜌 −    1)𝑝𝑝   𝑖𝑖  ⎥
                                                                    ⎣ (𝜌𝜌 − 1)𝑝𝑝𝑖𝑖                                ⎦

          11.      Under the symmetric Nash equilibrium, we have 𝑝𝑝𝑖𝑖 = 𝑝𝑝∗ ∀𝑖𝑖. Substituting into the
first order condition:

                               1                                         1                        2                    1
                                                           ⎡ ⎡                                        ⎤                         ⎤
                       ⎡ 𝑎𝑎𝜌𝜌−1 ⎤                                   𝑎𝑎
                                                                       𝜌𝜌−1                                    ⎡ 𝑎𝑎𝜌𝜌−1 ⎤
                                                     𝑐𝑐
    (𝜌𝜌 − 1)(1 − 𝜏𝜏)𝐸𝐸 ⎢    𝑖𝑖
                                   1
                                      ⎥ + �(1 − 𝜏𝜏) − � × ⎢⎢𝐸𝐸 ⎢⎛     𝑖𝑖
                                                                            1
                                                                              ⎞                       ⎥ − 𝜌𝜌𝜌𝜌 ⎢    𝑖𝑖         ⎥⎥
                                                                                                                            1 ⎥=0
                       ⎢ 𝑛𝑛           ⎥              𝑝𝑝                                                        ⎢ 𝑛𝑛       𝜌𝜌−1 ⎥⎥
                                 𝜌𝜌−1                      ⎢ ⎢ ∑𝑛𝑛 𝑎𝑎𝜌𝜌−1                             ⎥
                       ⎣∑𝑗𝑗=1 𝑎𝑎𝑗𝑗 ⎦                                                                             ∑     𝑎𝑎
                                                                                                               ⎣ 𝑗𝑗=1 𝑗𝑗 ⎦
                                                           ⎣ ⎣⎝               ⎠                       ⎦
                                                                  𝑗𝑗=1 𝑗𝑗
                                                                                                                                ⎦

          12.      Let 𝑎𝑎𝑖𝑖 = 1 ∀ 𝑖𝑖. Using this in the first order conditions and rearranging gives the
symmetric Nash equilibrium price: 8




7
  This assumption is without loss of generality with respect to the optimal pricing of apps. If the number of apps is
large enough, then apps do not consider the effect of their individual prices on price index (as that effect goes to zero
as the number of apps becomes large). In such a case, even if apps know exactly about their quality before setting
                                                                         𝜌𝜌𝑐𝑐
the prices, one can show that in equilibrium, the optimal price is 𝑝𝑝∗ = 𝑖𝑖 , where 𝑐𝑐𝑖𝑖 is marginal cost of app 𝑖𝑖. That
                                                                        1−𝜏𝜏
is, prices do not depend on quality.
8
  An assumption to get to this simple formula is that all firms have marginal cost 𝑐𝑐. One way to think about this
assumption is to consider apps that have imperfect knowledge about their marginal costs ex-ante. This is possible,
for example, because developers face costs of user acquisition—marketing costs—on a per-user acquired basis, but




            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                                    F-4
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 517 of 598




                                                                 (𝜌𝜌𝜌𝜌 − 1)𝑐𝑐
                                             𝑝𝑝∗ (𝑛𝑛, 𝜏𝜏) =
                                                              (𝑛𝑛 − 1)(1 − 𝜏𝜏)
                                                                                                                        E. 2
         13.       Let 𝜋𝜋 ∗ (𝑛𝑛, 𝜏𝜏) be the equilibrium profit when there are 𝑛𝑛 firms conditional on the
commission. Under free entry, the equilibrium number of firms 𝑛𝑛∗ (𝜏𝜏) is such that 𝜋𝜋 ∗ (𝑛𝑛∗ (𝜏𝜏), 𝜏𝜏) =
0 (ignoring integer constraints on 𝑛𝑛). We have:
                                                                   𝑐𝑐              𝑦𝑦
                              𝜋𝜋 ∗ (𝑛𝑛, 𝜏𝜏) = �(1 − 𝜏𝜏) −                 �×                 − 𝐹𝐹
                                                              𝑝𝑝∗ (𝑛𝑛, 𝜏𝜏)     (1 − 𝑡𝑡𝐵𝐵 )𝑛𝑛
                                                                                                                        E. 3
         14.       The optimal profits decline in both 𝑛𝑛 and 𝜏𝜏 and increase in 𝑡𝑡𝐵𝐵 .

         15.       Substituting for 𝑝𝑝∗ (𝑛𝑛, 𝜏𝜏) in E. 3, I can solve for 𝑛𝑛∗ (𝜏𝜏):

                                                              𝑦𝑦(1 − 𝜏𝜏)(𝜌𝜌 − 1)
                                                        1+
                                                                  (1 − 𝑡𝑡𝐵𝐵 )𝐹𝐹
                                           𝑛𝑛∗ (𝜏𝜏) =
                                                                    𝜌𝜌
                                                                                                                        E. 4
         16.       Given an estimate of 𝜌𝜌, E. 2 and E. 4 can be used to calibrate 𝐹𝐹 and 𝑐𝑐.

         C.        Welfare Effects of 𝝉𝝉 and 𝒕𝒕𝑩𝑩

         17.       I calculate (1) the direct effect of the commission and Google’s price discount on
price (overcharge); (2) the welfare effect from increased app varieties, while shutting down the
price effects (i.e. prices remain at the initial level); (3) total welfare effect of commission and
Google’s price discount.




predicting ex ante the amount of advertising cost necessary is difficult because the cost of advertising depends on
app success. That is, each app sets price based on an average marginal cost that equals to 𝑐𝑐. In that case, an
interpretation of the marginal cost in my model is that it is an average marginal cost. Alternatively, if 𝑛𝑛 is large
enough, then apps do not consider the effect of their individual prices on the price index (as that effect goes to zero
as 𝑛𝑛 becomes large). If apps know their individual marginal costs exactly in such a case, equilibrium implies 𝑝𝑝∗ =
𝜌𝜌𝑐𝑐𝑖𝑖
       where 𝑐𝑐𝑖𝑖 is marginal cost of app 𝑖𝑖. If the average of 𝑐𝑐𝑖𝑖 is equal to 𝑐𝑐 in my model, then my model approximates
1−𝜏𝜏
the average price set by apps.


           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                              F-5
           Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 518 of 598




                     1.           Direct Effect on Price

            18.      The direct effect on price refers to the effect of Google’s conduct (through the
commission and direct price discounts to consumers it has chosen) on prices holding fixed the
number of apps. Let 𝜏𝜏1 denote the initial, actual, commission and 𝜏𝜏2 the new, but-for,
commission. Also, let 𝑡𝑡𝐵𝐵 1 denote the initial direct price discount rate and 𝑡𝑡𝐵𝐵 2 the but-for price
discount rate. Then the percentage overcharge due to direct effect of commission and Play Points
on price is:

                                                                 (1 − 𝑡𝑡𝐵𝐵 2 )(𝜌𝜌𝜌𝜌 − 1)𝑐𝑐 (1 − 𝑡𝑡𝐵𝐵 1 )(𝜌𝜌𝜌𝜌 − 1)𝑐𝑐
                                                                                            −
                     ∗                  ∗                  ∗       (𝑛𝑛 − 1)(1 − 𝜏𝜏2 )            (𝑛𝑛 − 1)(1 − 𝜏𝜏1 )
     ((1 − 𝑡𝑡𝐵𝐵 2 )𝑝𝑝2 − �1 − 𝑡𝑡𝐵𝐵 1 �𝑝𝑝1 )/(�1 − 𝑡𝑡𝐵𝐵1 �𝑝𝑝1 ) =
                                                                                (1 − 𝑡𝑡𝐵𝐵1 )(𝜌𝜌𝜌𝜌 − 1)𝑐𝑐
                                                                                   (𝑛𝑛 − 1)(1 − 𝜏𝜏1 )
                               (1 − 𝜏𝜏1 )�1 − 𝑡𝑡𝐵𝐵 2 � − (1 − 𝜏𝜏2 )(1 − 𝑡𝑡𝐵𝐵 1 )
                           =
                                           (1 − 𝜏𝜏2 )(1 − 𝑡𝑡𝐵𝐵1 )
                                                                                                                    E. 5
            19.      This equation can be used to calculate damages due to the direct effect of
commission and Play Points on price. Exhibit I.1 in Appendix I provides the following six
versions of overcharge damages by Plaintiff State and year: 9

           Pooled markets with but-for commission and Play Points;

           Pooled markets with only but-for commission effects (i.e. 𝑡𝑡𝐵𝐵 2 is set to equal 𝑡𝑡𝐵𝐵 1 );

           Pooled markets with only Play Points effect (i.e., 𝜏𝜏2 is set to equal 𝜏𝜏1 );

           Android In-App Billing Services Market with but-for commission and Play Points;

           Android In-App Billing Services Market with only but-for commission effects (i.e. 𝑡𝑡𝐵𝐵 2 is
            set to equal 𝑡𝑡𝐵𝐵 1 ); and

           Android In-App Billing Services Market with only Play Points effect (i.e., 𝜏𝜏2 is set to
            equal 𝜏𝜏1 ).




9
    Appendix J contains a similar exhibit with yearly damages for all states and U.S. administrative areas in the data.


             NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                         F-6
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 519 of 598




           20.   I calculate a common overcharge over August 16, 2016- May 31, 2022. As
described in Section VII of my report, the but-for commission is set to be 15% for the pooled
markets damages and is common across all years and states. As further described in Section VIII
of my report, the but-for commission is set to be 15% percent for the In-App Billing Services
market damages in the scenario in which Google has a legitimate monopoly in the Android App-
Distribution Market but engages in anticompetitive tying. To calculate the but-for Google price
discount, I (i) calculate the price discount due to Play Points over January 1, 2020-May 31, 2022
by dividing the dollar value of total Play Points (assuming 100 Play Points equals $1) by the
gross consumer expenditure net of developer discounts; (ii) multiply this by the gross consumer
expenditure net of developer discounts over August 16, 2016-December 31, 2019; and (iii) add
this amount to the actual Google discounts over August 16, 2016-May 31, 2022 and divide that
by the gross consumer expenditure net of developer discounts over August 16, 2016-May 31,
2022.

           21.   To allocate the overcharge damages to the Plaintiff States during the relevant
period (at the annual level), I use the respective net consumer expenditure in each Plaintiff
State/year. I drop missing state names in the Google Transaction Data starting from August 1,
2016. 10

           22.   I extrapolate damages up through the scheduled trial start date of June 5, 2023. To
do so, I use data from January 1, 2018-May 31, 2022 to estimate a time trend by running a
regression of net consumer spend on a constant and time trend which I use to predict the values
in each month from June 2022 to June 5, 2023, accounting for the number of days in the partial
month. Consequently, I allocate net consumer spend proportionally by state according to the
percent distribution of net spend over states for the years 2018 through 2019.




10
  Letter from Brian C. Rocca to Brendan Benedict, “Re: In re Google Play Store Antitrust Litigation, No. 3:21-md-
02981-JD (N.D. Cal.); In re Google Play Consumer Antitrust Litigation, No. 3:20-cv-05761-JD (N.D. Cal.);
Epic Games, Inc. v. Google LLC et al., No. 3:20-cv-05671-JD (N.D. Cal.); State of Utah, et al. v. Google LLC et al.,
No. 3:21-cv-05227-JD (N.D. Cal.); Match Group, LLC et al. v. Google LLC et al., Case No. 3:22-cv-02746-JD,”
August 23, 2022, p. 1 (“Google has sampled a number of transactions where the ‘state’ information is missing and
confirms that for the period August 2016 to July 2021, these are test purchases for which ‘state’ information is not
required.”).


            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                     F-7
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 520 of 598




         23.      Finally, I use the annual shares of phones and tablets from Google Monthly App
Revenue Data 11 to restrict damages to consumer spend on phone and tablet devices. 12

                  2.        Welfare Effect Through Increased Variety

         24.      Here, I set but-for price to its initial level, 𝑝𝑝1∗ , i.e. the price does not respond either
directly or indirectly to 𝜏𝜏. Even if developers do not lower app and in-app content prices, they
would still earn greater revenues, and hence higher profits, under a lower but-for 𝜏𝜏 or higher 𝑡𝑡𝐵𝐵 .
This further incentivizes more firms to enter and launch more apps and in-app content on the
platform. Consumers are better off because they intrinsically value the variety of apps available
on the platform. I calculate the change in consumer welfare due to increased variety and then
convert the welfare change to dollars.

         25.      Using the consumer’s utility function and demand system, the consumers’ indirect
utility is calculated as:

                                                            𝑦𝑦         𝑛𝑛𝜌𝜌−1
                                          𝑉𝑉(𝑝𝑝, 𝑛𝑛) =               ×
                                                         (1 − 𝑡𝑡𝐵𝐵 )      𝑝𝑝

         26.      I ask what is the equivalent amount of dollars, denoted by Δ𝑦𝑦, that one should
give a consumer to make her as happy as if the commission was 𝜏𝜏2 instead of 𝜏𝜏1 and the discount
was 𝑡𝑡𝐵𝐵 2 instead of 𝑡𝑡𝐵𝐵 1 (i.e., I do not decrease 𝜏𝜏1 to 𝜏𝜏2 and do not increase 𝑡𝑡𝐵𝐵 1 to 𝑡𝑡𝐵𝐵 2 but instead
give the consumer compensation that makes her as well off). This translates into solving the
following for Δ𝑦𝑦:




11
   To extrapolate the share for January 1, 2022, to June 5, 2023, I take the compound annual growth rate of this share
from 2019 to 2021 and project the share in subsequent years. I also treat missing device types in the Google’s
monthly app revenue data as part of phones and tablets.
12
   Note that Google in its correspondence regarding the Google Transaction Data stated that “We understand
“device_class” may not be tracked accurately by Google and are investigating the burden of providing this
information.” See Letter from Brian C. Rocca to Gregory Arenson, “Re: In re Google Play Store Antitrust Litigation,
No. 3:21-md-02981-JD (N.D. Cal.); Epic Games, Inc. v. Google LLC et al., No. 3:20-cv-05671-JD (N.D. Cal.); In re
Google Play Consumer Antitrust Litigation, No. 3:20-cv-05761-JD (N.D. Cal.); In re Google Play Developer
Antitrust Litigation, No. 3:20-cv-05792-JD (N.D. Cal.); State of Utah, et al. v. Google LLC et al., No. 3:21-cv-
05227-JD (N.D. Cal.),” October 11, 2021, p. 12. Thus, I use ‘device_type’ field from the Google Monthly App
Revenue Data to account for the device type in the damages calculations.



           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                        F-8
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 521 of 598




                                                   𝜌𝜌−1                        𝜌𝜌−1
                               (𝑦𝑦 + Δ𝑦𝑦) 𝑛𝑛1         𝑦𝑦        𝑛𝑛
                                            × ∗ =              × 2∗
                               (1 − 𝑡𝑡𝐵𝐵1 )   𝑝𝑝1 (1 − 𝑡𝑡𝐵𝐵1 )    𝑝𝑝1

        27.     The solution is:
                                                              𝜌𝜌−1
                                                          𝑛𝑛2
                                          Δ𝑦𝑦 = 𝑦𝑦 × �        𝜌𝜌−1   − 1�
                                                          𝑛𝑛1
                                                                                                    E. 6
        28.     The actual number of apps 𝑛𝑛1 is observed in the data. To derive 𝑛𝑛2 , I use the
following version of E. 3 as a free entry condition:
                                               𝑐𝑐           𝑦𝑦
                              �(1 − 𝜏𝜏2 ) −        � ×                 − 𝐹𝐹 = 0
                                              𝑝𝑝1∗     �1 − 𝑡𝑡𝐵𝐵2 �𝑛𝑛2

        29.     This profit is obtained by fixing 𝑝𝑝∗ = 𝑝𝑝1∗ ; allowing for higher revenues per unit of
quantity under 𝜏𝜏2 , which is (1 − 𝜏𝜏2 )𝑝𝑝1∗ ; and using consumer demand that is evaluated at 𝑝𝑝1∗ but
allows for higher discount and more varieties i.e., the price index aggregates across 𝑛𝑛2 varieties
with each product having price 𝑝𝑝1∗ .

        30.     The free entry condition gives:

                                              𝑦𝑦              ((1 − 𝜏𝜏2 )𝑝𝑝1∗ − 𝑐𝑐)
                                𝑛𝑛2 =                     ×
                                        �1 − 𝑡𝑡𝐵𝐵2 �𝐹𝐹                𝑝𝑝1∗
                                                                                                    E. 7
        31.     Provided that we have estimates of marginal and fixed costs, we can recover 𝑛𝑛2
and plug into E. 6 to calculate Δ𝑦𝑦.

        32.     Using E. 3, 𝑛𝑛1 can be expressed as:

                                              𝑦𝑦              ((1 − 𝜏𝜏1 )𝑝𝑝1∗ − 𝑐𝑐)
                                𝑛𝑛1 =                     ×
                                        �1 − 𝑡𝑡𝐵𝐵1 �𝐹𝐹                𝑝𝑝1∗
                                                                                                    E. 8
        33.     Dividing E. 7 by E. 8, we have:

                                   𝑛𝑛2 ((1 − 𝜏𝜏2 )𝑝𝑝1∗ − 𝑐𝑐) (1 − 𝑡𝑡𝐵𝐵 1 )
                                      =
                                   𝑛𝑛1 ((1 − 𝜏𝜏1 )𝑝𝑝1∗ − 𝑐𝑐) (1 − 𝑡𝑡𝐵𝐵 2 )

        34.     Substituting for 𝑝𝑝1∗ in the above expression gives:


         NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                             F-9
           Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 522 of 598




                                 𝑛𝑛2 (𝜌𝜌𝜌𝜌(1 − 𝜏𝜏2 ) − 𝑦𝑦(1 − 𝜏𝜏1 ) + �1 − 𝑡𝑡𝐵𝐵 1 �𝐹𝐹) (1 − 𝑡𝑡𝐵𝐵 1 )
                                     =
                                 𝑛𝑛1     ((𝜌𝜌 − 1)𝑦𝑦(1 − 𝜏𝜏1 ) + �1 − 𝑡𝑡𝐵𝐵 1 �𝐹𝐹)      (1 − 𝑡𝑡𝐵𝐵 2 )

            35.       Substituting the latter into E. 6, we obtain:
                                                                                                    𝜌𝜌−1
                                (𝜌𝜌𝜌𝜌(1 − 𝜏𝜏2 ) − 𝑦𝑦(1 − 𝜏𝜏1 ) + �1 − 𝑡𝑡𝐵𝐵 1 �𝐹𝐹) (1 − 𝑡𝑡𝐵𝐵 1 )
                  Δ𝑦𝑦 = 𝑦𝑦 × ��                                                                 �          − 1�
                                    ((𝜌𝜌 − 1)𝑦𝑦(1 − 𝜏𝜏1 ) + �1 − 𝑡𝑡𝐵𝐵 1 �𝐹𝐹)      (1 − 𝑡𝑡𝐵𝐵 2 )

                                                                                                                    E. 9
            36.       This equation is used to calculate damages as a result of forgone varieties under
the assumption that prices do not decrease in the but-for world. Exhibit I.2 in Appendix I
provides the following six versions of damages by Plaintiff State and year due to welfare effect
through increased variety: 13

           Pooled markets with but-for commission and Play Points;

           Pooled markets with only but-for commission effects (i.e. 𝑡𝑡𝐵𝐵 2 is set to equal 𝑡𝑡𝐵𝐵 1 );

           Pooled markets with only Play Points effect (i.e. 𝜏𝜏2 is set to equal 𝜏𝜏1 );

           Android In-App Billing Services Market with but-for commission and Play Points;

           Android In-App Billing Services Market with only but-for commission effects (i.e. 𝑡𝑡𝐵𝐵 2 is
            set to equal 𝑡𝑡𝐵𝐵 1 );

           Android In-App Billing Services Market with only Play Points effect (i.e. 𝜏𝜏2 is set to
            equal 𝜏𝜏1 ).

            37.       Similar to how I calculate the direct price effect, I calculate a common
multiplicative factor equal to the expression inside the parenthesis of equation E. 9. I calibrate
the own-price elasticity using the estimate from Ghose and Han (2014). I calibrate the fixed cost,
𝐹𝐹, using equation E. 4 evaluated at the actual world values. To allocate the damages to the
Plaintiff States during the relevant period (at the annual level), I use respective net consumer
spend in each Plaintiff State/year.




13
     Appendix J contains a similar exhibit with yearly damages for all states and U.S. administrative areas in the data.


              NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                       F - 10
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 523 of 598




         D.       Total Welfare Effect

         38.      The total welfare effect (in $) due to a lower commission and higher Play Points
in the but-for world is represented as:

                                                            𝑝𝑝1 (1 − 𝑡𝑡𝐵𝐵 1 ) 𝑛𝑛2𝜌𝜌−1
                                             Δ𝑦𝑦 = 𝑦𝑦 × �                             − 1�
                                                            𝑝𝑝2 (1 − 𝑡𝑡𝐵𝐵 2 ) 𝑛𝑛1𝜌𝜌−1

         39.      For an illustration, this can be decomposed as follows:

                         𝑝𝑝1 �1 − 𝑡𝑡𝐵𝐵 1 � 𝑛𝑛2𝜌𝜌−1                  𝑝𝑝1 �1 − 𝑡𝑡𝐵𝐵 1 �                         𝜌𝜌−1
                                                                                                            𝑛𝑛2
          Δ𝑦𝑦 = 𝑦𝑦 × �                       𝜌𝜌−1 − 1� ≥ 𝑦𝑦 × �                         − 1� + 𝑦𝑦 × �         𝜌𝜌−1      − 1�
                         𝑝𝑝2 �1 − 𝑡𝑡𝐵𝐵 2 � 𝑛𝑛1                      𝑝𝑝2 �1 − 𝑡𝑡𝐵𝐵 2 �                       𝑛𝑛1
                                                                                                     𝜌𝜌−1
                                                           𝑝𝑝1 �1 − 𝑡𝑡𝐵𝐵 1 �                     𝑛𝑛2
                             = 𝑄𝑄2 𝑝𝑝2 �1 − 𝑡𝑡𝐵𝐵 2 � × �                       − 1� + 𝑦𝑦 × �         𝜌𝜌−1   − 1�
                                                           𝑝𝑝2 �1 − 𝑡𝑡𝐵𝐵 2 �                     𝑛𝑛1
                                                                                                     𝜌𝜌−1
                                                           𝑝𝑝1 �1 − 𝑡𝑡𝐵𝐵 1 �                     𝑛𝑛2
                             ≥ 𝑄𝑄1 𝑝𝑝2 �1 − 𝑡𝑡𝐵𝐵 2 � × �                       − 1� + 𝑦𝑦 × �         𝜌𝜌−1   − 1�
                                                           𝑝𝑝2 �1 − 𝑡𝑡𝐵𝐵 2 �                     𝑛𝑛1
                                                                                           𝜌𝜌−1
                                                                                         𝑛𝑛2
                             = 𝑄𝑄1 ��1 − 𝑡𝑡𝐵𝐵 1 �𝑝𝑝1 − �1 − 𝑡𝑡𝐵𝐵 2 �𝑝𝑝2 � + 𝑦𝑦 × �         𝜌𝜌−1      − 1�
                                                                                         𝑛𝑛1
                                                                                                                   𝜌𝜌−1
                                                                                   𝑝𝑝1 (1−𝑡𝑡𝐵𝐵 1 )                𝑛𝑛2
         40.      The first inequality follows from observing that                                   ≥ 1 and       𝜌𝜌−1   ≥ 1. The
                                                                                   𝑝𝑝2 (1−𝑡𝑡𝐵𝐵 2 )                𝑛𝑛1

second inequality follows from observing that 𝑄𝑄2 ≥ 𝑄𝑄1 where capital 𝑄𝑄 denotes total number of
transactions. This illustrates that the total welfare loss for consumers is at least as large as the
damages from the direct effect on price estimated in the previous section. 14

         41.      I substitute the equilibrium expressions for 𝑝𝑝1 , 𝑝𝑝2 , 𝑛𝑛1, and 𝑛𝑛2 in the expression for
the total welfare change and arrive at the following equation which is used to calculate the total
damages:




14
  I underestimate the damages from the direct effect on price using the method in Section C.1 for two reasons: (1)
as illustrated by the last inequality in the equation above, the total harm to consumer welfare should be evaluated
incorporating the output effects (i.e., at 𝑄𝑄2 ), and (2) when estimating the damages from the direct effect on price, I
do not use 𝑝𝑝2 , the but-for price, but instead use the higher but-for price assuming there was no change in the number
of firms.


           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                                      F - 11
           Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 524 of 598




                                      (𝑦𝑦(1 − 𝜏𝜏2 ) − �1 − 𝑡𝑡𝐵𝐵 2 �𝐹𝐹)(1 − 𝑡𝑡𝐵𝐵 1 )
                      Δ𝑦𝑦 = 𝑦𝑦 × ��                                                   �
                                      (𝑦𝑦(1 − 𝜏𝜏1 ) − �1 − 𝑡𝑡𝐵𝐵 1 �𝐹𝐹)(1 − 𝑡𝑡𝐵𝐵 2 )
                                                                                                         𝜌𝜌−1
                                             �𝑦𝑦(1 − 𝜏𝜏2 )(𝜌𝜌 − 1) + �1 − 𝑡𝑡𝐵𝐵 2 �𝐹𝐹��1 − 𝑡𝑡𝐵𝐵 1 �
                                        ×�                                                           �          − 1�
                                             �𝑦𝑦(1 − 𝜏𝜏1 )(𝜌𝜌 − 1) + �1 − 𝑡𝑡𝐵𝐵 1 �𝐹𝐹��1 − 𝑡𝑡𝐵𝐵 2 �
                                                                                                                       E. 10
            42.      Exhibit I.3 in Appendix I provides the following six versions of total damages by
Plaintiff State and year: 15

           Pooled markets with but-for commission and Play Points;

           Pooled markets with only but-for commission effects (i.e. 𝑡𝑡𝐵𝐵 2 is set to equal 𝑡𝑡𝐵𝐵 1 );

           Pooled markets with only Play Points effect (i.e. 𝜏𝜏2 is set to equal 𝜏𝜏1 );

           Android In-App Billing Services Market with but-for commission and Play Points;

           Android In-App Billing Services Market with only but-for commission effects (i.e. 𝑡𝑡𝐵𝐵 2 is
            set to equal 𝑡𝑡𝐵𝐵 1 );

           Android In-App Billing Services Market with only Play Points effect (i.e. 𝜏𝜏2 is set to
            equal 𝜏𝜏1 ).

            E.       Consumer Choice and Output Effects of Google’s Anticompetitive
                     Conduct

            43.      To calculate a percentage increase in the number of apps in the but-for world, I
use the following expression:

                           𝑛𝑛2     �𝑦𝑦(1 − 𝜏𝜏2 )(𝜌𝜌 − 1) + �1 − 𝑡𝑡𝐵𝐵 2 �𝐹𝐹��1 − 𝑡𝑡𝐵𝐵 1 �
                               −1=                                                       −1
                           𝑛𝑛1     �𝑦𝑦(1 − 𝜏𝜏1 )(𝜌𝜌 − 1) + �1 − 𝑡𝑡𝐵𝐵 1 �𝐹𝐹��1 − 𝑡𝑡𝐵𝐵 2 �




15
     Appendix J contains a similar exhibit with yearly damages for all states and U.S. administrative areas in the data.


              NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                           F - 12
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 525 of 598




                                                                                                                   E. 11
         44.       To estimate the output effects in each year, I use the symmetric Nash Equilibrium
condition, 𝑝𝑝𝑖𝑖 = 𝑝𝑝∗ ∀𝑖𝑖, in E. 1 and sum up the output to get the total output across all apps
(denoted by 𝑄𝑄). I arrive at:
                                                                      𝑦𝑦
                                                           𝑄𝑄 =
                                                                  (1 − 𝑡𝑡𝐵𝐵 )𝑝𝑝∗
                                                                                                                   E. 12
         45.      Consequently, conservatively assuming that there is only a direct effect of
commission on price, I use E. 2 in the expression above and arrive at:

                                                               (1 − 𝜏𝜏2 ) (1 − 𝑡𝑡𝐵𝐵 1 )
                                                  𝑄𝑄2 = 𝑄𝑄1
                                                               (1 − 𝜏𝜏1 ) (1 − 𝑡𝑡𝐵𝐵 2 )
                                                                                                                   E. 13

II.      Model Adaptation for SSNIP Calculation

         46.      I can also adapt the model described above to investigate whether a hypothetical
monopolist of both Android In-app Billing Services and Android App Distribution would find it
profitable to impose a SSNIP of 10%. That is, the question is whether the markets are no broader
than Android In-app Billing Services and App Distribution. These adjustments are set out in the
sections below.

         A.        SSNIP Model

         47.      I start with the hypothetical monopolist’s profit function at the competitive price,
which is written as:

                                    Π = ((𝜏𝜏 ∗ − 𝑡𝑡𝐵𝐵∗ ) × 𝑝𝑝∗ (𝜏𝜏 ∗ , 𝑡𝑡𝐵𝐵∗ ) − 𝐶𝐶) × 𝑄𝑄∗ (𝜏𝜏 ∗ , 𝑡𝑡𝐵𝐵∗ )

         48.      Where the price 𝑝𝑝∗ is the price of app/in-app content, 𝑄𝑄∗ is the number of
transactions (downloads and in-app purchases), 𝜏𝜏 ∗ is the competitive commission paid by apps
per sale which is 15% for transactions corresponding to either download or in-app purchase, 𝑡𝑡𝐵𝐵∗ is
the competitive price discount to consumers, and 𝐶𝐶 is the hypothetical monopolist’s marginal
cost. Hence, 𝑝𝑝∗ (𝜏𝜏 ∗ , 𝑡𝑡𝐵𝐵∗ ) × 𝑄𝑄∗ (𝜏𝜏 ∗ , 𝑡𝑡𝐵𝐵∗ ) is the total expenditure on app and in-app content and (𝜏𝜏 ∗ −
𝑡𝑡𝐵𝐵∗ ) × 𝑝𝑝∗ (𝜏𝜏 ∗ , 𝑡𝑡𝐵𝐵∗ ) × 𝑄𝑄 ∗ (𝜏𝜏 ∗ , 𝑡𝑡𝐵𝐵∗ ) is the hypothetical monopolist’s revenue. In what follows, I will



           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                          F - 13
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 526 of 598




use a shorthand to write price and quantity of transactions without explicitly indicating that they
are functions of commission or other parameters of the model.

       49.     The hypothetical monopolist imposes SSNIP on both the competitive commission
and the competitive price discount. Therefore, a 10% SSNIP on 𝜏𝜏 ∗ and a 10% SSNIP on price
discount would be profitable for a hypothetical monopolist if:

                            ((1.1𝜏𝜏 ∗ − 0.9𝑡𝑡𝐵𝐵∗ )𝑝𝑝∗∗ − 𝐶𝐶)𝑄𝑄∗∗ > ((𝜏𝜏 ∗ − 𝑡𝑡𝐵𝐵∗ )𝑝𝑝∗ − 𝐶𝐶)𝑄𝑄∗

       50.     Where 𝑝𝑝∗∗ and 𝑄𝑄∗∗ denote the price of app/in-app content and the number of
transactions after the hypothetical monopolist has imposed a 10% SSNIP, respectively. Let
𝑄𝑄∗∗ = 𝑄𝑄∗ − Δ𝑄𝑄∗ , that is 𝑄𝑄∗∗ can be decomposed into the initial competitive but-for number of
transactions minus the reduction in the transactions due to higher prices and commission. Using
this decomposition in the expression above and rearranging gives:

                        Δ𝑄𝑄∗
                             (1.1 𝜏𝜏 ∗ − 0.9𝑡𝑡𝐵𝐵∗ )𝑝𝑝∗∗ − (1.1𝜏𝜏 ∗ − 0.9𝑡𝑡𝐵𝐵∗ )𝑝𝑝∗∗ + (𝜏𝜏 ∗ − 𝑡𝑡𝐵𝐵∗ )𝑝𝑝∗
                         𝑄𝑄∗
                   𝐶𝐶 ≥
                                                           Δ𝑄𝑄∗
                                                            𝑄𝑄∗
                                                                                                                      E. 14
       51.     The right-hand side of equation E. 14 is a threshold such that if the hypothetical
monopolist’s marginal cost is larger than the threshold then the SSNIP is profitable and hence
the markets are no broader than App Distribution and In-App Billing Services on Android.

       52.     Finally, dividing the numerator and denominator of the right-hand side of E. 14
by the percentage change in price, I obtain the following expression:

                                                               [(1.1𝜏𝜏 ∗ − 0.9𝑡𝑡𝐵𝐵∗ )𝑝𝑝∗∗ − (𝜏𝜏 ∗ − 𝑡𝑡𝐵𝐵∗ )𝑝𝑝∗ ]𝑝𝑝∗
                        𝜖𝜖𝑄𝑄,𝑝𝑝 (1.1 𝜏𝜏 ∗ − 0.9𝑡𝑡𝐵𝐵∗ )𝑝𝑝∗∗ −
                                                                                𝑝𝑝∗∗ − 𝑝𝑝∗
                 𝐶𝐶 ≥
                                                                   𝜖𝜖𝑄𝑄,𝑝𝑝
                                                                                                                      E. 15
       53.     Where 𝜖𝜖𝑄𝑄,𝑝𝑝 denotes the negative of the percentage change in total equilibrium
quantity on the markets as a result of SSNIP divided by the percentage change in price as a result
of SSNIP.




         NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                               F - 14
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 527 of 598




         54.      The right-hand side of E. 15 is the critical marginal cost threshold that I
estimate. 16 If the hypothetical monopolist’s marginal cost is larger than that critical threshold,
then the SSNIP is profitable, and the markets are no broader than App Distribution and In-App
Billing Services on Android.

         B.       Adapted App Competition Model

         55.      In my damages model, a consumer has a fixed budget to allocate across content;
that is, 𝑦𝑦 is constant in the model. This implies that 𝑦𝑦 will not change if a hypothetical
monopolist increases commission or decreases discount. To allow for the potential changes in the
budget in response to the changes in commission or Play Points, I extend the damages model to a
nested utility CES model with an outside good. 17 This type of model potentially allows 𝜖𝜖𝑄𝑄,𝑝𝑝 to be
more than 1. 18 This approach would be conservative for the SSNIP analysis if it generates 𝜖𝜖𝑄𝑄,𝑝𝑝 >
1. Under higher𝜖𝜖𝑄𝑄,𝑝𝑝 , a SSNIP would become less profitable for a hypothetical monopolist. 19

         56.      In what follows, I solve a model which has a potential to provide a more
conservative framework for the SSNIP analysis. The model is used to obtain 𝜖𝜖𝑄𝑄,𝑝𝑝 and prices that
feed into the equation E. 15.

         57.      I consider a model with three periods. In period 1, a countably infinite number of
identical firms simultaneously choose whether or not to enter. Firms that enter pay a fixed cost
𝐹𝐹. In period 2, firms that enter are indexed by 𝑖𝑖 = 1, . . . , 𝑛𝑛. Firms choose the price of their




16
   The formula in E.15 of this appendix that provides the critical marginal cost threshold does not depend on the
specific model of competition or method of calibration explained below and that I have used in this report. I reserve
the right in future reports, as I review the record further, to use an alternative model, calibration method, or rate
response.
17
   See Dixit and Stiglitz (1977). Note that Dixit and Stiglitz (1977) analyze a general version of the CES utility
function with two nests. I use a special case of the utility function for my analyses.
18
   Note that the fixed budget implies that this 𝜖𝜖𝑄𝑄,𝑝𝑝 is 1 in the damages model. See equation 12.
19
  Note that in the hypothetical competitive but-for world, the market share of the hypothetical monopolist would
also be higher because it would serve not only the Google’s actual world market share but also the portion outside
the Google’s market share in the actual world. However, note that if I scale up the quantity and revenue of the
hypothetical monopolist in the same way, then this results in scaling up the hypothetical monopolist’s profit function
and does not affect the SSNIP analysis.


           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                       F - 15
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 528 of 598




product 𝑝𝑝𝑖𝑖 . In period 3, a representative consumer chooses how much to buy of each product. I
search for a subgame perfect Nash equilibrium.

        58.     I find the equilibrium by backward induction.

                1.      Consumer

        59.     Starting in the final period, the representative consumer chooses how much to
purchase of each product 𝑖𝑖, denoted by 𝑞𝑞𝑖𝑖 . The 𝑛𝑛 vector of quantities is denoted 𝑞𝑞⃗. In addition,
the consumer may purchase an outside good 𝑧𝑧. Prices are 𝑝𝑝𝑖𝑖 , with 𝑝𝑝𝑧𝑧 normalized to 𝑝𝑝𝑧𝑧 = 1. The
consumer has a nested CES utility function:
                                                                 𝜌𝜌               𝛼𝛼
                                                      𝑛𝑛
                                                            1 𝛼𝛼              1
                                  𝑢𝑢(𝑞𝑞⃗, 𝑧𝑧) = ���(𝑞𝑞𝑖𝑖   )𝜌𝜌 �      + 𝑧𝑧 𝛼𝛼 �
                                                  𝑖𝑖=1


where 𝜌𝜌 > 1 represents the degree of substitutability between transactions on different apps, and
𝛼𝛼 > 1 represents the degree of substitutability between the outside good and the composite app
good (defined below).

        60.     The hypothetical monopolist provides Play Points and other direct discounts to
consumers on that posted price which is denoted by 𝑡𝑡𝐵𝐵 . The final price paid by a consumer on a
transaction is then 𝑝𝑝𝑖𝑖 (1 − 𝑡𝑡𝐵𝐵 ). The consumer has the income 𝑚𝑚 to spend on apps and the outside
good so the budget constraint is:
                                       𝑛𝑛
                                                        𝑧𝑧       𝑚𝑚
                                      � 𝑝𝑝𝑖𝑖 𝑞𝑞𝑖𝑖 +           =
                                                      1 − 𝑡𝑡𝐵𝐵 1 − 𝑡𝑡𝐵𝐵
                                      𝑖𝑖=1

        61.     The consumer chooses the quantity of transactions from each app and the quantity
of outside good subject to the budget constraint. The consumer’s optimal choices can be found
by maximizing the Lagrangian formula:
                                                                         𝑛𝑛
                                                         𝑚𝑚                       𝑧𝑧
                                max 𝑢𝑢(𝑞𝑞⃗, 𝑧𝑧) + 𝜆𝜆 �          − � 𝑝𝑝𝑖𝑖 𝑞𝑞𝑖𝑖 −          �
                             𝑞𝑞1 ,…,𝑞𝑞𝑛𝑛 ,𝑧𝑧           1 − 𝑡𝑡𝐵𝐵                 1 − 𝑡𝑡𝐵𝐵
                                                                        𝑖𝑖=1

The first order condition with respect to 𝑞𝑞𝑖𝑖 is:




         NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                             F - 16
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 529 of 598




                                      𝜌𝜌               𝛼𝛼−1                                   𝜌𝜌−𝛼𝛼
                        𝑛𝑛                                            𝑛𝑛                                   1−𝜌𝜌
                                 1 𝛼𝛼           1             𝜌𝜌                         1      𝛼𝛼
                                                                                                      1 𝜌𝜌
                 𝛼𝛼 ���(𝑞𝑞𝑖𝑖    )𝜌𝜌 �      + 𝑧𝑧 𝛼𝛼 �             ��(𝑞𝑞𝑖𝑖                )𝜌𝜌 �           𝑞𝑞  − 𝜆𝜆𝑝𝑝𝑖𝑖 = 0
                                                              𝛼𝛼                                      𝜌𝜌 𝑖𝑖
                       𝑖𝑖=1                                          𝑖𝑖=1


For any two products 𝑖𝑖 and 𝑗𝑗, this implies:
                                                               1−𝜌𝜌
                                                        𝑞𝑞𝑖𝑖    𝜌𝜌             𝑝𝑝𝑖𝑖
                                                       � �                =
                                                        𝑞𝑞𝑗𝑗                   𝑝𝑝𝑗𝑗

Thus, every product is consumed according to the proportion:
                                                                                    𝜌𝜌
                                                                 𝑝𝑝𝑖𝑖 𝜌𝜌−1
                                                    𝑞𝑞𝑗𝑗 = 𝑞𝑞𝑖𝑖 � �
                                                                 𝑝𝑝𝑗𝑗
                                                                                                                             E. 16
         62.    We can think of the consumer as making a single choice of how many units of a
composite app good to buy and then determining how much of each app to buy based on that.
Let the composite app good be:
                                                                          𝑛𝑛                     𝜌𝜌
                                                                                          1
                                                         𝑄𝑄� = ��(𝑞𝑞𝑖𝑖                   )𝜌𝜌 �
                                                                      𝑖𝑖=1

         63.    I show that the total expenditure on apps 𝑦𝑦 = ∑𝑛𝑛𝑖𝑖=1 𝑝𝑝𝑖𝑖 𝑞𝑞𝑖𝑖 is equal to 𝑝𝑝̅ 𝑄𝑄� where 𝑝𝑝̅ is
the price index defined as:
                                                                     𝑛𝑛−1 1−𝜌𝜌
                                                                      𝜌𝜌−1
                                                        𝑝𝑝̅   = �� 𝑝𝑝𝑖𝑖 �
                                                                 𝑖𝑖=1

         64.    Thus, we can interpret the price index as the price of a unit of the composite good.
To see this, plug in from E. 16 to 𝑄𝑄�:
                                                                                   𝜌𝜌
                                                                          1
                                                                𝜌𝜌                                                      𝜌𝜌
                                           𝑛𝑛                             𝜌𝜌                          𝜌𝜌     𝑛𝑛    −1
                                    ⎛         𝑝𝑝𝑖𝑖            𝜌𝜌−1     ⎞          𝜌𝜌−1    𝜌𝜌−1
                              𝑄𝑄� = ⎜� �𝑞𝑞𝑖𝑖 � �                     � ⎟ = 𝑞𝑞𝑖𝑖 𝑝𝑝𝑖𝑖 �� 𝑝𝑝𝑗𝑗 �
                                              𝑝𝑝         𝑗𝑗
                                        𝑗𝑗=1                                                                𝑗𝑗=1
                                    ⎝                                          ⎠

Thus:




          NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                                     F - 17
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 530 of 598




                                                                               −𝜌𝜌
                                                                 −𝜌𝜌   𝑛𝑛  −1
                                                               𝜌𝜌−1       𝜌𝜌−1
                                                𝑞𝑞𝑖𝑖 =   𝑄𝑄� 𝑝𝑝𝑖𝑖 �� 𝑝𝑝𝑗𝑗 �
                                                                     𝑗𝑗=1

                                                                                                                        E. 17
Multiplying each side by 𝑝𝑝𝑖𝑖 :
                                                                               −𝜌𝜌
                                                                  −1   𝑛𝑛  −1
                                                                𝜌𝜌−1      𝜌𝜌−1
                                            𝑝𝑝𝑖𝑖 𝑞𝑞𝑖𝑖 =   𝑄𝑄� 𝑝𝑝𝑖𝑖 �� 𝑝𝑝𝑗𝑗 �
                                                                     𝑗𝑗=1


Summing over 𝑖𝑖, we have:
                                                                                 −𝜌𝜌
                           𝑛𝑛                                    𝑛𝑛−1    𝑛𝑛  −1
                                                                  𝜌𝜌−1      𝜌𝜌−1
                          � 𝑝𝑝𝑖𝑖 𝑞𝑞𝑖𝑖 = 𝑦𝑦 =             𝑄𝑄� � 𝑝𝑝𝑖𝑖 �� 𝑝𝑝𝑗𝑗 �                            = 𝑝𝑝̅ 𝑄𝑄�
                          𝑖𝑖=1                               𝑖𝑖=1      𝑗𝑗=1


Thus, we can rewrite the budget constraint as:
                                                                   𝑧𝑧       𝑚𝑚
                                                  𝑝𝑝̅ 𝑄𝑄� +              =
                                                                 1 − 𝑡𝑡𝐵𝐵 1 − 𝑡𝑡𝐵𝐵

Given the budget constraint and the optimal choices of ap/in-app quantity ratios, the consumer
chooses the quantities of composite good and outside good. The Lagrangian for this problem can
be written as:

                                                 1           1        𝛼𝛼                𝑚𝑚                   𝑧𝑧
                                  max �𝑄𝑄�𝛼𝛼 + 𝑧𝑧 𝛼𝛼 � + 𝜆𝜆 �                                  − 𝑝𝑝̅ 𝑄𝑄� −          �
                                   𝑄𝑄�,𝑧𝑧                                             1 − 𝑡𝑡𝐵𝐵             1 − 𝑡𝑡𝐵𝐵

        The first order conditions are:

                                                             1                 1    𝛼𝛼−1   1 1 −1
                                                  𝛼𝛼 �𝑄𝑄�𝛼𝛼 + 𝑧𝑧 𝛼𝛼 �                         𝑄𝑄�𝛼𝛼 = 𝜆𝜆𝑝𝑝̅
                                                                                           𝛼𝛼
                                                         1                 1       𝛼𝛼−1   1 1 −1       𝜆𝜆
                                                𝛼𝛼 �𝑄𝑄�𝛼𝛼 + 𝑧𝑧 𝛼𝛼 �                          𝑧𝑧 𝛼𝛼 =
                                                                                          𝛼𝛼         1 − 𝑡𝑡𝐵𝐵

        Thus:
                                            1
                                          −1
                                   𝑄𝑄� 𝛼𝛼                                                𝛼𝛼
                                  � �        = 𝑝𝑝̅ (1 − 𝑡𝑡𝐵𝐵 ) ⇒ 𝑧𝑧 = �𝑝𝑝̅ (1 − 𝑡𝑡𝐵𝐵 )�𝛼𝛼−1 𝑄𝑄�
                                   𝑧𝑧

        Plugging into the budget constraint and rewriting:


         NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                                 F - 18
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 531 of 598




                                                                                              𝛼𝛼
                                                                    𝑚𝑚�𝑝𝑝̅ (1 − 𝑡𝑡𝐵𝐵 )�𝛼𝛼−1
                                                      𝑧𝑧 =                     𝛼𝛼
                                                             �𝑝𝑝̅ (1 − 𝑡𝑡𝐵𝐵 )�𝛼𝛼−1 + 𝑝𝑝̅ (1 − 𝑡𝑡𝐵𝐵 )

                                                                                𝑚𝑚
                                                     𝑄𝑄� =                      𝛼𝛼
                                                             �𝑝𝑝̅ (1 − 𝑡𝑡𝐵𝐵 )�𝛼𝛼−1 + 𝑝𝑝̅ (1 − 𝑡𝑡𝐵𝐵 )
                                                                                                                             E. 18
        65.       It follows that the negative of the elasticity of composite good with respect to the
price index is:
                                                                                         𝛼𝛼
                                                          𝛼𝛼
                                                       𝛼𝛼 −  1 �𝑝𝑝̅ (1 − 𝑡𝑡𝐵𝐵 )�𝛼𝛼−1 + 𝑝𝑝̅ (1 − 𝑡𝑡𝐵𝐵 )
                                         𝜖𝜖𝑄𝑄�,𝑝𝑝̅   =�                             𝛼𝛼                 �
                                                              �𝑝𝑝̅ (1 − 𝑡𝑡𝐵𝐵 )�𝛼𝛼−1 + 𝑝𝑝̅ (1 − 𝑡𝑡𝐵𝐵 )

        66.       We can plug in 𝑄𝑄� to E. 17 to get the demand for each app:
                                                                                𝑚𝑚
                                  𝑞𝑞𝑖𝑖 =       𝜌𝜌     1                                   𝛼𝛼−𝜌𝜌                       𝛼𝛼
                                             𝜌𝜌−1
                                           𝑝𝑝𝑖𝑖 �𝑝𝑝̅ 1−𝜌𝜌 (1        − 𝑡𝑡𝐵𝐵 ) + 𝑝𝑝̅ (1−𝜌𝜌)(𝛼𝛼−1) (1 − 𝑡𝑡𝐵𝐵 )𝛼𝛼−1 �

                                                                                                                             E. 19

                  2.         Firms

        67.       A firm producing app 𝑖𝑖 faces fixed cost 𝐹𝐹 of developing the app and marginal cost
𝑐𝑐 per transaction. Its profit function is:

                                               𝜋𝜋𝑖𝑖 (𝑝𝑝⃗) = (1 − 𝜏𝜏)𝑝𝑝𝑖𝑖 𝑞𝑞𝑖𝑖 − 𝑐𝑐𝑞𝑞𝑖𝑖 − 𝐹𝐹

        68.       Where 𝜏𝜏 is the commission charged by the hypothetical monopolist, sometimes
referred to as the commission. Plugging in from E. 19 we have:

                                                               ((1 − 𝜏𝜏)𝑝𝑝𝑖𝑖 − 𝑐𝑐)𝑚𝑚
                       𝜋𝜋𝑖𝑖 (𝑝𝑝⃗) =       𝜌𝜌     1                                𝛼𝛼−𝜌𝜌
                                                                                                                      − 𝐹𝐹
                                                                                                               𝛼𝛼
                                        𝜌𝜌−1
                                      𝑝𝑝𝑖𝑖 �𝑝𝑝̅ 1−𝜌𝜌 (1       − 𝑡𝑡𝐵𝐵 ) +   𝑝𝑝̅ (1−𝜌𝜌)(𝛼𝛼−1) (1     −   𝑡𝑡𝐵𝐵 )𝛼𝛼−1 �

        69.       Each firm maximizes profit with respect to price 𝑝𝑝𝑖𝑖 simultaneously in a Nash
equilibrium. Firms account for the direct effect of 𝑝𝑝𝑖𝑖 . Here, I assume that the firms do not take
into account the effect of their individual prices on the price index 𝑝𝑝̅ . Note that this assumption is
valid for markets where we see large number of products (firms). In such a case, the effect of


          NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                                     F - 19
      Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 532 of 598




individual firm’s price on the price index becomes negligible. The first order condition for app 𝑖𝑖
is then:
                                                       𝜌𝜌                    1
                                                    𝜌𝜌−1         𝜌𝜌   𝜌𝜌−1
                                       (1 −    𝜏𝜏)𝑝𝑝𝑖𝑖      −       𝑝𝑝 [(1 − 𝜏𝜏)𝑝𝑝𝑖𝑖 − 𝑐𝑐] = 0
                                                              𝜌𝜌 − 1 𝑖𝑖

           70.       Under the symmetric Nash equilibrium, we have 𝑝𝑝𝑖𝑖 = 𝑝𝑝∗ ∀𝑖𝑖. Substituting into the
first order condition and rewriting, the symmetric Nash equilibrium price is:
                                                                            𝜌𝜌𝜌𝜌
                                                                𝑝𝑝∗ =
                                                                          (1 − 𝜏𝜏)
                                                                                                                                        E. 20
           71.       Let 𝜋𝜋 ∗ (𝑛𝑛, 𝜏𝜏) be the equilibrium profit when there are 𝑛𝑛 firms conditional on the
commission (note that equilibrium profit is also a function of other parameters of the model but
for the ease of notation I don’t write it here). Under free entry, the equilibrium number of firms
𝑛𝑛∗ (𝜏𝜏) is such that 𝜋𝜋 ∗ (𝑛𝑛∗ (𝜏𝜏), 𝜏𝜏) = 0 (ignoring integer constraints on 𝑛𝑛). We have:

                           ∗ (𝑛𝑛,
                                                                    ((1 − 𝜏𝜏)𝑝𝑝∗ − 𝑐𝑐)𝑚𝑚
                      𝜋𝜋            𝜏𝜏) =         𝜌𝜌       1                            𝛼𝛼−𝜌𝜌                      𝛼𝛼
                                                                                                                          − 𝐹𝐹
                                            𝑝𝑝∗ 𝜌𝜌−1 �𝑝𝑝̅ 1−𝜌𝜌 (1   − 𝑡𝑡𝐵𝐵 ) +   𝑝𝑝̅ (1−𝜌𝜌)(𝛼𝛼−1) (1   −   𝑡𝑡𝐵𝐵 )𝛼𝛼−1 �

           Note that in the equilibrium the price index is:
                                                                    𝑝𝑝̅ = 𝑝𝑝∗ 𝑛𝑛1−𝜌𝜌

           72.       Substituting in the expression for equilibrium profit, we have:

                                                                    ((1 − 𝜏𝜏)𝑝𝑝∗ − 𝑐𝑐)𝑚𝑚
                 𝜋𝜋 ∗ (𝑛𝑛, 𝜏𝜏) =           𝜌𝜌       1                               𝛼𝛼−𝜌𝜌       𝛼𝛼−𝜌𝜌                    𝛼𝛼
                                                                                                                                 − 𝐹𝐹
                                     𝑝𝑝∗ 𝜌𝜌−1 �𝑝𝑝∗ 1−𝜌𝜌 𝑛𝑛(1   − 𝑡𝑡𝐵𝐵 ) +    𝑝𝑝∗ (1−𝜌𝜌)(𝛼𝛼−1) 𝑛𝑛 𝛼𝛼−1 (1     −   𝑡𝑡𝐵𝐵 )𝛼𝛼−1 �

           73.       Substituting for 𝑝𝑝∗ from E. 20 and equating to zero, 𝑛𝑛∗ is solved from the
following equation:

                                                             (𝜌𝜌 − 1)𝑐𝑐
                                                                                               𝛼𝛼   = 𝐹𝐹/𝑚𝑚
                                      𝑛𝑛∗ 𝜌𝜌𝜌𝜌(1 − 𝑡𝑡𝐵𝐵 )       𝛼𝛼−𝜌𝜌 𝜌𝜌𝜌𝜌(1 − 𝑡𝑡 ) 𝛼𝛼−1
                                                                                 𝐵𝐵
                                                          + 𝑛𝑛∗ 𝛼𝛼−1 �              �
                                           (1 − 𝜏𝜏)                      (1 − 𝜏𝜏)




            NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                                              F - 20
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 533 of 598




                                                                                                            E. 21

                 3.       Calibration

        74.      As shown above, the negative of the elasticity of the composite good with respect
to the price index is:
                                                                              𝛼𝛼
                                                    𝛼𝛼
                                                         �𝑝𝑝̅ (1 − 𝑡𝑡𝐵𝐵 )�𝛼𝛼−1 + 𝑝𝑝̅ (1 − 𝑡𝑡𝐵𝐵 )
                                   𝜖𝜖𝑄𝑄�,𝑝𝑝̅   =�𝛼𝛼 −  1                                         �
                                                                         𝛼𝛼
                                                       �𝑝𝑝̅ (1 − 𝑡𝑡𝐵𝐵 )�𝛼𝛼−1 + 𝑝𝑝̅ (1 − 𝑡𝑡𝐵𝐵 )

                                                                                                            E. 22
        75.      In order to conduct the SSNIP calculation, I need an estimate of parameter 𝛼𝛼,
which governs the degree of substitutability between the outside good and the composite app
good. To estimate 𝛼𝛼, first I estimate 𝜖𝜖𝑄𝑄�,𝑝𝑝̅ , the elasticity of the composite app quantity with
respect to the price index. In order to estimate this elasticity, I need an exogenous shifter of
supply. Following Janßen et al (2022), I use the General Data Protection Regulation (GDPR)
event as an exogenous supply shifter. GDPR, enacted by the EU in May 2018, imposes a series
of rules intended to increase consumer security and privacy. 20 Janßen et al (2022) highlight that
these rules affected the cost of developing and operating an app. 21 In order to use the GDPR
event to calculate the elasticity, I look at the percentage change in the composite app good from
one year before GDPR to one year after GDPR and divide by the percentage price index change
from one year before GDPR to one year after GDPR. 22 To calculate the indices for one year
before and one year after GDPR, I use the same estimate of 𝜌𝜌 that was used in calculating
damages, calculate 𝑞𝑞 as the average number of transactions in the data used for the damages
calculation over the same period as is used to calculate 𝑝𝑝, and plug them into the formula for the
equilibrium price index: 𝑝𝑝̅ = 𝑝𝑝𝑛𝑛1−𝜌𝜌 and composite good: 𝑄𝑄� = 𝑞𝑞𝑛𝑛𝜌𝜌 . I also adjust the after-GDPR
values for the composite good using the compounded growth rate over three years before GDPR.




20
   Proton Technologies AG, “FAQ,” available at https://gdpr.eu/faq/; See also, Janßen et al (2022), p. 1.
21
   Janßen et al (2022), p.4.
22
   This follows the idea of calculating the local average treatment effect famously explained in, Imbens, Guido W.
and Joshua D. Angrist, “Identification and Estimation of Local Average Treatment Effects,” Econometrica, Vol. 62,
No. 2, 1994, pp. 467-475.


          NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                    F - 21
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 534 of 598




This gives me an estimate of elasticity of composite app quantity with respect to the price index,
𝜖𝜖𝑄𝑄�,𝑝𝑝̅ , of 11.35. 23 Consequently, I use this estimate, the actual value of price index (calculated
using the data used for the damages calculation from August 16, 2016-May 2022), and the actual
value of the Google discount to calibrate 𝛼𝛼 from E. 22 which gives me an 𝛼𝛼 of 3.01 . 24

         76.      Consequently, I calculate 𝜖𝜖𝑄𝑄,𝑝𝑝 . For that calculation, I need to calibrate equilibrium
prices before and after SSNIP. Also, I need to calibrate equilibrium aggregate output (total
number of transactions) before and after SSNIP.

         77.      Using the above expressions for the price index and the composite good in E. 18,
we get that the total equilibrium quantity, 𝑄𝑄∗ , is:
                                                                       𝑚𝑚
                                      𝑄𝑄 ∗ =                           1−𝜌𝜌                    𝛼𝛼
                                               𝑝𝑝∗ (1 − 𝑡𝑡𝐵𝐵 ) +   𝑛𝑛∗ 𝛼𝛼−1 (𝑝𝑝∗ (1   − 𝑡𝑡𝐵𝐵 ))𝛼𝛼−1
                                                                                                                 E. 23
         78.      Given the estimates of 𝜌𝜌 and 𝛼𝛼 E. 20 and E. 21, evaluated at the actual values, are
used to calibrate 𝐹𝐹/𝑚𝑚 and 𝑐𝑐.

         79.      Given the estimates of 𝜌𝜌, the competitive but-for commission, the commission
after SSNIP, and 𝑐𝑐 I use E. 20 to get 𝑝𝑝∗ and 𝑝𝑝∗∗ for the SSNIP equation E. 15.

         80.      Given the estimates of 𝜌𝜌, the competitive but-for commission and Play Points, the
commission and Play Points after SSNIP, 𝐹𝐹/𝑚𝑚, 𝛼𝛼, and 𝑐𝑐, I use E. 21 to calculate 𝑛𝑛∗ , and 𝑛𝑛∗∗ .

         81.      Finally, to get 𝜖𝜖𝑄𝑄,𝑝𝑝 for the SSNIP equation E. 15, I plug in the above estimates in
E. 23 and calculate [(𝑄𝑄∗ − 𝑄𝑄∗∗ )/𝑄𝑄∗ ]/[(𝑝𝑝∗∗ − 𝑝𝑝∗ )/𝑝𝑝∗ ] where those quantities and prices are
evaluated at the respective equilibrium values and parameters.

         82.      This process allows me to account for the extent that total spending on apps
would reduce if a hypothetical monopolist raised price. Note that when I calculate welfare harm,
I use the CES model described in Section I of Appendix F rather than the nested CES model




23
   While the model of competition that I use, when evaluated at the observed levels of prices and apps, does not
allow for the elasticity of the composite index to equal 11.35, I choose the value of alpha that provides the closest
elasticity of the composite index possible in my model, which is about 1.1. See Rysman Workpapers.
24
   See Rysman Workpapers.


           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                         F - 22
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 535 of 598




described in this section. For quantifying welfare harm, I assume that the elasticity of total
quantity to price is negative one. Assuming unit elasticity rather than elastic demand is
conservative for the welfare harm calculation because if I accounted for how total spending on
Google Play Store would expand as Google moved from the observed commission structure to
the competitive structure, harm would be higher. Furthermore, using a conservative total market
elasticity reduces the concerns about crowding introduced in Ackerberg and Rysman (2005). 25

        C.       Summary

        83.      In summary, for the purposes of SSNIP, I adapt my damages model to investigate
whether a hypothetical monopolist of both Android In-App Billing Services and Android App
Distribution would find it profitable to impose a SSNIP of 10%. That is, the question is whether
the markets are no broader than Android Distribution and Android In-App Billing Services. The
important adjustment to the model is to relax the fixed budget assumption. The results of my
SSNIP calculations summarized in the report in Section V.C.5 demonstrate that a hypothetical
monopolist of Android In-App Billing Services and Android App Distribution would find it
profitable to impose a SSNIP of 10%.




25
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          NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                    F - 23
            Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 536 of 598




                                                                   Appendix G
                                                             PC App Store Commissions
App Store             Overview                                          Terms                                                                        Timeline of Terms Sources
                      Lets developers publish Hosted Apps, Chrome
                                                                  1) 5% commission if using Chrome Web Store API to charge for features or virtual
                      Apps, Chrome Extensions, and Themes —either
Chrome Web Store                                                  goods                                                                              2011 - present      [1]
                      free or paid—where Google Chrome users can
                                                                  2) 30% commission for in-app payments for ARC (Android Runtime for Chrome) apps
                      easily find them

                      A videogame store, which can be used to
                                                                   1) 12% commission for all games                                                   1) 2018 - present
Epic Games Store      download games in PC and Mac The Epic                                                                                                              [2]
                                                                   2) 5% licensing fee waived for games using Epic’s Unreal Engine                   2) 2018 - present
                      Games Store has more than 650 games and apps


                      An “online marketplace for consumers to buy and
                                                                       1) 30% commission for Xbox console games
                      download a variety of items,” including hardware                                                                               1) - present
                                                                       2) 5% commission for non-game and non-Xbox apps when users download an app
                      and digital content It is available as “an                                                                                     2) 2019 - present
Microsoft Store                                                        through a direct URL                                                                              [3]
                      application on Windows operating systems                                                                                       3) 2021 - present
                                                                       3) 12% commission for PC games
                      (OSes) and as a web app ” The Microsoft Store                                                                                  4) 2021 - present
                                                                       4) no commission for apps using a third party payment processor
                      currently has more than 800,000 apps

                      A videogame store, which can be used to           1) 20% commission for every sale in excess of $50 million                    1) 2018 - present
Steam                 download games in Windows, MacOS, and             2) 25% commission for every sale between $10 and $50 million                 2) 2018 - present   [4]
                      Linux Steam offers about 50,000 games             3) 30% for all other sales                                                   3) 2004 - present
Game Jolt Store       A videogame platform, which can be used to play
                                                                        0-10% commission set by the developer                                        present             [5]
(Desktop)             games on PC, mobile, and console devices


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                   NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                                                                        G-1
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 537 of 598



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           NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                    G-2
            Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 538 of 598




                                                             Appendix H
                                              Alternative Android App Store Commissions
App Store          Overview                                                    Terms                                                                      Timeline of Terms   Sources
                                                                               1) 20% commission and 5% for developers with their own payment
                   A Korean Android app market, holding about 18 4%            methods                                                                    1) 2018 - present
ONE Store                                                                                                                                                                        [1]
                   market share in the local app store market                  2) 50% discount in commission for developers earning less than $5          2) 2020 - 2021
                                                                               million in monthly transactions

                                                                               1) 30% commission for mobile apps and in-app products
                   An Android app store for downloading games and mobile       2) 20% commission for movie and TV subscription products sold in
                   apps to supported devices, which include Android devices,   mobile apps and 30% commission for non-movie and non-TV
                                                                                                                                                          1) - present
                   Windows 11 devices with windows Subsystems for              subscription products sold in mobile apps
                                                                                                                                                          2) 2018 - present
Amazon Appstore    Android installed, Fire tablets, Fire TV, and some          3) The lower of 30% commission or 80% of the list price for PC                                    [2]
                                                                                                                                                          3) 2018 - present
                   Blackberry devices Additionally, users “can also shop for   software/games and in-app products
                                                                                                                                                          4) 2021 - present
                   apps on [their] PC or Mac and then install them on a        4) Small Business Accelerator Program: 20% commission for developers
                   supported device ”                                          earning less than $1 million in the previous calendar year Additionally,
                                                                               developers will receive 10% of revenue in AWS promotional credits

                   An independent Android online marketplace for apps and
Aptoide            games with “over 300 million users, 7 billion downloads     4-25% commission for in-app transactions                                   present                [3]
                   and 1 million apps ”

                   An “app store that comes bundled on Galaxy and Gear
                                                                               30% commission that can be negotiated with Samsung                         present
Galaxy Store       devices The Galaxy Apps store is also a go-to source for                                                                                                      [4]
                   perks and deals offered only to Galaxy and Gear users ”

Game Jolt Store    A video game platform, which can be used to play games
                                                                               0-10% commission set by the developer                                      present                [5]
(Mobile)           on PC, mobile, and console devices



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                  NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                                                                                H-1
         Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 539 of 598


                                                         Appendix I
Damages Exhibits, for Consumers in Plaintiff States, by Year and State, August 16, 2016 –
                               June 5, 2023 (in USD)

                                         Exhibit I.1
         Damages Due to Direct Effects on Prices for Consumers in the Plaintiff States,
                by Year and State, August 16, 2016 – June 5, 2023 (in USD)

 State     Year                        Pooled Markets                               In-App Billing Services Market
                  Commission and          Commission        Playpoints    Commission and      Commission        Playpoints
                  Playpoints Effects      Effects Only     Effects Only   Playpoints Effects   Effects Only    Effects Only




          NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                           I-1
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 540 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   I-2
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 541 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   I-3
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 542 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   I-4
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 543 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   I-5
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 544 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   I-6
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 545 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   I-7
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 546 of 598




Notes:
1. These figures utilize data for all states (excluding missing states) from August 16, 2016 through May 31, 2022
    to calibrate my damages model.
2. To only account for the share of phones and tablets in damages, in allocating damages across state/years, I
    multiply net consumer spend by the share of net consumer spend for phones, tablets and missing device types
    for each year using the Google Monthly App Revenue Data.
3. I extrapolate net spend for June 1, 2022 through June 5, 2023 using a regression of net consumer spend on a
    time trend and a constant, using 2018-2022 data from the Google Transaction Data and the Google Monthly
    App Revenue Data. Consequently, I allocate net consumer spend proportionally by state according to the
    percent distribution of net spend over states for the years 2018 through 2022.

Sources:
1. Google Transaction Data.
2. Google Monthly App Revenue Data.
3. Census State Code Crosswalk.




        NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                    I-8
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 547 of 598




                                       Exhibit I.2
            Damages Due to Variety Effects for Consumers in the Plaintiff States,
               by Year and State, August 16, 2016 – June 5, 2023 (in USD)

State     Year                     Pooled Markets                            In-App Billing Services Market
                 Commission and       Commission     Playpoints    Commission and       Commission      Playpoints
                 Playpoints Effects Effects Only    Effects Only   Playpoints Effects Effects Only     Effects Only




         NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                     I-9
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 548 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   I-10
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 549 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   I-11
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 550 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   I-12
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 551 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   I-13
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 552 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   I-14
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 553 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   I-15
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 554 of 598




Notes: See notes in Exhibit I.1.

Sources: See sources in Exhibit I.1.




         NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   I-16
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 555 of 598




                                         Exhibit I.3
                     Total Damages for Consumers in the Plaintiff States,
                  by Year and State, August 16, 2016 – June 5, 2023 (in USD)

State     Year                     Pooled Markets                            In-App Billing Services Market
                 Commission and       Commission     Playpoints    Commission and       Commission      Playpoints
                 Playpoints Effects Effects Only    Effects Only   Playpoints Effects Effects Only     Effects Only




         NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                     I-17
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 556 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   I-18
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 557 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   I-19
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 558 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   I-20
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 559 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   I-21
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 560 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   I-22
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 561 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   I-23
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 562 of 598




Notes: See notes in Exhibit I.1.

Sources: See sources in Exhibit I.1.




         NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   I-24
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 563 of 598


                                                          Appendix J
Damages Exhibits, for all U.S. Consumers, by Year and State, August 16, 2016 – June 5,
                                    2023 (in USD)

                                          Exhibit J.1
                 Damages Due to Direct Effects on Prices for all U.S. Consumers,
                   by Year and State, August 16, 2016 – June 5, 2023 (in USD)

State     Year                          Pooled Markets                                  In-App Billing Services Market
                   Commission and          Commission     Playpoints Effects Commission and       Commission     Playpoints Effects
                   Playpoints Effects      Effects Only         Only         Playpoints Effects   Effects Only         Only




         NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                                  J-1
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 564 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-2
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 565 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-3
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 566 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-4
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 567 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-5
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 568 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-6
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 569 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-7
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 570 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-8
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 571 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-9
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 572 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-10
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 573 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-11
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 574 of 598




Notes:
1. These figures utilize data for all states (excluding missing states) from August 16, 2016 through May 31, 2022
    to calibrate my damages model.
2. To only account for the share of phones and tablets in damages, in allocating damages across state/years, I
    multiply net consumer spend by the share of net consumer spend for phones, tablets and missing device types
    for each year using the Google Monthly App Revenue Data.
3. I extrapolate net spend for June 1, 2022 through June 5, 2023 using a regression of net consumer spend on a
    time trend and a constant, using 2018-2022 data from the Google Transaction Data and the Google Monthly
    App Revenue Data. Consequently, I allocate net consumer spend proportionally by state according to the
    percent distribution of net spend over states for the years 2018 through 2022.

Sources:
1. Google Transaction Data.
2. Google Monthly App Revenue Data.
3. Census State Code Crosswalk.




        NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                    J-12
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 575 of 598




                                        Exhibit J.2
                  Damages Due to Variety Effects for all U.S. Consumers,
                 by Year and State, August 16, 2016 – June 5, 2023 (in USD)


State     Year                        Pooled Markets                                    In-App Billing Services Market
                 Commission and          Commission     Playpoints Effects   Commission and       Commission     Playpoints Effects
                 Playpoints Effects      Effects Only         Only           Playpoints Effects   Effects Only         Only




         NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                                  J-13
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 576 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-14
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 577 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-15
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 578 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-16
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 579 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-17
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 580 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-18
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 581 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-19
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 582 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-20
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 583 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-21
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 584 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-22
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 585 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-23
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 586 of 598




Notes: See notes in Exhibit J.1.

Sources: See sources in Exhibit J.1.




         NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-24
        Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 587 of 598




                                        Exhibit J.3
                          Total Damages for all U.S. Consumers,
                 by Year and State, August 16, 2016 – June 5, 2023 (in USD)

State     Year                        Pooled Markets                                    In-App Billing Services Market
                 Commission and          Commission     Playpoints Effects   Commission and       Commission     Playpoints Effects
                 Playpoints Effects      Effects Only         Only           Playpoints Effects   Effects Only         Only




         NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY                                                  J-25
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 588 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-26
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 589 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-27
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 590 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-28
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 591 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-29
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 592 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-30
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 593 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-31
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 594 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-32
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 595 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-33
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 596 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-34
Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 597 of 598




 NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-35
       Case 3:20-cv-05671-JD Document 407-3 Filed 04/20/23 Page 598 of 598




Notes: See notes in Exhibit J.1.

Sources: See sources in Exhibit J.1.




         NON-PARTY AND PARTY HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY   J-36
